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                                           SECURITIES AND EXCHANGE                                 Securities Exchange Act of 1934 [15                       7. Require a Narrower Scope of Registrant
                                           COMMISSION                                              U.S.C. 78a et seq.] (‘‘Exchange Act’’).1                     Notice
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                                                                                                                                                                Amendments
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                                           complete information on which to make                                                                                Small Entities
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                                           their voting decisions, without imposing                                                                        VII. Statutory Authority
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                                           undue costs or delays that could                        III. Other Matters                                      I. Introduction
                                           adversely affect the timely provision of                IV. Economic Analysis
                                           proxy voting advice. The amendments                        A. Introduction                                         Annual and special meetings of
                                           add conditions to the availability of                      1. Overview of Proxy Voting Advice                   publicly traded corporations, where
                                           certain existing exemptions from the                          Businesses’ Role in the Proxy Process             shareholders are provided the
                                                                                                      2. Commenter Concerns Regarding the                  opportunity to vote on various matters,
                                           information and filing requirements of                        Rule’s Economic Justification                     are a key component of corporate
                                           the Federal proxy rules that are                           B. Economic Baseline                                 governance. The applicable laws are set
                                           commonly used by proxy voting advice                       1. Affected Parties and Current Market               by the state in which the corporation is
                                           businesses. These conditions require                          Practices
                                                                                                                                                           incorporated. For various reasons,
                                           compliance with disclosure and                             2. Current Regulatory Framework
                                                                                                      C. Benefits and Costs                                including the widely dispersed nature
                                           procedural requirements, including
                                                                                                      1. Overview of Benefits and Costs and                of public share ownership, most
                                           conflicts of interest disclosures by proxy
                                                                                                         Comments Received                                 shareholders do not attend these
                                           voting advice businesses and two
                                                                                                      2. Codification of the Commission’s                  meetings in person. Rather, most
                                           principles-based requirements. In                             Interpretation of ‘‘Solicitation’’ Under          shareholders of publicly traded
                                           addition, the amendments codify the                           Rule 14a–1(l) and Section 14(a)                   companies exercise their right to vote on
                                           Commission’s interpretation that proxy                     3. Amendments to Rule 14a–2(b)                       corporate matters through the use of
                                           voting advice generally constitutes a                      4. Amendments to Rule 14a–(9)                        proxies.2 Congress vested in the
                                           solicitation within the meaning of the                     5. Effect on Smaller Entities
                                                                                                                                                           Commission the broad authority to
                                           Securities Exchange Act of 1934.                           D. Effects on Efficiency, Competition, and
                                                                                                         Capital Formation                                 oversee the proxy solicitation process
                                           Finally, the amendments clarify when                                                                            when it originally enacted the Securities
                                           the failure to disclose certain                            1. Efficiency
                                                                                                      2. Competition                                       Exchange Act of 1934 (the ‘‘Exchange
                                           information in proxy voting advice may                     3. Capital Formation                                 Act’’).3 As the securities markets have
                                           be considered misleading within the                        E. Reasonable Alternatives                           become increasingly more sophisticated
                                           meaning of the antifraud provision of                      1. Use a More Prescriptive Approach in the           and complex, and the intermediation of
                                           the proxy rules, depending upon the                           Final Amendments                                  share ownership and participation of
                                           particular facts and circumstances.                        2. Require Proxy Voting Advice Businesses            various market participants has grown
                                                                                                         To Include Full Registrant Response in
                                           DATES: Effective date: The rules are                                                                            in kind,4 the Commission’s interest in
                                                                                                         the Businesses’ Voting Advice
                                           effective November 2, 2020.                                3. Public Disclosure of Conflicts of Interest           2 See Concept Release on the U.S. Proxy System,
                                              Compliance dates: See Section II.E.                     4. Require Additional or Alternative
                                                                                                                                                           Release No. 34–62495 (Jul. 14, 2010) [75 FR 42982
                                           FOR FURTHER INFORMATION CONTACT:                              Mandatory Disclosures in Proxy Voting             (July 22, 2010)] (‘‘Concept Release’’), at 42984.
                                                                                                         Advice
                                           Daniel S. Greenspan, Senior Counsel,                                                                               3 See Regulation of Communications Among
                                                                                                      5. Require Disabling or Suspension of Pre-           Shareholders, Release No. 34–31326 (Oct. 16, 1992)
                                           Office of Rulemaking, at (202) 551–3430                       Populated and Automatic Submission of             [57 FR 48276 (Oct. 22, 1992)] (‘‘Communications
                                           or Valian Afshar, Special Counsel,                            Votes                                             Among Shareholders Adopting Release’’), at 48277
                                           Office of Mergers and Acquisitions, at                     6. Exempt Smaller Proxy Voting Advice                (‘‘Underlying the adoption of Section 14(a) of the
                                           (202) 551–3440, in the Division of                            Businesses From the Additional                    Exchange Act was a Congressional concern that the
                                                                                                                                                           solicitation of proxy voting authority be conducted
                                           Corporation Finance, U.S. Securities                          Conditions to the Exemptions
                                                                                                                                                           on a fair, honest and informed basis. Therefore,
                                           and Exchange Commission, 100 F Street                                                                           Congress granted the Commission the broad ‘power
                                           NE, Washington, DC 20549.                                  1 Unless otherwise noted, when we refer to the       to control the conditions under which proxies may
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                                                                                                   Exchange Act, or any paragraph of the Exchange          be solicited’. . . .’’).
                                           SUPPLEMENTARY INFORMATION: We are                       Act, we are referring to 15 U.S.C. 78a of the United       4 See Concept Release at 42983 (‘‘This complexity
                                           adopting amendments to 17 CFR                           States Code, at which the Exchange Act is codified,     stems, in large part, from the nature of share
                                           240.14a–1(l) (‘‘Rule 14a–1(l)’’), 17 CFR                and when we refer to rules under the Exchange Act,      ownership in the United States, in which the vast
                                                                                                   or any paragraph of these rules, we are referring to    majority of shares are held through securities
                                           240.14a–2 (‘‘Rule 14a–2’’), and 17 CFR                  title 17, part 240 of the Code of Federal Regulations   intermediaries such as broker-dealers or banks.
                                           240.14a–9 (‘‘Rule 14a–9’’) under the                    [17 CFR 240], in which these rules are published.       . . .’’).



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                                           ensuring fair, honest, and informed                       advice businesses to assist them in                     recommendations in a variety of ways,
                                           markets, underpinned by a properly                        making their voting determinations on                   including as an alternative or
                                           functioning proxy system, dictates that                   behalf of their own clients and to handle               supplement to their own internal
                                           we regularly assess whether the system                    other aspects of the voting process,                    resources in analyzing matters when
                                           is serving investors as it should.5                       which for certain investment advisers                   deciding how to vote.13
                                              In today’s financial markets, which                    has become increasingly complex and                        Proxy voting advice businesses may
                                           are characterized by significant                          demanding over time.9 Investment                        also provide services that assist clients
                                           intermediation and institutional                          advisers voting on behalf of clients                    in handling the administrative tasks of
                                           investor participation,6 proxy voting                     (including retail investors) and                        the voting process, typically through an
                                           advice businesses 7 have come to play                     institutional investors, by virtue of their             electronic platform that enables their
                                           an important role in the proxy voting                     holdings in many public companies,                      clients to cast votes more efficiently.14
                                           process by providing an array of voting                   including as a result of indexing and                   In some cases, proxy voting advice
                                           services that can help investment                         other broad portfolio management                        businesses are given authority to
                                           advisers and institutional investor                       strategies, must manage the logistics of                execute votes on behalf of their clients
                                           clients manage their substantive and                      voting in potentially hundreds, if not                  in accordance with the clients’ general
                                           procedural proxy voting needs.8                           thousands, of shareholder meetings and                  guidance or specific instructions.15
                                           Investment advisers and institutional                     on thousands of proposals that are                         Although estimates vary, each year
                                           investors often retain proxy voting                       presented at these meetings each year,                  proxy voting advice businesses provide
                                                                                                     with the significant portion of those                   voting advice to thousands of clients
                                              5 See, e.g., id. at 43020 (‘‘The U.S. proxy system
                                                                                                     voting decisions concentrated in a                      that exercise voting authority over a
                                           is the fundamental infrastructure of shareholder          period of a few months.10                               sizable number of shares.16 Because
                                           suffrage since the corporate proxy is the principal
                                           means by which shareholders exercise their voting            Proxy voting advice businesses                       proxies have become the predominant
                                           rights. The development of issuer, securities             typically provide investment advisers,                  means by which shareholders of
                                           intermediary, and shareholder practices over the          institutional investors, and other clients              publicly traded companies exercise
                                           years, spurred in part by technological advances,         with a variety of services that relate to               their right to vote on corporate
                                           has made the system complex and, as a result, less
                                           transparent to shareholders and to issuers. It is our     the substance of voting decisions, such                 matters,17 and institutional investors
                                           intention that this system operate with the               as: Providing research and analysis                     hold a significant and increasing
                                           reliability, accuracy, transparency, and integrity        regarding the matters subject to a vote;                number of shares, proxy voting advice
                                           that shareholders and issuers should rightfully                                                                   businesses have become uniquely
                                           expect.’’).
                                                                                                     promulgating their generally applicable
                                              6 See Amendments to Exemptions from the Proxy          benchmark voting policies (a                            situated in today’s market to
                                           Rules for Proxy Voting Advice, Release No. 34–            ‘‘benchmark policy’’) or specialty voting               influence,18 and in many cases directly
                                           87457 (Nov. 5, 2019) [84 FR 66518 (Dec. 4, 2019)]         policies (a ‘‘specialty policy’’), such as              execute, these investors’ voting
                                           (‘‘Proposing Release’’) at 66519.                         a socially responsible policy, a                        decisions.19
                                              7 For purposes of this release, we refer to firms
                                                                                                     sustainability policy, or a Taft-Hartley                   In recognition of the important and
                                           that advise investment advisers and institutional                                                                 unique role that proxy voting advice
                                           investors on their voting determinations, and any         labor policy,11 that their clients can use;
                                           person who markets and sells such advice, as              and making specific voting                              businesses play in the proxy voting
                                           ‘‘proxy voting advice businesses.’’ Unless otherwise      recommendations to their clients on                     process 20 and in the voting decisions of
                                           indicated, the term ‘‘proxy voting advice’’ as used
                                                                                                     matters subject to a shareholder vote,                  investment advisers and institutional
                                           in this release refers to the voting recommendations                                                              investors 21 who often vote on behalf of
                                           provided by proxy voting advice businesses on             either based on the proxy voting advice
                                           specific matters presented at a registrant’s              business’s benchmark or specialty                       retail investors, the Commission
                                           shareholder meeting, or for which written consents        policies or based on custom voting                      proposed amendments to the Federal
                                           or authorizations from shareholders are sought in
                                                                                                     policies that are proprietary to a proxy                proxy rules in November 2019 to
                                           lieu of a meeting, and the analysis and research                                                                  enhance the transparency, accuracy, and
                                           underlying the voting recommendations that are            voting advice business’s clients
                                           delivered to the proxy voting advice business’s           (‘‘custom policy’’).12 This advice is often             completeness of the information
                                           clients through any means, such as in a standalone
                                                                                                     an important factor in the clients’ proxy               provided to clients of proxy voting
                                           written report or multiple reports, an integrated                                                                 advice businesses in connection with
                                           electronic voting platform established by the proxy       voting decisions. Clients may use the
                                           voting advice businesses, or any combination              proxy voting advice business’s                          their voting decisions.22
                                           thereof. The reference to ‘‘proxy voting advice,’’ as                                                                Specifically, the Commission
                                           used in this release, is not intended to encompass          9 Id.
                                                                                                                                                             proposed amendments to codify its
                                                                                                             at 66519, n.9.
                                           (1) administrative or ministerial services, (2) data or     10 Id. at n.8.
                                                                                                                                                             interpretation that proxy voting advice
                                           research that is not used by a proxy voting advice                                                                generally constitutes a solicitation
                                                                                                        11 For example, the various benchmark and
                                           business to formulate its voting recommendations,
                                           or (3) the identity of any of the proxy voting advice     specialty policies of one proxy voting advice           within the meaning of Exchange Act
                                           business’s clients that receive such advice. To the       business, Institutional Shareholder Services (ISS),     Section 14(a) and therefore is subject to
                                           extent any data or research underlies a proxy voting      are set forth on the following web page: https://       the Federal proxy rules. In addition, the
                                           advice business’s voting recommendations but is           www.issgovernance.com/policy-gateway/voting-
                                                                                                     policies/. The various benchmark and specialty          Commission proposed to condition the
                                           not delivered to its clients (such as internal work
                                           product), such data or research also would not            policies of another proxy voting advice business,
                                           constitute that business’s proxy voting advice.           Egan-Jones, are set forth on the following web page:      13 Id.

                                           Further, we recognize that, in formulating its voting     https://www.ejproxy.com/methodologies/.                   14 Id.

                                           recommendations, a proxy voting advice business              12 See Proposing Release at 66519. As discussed        15 Id.
                                           may use data and research that was prepared by            infra Section II.C.3.c.i., we are excluding from the      16 Id. at 66520, n.18.
                                           another party, such as market intelligence and            requirements of new Rule 14a–2(b)(9)(ii) proxy            17 Id. at 66518, n.2.
                                           database providers. For the avoidance of doubt, the       voting advice to the extent that such advice is based     18 See, e.g., letter from Council of Inst. Investors
                                           fact that a third party’s data and research is used       on custom policies. Custom policies would not
                                                                                                                                                             (Nov. 14, 2019) (‘‘CII I’’) (noting that proxy voting
                                           by the proxy voting advice business would not, by         include the proxy voting advice businesses’
                                                                                                                                                             advice businesses’ ‘‘recommendations and related
                                           itself, cause such third party to be a proxy voting       benchmark or specialty policies, even if those
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                                                                                                                                                             analysis’’ may be ‘‘market-moving’’).
                                           advice business. However, if a proxy voting advice        benchmark or specialty policies were to be adopted        19 See also infra note 36 for a discussion of the
                                           business uses a third party’s data and research in        by proxy voting advice businesses’ clients. See infra
                                           formulating its voting recommendations and                note 394 for a discussion of how a proxy voting         increased institutional investor holdings in the U.S.
                                           delivers such data and research to its clients, then      advice business may satisfy the requirements of         markets.
                                                                                                                                                               20 Id. at 66520.
                                           the data and research would constitute part of the        new Rule 14a–2(b)(9)(ii) in situations in which a
                                           proxy voting advice business’s proxy voting advice.                                                                 21 Id.
                                                                                                     client’s custom policy is identical to the benchmark
                                              8 See Proposing Release at 66520, n.17.                or specialty policies.                                    22 See generally Proposing Release.




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                                           availability of certain existing                        proxy rules’ information and filing                   accurate, and materially complete
                                           exemptions from the information and                     requirements, including the obligation                information from an array of relevant
                                           filing requirements of the Federal proxy                to file and furnish definitive proxy                  parties before making their proxy voting
                                           rules commonly used by proxy voting                     statements. For reasons previously                    decisions. To enable shareholders to
                                           advice businesses upon compliance                       stated in the Proposing Release, we                   make informed voting decisions,
                                           with additional disclosure and                          believe that proxy voting advice                      Congress and the Commission have
                                           procedural requirements. Finally, the                   businesses should be eligible to rely on              placed varying obligations on
                                           Commission proposed to amend                            an exemption from such information                    participants in the proxy voting process,
                                           Exchange Act Rule 14a–9, the antifraud                  and filing requirements for their proxy               including through Commission
                                           provision of the Federal proxy rules, to                voting advice, but only to the extent that            rulemakings pursuant to the broad
                                           clarify that, depending upon the                        such exemption is appropriately                       authority granted by Congress to
                                           particular facts and circumstances at                   tailored to their unique role in the proxy            regulate proxy solicitation.27
                                           issue, the failure to disclose certain                  process and facilitates the transparency,                For example, registrants and others
                                           information in proxy voting advice may                  accuracy, and completeness of the                     who engage in a proxy solicitation
                                           be considered materially misleading                     information available to those making                 generally must furnish shareholders
                                           within the meaning of the rule.                         voting decisions. As such, under the                  with a definitive proxy statement
                                              We received many comment letters in                  new rules that we are adopting, persons               containing numerous specified
                                           response to the Proposing Release.23                    furnishing proxy voting advice                        disclosures.28 They must also generally
                                           After considering the public comments,                  constituting a solicitation as defined in             file all of their additional soliciting
                                           we are adopting the proposed rules with                 new 17 CFR 240.14a–1(l)(1)(iii)(A)                    materials with the Commission, which
                                           certain modifications as described, and                 (‘‘Rule 14a–1(l)(1)(iii)(A)’’) will be                ensures that all shareholders and
                                           for the reasons set forth, below.                       eligible to rely on the exemptions in 17              interested parties have access to their
                                           Consistent with the proposal, we are                    CFR 240.14a–2(b)(1) (‘‘Rule 14a–                      soliciting statements and have an ability
                                           adhering to—and adopting an                             2(b)(1)’’) and 17 CFR 240.14a–2(b)(3)                 to consider such statements as part of
                                           amendment to Rule 14a–1(l) to codify—                   (‘‘Rule 14a–2(b)(3)’’) 25 only upon                   their voting decisions and, in certain
                                           our longstanding view that proxy voting                 satisfaction of the conditions of new 17              situations such as in a proxy contest,
                                           advice generally constitutes a                          CFR 240.14a–2(b)(9) (‘‘Rule 14a–                      respond to them.29 The Commission,
                                           ‘‘solicitation’’ under Section 14(a).24                 2(b)(9)’’).                                           however, has long recognized that these
                                           Absent an applicable exemption, a                          As described in more detail below, we              general requirements applicable to
                                           person providing such proxy voting                      have modified these conditions in a                   registrants and others engaged in a
                                           advice would be subject to the Federal                  number of respects in response to                     proxy solicitation may not be necessary
                                                                                                   comments received to provide                          under certain circumstances and,
                                              23 See generally letters submitted in connection     appropriate flexibility to proxy voting               throughout the years, has tailored the
                                           with the Proposing Release, available at https://       advice businesses to meet the principles              application of these requirements as
                                           www.sec.gov/comments/s7-22-19/s72219.htm.
                                           Unless otherwise specified, all references in this      that underlie the objectives of the rule,             needed. For example, shareholders who
                                           release to comment letters are to those relating to     and to avoid unnecessary potential                    beneficially own more than $5 million
                                           the Proposing Release. In addition, the SEC’s           disruptions to their ability to provide               of securities and who do not seek proxy
                                           Investment Advisory Committee adopted                   their clients with timely voting advice.              voting authority are exempt from the
                                           recommendations asking the Commission to:
                                           prioritize improvements to the proxy system (end-       In addition, consistent with the                      requirement to file a definitive proxy
                                           to-end vote confirmations, reconciliations, and         amendments to 17 CFR 240.14a–2(b)                     statement when they engage in a
                                           universal proxies); improve conflict-of-interest        (‘‘Rule 14a–2(b)’’), we are amending                  solicitation, but they still must publicly
                                           disclosure generally; enhance the discussion about      Rule 14a–1(l) to make clarifying changes              file with the Commission any written
                                           the value of proxy advisors and shareholder
                                           proposals; and expand the economic cost-benefit         to the definition of solicitation as it               soliciting materials sent to security
                                           analysis. See U.S. Securities & Exchange                relates to proxy voting advice and                    holders and are subject to the antifraud
                                           Commission Investor Advisory Committee,                 amending Rule 14a–9 to add to the list                provisions of Rule 14a–9 with respect to
                                           Recommendation of the SEC Investor Advisory             of examples provided in the Note to that              the content of those soliciting
                                           Committee Relating to SEC Guidance and Rule
                                           Proposals on Proxy Advisors and Shareholder             rule. We are adopting these                           materials.30 Parties conducting certain
                                           Proposals (Jan. 24, 2020) (‘‘IAC Recommendation’’),     amendments to Rule 14a–1(l) and Rule                  other solicitation activities, including
                                           available at https://www.sec.gov/spotlight/investor-    14a–9 substantially in the form                       the furnishing of proxy voting advice,
                                           advisory-committee-2012/sec-guidance-and-rule-          proposed, with certain modifications as
                                           proposals-on-proxy-advisors-and-shareholder-
                                                                                                                                                         have relied on other exemptions from
                                           proposals.pdf. These recommendations were not           described in the discussion that follows.             the requirement to file proxy
                                           unanimously approved by the members of the                 We recognize that for some                         statements.31 Still other activity has
                                           Investor Advisory Committee; see letters from           shareholders, the services provided by
                                           Stephen Holmes (Jan. 27, 2020) (‘‘S. Holmes’’); Paul    proxy voting advice businesses can be                   27 See infra notes 55–60 and accompanying text
                                           G. Mahoney and J.W. Verret (Jan. 30, 2020) (‘‘P.
                                           Mahoney and J.W. Verret’’); Heidi Stam (Jan. 27,        an important component of the larger                  for a discussion of the multifaceted nature of the
                                                                                                   proxy voting process and, as such, help               Federal securities laws’ security holder voting and
                                           2020). We address the substance of the IAC                                                                    ownership disclosure regulatory framework.
                                           Recommendation, together with related public            facilitate the participation of                         28 17 CFR 240.14a–3; 17 CFR 240.14a–101.
                                           comments, in the discussion that follows. Finally,      shareholders in corporate governance                    29 17 CFR 240.14a–6(b).
                                           the 2019 Small Business Forum Report included a
                                           recommendation that the Commission provide ‘‘for        through the exercise of their voting                    30 17 CFR 240.14a–2(b)(1); 17 CFR 240.14a–6(g).

                                           effective oversight of proxy advisory firms under       rights.26 We are also mindful that the                  31 17 CFR 240.14a–2(b). Rules 14a–2(a) and (b) set

                                           Rule 14a–2(b), with a focus on conflicts of interest,   efficacy and effectiveness of the proxy               forth a number of activities that fall within the
                                           accuracy, transparency, and issuer-specific decision    voting system depend on the ability of                definition of a solicitation but for which the
                                           making.’’ This recommendation was tied for first                                                              requirement to file a definitive proxy statement
                                           place in the priority ranking assigned by the           shareholders to obtain transparent,                   does not apply. This includes, for example, the
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                                           participants of the breakout group session. See                                                               delivery of registrants’ proxy materials by securities
                                           Final Report of the 2019 SEC Government-Business           25 Proxy voting advice businesses have typically   intermediaries to their clients and the securities
                                           Forum on Small Business Capital Formation               relied upon the exemptions in Rule 14a–2(b)(1) and    intermediaries’ request for voting instructions from
                                           (December 2019) (‘‘2019 Small Business Forum’’),        (b)(3) to provide advice without complying with the   their clients (Rule 14a–1(a)(1)), solicitations by or
                                           available at https://www.sec.gov/files/small-           filing and information requirements of the proxy      on behalf of a person who does not seek proxy
                                           business-forum-report-2019.pdf.                         rules. See Proposing Release at 66525 and n.68.       authority (Rule 14a–2(b)(1)), solicitations of no
                                              24 See infra Section II.A.3.                            26 See Proposing Release at 66525.                 more than ten persons (Rule 14a–2(b)(2)), the



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                                           been entirely exempt from the proxy                     the information, and the transparency of                Federal proxy rules’ information and
                                           rules, including Rule 14a–9.32                          the methodologies, used to formulate                    filing requirements applicable to
                                              The Commission has periodically                      proxy voting advice businesses’                         registrants and certain others, such as
                                           adjusted the proxy rules in response to                 recommendations. Concerns have also                     the filing and furnishing of definitive
                                           market developments, including to                       focused on potential conflicts of interest              proxy statements, as long as they satisfy
                                           provide shareholders with additional                    that may affect the recommendations                     certain requirements tailored to their
                                           sources of information.33 In calibrating                made by the proxy voting advice                         role in the proxy process. In particular,
                                           the rules and exemptions, the                           businesses.37 In addition, questions                    we believe that concerns raised
                                           Commission has generally sought to                      have been raised about whether                          regarding the increase in intermediation
                                           avoid unnecessary burdens that may                      registrants have an adequate
                                                                                                                                                           and complexity in the market and the
                                           deter the expression of views on matters                opportunity to review and respond to
                                           presented for a vote while ensuring that                                                                        increased dependence on proxy voting
                                                                                                   proxy voting advice before votes,
                                           shareholders have transparent, accurate,                informed by such advice, are cast and                   advice can be addressed, and the goal of
                                           and materially complete information                     whether shareholders have an adequate                   ensuring that shareholders receive more
                                           upon which to make their voting                         opportunity to review the proxy voting                  transparent, accurate, and complete
                                           decisions.34 In this regard, the                        advice, including in the context of any                 information can be furthered, without
                                           Commission has been guided by the                       response from the registrant or others,                 the full set of disclosures that would be
                                           ‘‘fundamental conclusion that the                       before casting their votes.38 These                     required with a definitive proxy
                                           interests of shareholders are best served               concerns and changing market                            statement. We also recognize that a
                                           by more, and not less, discussion of                    conditions, as discussed above,                         requirement to publicly file proxy
                                           matters presented for a vote.’’ 35 This                 prompted the Commission to consider                     voting advice with the Commission and
                                           same principle guides us again as we                    amendments to the exemptions                            disseminate proxy materials to the
                                           update the Commission’s rules in light                  commonly used by proxy voting advice                    shareholders of every registrant covered
                                           of current market practices and                         businesses, which had been crafted                      by the advice could result in the
                                           circumstances.                                          before proxy voting advice businesses                   addition of significant substantive and
                                              As explained in the Proposing                        played the significant role that they now               procedural changes in the current
                                           Release, proxy voting advice businesses                 do in the proxy voting process and in                   operations of proxy voting advice
                                           have become an increasingly important                   the voting decisions of investment                      businesses and could adversely impact
                                           and prominent part of the proxy voting                  advisers and institutional investors.39 A               their business models. For example,
                                           process as institutional investors, who                 number of the comment letters we
                                           own a majority of the outstanding shares                                                                        such a requirement would effectively
                                                                                                   received in response to the Proposing
                                           in today’s market,36 often retain proxy                                                                         allow investment advisers, institutional
                                                                                                   Release continue to express these
                                           voting advice businesses to assist them                                                                         investors, and other investors who do
                                                                                                   concerns.40
                                           in making their voting determinations                     In updating our rules to facilitate                   not subscribe to the services of proxy
                                           and voting their shares on behalf of                    better informed proxy voting, we do not                 voting advice businesses to obtain
                                           clients. In recent years, registrants,                  believe that it is necessary to subject                 certain proxy voting advice services free
                                           investors, and others have expressed                    proxy voting advice businesses to the                   of charge.
                                           concerns about the role of proxy voting                                                                            For these reasons, we believe that as
                                           advice businesses. These concerns                         37 See  Proposing Release at 66525.                   a general matter these businesses should
                                           include the accuracy and soundness of                     38 See  id. at 66529.
                                                                                                                                                           continue to be eligible for the benefits
                                                                                                      39 See id. at 66519–21.
                                                                                                      40 See, e.g., letters from Mark A. Bloomfield,       of conditional, tailored exemptions from
                                           furnishing of proxy voting advice by advisors to
                                           their clients under certain circumstances (Rule 14a–    President and CEO, American Council for Capital         the information and filing requirements
                                           2(b)(3)), the publication or distribution by a broker   Formation (Jan. 27, 2020) (‘‘ACCF’’); Kyle Isakower,    of the Federal proxy rules generally
                                           or a dealer of research reports under specified         Senior Vice Pres. of Reg. & Energy Policy, American
                                                                                                   Council for Capital Formation (July 7, 2020)
                                                                                                                                                           applicable to registrants and others. In
                                           conditions (Rule 14a–2(b)(5)), and the solicitations
                                           through electronic shareholder forums by persons        (‘‘ACCF II’’); Cameron Arterton, Vice President,        light of the significant role proxy voting
                                           who do not seek proxy voting authority (Rule 14a–       Biotechnology Innovation Organization (Feb. 3,          advice plays in the voting decisions of
                                           2(b)(6)).                                               2020) (‘‘BIO’’); Business Roundtable (Feb. 3, 2020)     institutional investors and others,
                                             32 17 CFR 240.14a–2(a).                               (‘‘BRT’’); Tom Quaadman, Vice President, U.S.
                                             33 For example, the Commission has recalibrated
                                                                                                   Chamber of Commerce Center for Capital Markets          however, we also believe that the
                                           the exemptions ‘‘to provide shareholders with
                                                                                                   Competitiveness (Jan. 31, 2020) (‘‘CCMC’’); Henry       exemptions need to be fashioned both to
                                                                                                   D. Eickelberg, Chief Operating Officer, Center on       elicit adequate disclosure and to enable
                                           additional sources of information, opinions and
                                                                                                   Executive Compensation (Feb. 3, 2020) (‘‘CEC’’);
                                           views’’ to inform their voting decisions, and to
                                                                                                   Corporate Governance Coalition for Investor Value       proxy voting advice businesses’ clients
                                           remove impediments that it determined ‘‘unduly
                                           hindered free discussion’’ among registrants,
                                                                                                   (Feb. 3, 2020) (‘‘CGC’’); Neil A. Hanson, Vice          to have reasonable and timely access to
                                                                                                   President, Investor Relations and Secretary, Exxon      transparent, accurate, and complete
                                           shareholders, and other interested parties.             Mobil Corporation (Feb. 3, 2020) (‘‘Exxon Mobil’’);
                                           Communications Among Shareholders Adopting              Rick E. Hansen, Assistant General Counsel and           information material to matters
                                           Release; see also Concept Release (‘‘The                Corporate Secretary, General Motors Company (Feb.       presented for a vote—thereby ensuring
                                           Commission has actively monitored the proxy             25, 2020) (‘‘GM’’); Clifton A. Pemble, President and
                                           process since the 1930s and has made changes                                                                    that the continued use of the
                                                                                                   CEO, Garmin International, Inc. (Jan. 27, 2020)
                                           when the process was not functioning in a manner        (‘‘Garmin’’); Brian S. Roman, Global General            exemptions facilitates informed voting
                                           that adequately protected the interests of              Counsel (Feb. 3, 2020) (‘‘Mylan’’); Chris Netram,       decisions and does not undermine the
                                           investors.’’).
                                             34 See Communications Among Shareholders
                                                                                                   Vice President, Tax & Domestic Economic Policy,         purposes of the Federal proxy rules.
                                                                                                   National Association of Manufacturers (Feb. 3,
                                           Adopting Release (noting concerns about ‘‘secret’’      2020) (‘‘NAM’’); Tony M. Edwards, Senior                   Some commenters argued that the
                                           solicitations, as well as concerns about the burden     Executive Vice President, and Victoria P. Rostow,       Investment Advisers Act of 1940 (the
                                           on shareholders).                                       Senior Vice President & Deputy General Counsel
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                                             35 Id.                                                                                                        ‘‘Advisers Act’’) is the proper regulatory
                                                                                                   (Feb. 3, 2020) (‘‘Nareit’’); John A. Zecca, Executive
                                             36 See, e.g., A. De La Cruz et al., OECD, Owners      Vice President, Chief Legal and Regulatory Officer,     regime for proxy voting advice
                                           of the World’s Listed Companies 22 (2019),              Nasdaq, Inc. (Feb. 3, 2020) (‘‘Nasdaq’’); Gary A.       businesses, and that the Advisers Act
                                           available at https://www.oecd.org/corporate/            LaBranche, President & CEO, National Investor           and an investment adviser’s fiduciary
                                           Owners-of-the-Worlds-Listed-Companies.pdf (‘‘In         Relations Institute (Feb. 3, 2020) (‘‘NIRI’’); Darla
                                           the United States, institutional investors hold         Stuckey, President and CEO, Society for Corporate       duty already address the stated
                                           around 72% of the domestic stock market value.’’).      Governance (Feb. 3, 2020) (‘‘SCG’’) .



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                                           objectives of the proposed rules.41 We                   the business of issuing reports or                        noted in the Proposing Release, proxy
                                           disagree. The Advisers Act and Section                   analyses concerning securities and                        voting advice businesses provide voting
                                           14(a) serve distinct, though overlapping,                providing advice to others as to the                      advice to clients that exercise voting
                                           regulatory purposes. The Advisers Act                    value of securities and would therefore                   authority over a sizable number of
                                           is a principles-based regulatory                         meet the definition of an investment                      shares that are voted annually, and
                                           framework, at the center of which is a                   adviser unless an exclusion applies.47                    these businesses are uniquely situated
                                           federal fiduciary duty to clients that is                   One such exclusion from the                            in today’s market to influence investors’
                                           based on equitable common law                            definition of an investment adviser                       voting decisions.51 This advice also
                                           principles.42 Section 14(a) grants the                   under the Advisers Act is the                             implicates interests beyond those of the
                                           Commission broad power to adopt rules                    ‘‘publisher’s exclusion.’’ Specifically,                  clients who utilize it when voting.
                                           to control the conditions under which                    Section 202(a)(11)(D) of the Advisers                     Because these clients vote shares they
                                           proxies may be solicited in order to                     Act excludes from the definition of an                    hold on behalf of thousands of retail
                                           address a Congressional concern that                     investment adviser a ‘‘publisher of any                   investors, this advice affects the
                                           the solicitation of proxy voting authority               bona fide newspaper, news magazine or                     interests of these underlying investors.
                                           be conducted on a fair, honest, and                      business or financial publication of                      Further, in light of proxy voting advice
                                           informed basis.43                                        general and regular circulation.’’ 48 At                  businesses’ clients’ ability to affect the
                                              As a preliminary matter, we note that                 least one large proxy voting advice                       outcome of the vote on a particular
                                           proxy voting advice businesses differ as                 business has taken the position that if it                matter through their voting power, the
                                           to whether they believe they fall within                 was deemed to be an investment                            proxy voting advice guiding the clients’
                                           the definition of an investment adviser                  adviser, it could rely on the exclusion                   votes potentially affects the interests of
                                           under the Advisers Act and should be                     for publishers contained in Section                       all shareholders 52 of the registrant, the
                                           registered as investment advisers. The                   202(a)(11)(D) of the Advisers Act.49                      registrant, and the proxy system in
                                           Commission has stated previously that                       Regardless of the applicability of the                 general.53
                                           when proxy voting advice businesses                      Advisers Act, however, we believe the                        In the areas of proxy voting, proxy
                                           provide certain services, they meet the                  concerns motivating the rules we are                      solicitation, and related activities, the
                                           definition of investment adviser under                   adopting are squarely subject to, and                     Advisers Act, Section 14(a), and various
                                           the Advisers Act and thus are subject to                 appropriately addressed through,                          other statutes and Commission rules do
                                           regulation under the Act.44 Specifically,                regulation under Section 14(a).50 As we                   not operate independently from each
                                           a person is an ‘‘investment adviser’’ if                                                                           other and are not mutually exclusive.
                                           the person, for compensation, engages
                                                                                                      47 Id.
                                                                                                                                                              Rather, depending on the activity and
                                                                                                       48 Lowe v. SEC, 472 U.S. 181 (1985). The U.S.
                                           in the business of providing advice to                                                                             status of the person involved, more than
                                                                                                    Supreme Court has interpreted the ‘‘publisher’s
                                           others as to the value of securities,                    exclusion’’ to include publications that offer
                                                                                                                                                              one statutory provision and related rules
                                           whether to invest in, purchase, or sell                  impersonal investment advice to the general public        may apply, with the various provisions
                                           securities, or issues reports or analyses                on a regular basis. To qualify for the section            complementing each other. For
                                                                                                    202(a)(11)(D) exclusion, the publication must be: (1)     example, Section 13(d) of the Exchange
                                           concerning securities.45 Proxy voting                    Of a general and impersonal nature, in that the
                                           advice businesses provide analyses of                    advice provided is not adapted to any specific
                                                                                                                                                              Act and the related rules 54 are designed
                                           shareholder proposals, director                          portfolio or any client’s particular needs; (2) ‘‘bona    to ensure that market participants are
                                           candidacies, or corporate actions and                    fide’’ or genuine, in that it contains disinterested      informed when any shareholder (or
                                                                                                    commentary and analysis as opposed to                     group of shareholders) acquires more
                                           provide advice concerning particular                     promotional material; and (3) of general and regular      than five percent of a class of equity
                                           votes in a manner designed to assist                     circulation, in that it is not timed to specific market
                                                                                                    activity or to events affecting, or having the ability    securities registered under Exchange
                                           their institutional clients to achieve
                                                                                                    to affect, the securities industry.                       Act Section 12.55 Section 13(d) and the
                                           their investment goals with respect to                      49 See letter from Katherine Rabin, CEO, Glass         related rules generally require these
                                           the voting of securities they hold.46 In                 Lewis & Co., LLC (Nov. 14, 2018), available at            holders to disclose publicly their
                                           other words, proxy voting advice                         https://www.glasslewis.com/wp-content/uploads/
                                                                                                                                                              ownership and other information
                                           businesses, for compensation, engage in                  2018/11/GL-SEC-Roundtable-Statement-
                                                                                                    111418.pdf. The Government Accountability Office          mandated by the Commission, such as
                                             41 See, e.g., letter from Gary Retelny, CEO,           in its Report about proxy advisory firms to the           any plans that the holders may have to
                                                                                                    Committee on Banking, Housing, and Urban Affairs          change the board of directors or
                                           Institutional Shareholder Services, Inc. (Jan. 31,
                                                                                                    of the U.S. Senate in 2016 also took note of the
                                           2020) (‘‘ISS’’).
                                                                                                    differences in registration status of proxy advisory
                                                                                                                                                              management or to engage in
                                             42 See Commission Interpretation Regarding
                                                                                                    firms. The Report observed that one large proxy
                                           Standard of Conduct for Investment Advisers,             voting advice business is not registered with the         Responsibilities’’), Question No. 2 at 12, 84 FR
                                           Release No. IA–5248 at 6 (June 5, 2019), 84 FR           SEC as an investment adviser, while another is, and       47423 (discussing steps that an investment adviser
                                           33669, 33670 (July 12, 2019) (‘‘Standard of Conduct      a third is registered as a nationally recognized          that has assumed the authority to vote proxies on
                                           for Investment Advisers’’); SEC v. Capital Gains         statistical rating organization. See Report to the        behalf of clients could take to demonstrate that it
                                           Research Bureau, Inc., 375 U.S. 180, 194 (1963)          Chairman, Subcommittee on Economic Policy,                is making voting determinations in a client’s best
                                           (noting that the Advisers Act ‘‘reflects a               Committee on Banking, Housing, and Urban Affairs,         interest); see also Supplement to Commission
                                           congressional recognition ‘of the delicate fiduciary     U.S. Senate, Corporate Shareholder Meetings, Proxy        Guidance Regarding Proxy Voting Responsibilities
                                           nature of an investment advisory relationship,’ as       Advisory Firms’ Role in Voting and Corporate              of Investment Advisers, Release No. IA–5547 (July
                                           well as a congressional intent to eliminate, or at       Governance Practices from the U.S. Government             22, 2020) (‘‘Supplemental Proxy Voting Guidance’’).
                                           least to expose, all conflicts of interest which might   Accountability Office (Nov. 2016), available at
                                                                                                                                                                 51 See Proposing Release at 66520.
                                           incline an investment adviser—consciously or             https://www.gao.gov/assets/690/681050.pdf.                   52 See supra note 18.
                                           unconsciously—to render advice which was not                50 Whether an entity meets the definition of an           53 Cf. J. I. Case Co. v. Borak, 377 U.S. 426, 432
                                           disinterested’’).                                                                                                  (1964) (‘‘The injury which a stockholder suffers
                                             43 See Communications Among Shareholders
                                                                                                    investment adviser or is eligible for an exclusion
                                                                                                    does not impact the analysis of whether it is             from corporate action pursuant to a deceptive proxy
                                           Adopting Release at 48277; Proposing Release at          engaged in ‘‘solicitation’’ for purposes of Section       solicitation ordinarily flows from the damage done
                                           n.3.                                                     14(a). Relatedly, the retention of a proxy voting         the corporation, rather than from the damage
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                                             44 See Concept Release at 43010.
                                                                                                    advice business does not relieve an investment            inflicted directly upon the stockholder. The damage
                                             45 Advisers Act Section 202(a)(11) [15 U.S.C. 80b–
                                                                                                    adviser of its obligations under the Advisers Act to      suffered results not from the deceit practiced on
                                           2(a)(11)]. Sections 202(a)(11)(A) through (G) of the     its clients. See Commission Guidance Regarding            him alone but rather from the deceit practiced on
                                           Advisers Act address exclusions to the definition of     Proxy Voting Responsibilities of Investment               the stockholders as a group.’’).
                                           the term ‘‘investment adviser.’’ [15 U.S.C. 80b–         Advisers, Release No. IA–5325, pp. 5–6 (Aug. 21,             54 17 CFR 240.13d–1 through 13d–102 (‘‘Rules

                                           2(a)(11)(A) through (G)].                                2019) [84 FR 47420, 42421 (Sept. 10, 2019)]               13d–1 through 13d–102’’).
                                             46 See Concept Release at 43010.                       (‘‘Commission Guidance on Proxy Voting                       55 15 U.S.C. 78m(d).




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                                           extraordinary transactions (such as                     may be material to a voting decision                     new securities may be issued to the
                                           mergers or material asset sales), for so                and, accordingly, important to the                       shareholders who are voting on the
                                           long as the holdings exceed the five                    regulation of the proxy voting process.                  transaction. In such a situation, both the
                                           percent threshold as well as any                        Similarly, the Commission—noting that                    registration and prospectus
                                           material changes to these disclosures.56                Section 13(d) already sets forth the                     requirements of Securities Act Section 5
                                           These mandated disclosures, which are                   circumstances for when public                            and the proxy solicitation requirements
                                           provided in Schedule 13D, along with                    disclosures of such plans, proposals, or                 of Exchange Act Section 14(a) apply,
                                           the short-form Schedule 13G adopted                     agreements are needed—adopted the                        with public companies often filing a
                                           pursuant to Exchange Act Section                        Rule 14a–2(b)(1) exemption despite                       joint proxy statement/prospectus to
                                           13(g),57 have proven important to                       concerns from some commenters that                       fulfill both statutory obligations.
                                           investor protection by providing public                 proxy filings are needed for disclosure                     This framework—complementary and
                                           notice of significant accumulations of                  of a shareholder’s plans or proposals                    overlapping statutes and rules that are
                                           securities by a person that may affect                  regarding the registrant or shareholders’                based on principles, facts and
                                           the control of the company and,                         voting agreements on a particular                        circumstances, and each participant’s
                                           ultimately, the interests of all security               matter.59 At the same time, the                          actions as well as status—applies
                                           holders in the company, including in                    exemption is not available for                           similarly in other key areas of the
                                           the context of proxy voting.                            solicitations by any person who, while                   Commission’s mandate, including the
                                              Yet, the obligation for a shareholder to             not seeking proxy authority, is                          offer and sale of securities in both the
                                           file Schedules 13D or 13G does not                      nevertheless required to file a Schedule                 public and private markets, securities
                                           obviate the shareholder’s obligation to                 13D or has disclosed in the Schedule                     trading, and the provision of investment
                                           comply with Section 14(a) and the                       13D an intent (or reserved the right) to                 advice to retail and institutional
                                           Federal proxy rules to the extent that                  engage in a change of control                            investors. Moreover, this framework is
                                           the shareholder engages in activities                   transaction or a contested director                      consistent with Congressional intent as
                                           that constitute a proxy solicitation. For               election, given the heightened need for                  reflected in the enactment of the
                                           example, a dissident shareholder                        the proxy disclosures from a person                      Securities Act, the Exchange Act, the
                                           seeking to solicit proxy authority to                   contemplating such transformative                        Advisers Act, and various other key
                                           elect its own director nominees to a                    transactions or contests.                                statutes, including Section 14(a), and
                                           registrant’s board in a contested election                 Other statutes that often play an                     has proven to be an effective and
                                           must still file and furnish a definitive                important and complementary role in                      efficient means to regulate an important,
                                           proxy statement even though the                         furthering all aspects of the                            multi-faceted and ever-evolving aspect
                                           dissident shareholder may have                          Commission’s mission in the context of                   of commerce. Accordingly, given the
                                           previously disclosed in its Schedule                    proxy voting and proxy solicitation                      importance of a properly functioning
                                           13D the plan to change the board of                     include Sections 5, 11, and 12 of the                    proxy system to investors and the
                                           directors. This is the result of Congress               Securities Act of 1933 (the ‘‘Securities                 capital markets, even if other provisions
                                           establishing these two separate statutory               Act’’), in particular in circumstances                   of the federal securities laws may apply
                                           provisions with different purposes, with                where the vote being solicited is in                     to certain of their activities, it is
                                           Section 13(d) focused on providing                      connection with a significant                            appropriate for voting advice furnished
                                           notice about concentration of voting                    transaction, such as a merger, in which                  by proxy voting advice businesses to be
                                           power and the use of that power,                                                                                 subject to the rules under Section 14(a),
                                           including to change or influence the                       59 See Communications Among Shareholders              which are designed specifically to
                                           control of the issuer, and Section 14(a)                Adopting Release at 48278 (‘‘When and under what         enhance the transparency and integrity
                                                                                                   circumstances a large shareholder, or group of
                                           focused on providing information                        shareholders acting together, must reveal to the
                                                                                                                                                            of the proxy voting process, with the
                                           needed for informed shareholder voting,                 SEC, the company, other shareholders, and the            ultimate aim of facilitating informed
                                           and the fact that a shareholder may                     market its plans and proposals regarding the             voting decisions.60
                                           engage in an activity that triggers                     company has been addressed by Congress, but not
                                                                                                   through the provisions governing proxy                   II. Discussion of Final Amendments
                                           obligations under both provisions.                      solicitations. Section 13(d) of the Exchange Act, as
                                              The two statutory obligations often                  implemented by the Commission in its regulations         A. Codification of the Commission’s
                                           complement each other. For example,                     adopted thereunder, sets forth the circumstances         Interpretation of ‘‘Solicitation’’ Under
                                           Exchange Act Rule 13d–1 provides                        when public disclosure of plans and proposals by         Rule 14a–1(l) and Section 14(a)
                                                                                                   significant shareholders, as well as agreements
                                           certain shareholders, including many                    among shareholders to act together with respect to          Exchange Act Section 14(a) 61 makes
                                           classes of institutional shareholders,                  voting matters, must be disclosed to the market.’’).     it unlawful for any person to ‘‘solicit’’
                                           with a tailored, conditional exemption                  See also Release No. 34–39538 (Jan. 12, 1998) [63
                                                                                                                                                            any proxy with respect to any security
                                           from the general requirements of                        FR 2854 (Jan. 16, 1998)] (stating the Commission’s
                                                                                                   views on when a significant shareholder’s proxy          registered under Exchange Act Section
                                           Section 13(d) if the shareholder has                    soliciting activities and communications could be        12 in contravention of such rules and
                                           acquired the securities ‘‘in the ordinary               viewed as having the purpose or effect of changing       regulations prescribed by the
                                           course of business and not with the                     or influencing control of the company and thereby
                                                                                                                                                            Commission.62 The purpose of Section
                                           purpose nor with the effect of changing                 triggering the obligation to file a Schedule 13D).
                                                                                                   Under Section 13(d) and Section 13(g), a ‘‘group’’       14(a) is to prevent ‘‘deceptive or
                                           or influencing the control of the                       is formed when two or more persons act together          inadequate disclosure’’ from being made
                                           issuer.’’ 58 In various circumstances                   for the purpose of acquiring, holding, voting or         to shareholders in a proxy solicitation.63
                                           where shareholders are voting by proxy,                 disposing of the securities. Congress created the
                                           and solicitation activity is ongoing—for                ‘‘group’’ concept to prevent persons who seek to           60 See
                                                                                                   pool their voting or other interests in the securities            Proposing Release at 66520.
                                           example, the election of directors or the               of an issuer from evading the Section 13(d) or 13(g)
                                                                                                                                                              61 15 U.S.C. 78n(a).
                                           approval of an extraordinary corporate                  obligations because no one person owns more than           62 Registrants only reporting pursuant to
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                                           transaction—the information required to                 five percent of the securities. Use of a proxy voting    Exchange Act Section 15(d) are not subject to the
                                                                                                   advice business by investors as a vehicle for the        federal proxy rules, while foreign private issuers are
                                           be disclosed publicly by Section 13(d)                                                                           exempt from the requirements of Section 14(a). 17
                                                                                                   purpose of coordinating their voting decisions
                                                                                                   regarding an issuer’s securities without complying       CFR 240.3a12–3(b).
                                             56 17 CFR 240.13d–101.                                                                                           63 Borak, 377 U.S. at 432; see S. Rep. No. 1455,
                                                                                                   with the filing obligations of Section 13(d) or 13(g)
                                             57 15 U.S.C. 78m(g).                                  would raise compliance concerns under the                73d Cong., 2d Sess., 74 (1934) (‘‘In order that the
                                             58 17 CFR 240.13d–1(b)(1)(i).                         beneficial ownership reporting requirements.                                                         Continued




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                                           Section 14(a) grants the Commission                      written communications designed to                    in that release, the determination of
                                           broad authority to establish rules and                   affect shareholders’ voting decisions                 whether a communication is a
                                           regulations to govern proxy solicitations                well in advance of any formal request                 solicitation for purposes of Section 14(a)
                                           ‘‘as necessary or appropriate in the                     for a proxy that would have triggered                 depends upon both the specific nature,
                                           public interest or for the protection of                 the filing and information requirements               content, and timing of the
                                           investors.’’ 64                                          of the federal proxy rules.69                         communication and the circumstances
                                              The Exchange Act does not define                         Since 1956, the Commission has                     under which the communication is
                                           what constitutes a ‘‘solicitation’’ for                  recognized that its definition of a                   transmitted.75 The Commission noted
                                           purposes of Section 14(a) and the                        solicitation was broad and applicable                 several factors that indicate proxy
                                           Commission’s proxy rules. Accordingly,                   regardless of whether persons                         voting advice businesses generally
                                           the Commission has exercised its                         communicating with shareholders were                  engage in solicitations when they
                                           rulemaking authority over the years to                   seeking proxy authority for                           provide proxy voting advice to their
                                           define what communications are                           themselves.70 In light of the breadth of              clients, including:
                                           solicitations and to prescribe rules and                 this definition, the Commission adopted                  • The proxy voting advice generally
                                           regulations when necessary and                           an exemption from the information and                 describes the specific proposals that
                                           appropriate in the public interest and to                filing requirements of the Federal proxy              will be presented at the registrant’s
                                           protect investors in the proxy voting                    rules for communications by persons                   upcoming meeting and presents a ‘‘vote
                                           process.65 The Commission first                          not seeking proxy authority, but                      recommendation’’ for each proposal that
                                           promulgated rules in 1935 to define a                    continued to include such                             indicates how the client should vote;
                                           solicitation to include any request for a                communications within the definition                     • Proxy voting advice businesses
                                           proxy, consent, or authorization or the                  of a ‘‘solicitation.’’ 71 The Commission              market their expertise in researching
                                           furnishing of a proxy, consent, or                       also adopted another exemption from                   and analyzing matters that are subject to
                                           authorization to security holders.66                     the information and filing requirements               a proxy vote for the purpose of assisting
                                           Since then, the Commission has                           for proxy voting advice given by                      their clients in making voting decisions;
                                           amended the definition as needed to                      advisors to their clients under certain                  • Many clients of proxy voting advice
                                           respond to new and changing market                       circumstances, but likewise continued                 businesses retain and pay a fee to these
                                           practices that have raised the concerns                  to include such advice within the                     firms to provide detailed analyses of
                                           underlying Section 14(a).67                              definition of ‘‘solicitation,’’ subject to an         various issues, including advice
                                              In particular, the Commission                         exception discussed below.72 By                       regarding how the clients should vote
                                           expanded the definition of a solicitation                adopting these tailored exemptions, the               through their proxies on the proposals
                                           in 1956 to include not only requests for                 Commission removed certain filing and                 to be considered at the registrant’s
                                           proxies, but also any ‘‘communication                    other requirements that were considered               upcoming meeting or on matters for
                                           to security holders under circumstances                  unnecessary for such solicitations in                 which shareholder approval is sought;
                                           reasonably calculated to result in the                   order to facilitate shareholder access to             and
                                           procurement, execution, or revocation                    more sources of information when                         • Proxy voting advice businesses
                                           of a proxy.’’ 68 This expanded definition                voting, though the antifraud provisions               typically provide their
                                           was prompted by recognition that some                    of the proxy rules continued to apply.                recommendations shortly before a
                                           market participants were distributing                       The Commission has previously                      shareholder meeting or authorization
                                                                                                    observed that the definition of a                     vote,76 enhancing the likelihood that
                                           stockholder may have adequate knowledge as to the        solicitation for purposes of Section 14(a)            their recommendations will influence
                                           manner in which his interests are being served, it
                                           is essential that he be enlightened not only as to the   may result in proxy voting advice                     their clients’ voting determinations.77
                                           financial condition of the corporation, but also as      businesses being subject to the Federal                  The Commission observed that where
                                           to the major questions of policy, which are decided      proxy rules because they provide                      these or other significant factors (or a
                                           at stockholders’ meetings.’’); Communications            recommendations that are reasonably                   significant subset of these or other
                                           Among Shareholders Adopting Release at 48277.
                                              64 15 U.S.C. 78n(a); see Borak, 377 U.S. at 432       calculated to result in the procurement,              factors) are present,78 the proxy voting
                                           (noting the ‘‘broad remedial purposes’’ evidenced        withholding, or revocation of a proxy                 advice businesses’ voting advice
                                           by the language of Section 14(a)).                       and thus, as a general matter, the
                                              65 See 15 U.S.C. 78n(a); 78c(b); 78w.
                                                                                                    furnishing of proxy voting advice                     (‘‘Commission Interpretation on Proxy Voting
                                              66 See Order Execution Obligations, Release No.                                                             Advice’’).
                                                                                                    constitutes a solicitation.73 In 2019, the               75 See Commission Interpretation on Proxy Voting
                                           34–378 (Sept. 24, 1935) 1935 WL 29270.
                                              67 The Commission revised the definition in 1938
                                                                                                    Commission issued an interpretative                   Advice at 47417. See also Proposing Release at
                                           to include any request for a proxy, regardless of        release regarding the application of the              66522; Concept Release at 43009 n.244.
                                           whether the request is accompanied by or included        Federal proxy rules to proxy voting                      76 See, e.g., letter from Maria Ghazal, Senior Vice

                                           in a written form of proxy. See Release No. 34–1823      advice.74 As the Commission explained                 President and Counsel, Business Roundtable (June
                                           (Aug. 11, 1938) [3 FR 1991 (Aug. 13, 1938)], at 1992.                                                          3, 2019) at 9 (‘‘[R]ecent survey results support the
                                           It subsequently revised the definition in 1942 to           69 See generally Communications Among
                                                                                                                                                          contention that a spike in voting follows adverse
                                           include ‘‘any request to revoke or not execute a                                                               voting recommendations by ISS during the three-
                                                                                                    Shareholders Adopting Release.                        business day period immediately after the release
                                           proxy.’’ See Release No. 34–3347 (Dec. 18, 1942) [7         70 Id. at 48276 (adopting Exchange Act Rule 14a–
                                           FR 10653 (Dec. 22, 1942)], at 10656. Courts have                                                               of the recommendation.’’); Transcript of Roundtable
                                           also taken a broad view of solicitation. See infra       2(b)(1)).                                             on the Proxy Process, at 242 (Nov. 15, 2018),
                                                                                                       71 See id.
                                           notes 141–146 and accompanying text.                                                                           available at https://www.sec.gov/files/proxy-round-
                                              68 17 CFR 240.14a–1(l)(1)(iii); see Adoption of          72 See Shareholder Communications, Shareholder     table-transcript-111518.pdf; Frank Placenti, Are
                                           Amendments to Proxy Rules, Release No. 34–5276           Participation in Corporate Electoral Process and      Proxy Advisors Really A Problem?, American
                                           (Jan. 17, 1956) [21 FR 577 (Jan. 26, 1956)], at 577;     Corporate Governance Generally, Release No. 34–       Council for Capital Formation 3 (Oct. 2018),
                                           see also Broker-Dealer Participation in Proxy            16356 (Nov. 21, 1979) [44 FR 68764 (Nov. 29, 1979)]   available at http://accfcorpgov.org/wp-content/
                                           Solicitations, Release No. 34–7208 (Jan. 7, 1964) [29    (‘‘1979 Adopting Release’’), at 68766.                uploads/2018/10/ACCF_ProxyProblemReport_
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                                           FR 341 (Jan. 15, 1964)] (‘‘Broker-Dealer Release’’),        73 See Concept Release at 43009. See also          FINAL.pdf.
                                           at 341 (‘‘Section 14 and the proxy rules apply to any    Proposing Release at 66522; Broker-Dealer Release        77 Commission Interpretation on Proxy Voting

                                           person—not just management, or the opposition.           at 341.                                               Advice at 47418. See also Proposing Release at
                                           This coverage is necessary in order to assure that          74 Commission Interpretation and Guidance          66522.
                                           all materials specifically directed to stockholders      Regarding the Applicability of the Proxy Rules to        78 Such other factors may include the fact that

                                           and which are related to, and influence their voting     Proxy Voting Advice, Release No. 34–86721 (Aug.       many proxy voting advice businesses’
                                           will meet the standards of the rules.’’).                21, 2019) [84 FR 47416 (Sept. 10, 2019)]              recommendations are typically distributed broadly.



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                                           generally would constitute a solicitation               to be a separate communication of proxy                 businesses is the kind of information
                                           subject to the Commission’s proxy rules                 voting advice under proposed Rule 14a–                  that Congress intended Section 14(a) to
                                           because such advice would be ‘‘a                        1(l)(1)(iii)(A). In addition to voting                  address.87 Two commenters agreed with
                                           communication to security holders                       recommendations formulated pursuant                     the Commission’s position that the
                                           under circumstances reasonably                          to a proxy voting advice business’s                     definition of ‘‘solicitation’’ should not
                                           calculated to result in the procurement,                benchmark and specialty policies, the                   be limited to a request to obtain proxy
                                           withholding or revocation of a                          Commission also proposed to include                     authority or to obtain shareholder
                                           proxy.’’ 79 Furthermore, the Commission                 voting recommendations formulated                       support for a preferred outcome.88
                                           explained that such advice generally                    pursuant to a proxy voting advice                       Those two commenters also agreed with
                                           would be a solicitation even if the proxy               business’s client’s own custom policies                 the Commission’s view that each voting
                                           voting advice business is providing                     within the scope of the term                            recommendation formulated pursuant to
                                           recommendations based on the client’s                   ‘‘solicitation,’’ consistent with its prior             a benchmark policy or a specialty policy
                                           own custom policies, and even if the                    interpretation.82                                       should be considered a separate
                                           client chooses not to follow the                           Lastly, the Commission proposed to                   ‘‘solicitation.’’ 89 Other commenters
                                           advice.80 In addition, the fact that proxy              amend Rule 14a–1(l)(2), which currently                 added that the analysis of what
                                           voting advice businesses may provide                    lists activities and communications that                constitutes a ‘‘solicitation’’ should not
                                           additional services, such as consulting                 do not constitute a solicitation, to add                turn on whether the proxy voting advice
                                           services to investment advisers and                     paragraph (v) to make clear that the                    business’s voting recommendations are
                                           issuers and general market commentary,                  terms ‘‘solicit’’ and ‘‘solicitation’’                  based on an investor’s custom policy or
                                           does not diminish their role in the                     exclude any proxy voting advice                         the proxy voting advice business’s
                                           proxy solicitation process.                             furnished by a person who furnishes                     benchmark policy.90 Finally, a few
                                                                                                   such advice only in response to an                      commenters that supported the
                                           1. Proposed Amendments
                                                                                                   unprompted request.83 Doing so would                    proposed amendments recommended
                                              In the Proposing Release, the                        codify the Commission’s historical view                 that the Commission include in the
                                           Commission proposed to amend 17 CFR                     that such a communication should not                    definition of ‘‘solicitation’’ any reports
                                           240.14a–1(l)(1)(iii) (‘‘Rule 14a–                       be regarded as a solicitation subject to                and ratings by environmental, social,
                                           1(l)(1)(iii)’’) to add paragraph (A) to                 the proxy rules.84                                      and governance ratings firms or
                                           make clear that the terms ‘‘solicit’’ and                                                                       environmental and sustainability rating
                                           ‘‘solicitation’’ include any proxy voting               2. Comments Received                                    firms.91
                                           advice that makes a recommendation to                      Commenters expressed a mix of views                     Other commenters opposed codifying
                                           a shareholder as to its vote, consent, or               on the Commission’s proposed                            the Commission’s interpretation of
                                           authorization on a specific matter for                  amendments to the definitions of                        ‘‘solicit’’ and ‘‘solicitation.’’ 92 Some
                                           which shareholder approval is solicited,                ‘‘solicit’’ and ‘‘solicitation’’ in 17 CFR
                                           and that is furnished by a person who                   240.14a–1(l)(1) (‘‘Rule 14a–1(l)(1)’’). A                  87 See letters from BRT; CCMC; Exxon Mobil;

                                           markets its expertise as a provider of                  number of commenters supported                          NAM; Nareit; SCC I.
                                                                                                                                                              88 See letters from NAM; SCG.
                                           such advice, separately from other forms                codifying the Commission’s                                 89 See letters from NAM; SCG.
                                           of investment advice, and sells such                    interpretation of those definitions as                     90 See letters from Exxon Mobil; NAM; SCG.
                                           advice for a fee.81 The proposed                        proposed.85 Some of these commenters                       91 See letters from Exxon Mobil; Garmin; NAM.
                                           amendment would codify the long-held                    described the proposed amendments as                       92 See letters from Anat Admati, George G.C.
                                           Commission view that the furnishing of                  consistent with the Commission’s                        Parker Professor of Finance and Economics,
                                           proxy voting advice generally                           existing interpretation of the term                     Stanford Graduate School of Business, et al. (Jan.
                                           constitutes a solicitation governed by                                                                          15, 2020) (‘‘62 Professors’’); Brandon Rees, Deputy
                                                                                                   ‘‘solicitation’’ 86 and noted that the                  Director, Corporations at Capital Markets, AFL–CIO
                                           the federal proxy rules.                                advice provided by proxy voting advice                  (Feb. 3, 2020) (‘‘AFL–CIO II’’); Robert Arnold and
                                              In connection with the proposed                                                                              Matthew Aquiline, Trustees, Bricklayers & Trowel
                                           amendment to Rule 14a–1(l)(1)(iii), the                   82 Proposing    Release at 66522.                     Trades International Pension Fund (Jan. 31, 2020)
                                           Commission recognized that the major                      83 Id.                                                (‘‘Bricklayers’’); Marcie Frost, Chief Executive
                                                                                                            at 66523, 66557.
                                                                                                                                                           Officer, CalPERS (Feb. 3, 2020) (‘‘CalPERS’’); Aeisha
                                           proxy voting advice businesses may use                     84 Commission Interpretation on Proxy Voting
                                                                                                                                                           Mastagni, Portfolio Manager, California State
                                           more than one voting policy or set of                   Advice at 47419 (‘‘We view these services provided      Teachers’ Retirement System (Feb. 3, 2020)
                                           guidelines in formulating their voting                  by proxy advisory firms as distinct from advice         (‘‘CalSTRS’’); Marcia Moffat, Board Chair, Canadian
                                                                                                   prompted by unsolicited inquiries from clients to       Coalition for Good Governance (Feb. 3, 2020)
                                           recommendations on a particular matter                  their financial advisors or brokers on how they         (‘‘Canadian Governance Coalition’’); James Allen,
                                           to be voted at a shareholder meeting (or                should vote their proxies, which remains outside        Head, and Matt Orsagh, Senior Director, Capital
                                           for which written consents or                           the definition of solicitation.’’); 1979 Adopting       Markets Policy, CFA Institute (Feb. 3, 2020) (‘‘CFA
                                           authorizations are sought in lieu of a                  Release at 68766. See also Broker-Dealer Release at     Institute I’’); Kenneth A. Bertsch, Executive
                                                                                                   341 (setting forth the opinion of the SEC’s General     Director, and Jeffrey P. Mahoney, General Counsel,
                                           meeting). For example, a proxy voting                   Counsel that a broker is not engaging in a              Council of Institutional Investors (Jan. 30, 2020)
                                           advice business may offer differing                     ‘‘solicitation’’ if it is merely responding to his      (‘‘CII IV’’); Rob Collins, Council for Investor Rights
                                           voting recommendations on a matter                      customer’s request for advice and ‘‘not actively        and Corporate Accountability (Feb. 3, 2020)
                                           based on the application of its                         initiating the communication’’).                        (‘‘CIRCA’’); Ron Baker, Executive Director, Colorado
                                                                                                      85 See letters from BIO; BRT; CCMC; CEC; CGC;
                                           benchmark policy or various specialty                                                                           Public Employees’ Retirement Association (Feb. 3,
                                                                                                   Michael McCormick, Executive Vice President,            2020) (‘‘Colorado Retirement’’); Duane Roberts,
                                           policies. Under the proposal, the voting                General Counsel Secretary, Ecolab Inc. (Feb. 3,         Director of Equities, Dana Investment Advisors
                                           recommendations formulated under the                    2020) (‘‘Ecolab’’); Exxon Mobil; Dennis E. Nixon,       (Dec. 5, 2019) (‘‘Dana’’); Richard B. Zabel, General
                                           benchmark policy and each of the                        President, International Bancshares Corporation         Counsel and Chief Legal Officer, Elliott
                                                                                                   (Jan. 23, 2020) (‘‘IBC’’); NAM; Nareit; Nasdaq; David   Management Corporation (Jan. 31, 2020) (‘‘Elliott
                                           specialty policies would be considered                  Dixon, President, and David L. Dragics, Advocacy        I’’); Hans-Christoph Hirt, Executive Director and
                                                                                                   Ambassador, NIRI Capital Area Chapter (Feb. 6,          Head, Hermes Equity Ownership Services Limited
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                                             79 See Commission Interpretation on Proxy Voting
                                                                                                   2020) (‘‘NIRI-Capital’’); Phil Gramm (Feb. 3, 2020)     (Feb. 3, 2020) (‘‘Hermes’’); ISS, Josh Zinner, CEO,
                                           Advice at 47418. See also Proposing Release at          (‘‘P. Gramm’’); Niels Holch, Executive Director,        Interfait Center on Corporate Responsibility (Feb. 3,
                                           66522.                                                  Shareholder Communications Coalition (Feb. 3,           2020) (‘‘Interfaith Center II’’); Kevin Cameron,
                                             80 See Commission Interpretation on Proxy Voting      2020) (‘‘SCC I’’); SCG; Stakeholders Empowerment        Executive Chair, Glass Lewis (Feb. 3, 2020) (‘‘Glass
                                           Advice at 47418. See also Proposing Release at          Service (Jan. 31, 2020) (‘‘SES’’).                      Lewis II’’); Jonathan Grabel, Chief Investment
                                           66522.                                                     86 See letters from BRT; CCMC; NAM; Nasdaq;          Officer, LACERA (Feb. 3, 2020) (‘‘LA Retirement’’),
                                             81 Proposing Release at 66522, 66557.                 NIRI-Capital.                                                                                       Continued




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                                           commenters asserted that the                               revised definition because they vote on                    a solicitation.108 Two commenters also
                                           Commission does not have the authority                     behalf of their clients rather than                        expressed concern that the proposal
                                           to regulate proxy voting advice                            providing them with research reports                       would overlap with regulations that
                                           businesses under Section 14(a) 93 or                       and voting recommendations.100                             proxy voting advice businesses are
                                           other provisions of the Exchange Act.94                       In addition, some commenters stated                     already subject to, including as
                                           Some described the proposal as                             that the proposed codification of                          ‘‘investment advisers’’ under the
                                           inconsistent with the Commission’s                         ‘‘solicitation’’ would increase proxy                      Advisers Act and as fiduciaries under
                                           historical treatment of Section 14(a).95                   voting advice businesses’ costs 101 or                     the Employee Retirement Income
                                           Some commenters added that proxy                           interfere with their ability to provide                    Security Act of 1974.109
                                           voting advice differs from proxy                           services to their clients.102 Specifically,                   Finally, some commenters that
                                           solicitation and should not be treated as                  these commenters asserted that the                         generally opposed the proposal
                                           such under the proxy rules.96                              proposed amendments would increase                         recommended that, if the Commission
                                           Specifically, these commenters asserted                    litigation risks facing proxy voting                       ultimately decides to amend Rule 14a–
                                           that proxy solicitation differs from                       advice businesses 103 and interfere with                   1(l), it should make the following
                                           proxy advice in that proxy solicitors                      the relationship between investors and                     revisions to narrow the scope of the
                                           play an advocacy role on behalf of an                      proxy voting advice businesses in a way                    proposals: 110
                                           interested party, whereas proxy voting                     that would increase costs and                                 • Clarify whether ‘‘proxy voting
                                           advice businesses are independent third                    complexity and bias voting                                 advice’’ under Rule 14a–1(l)(1)(iii)(A)
                                           parties, hired by shareholders to provide                  recommendations in favor of corporate                      would include data and research that
                                           objective advice that the recipients are                   management.104 Two commenters                              may inform a proxy analysis or be
                                           not required to follow.97 One                              further expressed concern that treating                    described in a proxy research report but
                                           commenter also asserted that the                           proxy advice as a solicitation could                       that is marketed separately to
                                           proposal incorrectly equates proxy                         have a chilling effect on shareholder                      investors; 111
                                           voting advice with the right to vote on                    communication.105                                             • Exclude advice based on investors’
                                           another’s behalf and in a manner that                         Some commenters asserted that the                       custom policies from the definition of
                                           would benefit a particular party.98 Two                    Commission has not provided reliable                       ‘‘solicitation’’; 112
                                           other commenters, which were                               evidence that existing communications                         • Modify the proposal to recognize
                                           identified as proxy voting advice                          between proxy voting advice businesses                     the difference between proxy voting
                                           businesses in the Proposing Release,99                     and their institutional investor clients                   advice businesses and proxy voting
                                           asserted that even if the Commission                       present a significant risk to investor                     agent businesses, the latter of which
                                           amends the definition of ‘‘solicitation’’                  protection to justify the proposed                         ‘‘vote solely on behalf of clients, in
                                           as proposed, their activities will not                     amendment.106 Several commenters                           accordance with such clients’ preset
                                           constitute ‘‘solicitations’’ under the                     expressed concern that the Commission                      voting guidelines, based upon third-
                                                                                                      disregarded the findings and views of its                  party research’’ and should not be
                                           Sarah Wilson, CEO, Minerva Analytics (Jan. 2,              2018 Roundtable on the Proxy Process,                      subject to regulation as a proxy voting
                                           2020) (‘‘Minerva I’’); Thomas P. DiNapoli, New             the Office of Investor Advocate, and the                   advice business; 113 and
                                           York State Comptroller (Feb. 3, 2020) (‘‘New York                                                                        • Clarify that the reference to ‘‘other
                                           Comptroller II’’); Karen Carraher, Executive               Investor Advisory Committee and called
                                                                                                                                                                 forms of investment advice’’ in
                                           Director, and Patti Brammer, Corporate Governance          into question the legitimacy of other
                                                                                                                                                                 Proposed Rule 14a–1(l)(1)(iii)(A) is not
                                           Officer, Ohio Public Employees Retirement System           comment letters.107 One commenter
                                           (Feb. 3, 2020) (‘‘Ohio Public Retirement’’); PIRC, on                                                                 intended to exclude only advice from an
                                                                                                      requested that the Commission clarify
                                           behalf of Local Authority Pension Fund Form                                                                           ‘‘investment adviser’’ and thereby
                                           (LAPFF) (Feb. 3, 2020) (‘‘PIRC’’); Fiona Reynolds,         the benefits of treating proxy advice as
                                                                                                                                                                 sweep into the scope of the term
                                           Chief Executive Officer, Principles for Responsible                                                                   ‘‘solicitation’’ communications made in
                                           Investment (Feb. 3, 2020) (‘‘PRI II’’); Konstantinos           100 See letters from ProxyVote II; Segal Marco II.

                                           Sergakis, Professor of Capital Markets Law and             Similarly, another commenter noted that it executes        the normal course of business by other
                                           Corporate Governance, University of Glasgow (Dec.          votes directly on behalf of—but does not provide           professionals (e.g., management-
                                           26, 2019) (‘‘Prof. Sergakis’’); Craig M. Rosenberg,        voting recommendations to—its clients. See letter          consulting firms, lawyers, accountants,
                                           President, ProxyVote Plus, LLC (Feb. 3, 2020)              from Mary Beth Gallagher, Executive Director,              broker-dealers, etc.).114
                                           (‘‘ProxyVote II’’); Hank Kim, Executive Director &         Investor Advocates for Social Justice (Feb. 3, 2020)
                                           Counsel, National Conference of Public Employee            (‘‘IASJ’’). See also letters from Sean P. Bannon,
                                                                                                                                                                    With respect to the proposed
                                           Retirement Systems (Feb. 3, 2020) (‘‘Public                Chief Financial Officer, Felician Sisters of North         amendment to Rule 14a–1(l)(2), some
                                           Retirement Systems’’); Maureen O’Brien, Vice               America (Feb. 3, 2020) (‘‘Felician Sisters II’’); Toni     commenters supported the proposal to
                                           President, Corporate Governance Director, Segal            Palamar, Province Business Administrator, Sisters          exclude from the definition of a
                                           Margo Advisors (Feb. 3, 2020) (‘‘Segal Marco II’’);        of the Good Shepherd (Feb. 3, 2020) (‘‘Good
                                           Andrew E. Oster, CFP, AIF, President & CCO, Triton         Shepherd’’); Interfaith Center II; Patricia A. Daly,
                                                                                                                                                                 ‘‘solicitation’’ any proxy voting advice
                                           Wealth Advisors LLC (Feb. 22, 2020) (‘‘Triton’’);          Corporate Responsibility Representative, Sisters of        furnished by a person only in response
                                           Nell Minow, Vice Chair, ValueEdge (Jan. 31, 2020)          St. Dominic of Caldwell (Feb. 3, 2020) (‘‘St.              to an unprompted request.115 Another
                                           (‘‘ValueEdge I’’); Theresa Whitmarsh, Executive            Dominic of Caldwell’’).
                                           Director, Washington State Investment Board (Jan.              101 See letters from 62 Professors; CalSTRS; Elliott     108 See  letter from CalPERS.
                                           22, 2020) (‘‘Washington State Investment’’).               I; Interfaith Center II; New York Comptroller II;            109 See
                                              93 See letters from AFL–CIO II; CII IV; Elliott I;
                                                                                                                                                                            letters from ISS; ProxyVote II.
                                                                                                      Public Retirement Systems; Washington State                   110 See letters from CII IV; ISS; New York
                                           Glass Lewis II; ISS; Richard A. Kirby and Beth-ann         Investment.                                                Comptroller II; PRI II; ProxyVote II; Segal Marco II.
                                           Roth, RK Invest Law, PBC (Feb. 3, 2020) (‘‘RK Invest           102 See letters from CalSTRS; CIRCA; Elliott I;
                                                                                                                                                                    111 See letter from ISS. The commenter further
                                           Law’’); ProxyVote II.                                      Interfaith Center II; New York Comptroller II; Ohio
                                              94 See letter from ISS.
                                                                                                                                                                 opined that the inclusion of such data and research
                                                                                                      Public Retirement; Prof. Sergakis; Public Retirement       in the scope of ‘‘proxy voting advice’’ would be
                                              95 See letters from CalPERS; CII IV; Elliott I; Glass   Systems.                                                   ‘‘highly inappropriate.’’ Id.
                                           Lewis II; ISS; ProxyVote II.                                   103 See letters from CIRCA; Elliott I; New York
                                                                                                                                                                    112 See letters from ISS; New York Comptroller II;
                                              96 See letters from Bricklayers; CalPERS; CII IV;       Comptroller II; Ohio Public Retirement; PRI II.            Matthew DiGuiseppe, Head of Asset Stewardship,
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                                           CIRCA; Elliott I; Glass Lewis II; ISS; New York                104 See letters from New York Comptroller II; PRI
                                                                                                                                                                 Americas, and Benjamin Colton, Head of Asset
                                           Comptroller II; Segal Marco II.                            II.                                                        Stewardship, Asia Pacific, State Street Global
                                              97 See letters from Bricklayers; CII IV; CIRCA;             105 See letters from CalPERS; Washington State         Advisors (Feb. 3, 2020) (‘‘State Street’’).
                                           Glass Lewis II; ISS; New York Comptroller II; Segal        Investment.                                                   113 See letter from Segal Marco II.

                                           Marco II.                                                      106 See letters from CII IV; Elliott I.                   114 See letter from Hermes.
                                              98 See letter from CalPERS.                                 107 See letters from CII IV; Elliott I; Glass Lewis       115 See letters from Andrew Cave, Head of
                                              99 See Proposing Release at 66542, n.190.               II; ISS.                                                   Governance and Sustainability, Baillie Gifford & Co



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                                           commenter, however, opposed the                         solicitation ultimately depends on the                    regulatory framework of Section 14(a)
                                           proposal, asserting that it would be                    specific nature, content, and timing of                   and the Commission’s proxy rules, with
                                           unworkable because investment                           the communication and the                                 their focus on the information received
                                           advisers and broker-dealers may be                      circumstances under which the                             by shareholders as part of the voting
                                           hesitant to announce a willingness to                   communication is transmitted.121 A                        process, are well-suited to enhancing
                                           provide voting advice out of concern                    number of factors illuminate that                         the quality and availability of the
                                           that the Commission would determine                     determination, and, as set forth above,                   information that clients of proxy voting
                                           they had ‘‘invited and encouraged’’ their               application of those factors indicate that                advice businesses are likely to consider
                                           clients to ask for advice.116 This                      the advice that proxy voting advice                       as part of their voting determinations.125
                                           commenter added that the proposed                       businesses provide to their clients                         In addition, we are aware of at least
                                           amendment would be                                      generally constitutes a ‘‘solicitation.’’ 122             two proxy voting advice businesses, ISS
                                           counterproductive to investor protection                This amendment, therefore, codifies the                   and Egan-Jones, that use more than one
                                           goals because the Commission would be                   Commission’s interpretation that proxy                    proprietary voting policy or set of
                                           regulating experts with proxy advice-                   voting advice generally constitutes a                     guidelines—oftentimes, a benchmark
                                           related skills and resources (i.e., proxy               ‘‘solicitation’’ under Rule 14a–1(l).123                  policy and one or more specialty
                                           voting advice businesses), but would                    As we noted in the Proposing Release,                     policies—in formulating proxy voting
                                           not regulate parties with no relevant                   we believe the furnishing of proxy                        advice as to a particular matter to be
                                           expertise who engage in the same                        voting advice by a person who has                         voted on at a shareholder meeting (or for
                                           activities (i.e., any person that furnishes             decided to offer such advice, separately                  which written consents or
                                           proxy voting advice in response to an                   from other forms of investment advice,                    authorizations are sought in lieu of a
                                           unprompted request).117 Finally, one                    to shareholders for a fee, with the                       meeting).126 Consistent with the
                                           commenter recommended that the                          expectation that its advice will be part                  Proposing Release, we view the proxy
                                           Commission narrow the proposed                          of the shareholders’ voting decision-                     voting advice formulated pursuant to
                                           exclusion to cover only proxy voting                    making process, is conducting the type                    each separate policy or set of guidelines
                                           advice provided pursuant to an                          of activity that raises the concerns about                as distinct solicitations under Rule 14a–
                                           unprompted request ‘‘and not for                        inadequate or materially misleading                       1(l)(1)(iii)(A). Similarly, as discussed in
                                           compensation.’’ 118                                     disclosures that Section 14(a) and the                    more detail below,127 proxy voting
                                                                                                   Commission’s proxy rules are intended                     advice formulated pursuant to a custom
                                           3. Final Amendments                                     to address.124 We also believe that the                   policy constitutes a distinct solicitation
                                              We are adopting the amendments to                                                                              under the final rule as well.
                                           Rule 14a–1(l)(1)(iii) and 17 CFR                          121 See  supra note 75 and accompanying text.             We recognize that some commenters
                                           240.14a–1(l)(2) (‘‘Rule 14a–1(l)(2)’’) as                 122 See  supra notes 75–79 and accompanying text;       opposed our amendments to Rule 14a–
                                                                                                   see also infra note 144.
                                           proposed, with some minor changes to                      123 As noted above, some commenters expressed
                                           the proposed amendment to Rule 14a–                                                                               unprompted or prompted (such as in the case of a
                                                                                                   concern that the amendments are not supported by          client or prospective client that has asked the
                                           1(l)(1)(iii).                                           the relevant evidence and that the Commission may         adviser for its views on a particular transaction).
                                              With respect to Rule 14a–1(l)(1)(iii),               have disregarded the findings and views of more           For example, a mutual fund board may request that
                                           consistent with the Proposing Release,                  reliable observers, and called into question the          a prospective subadviser discuss its views on proxy
                                                                                                   legitimacy of other comments. See supra notes 106–
                                           we are adding paragraph (A) 119 to make                 107 and accompanying text. Very shortly after
                                                                                                                                                             voting, including votes on particular types of
                                           clear that the terms ‘‘solicit’’ and                                                                              transactions such as mergers or corporate
                                                                                                   learning of the concerns raised about these               governance. As noted in the Proposing Release, the
                                           ‘‘solicitation’’ include any proxy voting               comment letters, the Chairman referred the matter         amendment is not intended to include these types
                                           advice 120 that makes a recommendation                  to the SEC’s Office of Inspector General to               of communications as solicitations for purposes of
                                                                                                   investigate. That investigation is ongoing. We have
                                           to a shareholder as to its vote, consent,               now learned that some of the commenters who
                                                                                                                                                             Section 14(a). In response to certain comments we
                                           or authorization on a specific matter for                                                                         received, we also are clarifying the amendment is
                                                                                                   submitted certain of the letters appear to have
                                                                                                                                                             not intended to include communications made in
                                           which shareholder approval is solicited,                signed declarations provided to Members of
                                                                                                                                                             the normal course of business by other
                                           and that is furnished by a person who                   Congress regarding the authenticity of those letters.
                                                                                                                                                             professionals to their clients that may relate to
                                                                                                   Our decision to adopt the amendments to Rule 14a–
                                           markets its expertise as a provider of                  1(l), is not predicated upon the input we received
                                                                                                                                                             proxy voting. Instead, the amendment is intended
                                           such advice, separately from other forms                                                                          to apply to entities that market their proxy voting
                                                                                                   with respect to the quality of the services provided
                                                                                                                                                             advice as a service that is separate from other forms
                                           of investment advice, and sells such                    by proxy voting advice businesses or the
                                                                                                                                                             of investment advice to clients or prospective
                                                                                                   independence thereof. Rather, these amendments
                                           advice for a fee.                                       largely codify the Commission’s longstanding              clients and sell such advice for a fee.
                                              As noted above, the determination of                 interpretations of the scope of the terms ‘‘solicit’’
                                                                                                                                                                125 We understand that a proxy voting advice

                                           whether a communication is a                            and ‘‘solicitation,’’ which, as discussed below, are      business might, if applicable requirements are met,
                                                                                                   based on an assessment of the text, structure,            be registered as an investment adviser and subject
                                                                                                   history, and purpose of Section 14(a) of the              to additional regulation under the Advisers Act,
                                           (Feb. 3, 2020) (‘‘Baillie Gifford’’); BRT; CCMC;                                                                  including 17 CFR part 275. However it is not
                                           Exxon Mobil; IBC.                                       Exchange Act, as well as judicial precedent. See
                                                                                                   infra notes 132–156 and accompanying text.                unusual for a registrant under one provision of the
                                             116 See letter from ISS.
                                                                                                   Moreover, although certain members of the                 securities laws to be subject to other provisions of
                                             117 Id.
                                                                                                   Commission may have cited some of the letters             the securities laws when engaging in conduct that
                                             118 See letter from Exxon Mobil.                                                                                falls within the other provisions. Given the focus
                                                                                                   described above during the Commission’s open
                                             119 The amendment is intended to make clear that
                                                                                                   meeting at which the amendments discussed herein          of Section 14(a) and the Commission’s proxy rules
                                           proxy voting advice provided under the specified        were proposed, neither the Commission’s                   on protecting investors who receive
                                           circumstances constitutes a solicitation under          interpretations of the scope of the terms ‘‘solicit’’     communications regarding their proxy votes, it is
                                           current Rule 14a–1(l)(1)(iii). It is not intended to    and ‘‘solicitation,’’ nor our decision to adopt the       appropriate that proxy voting advice businesses be
                                           amend, limit, or otherwise affect the scope of Rule     other amendments herein, rest on those letters or         subject to applicable rules under Section 14(a)
                                           14a–1(l)(1)(iii).                                       their validity. Further, as discussed below, the          when they provide proxy voting advice. See supra
                                             120 As noted above, one commenter requested           Commission’s interpretations of the scope of the          notes 41–60 and accompanying text for a discussion
                                           clarification as to whether the term ‘‘proxy voting     terms ‘‘solicit’’ and ‘‘solicitation’’ are longstanding   of why we believe Section 14(a), together with the
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                                           advice’’ would include data and research that may       and far predate the cited comment letters. See infra      Commission’s proxy rules, is an appropriate
                                           inform a proxy analysis or be described in a proxy      notes 150–154 and accompanying text.                      regulatory regime for such communications by
                                           research report but that is marketed separately to        124 We understand that investment advisers may          proxy voting advice businesses, regardless of
                                           investors. See supra note 111 and accompanying          discuss their views on proxy voting with clients or       whether they are registered under the Advisers Act.
                                                                                                                                                                126 See supra note 11 and accompanying text.
                                           text. We have clarified the scope of that term.         prospective clients as part of their portfolio
                                           Compare supra note 7, with Proposing Release at         management services or other common investment               127 See infra notes 165–169 and accompanying

                                           66519 & n.11.                                           advisory services. Such discussions could be              text.



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                                           1(l)(1). As noted above, some                            Furthermore, rather than defining what                   communicate with shareholders in a
                                           commenters stated that the Commission                    constitutes a proxy solicitation, the                    manner reasonably calculated to
                                           is not authorized to regulate proxy                      Exchange Act leaves those terms                          ‘‘result’’ in a proxy vote.
                                           voting advice as a ‘‘solicitation’’ under                undefined, while at the same time                           The context and history of Section
                                           the Exchange Act.128 One commenter                       specifically empowering the                              14(a) accord with this conclusion.
                                           specifically asserted that the                           Commission to define such terms                          Congress considered different versions
                                           amendments would be contrary to (1)                      consistent with the Act’s ‘‘provisions                   of the Exchange Act that set forth the
                                           the legislative history of Section 14(a),                and purposes’’ 133 and, more broadly, to                 applicable proxy standards with more
                                           (2) the case law that has construed the                  make rules and regulations, including                    specificity in the analog to Section 14(a)
                                           terms ‘‘solicit’’ and ‘‘solicitation’’ under             rules that classify ‘‘transactions,                      and rejected them in favor of the broad
                                           Section 14(a) and Rule 14a–1(l), and (3)                 statements, applications, reports, and                   authority granted to the Commission in
                                           the plain meaning of the term                            other materials.’’ 134                                   Section 14(a), as enacted.138 While
                                           ‘‘solicit.’’ 129 According to some                          In light of that context, the phrase                  Congress may have been motivated to
                                           opposing commenters, the scope of                        ‘‘solicit any proxy’’ is not as narrow or                enact Section 14(a) in 1934 due to the
                                           Section 14(a) is limited to soliciting                   mechanical as some commenters have                       particular abuses by corporate insiders
                                           activities by management, other                          claimed. Citing a dictionary definition,                 or dissident shareholders that occurred
                                           corporate insiders, dissident                            one commenter suggested that the                         during that time, nothing in either the
                                           shareholders seeking to take control of                  ordinary meaning of the term ‘‘solicit’’                 text or legislative history of Section
                                           a company, or parties otherwise having                   is ‘‘to endeavor to obtain.’’ 135 Under                  14(a) indicates that Congress intended
                                           an interest in the outcome of a                          this definition, what matters is the                     to limit its scope to solicitations
                                           shareholder vote. These commenters                       subjective intent of the person engaging                 conducted by those parties. Rather,
                                           asserted, therefore, that as a matter of                 in the solicitation, and thus no person                  where Congress intended to exempt
                                           statutory interpretation, Section 14(a)                  would be soliciting a proxy unless they                  certain classes of market participants,
                                           cannot extend to communications or                       intend to obtain proxy authority. Some                   transactions, or activities from the
                                           activities by persons who do not have                    commenters likewise claimed that no                      statutory provisions of the Securities
                                           an interest in the outcome of the matter                 person would be soliciting a proxy                       Act and the Exchange Act (as enacted in
                                           being voted upon at the shareholder                      unless they intend to obtain a                           1933 and 1934, respectively) or limit the
                                           meeting or who do not seek proxy                         shareholder’s support for a preferred                    Commission’s rulemaking authority
                                           authority for themselves.130 These                       outcome.136 However, dictionaries at                     with regard to those market participants,
                                           commenters further assert that, as a                     the time Section 14(a) was enacted                       transactions or activities, it generally
                                           matter of fact, proxy voting advice                      indicate that the term ‘‘solicit’’ had                   did so by expressly including language
                                           businesses satisfy both of these criteria                other meanings that did not depend on                    in the relevant statutory provision.139
                                           (i.e., no interest in the outcome of a vote              the interest or subjective intent of the
                                           and no request for authority to vote).131                person engaging in the solicitation. The                    138 See Louis Loss et. al., Securities Regulation,

                                              We reject this narrow interpretation of               term ‘‘solicit’’ also meant ‘‘[t]o move to               § 6.C.2 (6th ed. 2018) (‘‘In § 14(a) of the Exchange
                                           Section 14(a). The Commission’s                                                                                   Act, Congress, abandoning the more specific
                                                                                                    action.’’ 137 Under this definition, what                standards of the original bills, left the solicitation
                                           longstanding view that a ‘‘solicitation’’                matters is not the subjective intent to                  of proxies to the SEC under broad public interest
                                           includes any communication reasonably                    obtain a proxy, but rather the effect on                 standards.’’) (citing S. 2693, H.R. 7852, 73d Cong.,
                                           calculated to result in the procurement,                 a recipient’s proxy vote. A person                       2d Sess. § 13(a) (1934)).
                                           withholding, or revocation of a proxy—                   solicits a proxy by influencing a
                                                                                                                                                                139 See, e.g., Securities Exchange Act of 1934,

                                           and that this encompasses the                                                                                     Public Law 73–291, 48 Stat. 881, § 3(a)(4) (1934)
                                                                                                    shareholder to act. As between these                     (‘‘Exchange Act (as enacted in 1934)’’) (stating that
                                           furnishing of proxy voting advice—                       two meanings, we view the latter as                      the definition of the term ‘‘broker’’ ‘‘does not
                                           accords with the text, history, and                      more consistent with Section 14(a)’s                     include a bank’’); Exchange Act (as enacted in 1934)
                                           structure of Section 14(a) of the                        provisions and purposes, as any
                                                                                                                                                             § 3(a)(5) (stating that the definition of the term
                                           Exchange Act, as well as judicial                                                                                 ‘‘dealer’’ ‘‘does not include a bank, or any person
                                                                                                    inducement that may move a                               insofar as he buys or sells securities for his own
                                           precedent and our own rules.                             shareholder to vote a proxy in a certain                 account, either individually or in some fiduciary
                                              The structure of Section 14(a) grants                 way implicates the Commission’s charge                   capacity, but not as part of a regular business’’);
                                           the Commission broad authority. It                                                                                Exchange Act (as enacted in 1934) § 3(a)(10)
                                                                                                    to ensure that necessary and appropriate                 (defining the term ‘‘security’’ but expressly stating
                                           authorizes the Commission to prescribe
                                                                                                    regulations are in place for the                         that the term ‘‘shall not include currency or any
                                           rules and regulations to govern proxy
                                                                                                    protection of investors. That is why the                 note, draft, bill of exchange, or banker’s acceptance
                                           solicitations ‘‘as necessary or                                                                                   which has a maturity at the time of issuance of not
                                                                                                    Commission has recognized since 1956
                                           appropriate in the public interest or for                                                                         exceeding nine months, exclusive of days of grace,
                                                                                                    that persons who do not seek proxy
                                           the protection of investors,’’ and it                                                                             or any renewal thereof the maturity of which is
                                                                                                    authority themselves nevertheless                        likewise limited’’); Exchange Act (as enacted in
                                           makes it unlawful for any person to
                                                                                                    engage in solicitation when they                         1934) § 15(l) (restricting broker-dealers’ over-the-
                                           ‘‘solicit any proxy’’ with respect to any                                                                         counter market activity, but expressly exempting
                                           security registered under Section 12 of                    133 15                                                 from these restrictions certain exempt securities,
                                                                                                              U.S.C. 78c(b).
                                           the Exchange Act in contravention of                       134 15  U.S.C. 78w(a)(1).
                                                                                                                                                             commercial paper, and other instruments);
                                           such rules and regulations.132                                                                                    Exchange Act (as enacted in 1934) § 24(a) (limiting
                                                                                                       135 See letter from ISS.
                                                                                                                                                             the Commission’s authority to require the
                                                                                                       136 See, e.g., supra notes 96–97 and
                                                                                                                                                             ‘‘revealing of trade secrets or processes in any
                                             128 See  supra notes 93–94 and accompanying text.      accompanying text. In arguing that the plain             application, report, or document filed with the
                                             129 See  letter from ISS.                              meaning of ‘‘solicit’’ supports its view, one            Commission under this title’’); Securities Act of
                                              130 See, e.g., supra notes 96–97 and                  commenter relied on the dictionary definition ‘‘to       1933, Public Law 73–22, 48 Stat. 74, § 2(a)(10)
                                           accompanying text.                                       endeavor to obtain,’’ even though the commenter          (1933) (‘‘Securities Act (as enacted in 1933)’’)
                                              131 Id.                                               elsewhere acknowledged that Section 14(a) has long       (defining the term ‘‘prospectus’’ and expressly
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                                              132 See S. Rep. No. 73–792, 2d Sess., at 12 (1934)    been understood to encompass communications              excluding certain written communications from this
                                           (‘‘The committee recommends that the solicitation        that do not seek to obtain a proxy—and thus would        definition); Securities Act (as enacted in 1933)
                                           and issuance of proxies be left to regulation by the     not meet that narrow definition. See letter from ISS.    § 2(a)(11) (carving out from the statutory definition
                                                                                                       137 See Webster’s New International Dictionary        of ‘‘underwriter’’ any ‘‘person whose interest is
                                           Commission.’’); H.R. Rep. No. 1383, 73d Cong., 2d
                                           Sess., 14 (1934) (explaining the intention to give the   (2d ed. 1934) (providing multiple definitions of the     limited to a commission from an underwriter or
                                           Commission the ‘‘power to control the conditions         term ‘‘solicit,’’ including ‘‘[t]o move to action’’ or   dealer not in excess of the usual and customary
                                           under which proxies may be solicited’’).                 ‘‘[t]o urge’’ or ‘‘insist upon’’).                       distributors’ or sellers’ commission’’); Securities



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                                           Indeed, Section 14(a) itself excludes any                   and unambiguous meaning of the                              Relying on its broad rulemaking
                                           ‘‘exempted security’’ from its scope, but                   regulation.’’ 143 Instead, the phrase                     authority, the Commission has since
                                           otherwise facially applies to ‘‘any                         ‘‘reasonably calculated to result in the                  1956 defined a solicitation to include
                                           person’’ without carving out any class of                   procurement, withholding or revocation                    any ‘‘communication to security holders
                                           market participants.140                                     of a proxy’’ in Rule 14a–1(l)(1)(iii)                     under circumstances reasonably
                                              Nor does the case law construing                         requires an objective inquiry that                        calculated to result in the procurement,
                                           Section 14(a) mandate that a party must                     focuses ‘‘on the manner in which the                      execution, or revocation of a proxy.’’ 147
                                           have an ‘‘interest’’ in the outcome of a                    communicator attempted to influence a                     This definition advances Section 14(a)’s
                                           shareholder vote in order for a                             shareholder’s proxy decision from the                     overarching purpose of ensuring that
                                           solicitation to occur, as certain                           perspective of the shareholder who                        communications to shareholders about
                                           commenters contended.141 Courts have                        received the material.’’ 144 Courts also                  their proxy voting decisions contain
                                           articulated a broad definition of the                       have broadly understood a                                 materially complete and accurate
                                           term ‘‘solicit’’ such that the proxy rules                  ‘‘solicitation’’ to encompass                             information.148 It would be inconsistent
                                           ‘‘apply not only to direct requests to                      ‘‘communications which may indirectly                     with that goal if a person whose
                                           furnish, revoke, or withhold proxies, but                   [result in a proxy being furnished,                       business is to offer and sell voting
                                           also to communications which may                            revoked or withheld],’’ 145 an                            advice broadly to large numbers of
                                           indirectly accomplish such a result or                      interpretation that does not, by its                      shareholders, with the expectation that
                                           constitute a step in the chain of                           terms, require inquiry into the speakers’                 their advice will factor into
                                           communications ultimately designed to                       interest or subjective intention. To inject               shareholders’ voting decisions, were
                                           accomplish such a result.’’ 142 Moreover,                   a subjective element into the test of                     beyond the reach of Section 14(a). The
                                           relying on the ‘‘subjective intent of the                                                                             fact that shareholders may retain
                                                                                                       whether a communication is a
                                           person furnishing the communication’’                                                                                 providers of proxy voting advice to
                                                                                                       ‘‘solicitation’’ under Rule 14a–1(l)(1)(iii)
                                           to determine whether a particular                                                                                     advance their own interests does not
                                                                                                       as argued by one commenter (i.e.,
                                           communication constitutes a                                                                                           obviate these concerns.
                                                                                                       determining whether the speaker is
                                           solicitation ‘‘is at odds with the plain                                                                                As described above, some
                                                                                                       ‘‘completely indifferent to the outcome
                                                                                                                                                                 commenters also asserted that the
                                                                                                       of the matter as to which shareholder
                                           Act (as enacted in 1933) § 2(a)(3) (carving out from                                                                  proposed amendment to Rule 14a–
                                           the statutory definition of the terms ‘‘sale’’, ‘‘sell’’,   approval was sought’’ 146) runs counter
                                                                                                                                                                 1(l)(1)(iii) conflicts with well-
                                           ‘‘offer to sell’’, and ‘‘offer for sale’’ ‘‘preliminary     to this case law.                                         established practice in the proxy voting
                                           negotiations or agreements between an issuer and
                                           any underwriter’’).                                                                                                   advice business industry and the
                                                                                                          143 Gas Natural Inc. v. Osbourne, 624 Fed. Appx.
                                              140 See 15 U.S.C. 78n(a).                                                                                          Commission’s historical treatment
                                                                                                       944, 950 (6th Cir. 2015) (unpublished).
                                              141 See, e.g., letter from ISS. Although we do not
                                                                                                          144 Id. (citing Broker-Dealer Release at 342 (noting   thereof.149 As an initial matter, and as
                                           believe that Section 14(a) requires that a party have                                                                 noted in the Interpretive Release and the
                                                                                                       that communications from broker-dealers to
                                           an interest in the outcome of a vote, we also do not
                                           accept commenters’ assertion that, as a matter of
                                                                                                       shareholders ‘‘may constitute a solicitation              Proposing Release, the amendment to
                                           fact, proxy voting advice businesses necessarily do         requiring compliance with the proxy rules’’               Rule 14a–1(l)(1)(iii) is in accordance
                                                                                                       depending ‘‘upon the content of the material, upon
                                           not have an interest in the outcome of matters being
                                                                                                       the conditions under which it is transmitted, and
                                                                                                                                                                 with, and represents a codification of,
                                           voted upon at shareholder meetings or do not seek                                                                     the Commission’s longstanding view
                                           proxy authority for themselves. While this may be           upon surrounding circumstances’’)). See also Long
                                           true in many instances, we do not think this is             Island Lighting Co., 779 F.2d at 796                      that proxy voting advice generally
                                           always the case. See U.S. Gov’t Accountability              (‘‘Determination of the purpose of the                    constitutes a ‘‘solicitation.’’ This view
                                           Office, GAO–17–47, Report to the Chairman,                  communication depends upon the nature of the              was originally set forth in a 1964
                                           Subcommittee on Economic Policy, Committee on               communication and the circumstances under which
                                                                                                       it was distributed.’’); Sargent v. Genesco, Inc., 492     release 150 and reiterated by the
                                           Banking, Housing, and Urban Affairs, U.S. Senate,
                                           Corporate Shareholder Meetings: Proxy Advisory              F.2d 750, 767 (5th Cir. 1974) (‘‘Whether or not a         Commission in 1979 151 and 2010.152
                                           Firms’ Role in Voting and Corporate Governance              particular communication is a solicitation within         The cited releases did not limit the
                                           Practices, 18 (2016), available at https://                 the meaning of 14(a) is a question of fact dependent      scope of the term ‘‘solicitation’’ so as to
                                           www.gao.gov/assets/690/681050.pdf (‘‘2016 GAO               upon the nature of the communication and the
                                           Report’’) (‘‘Officials from one proxy advisory firm         circumstances under which it is transmitted.’’);
                                                                                                                                                                   147 17  CFR 240.14a–1(l)(1)(iii).
                                           with whom we spoke stated that they agree that              Dyer v. SEC, 291 F.2d 774, 777–78 (8th Cir. 1961)
                                                                                                                                                                   148 Borak,  377 U.S. at 432; see also S. Rep. No.
                                           proxy advisory firms have influence on corporate            (indicating that the determination of whether a
                                           governance practices. . . . They noted that such            communication constitutes a solicitation depends          1455, 73d Cong., 2d Sess., 74 (1934) (‘‘In order that
                                           influence is good and ultimately they want to have          on the ‘‘nature and circumstances’’ of a                  the stockholder may have adequate knowledge as to
                                           a positive influence on their clients because they          communication and whether it can be rationally            the manner in which his interests are being served,
                                           view that as part of their responsibility—to promote        inferred that the speaker ‘‘knew or could be              it is essential that he be enlightened not only as to
                                           good governance.’’); Kevin E. McManus, CEO                  expected to foresee that the things which he said         the financial condition of the corporation, but also
                                           Compensation was a Joke Before Covid–19, Now It             might on their implication and innuendo affect the        as to the major questions of policy, which are
                                           is Just Obnoxious, Egan-Jones Proxy Services (June          action of a stockholder in his granting of proxy          decided at stockholders’ meetings.’’); H.R. Rep. No.
                                           11, 2020), available at https://www.ejproxy.com/            authority,’’ regardless of ‘‘whatever [the speaker]       1383, 73d Cong., 2d Sess., 14 (1934) (explaining the
                                           weekly-wreck/36/ceo-compensation-was-joke-covid-            may have had in his mind’’); Schwartzberg, 929            need for ‘‘adequate disclosure’’ and ‘‘explanation’’);
                                           19-now-it-just-obnoxious/ (criticizing executive            F.Supp. at 113–14 (noting that if a statement             Communications Among Shareholders Adopting
                                           compensation at certain registrants and making              ‘‘presents the transaction in a manner objectively        Release at 48277.
                                                                                                                                                                    149 See supra note 95 and accompanying text.
                                           policy-based recommendations to regulate                    likely to predispose security holders toward or
                                           executive compensation). See also infra Section             against it . . . it must comply with the proxy               150 See Broker-Dealer Release at 341 (‘‘Material

                                           II.B.1. (noting examples of circumstances where the         rules’’). Among the factors relevant to the objective     distributed during a period while proxy solicitation
                                           interests of a proxy voting advice business may             inquiry into whether a communication constitutes          is in progress, which comments upon the issues to
                                           diverge materially from the interests of the clients        a ‘‘solicitation’’ are (1) ‘‘the contents of the          be voted on or which suggests how the stockholder
                                           who utilize their advice, including a proxy voting          communication,’’ (2) ‘‘the conditions under which         should vote, would constitute soliciting material.’’).
                                           advice business providing advice on a matter in             the communication is distributed,’’ and (3) ‘‘[t]he          151 See 1979 Adopting Release at 68766;

                                           which its affiliates or one of its clients has a            timing of the communication in relation to the            Shareholder Communications, Shareholder
                                           material interest, such as a business transaction or        relevant surrounding circumstances.’’ Gas Natural         Participation in the Corporate Electoral Process and
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                                           a shareholder proposal put forward by or actively           Inc., 624 Fed. Appx. at 950. As described above, the      Corporate Governance Generally, Release No. 34–
                                           supported by that client).                                  proxy voting advice that proxy voting advice              16104 (Aug. 13, 1979) [44 FR 48938 (Aug. 20,
                                              142 Long Island Lighting Co. v. Barbash, 779 F.2d        businesses send their clients generally constitutes       1979)], at 48941 n.25.
                                           793, 796 (2d Cir. 1985) (emphasis added); see also          ‘‘solicitations’’ under each of those three factors.         152 Concept Release at 43009 (‘‘As a general

                                           Capital Real Estate Inv’rs Tax Exempt Fund Ltd.             See supra notes 75–79 and accompanying text.              matter, the furnishing of proxy voting advice
                                                                                                          145 Long Island Lighting Co., 779 F.2d at 796.
                                           P’ship v. Schwartzberg, 917 F.Supp. 1050, 1059                                                                        constitutes a ‘solicitation’ subject to the information
                                           (S.D.N.Y. 1996).                                               146 See letter from ISS.                               and filing requirements in the proxy rules.’’).



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                                           exclude proxy voting advice provided                      rules, these broker-dealers and banks                       advice business that now argues that the
                                           by ‘‘disinterested persons.’’ Instead, the                must forward a company’s proxy                              Commission lacks authority to regulate
                                           Commission articulated its view that                      materials to their customers and seek                       proxy voting advice as a ‘‘solicitation’’
                                           proxy voting advice generally                             voting instructions (often called ‘‘voting                  submitted a letter to the Division of
                                           constitutes a ‘‘solicitation,’’ without                   instruction forms’’) from the customers                     Corporation Finance in 1988 requesting
                                           reference to a particular class of market                 on whose behalf they hold those shares.                     no-action relief from the Commission’s
                                           participants that must be providing such                  These activities are currently treated as                   proxy filing rules.158 The proxy voting
                                           advice.153 Any suggestion otherwise                       solicitations under the proxy rules, with                   advice business did not request relief on
                                           requires reading into the releases an                     the Commission generally exempting                          the basis that its proxy voting advice
                                           additional qualification that the                         them from the informational and filing                      should not be considered a
                                           Commission did not articulate.154                         requirements, despite the fact that the                     ‘‘solicitation.’’ Instead, the letter appears
                                             We further note that these                              broker-dealers and banks have no                            to implicitly assume that such advice
                                           commenters’ position is inconsistent                      interest in the outcome of the matters                      could be a ‘‘solicitation’’ by requesting
                                           with the treatment of other disinterested                 being presented for a vote and no                           relief from the proxy filing rules under
                                           parties under the current proxy                           involvement in the preparation of the                       the predecessor exemption to current
                                           regulatory scheme. Shareholders today                     materials being sent to the customers.155                   Rule 14a–2(b)(3) on the basis that its
                                           exercise their voting rights through an                   Those who have considered the issue,                        proxy voting advice was provided to
                                           intricate proxy process involving                         including at least one court, have                          persons with whom it had a business
                                           numerous intermediaries, such as                          recognized that the forwarding of a                         relationship.159 Further, as recently as
                                           broker-dealers, that each play an                         company’s proxy materials and requests                      2016, the CEO of another proxy voting
                                           important role. Most shareholders own                     for voting instructions by broker-dealers                   advice business testified that ‘‘[p]roxy
                                           their securities in ‘‘street name,’’ with                 constitute a form of soliciting activity                    advisory firms also are subject to the
                                           their broker-dealers and banks generally                  subject to the Commission’s rules.156                       Securities and Exchange Commission’s
                                           holding the securities in their name on                      In addition, market observers,                           proxy solicitation rules under the
                                           behalf of their customers and possessing                  including proxy voting advice                               [Exchange Act].’’ 160 The CEO further
                                           the legal authority to vote those shares.                 businesses themselves, have long                            testified that ‘‘proxy voting advisors
                                           Under the current proxy process and                       recognized that the provision of proxy                      operating today . . . are generally
                                                                                                     voting advice may constitute a                              deemed by the SEC as qualifying for the
                                              153 Although the Commission’s view was                 ‘‘solicitation’’ subject to the proxy                       exemptions based on rules 14a–2(b)(1)
                                           originally articulated in the context of an opinion       rules.157 Notably, one proxy voting                         and 14a–2(b)(3).’’ 161 These statements
                                           by its General Counsel regarding participation by
                                           broker-dealer firms in proxy solicitations, nothing
                                                                                                                                                                 suggest that the proxy voting advice
                                                                                                        155 See 17 CFR 240.14a–2(a)(1); see also Jill E.
                                           in the language of that release indicates that its        Fisch, Standing Voting Instructions: Empowering
                                                                                                                                                                 business industry has understood for
                                           position could not also be extended to other              the Excluded Retail Investor, 120 Minn. L. Rev. 11,         over 30 years that its proxy voting
                                           independent, disinterested parties engaged in the         40–41 (2017) (noting that broker-dealers’ requests          advice constitutes a ‘‘solicitation’’ under
                                           same activity. See Broker-Dealer Release.                 for voting instructions from their customers ‘‘fall[]
                                              154 The commenters also cite the 1979 and 1992
                                                                                                                                                                 Rule 14a–1(l), or at least that the
                                                                                                     within the SEC’s definition of a proxy solicitation’’
                                           releases as evidence that the Commission intended         and that Rule 14a–2(a)(1) ‘‘exempts the broker from
                                                                                                                                                                 Commission may consider their proxy
                                           to narrow the scope of the term ‘‘solicitation’’ so as    the filing requirements and the obligation to furnish       voting advice to constitute a
                                           to avoid including communications by disinterested        a proxy statement’’).                                       ‘‘solicitation.’’
                                           fiduciaries. See, e.g., letter from ISS (citing              156 See, e.g., Walsh & Levine v. The Peoria & E.
                                                                                                                                                                    Some commenters also asserted that
                                           Communications Among Shareholders Adopting                R. Co., 222 F.Supp. 516, 518–19 (S.D.N.Y. 1963)
                                           Release; 1979 Adopting Release). However, those                                                                       our amendments to Rule 14a–1(l)(1)(iii)
                                                                                                     (‘‘[I]f brokers transmit some but not all proxy
                                           releases reinforced the Commission’s view of the          solicitations to those for whose benefit they hold in       will increase proxy voting advice
                                           breadth of the term by creating additional                street name, they are acting in contravention of the        businesses’ costs or interfere with their
                                           exemptions from the proxy filing rules. See               Commission rules if they fail to fulfill the duties
                                           Communications Among Shareholders Adopting                required of active proxy solicitors.’’); Broker-Dealer      Analysis of the Proxy Machinery in Germany,
                                           Release at 48278 (creating an exemption from the          Release at 342 (‘‘[I]t is quite clear . . . that the        Japan, and the United States: Implications for the
                                           proxy filing rules for solicitations by persons not       transmission to customers of proxy material                 Political Theory of American Corporate Finance, 58
                                           seeking proxy authority who do not have a                 furnished by the issuer or any other person who is          U. Pitt. L. Rev. 145, 201 n.284 (1996) (‘‘Furnishing
                                           substantial interest in the matter subject to a vote);    soliciting a proxy, is clearly itself the solicitation of   of proxy voting advice by an investment advisor is
                                           1979 Adopting Release at 68766–67 (creating an            a proxy, since the material is transmitted under            exempt [from the proxy filing rules] under certain
                                           exemption from the proxy filing rules for voting          circumstances reasonably calculated to result in the        circumstances.’’); John C. Coffee, Jr., Liquidity
                                           advice provided to persons with whom a financial          procurement, withholding or revocation of a                 Versus Control: The Institutional Investor as
                                           advisor has a business relationship). In other words,     proxy.’’); Fisch, supra note 155 at 40; Council of          Corporate Monitor, 91 Colum. L. Rev. 1277, 1358
                                           the Commission recognized that certain classes of         Institutional Investors, Client Directed Voting:            (1991) (‘‘The legal issue is whether the provision of
                                           market participants were conducting activities that       Selected Issues and Design Perspectives (August
                                                                                                                                                                 proxy advice amounts to a proxy ‘solicitation’
                                           constituted ‘‘solicitations,’’ but sought to grant them   2010) (‘‘Rule 14a–(l) under the Exchange Act
                                                                                                                                                                 under SEC Rule 14a–1. Clearly, the definition of
                                           relief from the proxy filing rules by adopting            defines solicitation to include the ‘furnishing of a
                                                                                                                                                                 solicitation reaches this far . . . .’’); Bernard S.
                                           applicable exemptions. Had the Commission                 form of proxy or other communication to security
                                                                                                                                                                 Black, Shareholder Passivity Reexamined, 89 Mich.
                                           interpreted the term ‘‘solicitation’’ as not applying     holders under circumstances reasonably calculated
                                                                                                                                                                 L. Rev. 520, 530 (1990) (‘‘Nor are the Proxy Rules
                                           to those market participants’ activities, no such         to result in the procurement, withholding or
                                                                                                                                                                 limited to communications by the contestants. A
                                           exemption from the proxy filing rules would have          revocation of a proxy,’ subject to certain exceptions.
                                                                                                                                                                 third party who proffers voting advice is ‘soliciting’
                                           been necessary in the first place. Also, had the          Communications sent by brokers to encourage
                                                                                                                                                                 votes.’’). See also infra notes 158–161 and
                                           Commission intended to narrow the scope of the            participation in a [client directed voting] model
                                                                                                                                                                 accompanying text.
                                           term ‘‘solicitation’’ to avoid its application to those   would appear to fall within this definition absent
                                                                                                                                                                   158 Institutional Shareholder Services, Inc., 1991
                                           classes of market participants, it would have             an exemption, and the SEC staff agrees with this
                                           amended the definition thereof in Rule 14a–1(l)           conclusion. As such, brokers would have to comply           SEC No-Act. LEXIS 17 (Dec. 15, 1988).
                                                                                                                                                                   159 See id.
                                           appropriately. In fact, in the 1992 release, the          with the proxy solicitation rules, including
                                                                                                     principally the disclosure and SEC filing                     160 Katherine H. Rabin, Chief Executive Officer,
                                           Commission acknowledged that even though it
                                           considered (but did not ultimately adopt) proposed        requirements applicable to proxy materials.’’).             Glass, Lewis & Co., Statement to the U.S. House of
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                                           amendments exempting from the proxy filing rules             157 See, e.g., Sagiv Edelman, Proxy Advisory             Representatives Committee on Financial Services:
                                           all communications by ‘‘‘disinterested’ persons who       Firms: A Guide for Regulatory Reform, 62 Emory              Markup of H.R. 5983, the ‘‘Financial CHOICE Act
                                           are not seeking proxy authority,’’ such                   L.J. 1369, 1378 (2013) (‘‘Due to the expansive              of 2016,’’ at 3 (September 13, 2016), available at
                                           communications under that proposal would still            definition of solicitation, proxy advisory firms            https://www.glasslewis.com/wp-content/uploads/
                                           have constituted ‘‘solicitations’’ and ‘‘remained         would be subject to federal proxy rules if not for          2016/09/2016_0912_Glass-Lewis-Statement-re-H.R.-
                                           subject to antifraud standards.’’ Communications          the exemption found in Exchange Act Rule 14a–               5983_final.pdf.
                                           Among Shareholders Adopting Release at 48278.             2(b)(3).’’); Douglas G. Smith, A Comparative                  161 Id.




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                                           ability to provide services to their                     advice that is based on investors’                      authority on behalf of its clients, such
                                           clients. Specifically, commenters                        custom policies.167 These commenters’                   services generally will not constitute
                                           indicated that the amendments could                      concerns, however, focused largely on                   ‘‘proxy voting advice’’—and, therefore,
                                           increase litigation risks for proxy voting               subjecting investors’ custom policies,                  not be a ‘‘solicitation’’—under Rule
                                           advice businesses or have a chilling                     and the proxy voting advice that is                     14a–1(l)(1)(iii)(A).173
                                           effect on shareholder                                    based thereon, to the proposed review                      With respect to Rule 14a–1(l)(2), we
                                           communications.162 Although we                           and response mechanism outlined in                      are also amending this provision as
                                           acknowledge that compliance with the                     the Proposing Release.168 As discussed                  proposed to add paragraph (v) to make
                                           new conditions we are adopting to the                    in more detail below, new 17 CFR                        clear that the terms ‘‘solicit’’ and
                                           exemptions in Rules 14a–2(b)(1) and                      240.14a(b)(9)(v) (‘‘Rule 14a–2(b)(9)(v)’’)              ‘‘solicitation’’ do not include any proxy
                                           14a–2(b)(3) may increase the resources                   excludes from the notice requirement of                 voting advice provided by a person who
                                           that proxy voting advice businesses                      new 17 CFR 240.14a–2(b)(9)(ii) (‘‘Rule                  furnishes such advice only in response
                                           apply to ensuring compliance with                        14a–2(b)(9)(ii)’’) proxy voting advice to               to an unprompted request. This
                                           applicable law and regulation,163 we                     the extent such advice is based on                      amendment codifies the Commission’s
                                           disagree that our amendments to Rule                     custom policies.169 As such,                            historical view that such a
                                           14a–1(l)(1)(iii), taken in isolation, will               notwithstanding the fact that we are not                communication should not be regarded
                                           have a material impact on the operation                  excluding from the definitions of                       as a solicitation subject to the proxy
                                           of a proxy voting advice business.164 To                 ‘‘solicit’’ and ‘‘solicitation’’ proxy voting           rules.174 As we explained in the
                                           the contrary, the fact that both the                     advice that is based on custom policies,                Proposing Release, we believe that a
                                           Commission and the market generally,                     we believe that we have appropriately                   proxy voting advice business providing
                                           including proxy voting advice                            taken into account the substance of                     voting advice to a client where the
                                           businesses, have long recognized that                    these commenters’ concerns.                             client’s request for the advice has been
                                           proxy voting advice generally                               As noted above, one commenter                        invited and encouraged by such
                                           constitutes a ‘‘solicitation’’ indicates                 asserted that proxy voting agent                        business’s marketing, offering, and
                                           that any impact from codifying this                      businesses should not be subject to the                 selling, such advice should be
                                           aspect of the definition of a solicitation               same regulations as proxy voting advice                 distinguished from advice provided by
                                           likely is already reflected in the manner                businesses.170 The commenter’s                          a person only in response to an
                                           in which proxy voting advice                             position that its services differ from a                unprompted request from its client. In
                                           businesses’ provide their services and                   proxy voting advice business’s and                      our view, the information and filing
                                           the pricing thereof.                                     should not be considered a                              requirements of the proxy rules
                                              Finally, in the Interpretive Release,                 ‘‘solicitation’’ appears to be based, in                (including the filing and furnishing of a
                                           we stated our view that proxy voting                     part, on the fact that it only votes its                proxy statement with information about
                                           advice based on a proxy voting advice                    clients’ shares in accordance with its                  the registrant and proxy cards with
                                           business’s application of custom                         clients’ custom policies.171 As with any                means for casting votes) or compliance
                                           policies generally should be considered                  other person, including any proxy                       with the new conditions we are
                                           a ‘‘solicitation’’ under Rule 14a–1(l).165               voting advice business, to the extent a                 adopting to the exemptions described
                                           We continue to hold that view for the                    business is providing proxy voting                      below, are appropriate for a person who
                                           reasons stated in the Interpretive                       advice to a client—regardless of whether                chooses to actively market and sell its
                                           Release. As a result, such proxy voting                  such advice is based on its proprietary                 proxy voting advice as that person’s
                                           advice is subject to Rule 14a–9, and                     benchmark or specialty policies or its                  actions are reasonably designed to result
                                           persons who provide such advice in                       client’s custom policies—such advice                    in the procurement, withholding, or
                                           reliance on the exemptions in either                     will constitute a ‘‘solicitation’’ under                revocation of a proxy. Those
                                           Rule 14a–2(b)(1) or (b)(3) must comply                   Rule 14a–1(l)(1)(iii)(A). However, the                  requirements, however, are ill-suited for
                                           with the conflicts of interest disclosure                commenter and another commenter—                        a person who receives an unprompted
                                           requirements set forth in new 17 CFR                     both of which are investment advisers                   request from a client for its views on an
                                           240.14a–2(b)(9)(i) (‘‘Rule 14a–                          and were identified as proxy voting                     upcoming matter to be presented for
                                           2(b)(9)(i)’’).166 Some commenters                        advice businesses in the Proposing                      shareholder approval. For example, a
                                           recommended that we amend Rule 14a–                      Release—also asserted that their                        person who does not sell voting advice
                                           1(l) to exclude from the definitions of                  activities do not constitute                            as a business and who provides such
                                           ‘‘solicit’’ and ‘‘solicitation’’ proxy voting            ‘‘solicitations’’ because they vote their               advice only in response to an
                                                                                                    clients’ shares on behalf of their clients              unprompted request from its client is
                                             162 See   supra notes 101–105 and accompanying         rather than providing them with voting                  unlikely to anticipate the need to
                                           text.                                                    recommendations.172 We agree that to                    establish the internal processes
                                             163 See   infra Section IV.
                                             164 To
                                                                                                    the extent a business that provides                     necessary to comply with the new
                                                     the extent that some proxy voting advice
                                           businesses did not previously understand their           proxy voting services is not providing                  conditions we are adopting to the
                                           proxy voting advice to constitute a solicitation and     any voting recommendations and is                       exemptions in Rules 14a–2(b)(1) and
                                           thus subject to Rule 14a–9 liability, it is possible     instead exercising delegated voting                     14a–2(b)(3).
                                           that the codification of the Commission’s                                                                           We also believe, based on our
                                           longstanding view could have some economic
                                           effects. See infra Section IV.B.
                                                                                                      167 See supra note 112 and accompanying text.         understanding of the dynamics of the
                                                                                                      168 See, e.g., letter from ISS (expressing concern
                                              165 Commission Interpretation on Proxy Voting                                                                 proxy voting advice market as it
                                                                                                    about disclosing ‘‘clients’ proprietary custom voting
                                           Advice at 47418. For a description of the services
                                                                                                    policies and the recommendations based thereon’’
                                                                                                                                                            currently operates, that a person that
                                           that one major proxy voting advice business offers                                                               provides proxy voting advice only in
                                           in connection with its clients’ custom policies, see     and doubt as to the ‘‘investor protection to be
                                           ISS, Custom Pol’y & Res., available at https://          gained by allowing issuers to vet the methodologies
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                                           www.issgovernance.com/solutions/governance-              and assumptions institutional investors choose to         173 Separately, we note that the Commission has

                                           advisory-services/custom-policy-research/(last           implement for their own portfolios’’).                  provided guidance to investment advisers which
                                                                                                      169 See infra Section II.C.3.c.i.
                                           visited Jun. 19 2020).                                                                                           discusses how the fiduciary duty and rule 206(4)–
                                                                                                      170 See supra note 113 and accompanying text.
                                              166 See infra Section II.D. for a discussion of the                                                           6 under the Advisers Act relate to an investment
                                           amendments we are adopting to Rule 14a–9 and               171 See letter from Segal Marco II.                   adviser’s exercise of voting authority. See infra note
                                           Section II.B infra for a discussion of new Rule 14a–       172 See supra notes 99–100 and accompanying           400.
                                           2(b)(9)(i).                                              text.                                                     174 See supra note 84.




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                                           response to unprompted requests and                     in the Proposing Release,180 we believe               relationships with a shareholder
                                           does not market its expertise in such                   that those persons providing voting                   presenting a proposal covered by the
                                           services is less likely to present an                   advice in response to unprompted                      proxy voting advice; and
                                           investor protection or market integrity                 requests likely will be furnishing such                  • A proxy voting advice business
                                           concern. For example, we believe such                   advice to a client with whom there is an              providing voting advice on a matter on
                                           one-off advice to individual clients                    existing business relationship. As noted              which it or its affiliates have provided
                                           lacks the system-wide significance of                   above, proxy voting advice provided                   advice to a registrant, a proponent, or
                                           advice provided by proxy voting advice                  under these circumstances does not                    other party regarding how to structure
                                           businesses who, as described above,                     present the same investor protection or               or present the matter or the business
                                           have come to occupy a unique and                        regulatory concerns as proxy voting                   terms to be offered in such matter.
                                           important position in that process.175                  advice businesses engaged in                             These and similar types of
                                           Although one commenter recommended                      widespread marketing and sale of proxy                circumstances create a risk that the
                                           that 17 CFR 240.14a–1(l)(2)(v) (‘‘Rule                  voting advice to large numbers of                     proxy voting advice business’s voting
                                           14a–1(l)(2)(v)’’) be narrowed to exclude                investment advisers and institutional                 advice could be influenced by the
                                           only proxy voting advice furnished                      investors who are often voting on behalf              business’s own interests, which may
                                           pursuant to an unprompted request if                    of other investors.181                                call into question the objectivity and
                                                                                                                                                         independence of its advice.184 The
                                           such advice is also provided ‘‘not for                  B. Amendments to Rule 14a–2(b):                       clients of the proxy voting advice
                                           compensation,’’ 176 we consider that                    Conflicts of Interest                                 business would generally need to be
                                           amendment unnecessary. In our view,
                                                                                                   1. Proposed Amendments                                informed of such activities and
                                           any compensation that may be received
                                                                                                                                                         relationships in order to be in a position
                                           for such unprompted proxy voting                           Over the years, many observers have
                                                                                                                                                         to reasonably assess the impact and
                                           advice does not present the same                        noted that some proxy voting advice
                                                                                                                                                         materiality of any actual or potential
                                           investor protection or regulatory                       businesses engage in activities or have
                                                                                                                                                         conflicts of interest with respect to the
                                           concerns because such persons are less                  relationships that could reasonably be
                                                                                                                                                         proxy voting advice they receive.185 If
                                           likely to engage in widespread                          expected to affect the objectivity or
                                                                                                                                                         they do not have access to sufficiently
                                           marketing of their expertise in providing               reliability of their advice.182 Examples
                                                                                                                                                         detailed disclosure about the full extent
                                           proxy voting advice.                                    of circumstances where the interests of
                                                                                                                                                         and nature of any conflicts that are
                                                                                                   a proxy voting advice business may
                                              As noted above, one commenter                                                                              relevant to the voting advice, and any
                                                                                                   diverge materially from the interests of
                                           opposed the amendment to Rule 14a–                                                                            measures taken to mitigate such
                                                                                                   the clients who utilize their advice
                                           1(l)(2) on the basis that investment                    include:                                              conflicts, these clients may not have
                                           advisers and broker-dealers may avoid                      • A proxy voting advice business                   sufficient information to reasonably
                                           announcing their willingness to provide                 providing voting advice to its clients on             understand and adequately assess these
                                           voting advice on Forms ADV and CRS                      proposals to be considered at the annual              potential conflicts and remedial
                                           out of concern that they would fall                     meeting of a registrant while the proxy               measures when they evaluate the voting
                                           outside the scope of new Rule 14a–                      voting advice business also earns fees                advice and make their voting
                                           1(l)(2)(v) and be deemed to be                          (or is seeking to earn fees) from that                determinations.186 A range of proxy
                                           prompting a request for proxy voting                    registrant for providing advice on                    voting advice business clients may find
                                           advice.177 We believe, however, that the                corporate governance and compensation                 it important to have sufficient
                                           text of new Rule 14a–1(l)(1)(iii)(A) is                 policies; 183                                         information to support their
                                           sufficiently precise to avoid this                         • A proxy voting advice business                   understanding and assessment,
                                           concern. Where an investment adviser                    providing voting advice on a matter in                including, for example, investment
                                           or broker-dealer is describing the                      which its affiliates or one or more of its            advisers that undertake proxy voting
                                           services it provides to its clients or                  clients has a material interest, such as              duties on a client’s behalf.187
                                           customers, which may include proxy                      a business transaction or a shareholder                  In light of these concerns, the
                                           voting advice, we believe that such                     proposal put forward by or actively                   Commission proposed amendments to
                                           investment adviser or broker-dealer                     supported by that client or group of                  further ensure that sufficient
                                           should not be deemed to be                              clients;                                              information about material conflicts of
                                           ‘‘market[ing] its expertise as a provider                  • A proxy voting advice business                   interest would be provided consistently
                                           of such proxy voting advice, separately                 providing ratings to institutional                    across proxy voting advice businesses
                                           from other forms of investment advice,                  investors of registrants’ corporate                   and in a manner readily accessible to
                                           and sell[ing] such proxy voting advice                  governance practices while at the same                the clients of the proxy voting advice
                                           for a fee.’’ 178 This same commenter also               time consulting for, or seeking to                    businesses. Accordingly, the proposed
                                           expressed concern that the amendment                    consult with, registrants that are the                amendments included a requirement
                                           to Rule 14a–1(l)(2) could be                            subject of the ratings for a fee to help              that persons who provide proxy voting
                                           counterproductive from an investor                      increase their corporate governance                   advice,188 in order to rely on the
                                           protection standpoint as the proxy rules                scores;
                                           would apply to experts with proxy                          • A proxy voting advice business                     184 See id. at n.75.
                                                                                                                                                           185 See id. at n.72.
                                           advice-related skills and resources but                 providing voting advice with respect to
                                                                                                                                                           186 See id. at 66526 n.78 and infra note 193.
                                           not to individuals with less relevant                   a registrant’s shareholder meeting while                187 Commission Guidance on Proxy Voting
                                           expertise who engage in the same                        affiliates of the proxy voting advice                 Responsibilities at 47425 (‘‘[A]n investment
                                           activities.179 We disagree. As we noted                 business hold a significant ownership                 adviser’s decision regarding whether to retain a
                                                                                                   interest in the registrant, sit on the                proxy advisory firm should also include a
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                                             175 See                                               registrant’s board of directors, or have              reasonable review of the proxy advisory firm’s
                                                     supra notes 6–10 and accompanying text.                                                             policies and procedures regarding how it identifies
                                             176 See letter from Exxon Mobil.                                                                            and addresses conflicts of interest.’’).
                                             177 See letter from ISS.                                180 See Proposing Release at 66523.                   188 Consistent with the Commission’s proposed
                                             178 17 CFR 240.14a–1(l)(1)(iii)(A); see also supra      181 See supra text accompanying note 176.           amendments to the definition of solicitation under
                                           notes 124–125.                                            182 See Proposing Release at 66525 n.73.
                                                                                                                                                         the proxy rules, the requirement would apply only
                                             179 See supra note 117 and accompanying text.           183 See id. at n.74.                                to proxy voting advice falling within the scope of



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                                           exemptions contained in Rule 14a–                         and, when necessary for the client to                         Some commenters opposed the
                                           2(b)(1) and (b)(3), must include in such                  adequately assess the potential effects of                 proposed amendments,195 asserting that
                                           advice (and in any electronic medium                      the conflict of interest, the approximate                  additional conflict disclosure
                                           used to deliver the advice) the following                 dollar amount involved in the interest,                    requirements were not justified 196 and,
                                           disclosures specifically tailored to proxy                transaction, or relationship. Boilerplate                  therefore, would impose unnecessary
                                           voting advice businesses and the nature                   language, including language stating                       additional costs and burdens on proxy
                                           of their conflicts of interest:                           that ‘‘such relationships or interests may                 voting advice businesses and their
                                              • Any material interests, direct or                    or may not exist,’’ would be insufficient                  clients.197 These commenters
                                           indirect, of the proxy voting advice                      for purposes of satisfying this condition                  challenged, among other things, the
                                           business (or its affiliates 189) in the                   to the exemptions.                                         claims that proxy voting advice
                                           matter or parties concerning which it is                                                                             businesses’ conflicts of interest
                                           providing the advice;                                     2. Comments Received
                                                                                                                                                                disclosures were materially deficient,198
                                              • Any material transaction or                             Many commenters agreed with the                         and contended that the businesses’
                                           relationship between the proxy voting                     general principle that providing clients                   existing policies and procedures (such
                                           advice business (or its affiliates) and (i)               of proxy voting advice businesses with                     as their disclosure practices and
                                           the registrant (or any of the registrant’s                adequate conflicts of interest disclosure                  maintenance of internal firewalls to
                                           affiliates 190), (ii) another soliciting                  helps to ensure transparency and                           guard against conflicts) adequately
                                           person (or its affiliates), or (iii) a                    fairness in the voting process and is                      addressed the risk of conflicts.199 In
                                           shareholder proponent (or its affiliates),                vital to the clients’ ability to make                      support of this view, commenters noted
                                           in connection with the matter covered                     informed voting decisions.193 Some                         that the predominant opinion among the
                                           by the proxy voting advice;                               commenters expressed the view that
                                              • Any other information regarding the                  proxy voting advice businesses                             CCMC; Ashley Baker, Director of Public Policy, The
                                           interest, transaction, or relationship of                 currently do not satisfactorily mitigate                   Committee for Justice, (Feb. 3, 2020) (‘‘Committee
                                           the proxy voting advice business (or its                  the risk that conflicts of interest may                    for Justice’’); J. Ward; Nareit; Nasdaq; P. Mahoney
                                                                                                                                                                and J.W. Verret; SCG; Seven Corners Capital
                                           affiliates) that is material to assessing                 impair their objectivity and,                              Management, LLC (Apr. 8, 2020) (‘‘Seven Corners’’).
                                           the objectivity of the proxy voting                       consequently, that their ability to                           195 See, e.g., letters from CalPERS; Canadian

                                           advice in light of the circumstances of                   provide impartial voting advice is often                   Governance Coalition; CII IV; JoAnn Hanson,
                                           the particular interest, transaction, or                  undermined by the prevalence of                            President and CEO, Church Investment Group (Jan.
                                                                                                                                                                29, 2020) (‘‘Church Investment Group’’); Colorado
                                           relationship; and                                         conflicts.194                                              PERA; Henry Beck, Maine State Treasurer, et al.,
                                              • Any policies and procedures used                                                                                Democratic Treasurers Association (Jan. 30, 2020)
                                           to identify, as well as the steps taken to                   193 See letters from commenters generally
                                                                                                                                                                (‘‘DTA’’); Holly A. Testa, Director, Shareowner
                                           address, any such material conflicts of                   opposed to the proposals, e.g., CalSTRS (‘‘We agree        Engagement, First Affirmative Financial Network
                                                                                                     that conflict of interest disclosure is important for      (Jan. 3, 2020) (‘‘First Affirmative’’); Jeffery W.
                                           interest arising from such interest,                      a well-functioning and unbiased proxy voting               Perkins, Executive Director, Friends Fiduciary
                                           transaction, or relationship.191                          system. Investors should be informed when there            Corporation (Feb. 2, 2020) (‘‘Friends’’); Glass Lewis
                                              In the Proposing Release, the                          may be potential conflicts of interest that could          II; ISS; Interfaith Center II; J. Coates, Professor of
                                           Commission stated that the disclosures                    affect proxy advisor recommendations. Investors            Law and Economics, Harvard Law School, and
                                                                                                     need confidence that the research being considered         Barbara Roper, Consumer Federation of America
                                           provided under these provisions should                    when voting is unbiased and fact based . . . .’’);         (Jan. 30, 2020) (‘‘Prof. Coates’’); New York
                                           be sufficiently detailed so that clients of               CFA Institute I; CII IV; ISS; and the IAC                  Comptroller II; PIAC II; Public Retirement Systems;
                                           proxy voting advice businesses could                      Recommendation. See also letters from commenters           ValueEdge I.
                                           understand the nature and scope of the                    generally supporting the proposals, e.g., ACCF                196 See, e.g., letters from Colorado PERA (‘‘PERA

                                                                                                     (‘‘Investors need to be fully informed of the biases       utilizes research reports from Glass Lewis and ISS
                                           interest, transaction, or relationship to                 and conflicts inherent in [the] powerful vote              to assist with its evaluation of items on a proxy
                                           appropriately assess the objectivity and                  recommendations [of proxy voting advice                    ballot. PERA has analyzed each firm’s disclosures
                                           reliability of the proxy voting advice                    businesses].’’); BRT (‘‘. . . conflicts of interest that   and management of conflicts of interest. We
                                           they receive.192 This might include, for                  may arise for proxy advisors should be disclosed in        concluded that the potential conflicts are harmless
                                                                                                     order for their clients to assess for themselves the       to the independence of the research, would not
                                           example, the identities of the parties or                 effect and materiality of any actual or potential          sway an investor’s opinion, and the existing
                                           affiliates involved in the interest,                      conflicts of interest with respect to a voting             firewalls to prevent contamination of objectivity—
                                           transaction, or relationship triggering                   recommendation . . . We agree with the                     where applicable to specific proxy advisors—are
                                           the proposed disclosure requirement                       Commission’s assessment that institutional                 sufficient’’); CalSTRS; Glass Lewis II; ISS.
                                                                                                     investors and investment advisers who rely on                 197 See, e.g., letters from CalPERS; Canadian

                                                                                                     proxy advisors for voting guidance cannot identify         Governance Coalition; CII IV; Church Investment
                                           amended Rule 14a–1(l)(1)(iii)(A). See supra Section       potential risks if they do not have access to              Group; DTA; First Affirmative; Friends; Glass Lewis
                                           II.A., ‘‘Codification of Commission’s Interpretation      sufficiently detailed disclosure about the full extent     II; ISS; Interfaith Center II; New York Comptroller
                                           of Solicitation.’’                                        and nature of any conflicts that are relevant to the       II; Colorado PERA; PIAC II; Prof. Coates; Public
                                              189 The term ‘‘affiliate,’’ as used in proposed Rule
                                                                                                     voting advice they receive.’’); Exxon Mobil Corp.,         Retirement Systems; ValueEdge I.
                                           14a–2(b)(9)(i), would have the meaning specified in       (Feb. 3, 2020) (‘‘ExxonMobil’’); Tao Li, Ph.D.,               198 See, e.g., letters from CalPERS (‘‘We see no
                                           Exchange Act Rule 12b–2.                                  Assistant Professor of Finance, University of Florida      evidence that conflicts of interest with proxy
                                              190 The Commission recognized that proxy voting
                                                                                                     (Jan. 30, 2020) (‘‘Prof. Li’’) (‘‘. . . it remains         advisors have led to voting advice that conflicts
                                           advice businesses may not necessarily have access         imperative that market participants are aware of any       with our voting policies . . . It is not clear to what
                                           to the information needed to determine whether an         potential conflicts of interest within the industry        extent the SEC has reviewed all of the disclosures
                                           entity is an affiliate of a registrant, another           and whether those conflicts are impeding the role          that proxy voting advice businesses already
                                           soliciting person, or the shareholder proponent.          of proxy advisors as independent providers of              provide.’’); CalSTRS; CII IV; Glass Lewis II; ISS;
                                           Therefore, as proposed, proxy voting advice               information and recommendations.’’); NAM; Nareit;          New York Comptroller II; Colorado PERA; PIAC II;
                                           businesses would only be required to use publicly-        Nasdaq; SCG; CCMC.                                         ValueEdge I.
                                           available information to determine whether an                194 See, e.g., letters from ACCF (citing its May           199 See, e.g., letters from CalSTRS (stating that
                                           entity is an affiliate of registrants, other soliciting   2018 research paper: ‘‘The Conflicted Role of Proxy        while it is generally supportive of conflict of
                                           persons, or shareholder proponents.                       Advisors’’); BIO; BRT; CEC; CCMC; ExxonMobil;              interest disclosure, it does ‘‘not believe the SEC
                                              191 This would include a description of the
                                                                                                     Jason Ward, Managing Partner, Amrop Industrial             needs to create a new regulatory structure to enforce
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                                           material features of the policies and procedures that     Search LLC (Feb. 3, 2020) (‘‘J. Ward’’); NAM; Nareit;      such [conflict of interest] disclosure’’ and its
                                           are necessary to understand and evaluate them.            Nasdaq; SCG. To substantiate their claims that             general belief ‘‘that proxy advisors are currently
                                           Examples include the types of transactions or             conflicts of interest are pervasive in proxy voting        providing adequate disclosures that meet the needs
                                           relationships covered by the policies and                 advice, several commenters pointed to the results          of investors, and any modifications to disclosures
                                           procedures and the persons responsible for                of various opinion surveys of selected companies           can be enforced through existing SEC authority.’’);
                                           administering these policies and procedures.              and individuals reflecting significant concerns            ISS; Glass Lewis II; CalPERS; New York
                                              192 Proposing Release at 66526.                        about conflicts of interest. See, e.g., letters from       Comptroller II.



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                                           businesses’ own clients was that the                          Both those supporting and those                         3. Final Amendments
                                           measures taken to mitigate conflicts of                     opposing the proposed Rule 14a–                              We are adopting amendments to Rule
                                           interest were satisfactory.200 Moreover,                    2(b)(9)(i) recommended modifications to                   14a–2(b) to require that persons who
                                           commenters argued that adding new                           the proposed new disclosure                               provide proxy voting advice in reliance
                                           disclosure requirements to the proxy                        requirements,204 ranging from very                        on the exemptions in either Rule 14a–
                                           rules was unnecessary in light of                           specific suggestions intended to                          2(b)(1) or (b)(3) must include in their
                                           existing provisions in the Advisers Act                     standardize the presentation of conflicts                 voting advice to clients the conflicts of
                                           and in Rule 14a–2(b) under the                              disclosures,205 expand the breadth of                     interest disclosure specified in new
                                           Exchange Act that already address                           required disclosure,206 and capture                       Rule 14a–2(b)(9)(i). The Commission is
                                           conflicts of interest, as well as                           certain detailed information,207 to those                 adopting these amendments
                                           inappropriate because the Advisers Act                      that were less prescriptive and leaned                    substantially as proposed, but with
                                           generally governs the activities of                         toward a more principles-based                            certain modifications as discussed
                                           investment advisers, including proxy                        approach,208 with an emphasis on                          below, to clarify and streamline the rule
                                           voting advice businesses.201 In addition,                   materiality.209 Other commenters                          in response to commenters’ concerns
                                           some commenters believed that the                           recommended certain substantive                           and suggestions.
                                           proposed conflicts disclosure                               changes that would have widened the                          As adopted, Rule 14a–2(b)(9)(i)
                                           requirements would likely compromise                        scope of the proposed amendments                          establishes a principles-based
                                           the internal firewalls designed by proxy                    beyond conflicts disclosure.210                           requirement, based on a standard of
                                           voting advice businesses to mitigate                                                                                  materiality, that will apply to all proxy
                                           their risk of conflicts,202 and could have                     204 See, e.g., letters from Lynette C. Fallon, EVP
                                                                                                                                                                 voting advice that is provided in
                                           a detrimental effect on competition in                      HR/Legal and General Counsel, Axcelis
                                                                                                       Technologies, Inc. (Jan. 20, 2020) (‘‘Axcelis’’);         reliance on the exemptions in Rules
                                           an industry that is already cost-                           Baillie Gifford; BRT; CEC; CII IV; CIRCA; Exxon           14a–2(b)(1) and (b)(3). Contrary to the
                                           prohibitive for new entrants.203                            Mobil; Garmin; Glass Lewis II; ISS; Jonathan              views of some commenters, we do not
                                                                                                       Chanis, New Tide Asset Management, LLC (Jan. 30,          see this requirement as imposing an
                                              200 See, e.g., letters from ISS (‘‘. . . the fact that   2020) (‘‘J. Chanis’’); Mylan; Ann McGinnis, Co-
                                                                                                       President et al., Los Angeles Chapter, National           entirely new regulatory regime or
                                           the most vocal critics of ISS in this area [regarding
                                           conflicts of interest] are those who speak on behalf        Investor Relations Institute, Los Angeles Chapter         structure.211 Rather, we view Rule 14a–
                                           of corporate management, and not the investors              (Feb. 3, 2020) (‘‘NIRI–LA’’); David Erickson,             2(b)(9)(i) as enhancing the existing
                                           who rely on ISS’ research and vote                          President, et. al., National Investor Relations           conflicts of interest disclosures that
                                           recommendations, indicates that ISS is managing             Institute, Orange County Chapter (Feb. 4, 2020)
                                                                                                       (‘‘NIRI–OC’’); June M. Vecellio, President, and           proxy voting advice businesses
                                           this potential conflict extremely well.’’); CalPERS;
                                           CalSTRS; Glass Lewis II; New York Comptroller II.           James B. Bragg, Advocacy Ambassador, National             currently provide in order to rely on the
                                              201 See, e.g., letter from ISS (asserting that ‘‘the     Investor Relations Institute, Connecticut/                exemptions from the proxy rules’
                                                                                                       Westchester County Chapter (Feb. 6, 2020) (‘‘NIRI–        information and filing requirements. By
                                           proposal ignores the relevance of the Advisers Act
                                                                                                       Westchester’’); Nasdaq; Prof. Li; SCG; Seven
                                           regime and makes no attempt to explain why this                                                                       articulating a standard for disclosure
                                                                                                       Corners; SES; Linda Moore, President and CEO,
                                           framework is inadequate to address the                                                                                that focuses on information that would
                                                                                                       TechNet, (Feb. 3, 2020) (‘‘TechNet’’).
                                           Commission’s purported concerns about proxy
                                           advice’’). As noted above, it is not unusual for a
                                                                                                          205 See, e.g., letters from Nasdaq; NIRI–LA; NIRI–     be material to assessing the objectivity
                                           registrant under one provision of the securities laws       OC; NIRI–WC; TechNet (calling for conflicts of            of the proxy voting advice, the new rule
                                                                                                       interest to be disclosed on the front page of proxy
                                           to be subject to other provisions of the securities
                                                                                                       voting advice).
                                                                                                                                                                 is expected to result in disclosure that
                                           laws when engaging in conduct that falls within the                                                                   is more tailored and comprehensive
                                                                                                          206 See, e.g., letters from ExxonMobil (supporting
                                           other provisions. See supra notes 41 through 60 and
                                           accompanying text for a discussion of why we                a requirement for specific disclosures about proxy        than would be required under either
                                           believe it is appropriate that proxy voting advice          voting advice businesses’ specialty reports that are      Rule 14a–2(b)(1) or (b)(3).212 Given the
                                           businesses be subject to applicable rules under             driven by goals other than maximizing shareholder         significant role played by proxy voting
                                           Section 14(a) when they provide proxy voting                value); SCG (recommending that proxy voting
                                                                                                       advice businesses be required to disclose ‘‘any           advice businesses in the voting process,
                                           advice, regardless of whether they are registered
                                           under the Advisers Act.                                     interest, transaction or relationship that may            we believe that the articulation of clear
                                              202 For example, according to ISS, it maintains a        present a conflict of interest, and the dollar amount     minimum disclosure standards is
                                           firewall between ISS Global Research, its core              thereof’’).                                               appropriate to better ensure
                                                                                                          207 See, e.g., letters from ExxonMobil
                                           institutional business, and ISS Corporate Solutions,                                                                  transparency, accuracy, and
                                           Inc. (‘‘ICS’’), a subsidiary which provides                 (recommending that required conflict disclosures
                                                                                                       cover details similar to the requirements of Item         completeness in the information
                                           governance tools and services to corporate issuer
                                           clients. In its comment letter, ISS states that ‘‘a key     404(a) of Regulation S–K and enumerating a list of        provided, as well as the integrity of the
                                           goal of the firewall is to keep the ISS Global              specific items that should be addressed by                proxy voting process. Rule 14a–2(b)(9)(i)
                                           Research team from knowing the identity of ICS’             disclosure); PIRC (suggesting that disclosure of
                                           clients,’’ which could be jeopardized by disclosure         specific amounts of compensation received from
                                                                                                                                                                 Chanis (recommending that the Commission
                                           of the details of ICS’ business and potentially result      various clients could be helpful).
                                                                                                          208 See, e.g., letters from Baillie Gifford
                                                                                                                                                                 prohibit proxy voting advice businesses from also
                                           in vote recommendations that are biased in favor of                                                                   providing consulting services to companies that are
                                           corporate management. As part of its conflicts of           (cautioning that requiring disclosure of policies and     the subject of their proxy voting advice).
                                           interest policies, Glass Lewis blocks its research          procedures would lead to boilerplate disclosure);            211 See, e.g., letters from CalSTRS ([W]e do not
                                           analysts from any access to the holdings, custom            CII IV (asserting that allowing proxy voting advice       believe the SEC needs to create a new regulatory
                                           policies and/or voting activity of its two co-owners,       businesses to choose the vehicle by which they            structure to enforce such disclosure.’’); Glass Lewis
                                           the Ontario Teachers’ Pension Plan Board and                disclose conflicts of interest would mitigate the         II (‘‘Accordingly, this issue [of conflicts of interest
                                           Alberta Investment Management Corp. See e.g.,               widespread distribution of information that could         disclosure] does not present a basis for a wholesale
                                           letters from CII IV; Glass Lewis II; ISS. See also IAC      affect competitive or other concerns); CIRCA              new and burdensome regulatory regime . . . .’’).
                                           Recommendation.                                             (stating that a principles-based approach ‘‘would            212 The exemption in Rule 14a–2(b)(1) does not
                                              203 See, e.g., letters from CalPERS; CII IV; ISS;        prevent proxy advisors from giving boilerplate            currently require conflicts of interest disclosure,
                                           PERA (‘‘This disclosure of . . . anything that may          disclosures . . . without creating unprecedented          while Rule 14a–2(b)(3)(ii) requires disclosure of
                                           potentially be deemed a conflict of interest could          and excessive burdens.’’); ISS (stating that ‘‘there is   ‘‘any significant relationship with the registrant or
                                           result in advisors losing their competitive                 no reason to treat conflict disclosure by proxy           any of its affiliates, or a security holder proponent
                                           advantage.’’); and the IAC Recommendation. See              advisers any differently from the way conflict            of the matter on which advice is given, as well as
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                                           also letter from CFA Institute I (‘‘We do not object        disclosure by portfolio managers or any other type        any material interests in such matter.’’ 17 CFR
                                           to such increased transparency as long as these             of investment adviser is treated.’’); S. Holmes.          240.14a–2(b)(3)(ii). It should be noted that both
                                                                                                          209 See, e.g., letter from Baillie Gifford.
                                           further disclosures do not compromise the                                                                             exemptions were adopted by the Commission
                                           competitiveness of a proxy adviser by forcing them             210 See, e.g., letters from Garmin (recommending       before proxy voting advice businesses played the
                                           to divulge trade secrets or other proprietary               that the Commission require proxy voting advice           significant role that they now do in the proxy voting
                                           information, the disclosure of which would be               businesses to separate their proxy advisory               process and in the voting decisions of investment
                                           deleterious to the specific adviser’’).                     businesses from their consulting businesses); J.          advisers and institutional investors.



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                                           is intended to harmonize the conflicts of               advice within the scope of proposed                       determine the materiality of conflicts
                                           interest disclosure that proxy voting                   Rule 14a–1(l)(1)(iii)(A) who wishes to                    that might pose a risk to the objectivity
                                           advice businesses provide to their                      utilize the exemption in either Rule                      of its advice.
                                           clients, helping to ensure that sufficient              14a–2(b)(1) or (b)(3). Such persons must                    The final rule also gives the proxy
                                           information about material conflicts of                 include in their voting advice (or in any                 voting advice business flexibility to
                                           interest is disclosed more consistently                 electronic medium used to deliver the                     determine the precise level of detail
                                           across proxy voting advice businesses                   advice) prominent disclosure of:                          needed about any identified conflicts of
                                           and in a manner readily accessible to                      • Any information regarding an                         interest,220 or whether a relationship or
                                           the clients of such businesses. As a                    interest, transaction, or relationship 216                interest that has been terminated should
                                           consequence, we believe the rule will                   of the proxy voting advice business (or                   nevertheless be disclosed.221 In each
                                           enable clients of proxy voting advice                   its affiliates) that is material to assessing             particular case, the rule gives the proxy
                                           businesses to make more informed                        the objectivity of the proxy voting                       voting advice business the discretion to
                                           voting decisions, including with regard                 advice in light of the circumstances of                   determine which situations merit
                                           to how proxy voting advice businesses                   the particular interest, transaction, or                  disclosure and the specific details to
                                           identify and address conflicts of interest              relationship; 217 and                                     provide to its clients about any conflicts
                                           on a business-specific and relative basis                  • Any policies and procedures used                     of interest identified. The key
                                           and help in Commission oversight of the                 to identify, as well as the steps taken to                determinant will be whether the
                                           proxy voting process.213                                address, any such material conflicts of                   information is material to an evaluation
                                              Although some proxy voting advice                    interest arising from such interest,                      of the proxy voting advice business’s
                                           businesses and others have asserted that                transaction, or relationship.218                          objectivity.
                                           the businesses’ existing practices and                     The rule, as adopted, reflects our                       A more prescriptive disclosure
                                           procedures adequately address conflicts                 intent to avoid an overly prescriptive                    requirement, while relying less on the
                                           of interest concerns,214 we believe that                disclosure requirement with specific                      proxy voting advice business’s
                                           the absence of a disclosure requirement                 monetary thresholds, in favor of a more                   judgment, risks being either under- or
                                           specifically contemplating the conflicts                principles-based rule that is sufficiently                over-inclusive. For instance, there may
                                           of interest that can arise for proxy voting             flexible to encompass a wide variety of                   be scenarios or relationships of which
                                           advice businesses in relation to proxy                  circumstances that may not fall within                    we are not aware or that, at this point
                                           voting advice means that there has not                  pre-determined parameters but                             in time, do not exist that present or
                                           been a sufficient standard against which                nevertheless could materially impact a                    would present material conflicts.222
                                           clients may assess the quality of the                   client’s assessment of the proxy voting
                                           conflicts disclosures they receive.                     advice business’s objectivity. This                          220 For example, the proxy voting advice business
                                           Conditioning the exemptions in Rules                    approach also is consistent with the                      would have the discretion, on a case-by-case basis,
                                           14a–2(b)(1) and (3) for proxy voting                    views of several commenters who                           to determine whether specific monetary amounts
                                           advice on the proxy voting advice                       favored a principles-based disclosure                     related to any potential and/or actual conflicts
                                           business’s adherence to a set of                                                                                  identified should be disclosed. See letter from CII
                                                                                                   requirement that could more easily                        IV (‘‘We do not believe that proxy voting advice
                                           minimum, principles-based disclosure                    accommodate a variety of different facts                  businesses should be required to disclose the
                                           standards will make clear what                          and circumstances.219 As such, Rule                       specific amounts that they receive from the
                                           constitutes basic information regarding                 14a–2(b)(9)(i) establishes a general                      relationships or interests covered by the proposed
                                           conflicts of interest that all parties can                                                                        conflicts of interest disclosures . . . there is no
                                                                                                   standard for conflicts of interest                        reliable evidence indicating that institutional
                                           expect when receiving voting advice
                                                                                                   disclosure, but allows the proxy voting                   investor clients believe that level of detail is
                                           and will bolster the completeness and                                                                             necessary in all circumstances. To the extent that
                                                                                                   advice business to apply its judgment
                                           consistency of such disclosure by                                                                                 investors want this information, they are at liberty
                                                                                                   and unique knowledge of the facts to
                                           making it a regulatory requirement. This                                                                          to seek it from the proxy advisory firm(s) they hire,
                                           should in turn foster greater confidence                                                                          and make it a condition for hiring a proxy
                                                                                                      216 Such information may include disclosure
                                                                                                                                                             advisor.’’). We note, however, that Rule 14a–
                                           in the services proxy voting advice                     about certain business practices in which the proxy       2(b)(9)(i) should not be interpreted to mean that
                                           businesses offer to their clients and                   voting advice business engages that might                 disclosure of specific amounts would never be
                                           provide greater assurance to market                     reasonably be expected to call into question its          necessary. There may be situations, depending on
                                                                                                   objectivity and the independence of its advice. For       the particular facts and circumstances, in which
                                           participants that shareholders’ interests               example, it may be appropriate in some                    this information would be material to assessing the
                                           are being properly considered through a                 circumstances under the rule for a proxy voting           objectivity of the proxy voting advice and therefore
                                           well-functioning proxy system.215                       advice business to disclose its practice of               should be disclosed. Similarly, the proxy voting
                                              To that end, Rule 14a–2(b)(9)(i) sets                selectively consulting with certain clients before        advice business would have the discretion to
                                                                                                   issuing its benchmark voting recommendation on a          determine whether the number of instances of
                                           forth a concise framework that applies                  specific matter (e.g., a contested director election or   substantive engagement it has had with existing
                                           to any person providing proxy voting                    merger). This may particularly be the case in             clients as well as any other third parties providing
                                                                                                   situations in which the clients with whom the             substantive input to the proxy voting advice
                                              213 Currently, proxy voting advice businesses        proxy voting advice business consults are not             business as it develops its advice may have created
                                           differ in how they disclose their conflicts of          directly involved as a party to the specific matter       a material conflict of interest that should be
                                           interest. For example, ISS discloses the details of     but are expected to receive proxy voting advice on        disclosed.
                                           its potential conflicts of interest, such as the        the matter. Such a practice could allow for those            221 See, e.g., letter from Baillie Gifford (‘‘A more
                                           identities of the parties and the amounts involved,     consulted clients’ voting preferences to influence        principles-based requirement is preferable because
                                           through its ProxyExchange platform, while Glass         recommendations given to other clients that were          whether a matter is material to the proxy advice
                                           Lewis states that its disclosures appear on the front   not consulted and importantly, without the                will depend on the facts and circumstances. For
                                           cover of the report with its proxy voting advice. See   knowledge of those clients not consulted.                 example, in some situations it may be relevant that
                                           ISS, FAQs Regarding Recent Guidance from the               217 Rule 14a–2(b)(9)(i)(A).
                                                                                                                                                             a proxy advisor had an historical relationship with
                                           U.S. Securities and Exchange Commission                    218 Rule 14a–2(b)(9)(i)(B).                            a registrant, albeit that the relationship is no longer
                                           Regarding Proxy Voting Responsibilities of                 219 See, e.g., letters from Baillie Gifford; CII IV;   live, if the relationship were very significant in
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                                           Investment Advisers (2019) (‘‘ISS FAQs’’), available    CIRCA, Glass Lewis II; ISS (‘‘Proxy advisers should       terms of duration or value. In other cases, less
                                           at https://www.issgovernance.com/file/faq/ISS_          be governed by a principles-based regulatory              significant relationships will cease to be relevant as
                                           Guidance_FAQ_Document.pdf. See also Proposing           regime. For this reason, the Commission should not        soon as they come to an end. It should be for the
                                           Release at 66527, n. 90; letter from Glass Lewis II.    require such firms to disclose specific qualitative or    proxy advisors to make the assessment and for their
                                              214 See supra note 200 and Proposing Release at                                                                clients to understand how the advisor makes this
                                                                                                   quantitative information or impose prescriptive
                                           66544 n.226.                                            standards regarding the method of conflict                determination as part of regular due diligence.’’).
                                              215 See infra Section IV.A.                          disclosure.’’).                                              222 See discussion supra pp. 51–52.




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                                           Instead, by adopting a rule with                        commenter suggested that more                           material conflicts of interest be included
                                           materiality as its focus, we have opted                 guidance was needed regarding the                       in the voting advice to ensure that this
                                           for an approach that is more adaptable                  timeframe for which the disclosure of                   information is readily accessible to
                                           to varied circumstances. The concept of                 conflicts should be provided.226 As                     clients and facilitates their ability to
                                           materiality is at the core of our                       discussed above, however, we believe                    consider such disclosure together with
                                           disclosure framework and has served                     that a more principles-based approach                   the proxy voting advice at the time they
                                           our markets and investors well.                         will best serve to provide the clients of               make their voting decisions.227 It does
                                           Therefore, we believe that requiring                    proxy voting advice businesses with                     not, however, dictate the particular
                                           proxy voting advice businesses to base                  adequate disclosure regarding conflicts                 location or presentation of the
                                           their conflicts of interest disclosures on              while balancing the varied and unique                   disclosure in the advice or the manner
                                           assessments of materiality is a more                    circumstances of such businesses. We                    of its conveyance as some commenters
                                           effective way to ensure that their clients              are therefore not persuaded that more                   recommended.228 Doing so would
                                           have sufficient information to weigh the                prescriptive modifications are necessary                undermine our intent to give latitude to
                                           voting advice they are given.                           or preferable to the rule, as adopted,                  proxy voting businesses to fashion their
                                              Substantively, Rule 14a–2(b)(9)(i) is                which describes a general principle                     disclosure as they judge best, in
                                           consistent with the Commission’s                        rather than delineating particular                      recognition of the varied circumstances
                                           proposal, but we have modified the                      disclosure items.                                       in which they provide their services.
                                           wording in an effort to further simplify                   Because our concern is with ensuring                    Along these lines, the final rule differs
                                           the requirement. We agree with a                        that proxy voting advice business                       from the proposal regarding the
                                           commenter who suggested that the                        clients have the ability to assess the                  conveyance of conflicts disclosure. As
                                           proposed regulatory text could be                       objectivity, and ultimately the                         proposed, the rule would have required
                                           streamlined to both capture the full                    reliability, of proxy voting advice, we                 a proxy voting advice business to
                                           scope of conflicts-related disclosure and               believe it would not serve the interests                include conflicts of interest disclosure
                                           retain the focus on principles of                       of those who depend on voting advice                    ‘‘in its proxy voting advice and in any
                                           materiality.223 Therefore, consistent                   to place precise limits on what would be                electronic medium used to deliver the
                                           with the suggestions of these                           considered material information. For                    advice,’’ 229 to ensure that the
                                           commenters, the rule condenses                          example, if a proxy voting advice                       information is prominently disclosed
                                           proposed subsections (A), (B), and (C) of               business has been retained by a                         regardless of the means by which the
                                           paragraph (b)(9)(i) into a single                       shareholder to provide voting advice                    advice is disseminated. However, some
                                           subsection (A) that requires disclosure                 regarding a registrant for which the                    commenters were concerned that this
                                           of ‘‘any information regarding an                       business once provided consulting                       was overly prescriptive and would
                                           interest, transaction, or relationship of               services, and if it has had no business                 interfere with proxy voting advice
                                           the proxy voting advice business (or its                relationship with the registrant for some               businesses’ existing conflict
                                           affiliates) that is material to assessing               years and is not seeking a business                     management policies and procedures
                                           the objectivity of the proxy voting                     relationship with the registrant, it may                designed to safeguard information and
                                           advice in light of the circumstances of                 be unlikely that the nature of its                      prevent it from undermining the
                                           the particular interest, transaction, or                relationships with the registrant would                 objectivity and independence of the
                                           relationship.’’ 224                                     be deemed material to an assessment of                  businesses’ voting advice.230 These
                                              We note that some commenters                         the business’s ability to objectively                   commenters pointed out that displaying
                                           recommended ways to improve the                         advise its client. In that circumstance,                conflict disclosures in every piece of
                                           proposal by including additional                        the proxy voting advice business, which                 proxy advice, including written proxy
                                           substantive requirements or specific                    is in the best position to make such a                  research reports, would compromise the
                                           parameters designed to more clearly                     judgment, would need to consider,                       ability of proxy voting advice businesses
                                           indicate the disclosure obligations of                  based on the relevant facts and
                                           proxy voting advice businesses under                    circumstances, whether that prior                          227 A proxy voting advice business that only
                                           the rule.225 For example, one                           engagement is currently material and                    provides such disclosures upon request from the
                                                                                                   should be disclosed to clients.                         client would not be in compliance with the
                                             223 See  letter from ISS.                                Another benefit of the principles-                   required disclosure in Rule 14a–2(b)(9)(i) and,
                                                                                                                                                           therefore, would not satisfy the conditions of the
                                             224 Rule  14a–2(b)(9)(i)(A), as adopted,              based nature of Rule 14a–2(b)(9)(i) is                  exemptions in Rules 14a–2(b)(1) or (b)(3). We
                                           substantially resembles proposed subsection (C)         that it will provide proxy voting advice
                                           that was designed as a catch-all to elicit disclosure                                                           believe that imposing an affirmative duty on proxy
                                           of any information not otherwise captured by the        businesses significant flexibility over                 voting advice businesses to provide the required
                                           other provisions of the rule regarding an interest,     the manner in which conflicts                           disclosures of material conflicts of interest is
                                           transaction, or relationship that would be material                                                             consistent with obligations to disclose potential
                                                                                                   information is disclosed, so long as the                conflicts of interest in other contexts. See Proposing
                                           to a reasonable investor’s assessment of the            basic requirements are met. The rule
                                           objectivity of the proxy voting advice. In addition,                                                            Release at 66527, n. 88.
                                           we note that the final amendment does not retain        requires that prominent disclosure of                      228 See, e.g., letters from BRT; Exxon Mobil;

                                           the concept from proposed subsection (B) providing                                                              Nasdaq; NIRI–LA; NIRI–OC; SCG; SES; TechNet.
                                                                                                                                                              229 Proposed Rule 14a–2(b)(9)(i).
                                           that required disclosures would be determined           interest and illustrations of compliant disclosures);
                                           using publicly available information. Although this     Mylan (recommending that disclosure be required            230 See, e.g., letters from Glass Lewis II

                                           provision was intended to limit the scope of a proxy    for ‘‘every instance of substantive engagement’’        (discussing the restrictions in place to prevent its
                                           voting advice business’s disclosure obligation, we      between a proxy voting advice business and              analysts from accessing information about the
                                           agree with commenters that any interest,                existing clients, as well as any other third party      interests and voting activities of Glass Lewis’
                                           transaction or relationship of which a proxy voting     providing substantive input regarding the proxy         owners); ISS (discussing the firewall that it
                                           advice business is not already aware logically could    voting advice business’s recommendations); PIRC;        maintains between its core institutional proxy
                                           not bias the business’s proxy advice. See letter from   Prof. Li; SCG (recommending that disclosure of the      advisory business and its subsidiary that provides
                                           ISS (‘‘If such a search [of publicly available          dollar amount of any interest, transaction, or          governance tools and services to corporate issuer
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                                           information] uncovers a possible affiliation ISS was    relationship that may present a conflict of interest    clients and stating that ‘‘ISS has implemented a
                                           not otherwise aware of, there would be no benefit       for the proxy voting advice business should be          comprehensive and robust set of conflict controls
                                           to offset the cost and delay because any such           required and asking for clarification of what           . . . which would be compromised if conflict
                                           relationship could not have compromised the             constitutes a ‘‘material’’ interest, transaction, or    information were required to be publicly disclosed,
                                           integrity of the proxy advice in the first place.’’).   relationship (e.g., revenue, terms of the contracts,    or if disclosure were required to be displayed in or
                                              225 See, e.g., letters from CEC (recommending that   etc.)).                                                 on a research report, instead of ‘around’ the report
                                           the rule include examples of per se conflicts of          226 See, e.g., letter from Prof. Li.                  as is currently the case’’).



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                                           to mitigate their risk of conflicts and                   conflicts identified. In addition, by                        More generally, we believe that
                                           expressed concern that the proposal                       giving proxy voting advice businesses                     increased transparency regarding a
                                           would increase compliance costs for                       the flexibility to satisfy the principle-                 proxy voting advice business’s conflicts
                                           proxy voting advice businesses.231                        based requirement with their existing                     of interest may prompt a more informed
                                              We agree that proxy voting advice                      methods of disclosure, we believe the                     dialogue between such businesses and
                                           businesses should have the latitude to                    costs of implementation should not be                     their clients. For example, as a result of
                                           convey their conflict disclosures to                      unduly burdensome.234 Similarly, while                    the increased transparency of a proxy
                                           clients in a manner that does not run                     the adoption of Rule 14a–2(b)(9)(i) will                  voting advice business’s conflicts of
                                           afoul of the businesses’ own                              create an expanded compliance                             interest, clients of the business,
                                           mechanisms for mitigating the risk of                     obligation, we do not believe it will                     including investment advisers, would
                                           biased advice, such as establishing                       have a detrimental effect on competition                  be in a better position to understand
                                           internal firewalls to maintain the                        as the flexibility afforded under the final               these conflicts and how they may affect
                                           objectivity of the advice, so long as their               rule should allow new businesses to                       the business’s proxy voting advice and
                                           conflict disclosures are readily                          adapt the required disclosures to their                   other services. If this information
                                           accessible to their clients and provided                  specific business models and thus avoid                   improves the ability of the proxy voting
                                           as part of the proxy voting advice they                   imposing a significant new barrier to                     advice business’s clients to identify the
                                           receive. Accordingly, the rule we are                     entry for the proxy voting advice                         kinds of information and details that
                                           adopting gives a proxy voting advice                      business market.235                                       would be valuable to them in assessing
                                           business the option to include the                           Contrary to the concerns expressed by                  the business’s conflicts, this dialogue
                                           required disclosure either in its proxy                   some commenters about certain                             may also result in a proxy voting advice
                                           voting advice or in an electronic                         implications of the proposed                              business enhancing its approach to
                                           medium used to deliver the proxy                          amendments,236 we note that Rule 14a–                     disclosure of conflicts of interest in
                                           voting advice, such as a client voting                    2(b)(9)(i)(B) does not require proxy                      response. Such a dynamic regarding
                                           platform, which allows the business to                    voting advice businesses to include                       conflict disclosure among investors
                                           segregate the information, as necessary,                  detailed compliance manuals in their                      (those who ultimately bear the costs and
                                           to limit access exclusively to the parties                proxy advice 237 or duplicative                           benefits of voting), clients of proxy
                                           for which it is intended.232                              disclosures in both their proxy voting                    voting advice businesses, and proxy
                                              Similarly, 17 CFR 240.14a–                             advice and in the electronic medium                       voting advice businesses, each of which
                                           2(b)(9)(i)(B) (‘‘Rule 14a–                                used to deliver such advice regarding                     have different incentives, may increase
                                           2(b)(9)(i)(B)’’),233 which requires proxy                 the businesses’ policies and procedures                   the benefits of the rule to the
                                           voting advice businesses to disclose                      describing how they identify and                          shareholder voting process more
                                           ‘‘any policies and procedures used to                     address conflicts.238 Provided the                        generally.
                                           identify, as well as the steps taken to                   disclosure is conveyed either in its
                                           address,’’ any material conflicts of                      proxy voting advice or in an electronic                   C. Amendments to Rule 14a–2(b): Notice
                                           interest identified pursuant to                           medium used to deliver the proxy                          of Proxy Voting Advice and Response
                                           subsection (A), does not specify the                      voting advice (such as a client voting                       The ability of investors to make
                                           extent to or manner in which the                          platform), such that its client is able to                informed decisions, on the basis of
                                           required disclosure must be presented.                    readily access the information as it                      disclosure of material information, is a
                                           As with the disclosures required by                       reviews and considers the voting advice,                  bedrock tenet on which the federal
                                           subsection (A), proxy voting advice                       a proxy voting advice business has the                    securities laws were founded. This
                                           businesses are given wide latitude to                     discretion under the rule to choose the                   principle informs not only our
                                           determine what information would best                     solution it deems suitable for each                       consideration of this rulemaking, but
                                           serve their clients’ interests. Moreover,                 particular client. This may include, for                  also, more broadly, the proxy rules we
                                           Rule 14a–2(b)(9)(i) is not intended to                    example, a proxy voting advice business                   administer 240 and, as a more general
                                           supplant or interfere with a business’s                   providing an active hyperlink or ‘‘click-                 matter, the Commission’s interest in the
                                           course of practice and standard                           through’’ feature on its platform                         continued vitality, fairness, and
                                           operating procedures if it is already                     allowing clients to quickly refer from                    efficiency of our capital markets.241
                                           providing disclosure to its clients                       the voting advice to a more                               Given the importance of the shareholder
                                           sufficient to enable them to understand                   comprehensive description of the                          proxy in today’s markets,242 it is
                                           the business’s processes and                              business’s general policies and                           imperative that proxy solicitations be
                                           methodology for identifying and                           procedures governing conflicts of                         conducted on a fair, honest, and
                                           addressing material conflicts, as well as                 interest.239                                              informed basis. Consistent with these
                                           any measures taken in light of specific
                                                                                                       234 See  supra note 197.                                example, be maintained on the business’s publicly
                                             231 See                                                   235 See  supra note 203 and accompanying text.          available website. See id. (‘‘Glass Lewis has one set
                                                      id.
                                              232 Rule 14a–2(b)(9)(i). This approach also               236 See, e.g., letters from CII (‘‘We believe such a   of policies and procedures that describes how it
                                           accords with the views of commenters who                  provision is overly broad and may in fact detract         identifies and addresses conflicts, which it makes
                                           requested that the Commission permit the proxy            from the more important conflict information              available on its website.’’).
                                           voting advice businesses flexibility over the manner      currently provided by proxy advisors.’’); Glass              240 See, e.g., Regulation of Communications

                                           in which they convey their proxy advice to clients.       Lewis. See also IAC Recommendation.                       Among Shareholders, Release No. 34–31326 (Oct.
                                                                                                        237 See, e.g., IAC Recommendation.                     16, 1992) [57 FR 48276 (Oct. 22, 1992)]
                                           See, e.g., CII IV: (’’ [W]e would not object to the SEC
                                           permitting the proxy voting advice businesses                238 See, e.g., letter from Glass Lewis (expressing     (‘‘Communications Among Shareholders Adopting
                                           flexibility in the vehicle used to disseminate the        concern that ‘‘including a ‘discussion’ of Glass          Release’’), at 48277 (‘‘Underlying the adoption of
                                           disclosures to clients if the Commission believes         Lewis’ conflict policies and procedures twice with        section 14(a) of the Exchange Act was a
                                           such flexibility is appropriate to limit the              each conflict disclosure,’’ once in the proxy voting      Congressional concern that the solicitation of proxy
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                                           competitive or other concerns that could                  advice report and again in the electronic medium          voting authority be conducted on a fair, honest and
                                           accompany the widespread distribution of the              used to deliver such advice, ‘‘would be wasteful          informed basis. Therefore, Congress granted the
                                           information.’’).                                          and potentially obscure the important information         Commission the broad ‘power to control the
                                              233 Subsection (B) of Rule 14a–2(b)(9)(i) was          investors expect and would want to focus on’’).           conditions under which proxies may be solicited’
                                           proposed as subsection (D), but has been re-                 239 Such hyperlinked description of the proxy          . . . .’’).
                                                                                                                                                                  241 See supra notes 2–5 and accompanying text.
                                           designated in the final rule and is otherwise             voting advice business’s general policies and
                                           adopted as proposed.                                      procedures governing conflicts of interest could, for        242 Id.




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                                           aims, and in light of the unique role                   dialogue between proxy voting advice                  critical, element in formulating their
                                           played by proxy voting advice                           businesses and registrants (and certain               voting decisions.248
                                           businesses in many investors’ voting                    other soliciting persons, such as                       To address concerns that allowing
                                           decisions,243 it is important that clients              dissident shareholders engaged in a                   registrants or other soliciting persons
                                           of these businesses, when making their                  proxy contest) before the dissemination               advance access to the proxy voting
                                           voting decisions, have access to                        of proxy voting advice to clients of the              advice could result in premature release
                                           transparent, accurate, and materially                   proxy voting advice business, when                    of the advice to unauthorized and
                                           complete information. We believe proxy                  most shareholder votes have yet to be                 unintended parties, the proposed rules
                                           voting is improved by robust discussion                 cast, and (2) provide a means for                     specified that proxy voting advice
                                           among parties in advance of the voting                  registrants and certain other soliciting              businesses could require that registrants
                                           decision, similar to the vigorous                       persons to timely communicate their                   and other soliciting persons agree to
                                           engagement that may occur if all parties                views about the advice to shareholders,               keep the information confidential, and
                                           attended an annual or special meeting                   thereby assuring that the proxy voting                refrain from commenting publicly on it,
                                           in person.                                                                                                    as a condition of receiving the proxy
                                                                                                   advice businesses’ clients could
                                              As the Commission has noted,                                                                               voting advice.249
                                                                                                   consider this information along with
                                           however, a number of commenters,
                                                                                                   any other data and analysis they use to               b. Response to Proxy Voting Advice by
                                           particularly within the registrant
                                                                                                   make their voting decisions. More                     Registrants and Other Soliciting Persons
                                           community, have expressed concern
                                           about the current system for providing                  generally, these actions were intended                   In addition to the review and
                                           proxy voting advice under the                           to enhance transparency, accuracy, and                feedback mechanism, the Commission
                                           Commission’s rules, and the resulting                   completeness.                                         proposed that registrants and certain
                                           effect on the mix of information                        a. Review of Proxy Voting Advice by                   other soliciting persons also be given
                                           available to shareholders, including the                Registrants and Other Soliciting Persons              the option to request that proxy voting
                                           ability of shareholders to benefit from                                                                       advice businesses include in their proxy
                                           robust discussion. While proxy voting                      The Commission proposed new Rule                   voting advice (and on any electronic
                                           advice businesses can play an                           14a–2(b)(9)(ii) to require, as a condition            medium used to distribute the advice) a
                                           influential role in shareholders’ proxy                 to the exemptions in Rules 14a–2(b)(1)                hyperlink or other analogous electronic
                                           voting decisions, the present proxy rules               and (b)(3), that a proxy voting advice                medium directing the recipient of the
                                           exempt them from the requirement to                     business provide registrants and certain              advice to a written statement prepared
                                           publicly file their recommendations                     other soliciting persons covered by its               by the registrant (or other soliciting
                                           with the Commission, as registrants and                 proxy voting advice a limited amount of               person, as applicable) that sets forth its
                                           certain other soliciting parties must do                time to review and provide feedback on                views on the advice.250 As proposed,
                                           for their own solicitations. As a result,               the advice before it is disseminated to               registrants and other eligible soliciting
                                           some commenters have expressed                          the business’s clients, with the length of            persons would be able to exercise this
                                           concern that registrants lack an                        time provided depending on how far in                 right by notifying the proxy voting
                                           adequate opportunity to engage with                     advance of the shareholder meeting the                advice business no later than the
                                           and respond to influential proxy voting                 registrant or other soliciting person has             expiration of the minimum two-
                                           advice before shareholders vote,                        filed its definitive proxy statement.246              business day period corresponding to
                                           potentially inhibiting the accuracy,                                                                          the final notice of voting advice.251 If so
                                                                                                   This review and feedback period would
                                           transparency, and completeness of the                                                                         requested, the proxy voting advice
                                                                                                   be followed by a final notice of voting
                                           information available to those making                                                                         business would then be required to
                                                                                                   advice, which would include any
                                           voting determinations.244 They also                                                                           include in its proxy voting advice the
                                                                                                   revisions to such advice made by the
                                           highlight what they characterize as the                                                                       relevant hyperlink or analogous
                                                                                                   proxy voting advice business as a result
                                           limited ability to address any                                                                                electronic medium directing the client
                                                                                                   of the review and feedback period,
                                           deficiencies in proxy voting advice such                                                                      to the registrant’s or other soliciting
                                                                                                   thereby allowing the registrant and/or                person’s respective statement regarding
                                           as factual errors, incompleteness, or
                                                                                                   soliciting person time to determine                   the voting advice.252
                                           methodological weaknesses that could
                                                                                                   whether to respond to the advice before                  In addition to the other proposed
                                           materially affect the reliability of proxy
                                                                                                   it is delivered to clients of the proxy               amendments to Rule 14a–2, proposed 17
                                           voting advice businesses’ voting
                                                                                                   voting advice business.247 By providing               CFR 240.14a–2(b)(9)(iii) (‘‘Rule 14a–
                                           recommendations and adversely impact
                                           voting outcomes.245                                     a standardized opportunity for                        2(b)(9)(iii)’’) was intended to enable
                                                                                                   registrants and certain other soliciting              those who rely on proxy voting advice,
                                           1. Proposed Amendments                                  persons to review proxy voting advice
                                              With the foregoing background in                     before it is finalized and delivered to                 248 See  Proposing Release at 44.
                                           mind, the Commission proposed review                    clients of proxy voting advice                          249 See  Note 2 to paragraph (ii) of proposed Rule
                                                                                                   businesses, the Commission believed                   14a–2(b)(9), providing that the terms of such
                                           and response mechanisms for proxy                                                                             agreement apply until the proxy voting advice
                                           voting advice, as discussed below, that                 that these proposed amendments had                    business disseminates its proxy voting advice to
                                           would apply any time proxy voting                       the potential to greatly improve the                  one or more clients and could be no more restrictive
                                           advice businesses provide voting advice                 overall mix of information available to               than similar types of confidentiality agreements the
                                                                                                   the businesses’ clients, who use proxy                proxy voting advice business uses with its clients.
                                           to their clients in reliance on either the                                                                       250 See proposed Rule 14a–2(b)(9)(iii). Consistent
                                           Rule 14a–2(b)(1) or (b)(3) exemptions                   voting advice as an important, often                  with the proposed review and feedback process, the
                                           from the proxy rules. By conditioning                                                                         proposed right to request inclusion of a statement
                                           the availability of these proposed                        246 See proposed Rule 14a–2(b)(9)(ii).              would only have extended to registrants and certain
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                                           exemptions in this way, the                               247 See proposed Rule 14a–2(b)(9)(ii)(B). Under     other soliciting persons (i.e., persons conducting
                                                                                                   the proposed rules, this final notice would contain   non-exempt solicitations). See id. (‘‘If requested by
                                           Commission intended to (1) facilitate                                                                         the registrant or any other person conducting a
                                                                                                   a copy of the proxy voting advice that the proxy
                                                                                                   voting advice business would deliver to its clients   solicitation (other than a solicitation exempt under
                                             243 See Proposing Release at 10.                                                                            § 240.14a–2). . .’’).
                                                                                                   and be provided by the proxy voting advice
                                             244 See Proposing Release at 41–2.                                                                             251 Id.
                                                                                                   business no later than two business days prior to
                                             245 See Proposing Release at 39, n. 94.               delivery of the proxy voting advice to its client.       252 Id.




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                                           whether for their own interests or on                     Several commenters also expressed the                     registrants more time to review reports
                                           behalf of shareholders who have                           opinion that registrants and other                        than was proposed; 261 explicitly
                                           entrusted them with proxy voting                          soliciting persons had been                               including within the scope of the
                                           authority, to have information available                  disadvantaged under the existing system                   advanced review process proxy voting
                                           to them to effectively assess the                         because very few were afforded the                        advice based on custom policies 262 and
                                           recommendations provided by proxy                         opportunity to review proxy voting                        mandating that proxy voting advice
                                           voting advice businesses and thereby                      advice in advance 256 or were given                       businesses make certain public
                                           make more informed voting decisions.                      meaningful opportunities to engage with                   disclosures to enhance transparency
                                                                                                     proxy voting advice businesses to                         (e.g., publishing proxy voting advice
                                           2. Comments Received
                                                                                                     remedy any perceived deficiencies they                    following shareholder meetings).263
                                           a. Comments on Proposed Review of                         identified in voting advice.257                              While many commenters supported
                                           Proxy Voting Advice by Registrants and                    Commenters supporting the proposal                        the proposed review and feedback
                                           Other Soliciting Persons                                  also stated that even when registrants do                 provisions, a substantial number of
                                              A number of commenters supported                       receive draft voting advice from proxy                    commenters were opposed.264 Many
                                           the proposed amendments and asserted                      voting advice businesses in advance of
                                           that the changes would improve the                        its publication, they typically are not                     261 See,   e.g., letters from BIO; BRT; Nasdaq.
                                           completeness, accuracy, and reliability                   given sufficient time for a thorough                        262 See,   e.g., letter from BRT (‘‘The majority of our
                                                                                                     review and response.258                                   member companies surveyed indicated that voting
                                           of the information underlying the voting                                                                            advice formulated under a clients’ custom policies
                                           advice,253 which in turn would facilitate                    In many cases, commenters who                          should be subject to the proposed review and
                                           more informed decision-making by                          supported the opportunity for advance                     feedback period. Member companies noted that the
                                           investors and investment advisers.254                     review provided by proposed Rule 14a–                     same need to correct factual inaccuracies exists
                                           Many of these commenters stated that a                    2(b)(9)(ii) disagreed with the suggestion                 with these reports. . . .’’). But see, e.g., letters from
                                                                                                     of other commenters that the proposal                     CII IV; Heidi W. Hardin, Executive Vice President
                                           review and feedback mechanism was                                                                                   and General Counsel, MFS Investment Management
                                           warranted to ameliorate the incidence of                  would compromise the independence of                      (Feb. 3, 2020) (‘‘MFS Investment’’) (stating that
                                           errors, mistakes, and deficiencies in                     proxy voting advice businesses, with                      advice based on custom policies should be
                                           voting advice that they believe exists.255                some pointing to the fact that a number                   excluded from the review framework as any
                                                                                                     of registrants were already participating                 research provided by proxy voting advice
                                                                                                                                                               businesses under the MFS internal proxy voting is
                                              253 See, e.g., letters from BIO; BRT; CCMC; CEC;       in advance review programs offered by                     ‘‘proprietary and commensurate with [MFS’] overall
                                           CGC; ExxonMobil; Mark R. Allen, Executive Vice            proxy voting advice businesses.259                        investment approach’’); PIAC II.
                                           President, FedEx Corporation (Feb. 3, 2020)                  Several commenters that were in favor                     263 See, e.g., letters from BRT (suggesting a
                                           (‘‘FedEx’’); GM; IBC; Nasdaq; SCG.                        of the proposal offered suggested                         requirement that proxy voting advice businesses
                                              254 See, e.g., letters from BRT; CCMC; CEC (‘‘The                                                                issue final reports tallying final voting figures and
                                                                                                     modifications intended to increase the
                                           ability of issuers to review and provided feedback                                                                  comparing the results to the businesses’ voting
                                           on both draft and final proxy reports prior to
                                                                                                     rule’s efficacy,260 such as giving                        recommendations to clients); SCC I (asserting that
                                           publication is an important step in preserving the                                                                  publication would facilitate and encourage more
                                           integrity of the proxy voting process. . . .’’); NIRI       256 See, e.g., letters from CGC; CEC (‘‘[T]he lack      public discussions about corporate governance
                                           (‘‘Overall, we believe the proposed rules . . .           of any reasonable access by all issuers—not just the      standards and permit more informed feedback
                                           address and rectify significant issues that have          largest issuers—to draft and final proxy reports and      about the analyses and conclusions in company
                                           hindered investment advisers in making informed           the inability of those issuers to adequately review       reports prepared by proxy voting advice
                                           determinations on investors’ behalf.’’); ExxonMobil;      both reports before publication is highly                 businesses).
                                           Mylan; SCG; Bernard S. Sharfman, Chairman,                problematic . . . . Providing all companies with             264 See, e.g., letters from 62 Professors; AFL–CIO
                                           Advisory Council, Main Street Investors Coalition         the ability to review the draft proxy report is an        II; Sharon Fay, Co-Head Equities, and Linda
                                           (Dec. 20, 2019) (‘‘B. Sharfman I’’) (asserting that the   important step to ensuring the integrity of the data      Giuliano, Head of Responsible Investment,
                                           proposed review process ‘‘should be a good thing          within the proxy report.’’); Richard R. Dykhouse,         AllianceBernstein (Feb. 3, 2020)
                                           for shareholders because the back and forth               Executive Vice President, General Counsel &               (‘‘AllianceBernstein’’); Chelsea J. Linsley, Staff
                                           between the company and the proxy advisor . . .           Corporate Secretary, Charter Communications, Inc.         Attorney, and Danielle Fugere, President & Chief
                                           should make each party better informed, allowing          (Feb. 3, 2020) (‘‘Charter’’); Penny Somer-Greif,          Counsel, As You Sow (Feb. 3, 2020) (‘‘As You Sow
                                           them to make sure that factual errors and                 Chair, and Gregory T. Lawrence, Vice-Chair,               II’’); Baillie Gifford; Dennis M. Kelleher, President
                                           inadequate analytics are not tainting their               Committee on Securities Law, Maryland Bar                 & CEO, et al., Better Markets, Inc. (Feb.3, 2020)
                                           respective voting recommendations.’’).                    Association (Feb. 3, 2020) (‘‘MSBA’’); Nareit;            (‘‘Better Markets’’), David Sneyd, Vice President,
                                              255 See, e.g., letters from ACCF (referring to its     Nasdaq (describing current opportunities available        Analyst, Responsible Investment, BMO Global
                                           2018 paper exploring the analytical and                   to registrants for review of draft proxy voting advice    Asset Management (Jan. 31, 2020) (‘‘BMO’’); Lauren
                                           methodological errors in proxy advisors’                  as ‘‘an uneven playing field’’); NIRI.                    Compere, Managing Director, Boston Common
                                                                                                       257 See, e.g., letters from ACCF; BRT; CCMC; CEC;
                                           recommendations: Are Proxy Advisors Really a                                                                        Asset Management (Feb. 3, 2020) (‘‘Boston
                                           Problem?); ACCF II (referring to its 2020 paper, Are      GM, Mylan; NAM; Nareit; Nasdaq, NIRI; SCG.                Common’’) (asserting that the proposal would
                                                                                                       258 See, e.g., letters from BRT (noting the limited
                                           Proxy Advisors Still a Problem?); BIO; BRT                                                                          ‘‘allow corporations to intercept recommendations
                                           (‘‘Business Roundtable has long been concerned            window that ISS allows for comment on draft               critical of the corporation or its management[,
                                           that proxy advisors produce reports that frequently       reports that it provides to S&P 500 companies);           undermining] the checks and balances necessary for
                                           include errors, factually inaccurate information and      CCMC; CEC; CGC; Charter; GM; NAM; Nasdaq;                 functioning markets’’); Amy D. Augustine, Director
                                           incomplete analysis.’’); CCMC (citing ‘‘frequent and      NIRI; SCG (‘‘ISS provides its reports to S&P 500          of ESG Investing, and Timothy H. Smith, Director
                                           significant errors in analysis and methodology’’ and      companies in advance and takes comment on any             of ESG Shareowner Engagement, Boston Trust
                                           a ‘‘high incidence of factual and analytical errors in    factual errors in a 48-hour timeframe, although           Walden (Nov. 20, 2019) (‘‘Boston Trust’’);
                                           proxy advisor reports.’’); CEC; CGC (‘‘[The proposal      companies are sometimes given less response               Bricklayers; CalPERS (‘‘While the release suggests
                                           to allow review of proxy voting advice] would help        time.’’). In support of their views on needed             that the Proposed Rule is necessary to protect
                                           address one of the biggest flaws of the current proxy     improvements to proxy voting advice, several              investors from potentially incomplete or conflicted
                                           advice system, which is the tendency of proxy             commenters cited the results of various surveys.          advice, the reality is that there has been no investor
                                           advisory firms to make egregious errors in vote           See, e.g., letters from ACCF; BRT; CCMC; Nareit;          demand for the Proposed Rule.’’); CalSTRS; CFA
                                           recommendations’’); ExxonMobil; Garmin; NAM               Nasdaq; SCG. But see, e.g., letters from CII IV;          Institute I; CII IV; CIRCA (characterizing the
                                           (asserting that ‘‘Proxy firm reports and                  Elliott I; Glass Lewis II; SWIB (questioning the rigor,   proposed review and feedback process as ‘‘an
                                           recommendations feature a profusion of errors and         and therefore the usefulness, of such surveys).           unprecedented intrusion into proxy voting’’); Kevin
                                                                                                       259 See, e.g., letters from SCG (‘‘It is difficult to
                                           misleading statements’’); Nareit; Nasdaq (‘‘Factual                                                                 E. McManus, Director of Proxy Services, Egan-Jones
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                                           errors have . . . been identified by 95% of Business      understand how, if ISS’ voluntary review and              Proxy Services (Feb. 3, 2020) (‘‘Egan-Jones’’); Glass
                                           Roundtable members and ‘all raise concerns                comment processes do not currently compromise             Lewis II; ICI; ISS; Cynthia M. Ruiz, Board President,
                                           regarding the rigor and integrity of the proxy            the independence of their advice the Proposed             Los Angeles City Employees’ Retirement System
                                           advisory firms’ internal fact-collection and analysis     Rule’s review and comment period for all public           (LACERS) (Feb. 18, 2020) (‘‘LACERS’’); MFS
                                           processes’ . . . The ability to identify and correct      companies would do so.’’); BIO; ExxonMobil.               Investment; Scott M. Stringer, New York City
                                           errors is crucial for accuracy and accountability.’’);      260 See, e.g., letters from ExxonMobil; GM; MSBA;       Comptroller (Nov. 20, 2019) (‘‘NYC Comptroller’’);
                                           NIRI; SCG.                                                Nasdaq; SCC I.                                                                                           Continued




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                                           such commenters argued that there was                     requiring advance review of proxy                       Along these lines, some commenters
                                           an absence of compelling evidence of                      voting advice by registrants would                      asked for clarification about how the
                                           frequent errors or significant                            confer an unfair advantage to company                   proposed confidentiality provision
                                           deficiencies in proxy voting advice to                    management in disputed proxy                            would work in practice,274 and others
                                           warrant such a requirement.265                            matters 268 and would compromise the                    suggested ways the provision and its
                                           Moreover, commenters emphasized that                      ability of proxy voting advice businesses               implementation could be improved,
                                           the clients of proxy voting advice                        to provide disinterested, independent                   including by reconsidering the duration
                                           businesses generally have been satisfied                  advice.269 Several such commenters                      of confidentiality and setting specific
                                           with the quality of the advice they                       stated that giving registrants the priority             standardized terms.275
                                           receive.266 In support of this view,                      to review voting advice before the                         A substantial number of commenters
                                           commenters pointed to the absence of                      clients of proxy voting advice                          opposed the proposed review and
                                           complaints from clients of proxy voting                   businesses was incompatible with the                    feedback process on the grounds that it
                                           advice businesses, as distinguished from                  Commission’s own published views,270                    would significantly impede the ability
                                           the large volume of complaints from                       as well as the principle behind FINRA                   of proxy voting advice businesses to
                                           registrants and their advocates.267                       Rule 2241, which governs conflicts of                   deliver timely and high quality advice
                                              Commenters opposing the proposal                       interest in connection with the                         to their clients 276 and, as a
                                           also expressed their concern that                         publication of equity research reports                  consequence, would weaken the ability
                                                                                                     and public appearances by research                      of their clients to thoughtfully consider
                                           New York Comptroller II; Ohio Public Retirement;          analysts.271                                            the advice and make informed
                                           Richard Stensrud, Executive Director, School                                                                      decisions.277 Many such commenters
                                           Employees Retirement System of Ohio (Jan. 30,                Some commenters were also
                                           2020) (‘‘Ohio School Retirement’’); Olshan                concerned that the right of advance                     were doubtful that the proposed rules
                                           Shareholder Activism Group (Feb. 3, 2020)                 review would increase the risk of                       governing the advance review and
                                           (‘‘Olshan LLP’’); PIAC II; PRI II; Seven Corners;
                                                                                                     insider trading of material, non-public                 feedback of proxy advice was a viable
                                           Segal Marco II; Amy M. O’Brien, Senior Managing                                                                   framework 278 and expressed concern
                                           Director, Head of Responsible Investing, and Yves         information 272 and, more generally,
                                           P. Denize, Senior Managing Director, Division             expressed doubts about the effectiveness
                                           General Counsel, Teachers Insurance and Annuity                                                                   underestimate the time and expense of negotiating
                                                                                                     of the proposal’s framework for                         confidentiality agreements and providing detailed
                                           Association of America (TIAA) (Feb. 3, 2020)
                                           (‘‘TIAA’’); William J. Stromberg, President and CEO,      safeguarding the confidentiality of                     reasons as to why the proposals would be so time
                                           T. Rowe Price (Jan. 29, 2020) (‘‘TRP’’); Third Point      materials provided by proxy voting                      consuming and costly); SES (asserting that needing
                                           LLC (Feb. 3, 2020) (‘‘Third Point LLC’’); Jonas D.        advice businesses to registrants.273                    to sign individual confidentiality agreements
                                           Kron, Senior Vice President, Trillium Asset                                                                       between every registrant and proxy voting advice
                                           Management, LLC (Feb. 3, 2020) (‘‘Trillium’’);               268 See, e.g., letters from Olshan LLP; PRI II
                                                                                                                                                             business would be cumbersome ‘‘without any
                                           ValueEdge I. See also IAC Recommendation.                                                                         tangible benefit’’). See also letter from ExxonMobil
                                              265 See, e.g., letters from AFL–CIO II (‘‘The          (asserting that the proposal ‘‘biases advice towards    (advocating in favor of a ‘‘simple and
                                                                                                     favoring managers, reducing the accuracy and            straightforward confidentiality notice with a
                                           Commission has not made any showing of factual
                                           errors or methodological weaknesses in proxy              independence of proxy voting advice,’’ because it       consent’’ and against a ‘‘complex or signed
                                           voting advice [that] need correction by companies         imposes costs only on recommendations that              contractual agreement [which] could undermine the
                                           before it is distributed to clients.’’);                  management opposes); SES (expressing concern            review process or registrants’ other legal rights’’).
                                           AllianceBernstein; As You Sow II (‘‘The                   regarding the possibility that the right of advance     Other commenters were critical of the proposed
                                           Commission has failed to evidence any problem             review creates information asymmetries favoring         stipulation that any confidentiality agreements
                                           with the current state of affairs. . .’’); Better         registrants).                                           could be ‘‘no more restrictive than similar types of
                                                                                                        269 See, e.g., letters from AFL–CIO II;
                                           Markets; BMO; Bricklayers; CalPERS; CalSTRS;                                                                      confidentiality agreements’’ the proxy voting advice
                                           CFA Institute I; CII IV (‘‘[T]he paucity of evidence      AllianceBernstein; Baillie Gifford; CalPERS; CFA        business uses with its clients.’’ These commenters
                                           of pervasive factual errors by proxy advisors             Institute I.; CII IV (‘‘ [W]e believe the proposed      asserted that it was not feasible to use client
                                           suggests that, in fact, no regulatory intervention is     requirement will be reasonably perceived as             agreements as a model for the terms of
                                           necessary or justified.’’); CIRCA; Glass Lewis II;        impairing the independence of the proxy advisor         confidentiality with registrants. See, e.g., letters
                                           Michael W. Frerichs, Illinois State Treasurer (Jan.       research, particularly since the proxy advisor is       from Glass Lewis II; ISS.
                                           16, 2020) (‘‘Illinois Treasurer’’); ISS; NYC              required to seek review and receive feedback from          274 See, e.g., letter from Baillie Gifford.
                                           Comptroller; New York Comptroller II; Ohio Public         self-interested companies before sharing the draft         275 See, e.g., letters from CII IV (suggesting that
                                           Retirement; PERA; PRI II; Jeffrey S. Davis, Executive     report with their own paying client . . . .’’); MFS     more consideration be given to the duration of
                                           Director, and Jason Malinowski, Chief Investment          Investment; New York Comptroller I; Ohio Public         confidentiality over proxy voting advice businesses’
                                           Officer, Seattle City Employees’ Retirement System        Retirement; PRI II; TRP.                                proxy advice and the businesses’ permitted
                                           (SCERS) (Jan. 31, 2020) (‘‘Seattle Retirement                270 See, e.g., letters from CII IV; ISS, New York
                                                                                                                                                             recourse when the terms of confidentiality are
                                           System’’); Segal Marco II; TIAA; Trillium; TRP;           Comptroller II; Sanford Lewis, Director,                violated); Nasdaq (asserting that ‘‘standardizing and
                                           Third Point LLC; ValueEdge I. One commenter also          Shareholder Rights Group (Feb. 3, 2020)                 streamlining this process would reduce legal costs
                                           noted that at the Commission’s 2018 Roundtable on         (‘‘Shareholder Rights II’’), referring to               and time spent negotiating each confidentiality
                                           the Proxy Process, ‘‘not one single participant . . .     Communications Among Shareholders Adopting              agreement and help ensure that such agreements
                                           saw a need to impose additional regulation on             Release at 48279. In that release, the Commission       contain standardized restrictions and disclaimers’’).
                                           proxy advisers . . . .’’ See letter from ISS. See also    stated: ‘‘A regulatory scheme that inserted the            276 See, e.g., letters from AFL–CIO II; As You Sow
                                           IAC Recommendation.                                       Commission staff and corporate management into
                                              266 See, e.g., letters from Better Markets (‘‘There
                                                                                                                                                             II; Baillie Gifford; BMO; Boston Trust; CalPERS; CII
                                                                                                     every exchange and conversation among                   IV; Elliott I; NYC Comptroller (stating its view that
                                           is little evidence to support [the] claim [that the       shareholders, their advisors and other parties on       under the proposed review and feedback framework
                                           proposed changes are for the benefit of investors]        matters subject to a vote certainly would raise         proxy voting advice businesses ‘‘will have less time
                                           . . . . To the contrary, institutional investors who      serious questions under the free speech clause of       to collect, verify, analyze and present data and
                                           manage trillions of dollars of Americans’ savings         the First Amendment, particularly where no proxy
                                           and retirement funds are urging the SEC not to                                                                    provide their research reports to clients well in
                                                                                                     authority is being solicited by such persons. This      advance of the annual meeting’’); New York
                                           proceed with the misguided policies set forth in the
                                                                                                     is especially true where such intrusion is not          Comptroller II; PIAC II; TIAA; TRP (asserting that
                                           Release.’’); CalPERS (‘‘It is worth noting that no
                                                                                                     necessary to achieve the goals of the federal           the time periods allotted for the review and
                                           institutional investors have suggested that
                                                                                                     securities laws.’’ [48279]                              feedback process ‘‘have the very real potential to
                                           [mandatory review periods for registrants] would
                                                                                                        271 See, e.g., letters from AFL–CIO II; As You Sow   diminish the time needed for registered investment
                                           enhance the quality, quantity, or timeliness of
                                           advice.’’).                                               II; BMO; Boston Trust, CII IV; NYC Comptroller;         advisers to fulfill essential fiduciary obligations
                                              267 See, e.g., letters from CalPERS (‘‘[T]he reality   New York Comptroller II; PIAC II; TRP.                  related to proxy voting’’).
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                                                                                                        272 See, e.g., letters from CII IV; ISS.                277 See, e.g., letters from As You Sow II; BMO;
                                           is that there has been no investor demand for the
                                           Proposed Rule. The push for reforms in this area             273 For example, some commenters thought the         Bricklayers; CalPERS; CII IV; PERA; TRP.
                                           is not from investors who are obtaining the advice        confidentiality provision in Note 1 to proposed            278 See, e.g., letters from CIRCA; Paul Schott

                                           . . . but instead is from the companies that are          Rule 14a–2(b)(9)(ii) would be unwieldy and              Stevens, President and CEO, Investment Company
                                           subjects of the advice sought.’’ . . . Existing clients   exacerbate delays. See, e.g., letters from Baillie      Institute (Feb. 3, 2020) (‘‘ICI’’) (stating that the
                                           have few complaints about the quality of proxy            Gifford; CalPERS; CCMC; Glass Lewis II; ISS;            proposed framework ‘‘would affect substantially
                                           voting advice . . . .’’);ValueEdge I.                     Olshan LLP (stating that the proposals significantly    and adversely the timeliness and cost of proxy



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                                           that it would create numerous logistical                   voting,284 and a decline in the utility of                 and the takings clause of the Fifth
                                           and practical challenges that would be                     proxy voting advice,285 which some                         Amendment.289
                                           highly disruptive to the proxy voting                      commenters warned might be watered                            Many of the commenters who
                                           system.279 Commenters also noted the                       down to lessen the risk of litigation 286                  generally opposed the proposals also
                                           likelihood of significant costs associated                 and would be influenced by the self-                       offered suggested modifications to the
                                           with the proposal that would be                            interested views of registrants before the                 extent that the Commission elected to
                                           incurred by proxy voting advice                            advice was seen by clients.287 Some                        proceed to adoption of final rules.290
                                           businesses, which many asserted would                      commenters also raised the possibility                     This included shorter mandatory review
                                           ultimately be borne by the businesses’                     that the proposal was unconstitutional                     periods provided to registrants,291
                                           clients.280                                                because it violated the right of free                      limiting advance review to the factual
                                              In addition to addressing practical                     speech under the First Amendment 288                       information included in proxy voting
                                           challenges of the review and feedback                                                                                 advice,292 allowing issuers to opt-in to
                                           process, commenters identified a                           some companies the right to pre-review reports             the review and feedback procedures,293
                                           number of potential unintended                             compromised the independence of the ISS                    adjusting the timeline contemplated by
                                                                                                      analysis); Elliott I.
                                           consequences that might result,281                            284 See, e.g., letters from Alliance, As You Sow II
                                                                                                                                                                 the rule to require that proxy statements
                                           including diminished competition                           (‘‘The Proposed Rule may increase the liability of         be filed a certain number of days in
                                           among proxy voting advice                                  proxy advisory services, or the perception of legal        advance of the meeting in excess of
                                           businesses,282 limitation of market                        liability, causing proxy advisors to decline to issue      what was proposed,294 concurrent
                                                                                                      recommendations where issuers challenge findings,
                                           choice for consumers of proxy voting                       thereby limiting the number of shareholders willing
                                                                                                                                                                 review by registrants and clients rather
                                           advice,283 reduction in shareholder                        or able to conduct their own research sufficient to        than advance review by registrants,295
                                                                                                      vote for a shareholder proposal’’); BMO; CII IV.           and other changes designed to make the
                                           advisory firms’ advice, and thus its overall value to         285 See, e.g., letters from Bricklayers (stating that
                                                                                                                                                                 review and feedback process more cost-
                                           funds and their shareholders’’); Interfaith Center II;     the additional burdens imposed by the proposal             effective and efficient.296 In addition,
                                           TRP (stating, among other criticisms, that the             ‘‘would almost certainly lead to . . . shrinking the
                                           review and feedback process would be logistically          overall market for proxy advisory services . . . , the     several commenters asked for more
                                           impracticable and ‘‘unworkable within the current          Proposed Amendments thus would burden                      clarification with regard to certain
                                           time constraints of the intensely seasonal proxy           competition without serving the Exchange Act’s             interpretive issues, including a more
                                           voting cycle’’).                                           purposes’’); CalPERS; CII IV; ICI; New York
                                               279 This included the impracticability of applying     Comptroller II; MFA & AIMA.
                                                                                                                                                                    289 See, e.g., letters from CalPERS (‘‘Enabling a
                                                                                                         286 See, e.g., letters from BMO (discussing its
                                           the rules in the context of proxy contests or M&A                                                                     non-client to review the work product before actual
                                           transactions. See, e.g., letters from CII IV; Olshan       concern that the proposal would ‘‘significantly
                                                                                                      increas[e] the regulatory burden on proxy advisers         clients . . . arguably violates the Constitution by
                                           LLP (providing detailed reasons why the proposals                                                                     taking private property for public use without
                                           would be challenging in proxy contests).                   through increasing litigation risk); CalPERS (‘‘We
                                                                                                      recognize that the proxy advisors are not required         compensation’’); ISS. We discuss our response to
                                               280 See, e.g., letters from 62 Professors; AFL–CIO
                                                                                                      to revise advice, but a heavy hammer is placed over        certain Constitutional objections to the proposed
                                           II, Baillie Gifford; BMO; Bricklayers; CalPERS; CFA                                                                   amendments in Section II.C.3.d. infra.
                                           Institute I; CII IV; Egan-Jones; ICI; MFS Investment;      their heads by the added emphasis on Rule 14a–9
                                                                                                                                                                    290 See, e.g., letters from AFL–CIO II;
                                           NYC Comptroller; New York Comptroller II; Ohio             liability . . . Although the Release states there is no
                                                                                                      new private right of action created by the new Rule        AllianceBernstein; Baillie Gifford; BMO; CII IV;
                                           Public Retirement; Ohio School Retirement; Olshan                                                                     CIRCA; Elliott I; Glass Lewis II; ICI; Illinois
                                           LLP; Segal Marco II; TIAA; Mark D. Epley,                  14a–2(b)(9), the process and greater focus on Rule
                                                                                                      14a–9 will make it more likely that proxy voting           Treasurer; Interfaith Center II; MFS Investment;
                                           Executive Vice-President & Managing Director,                                                                         Ohio Public Retirement; Olshan LLP; PIAC II; Seven
                                                                                                      advice businesses will be sued under the new
                                           General Counsel, Managed Funds Association, and                                                                       Corners; TIAA. See also IAC Recommendation.
                                                                                                      rules.’’); CFA Institute I (noting the possible
                                           Jiřı́ Król, Deputy CEO, Global Head of Government                                                                      291 See, e.g., letters from IAA; PIRC.
                                                                                                      consequence that commentary from analysts, who
                                           Affairs, Alternative Investment (Feb. 3, 2020)
                                                                                                      might be encouraged to self-censor, would be ‘‘less           292 See, e.g., letters from Baillie Gifford; BMO; CII
                                           (‘‘MFA & AIMA’’).
                                               281 See, e.g., letters from 62 Professors; AFL–CIO
                                                                                                      forthright’’); Ohio Public Retirement (questioning         IV; CIRCA; Elliott I; ICI; ISS; MFA & AIMA; Ohio
                                                                                                      whether Rule 14a–9 liability might be used ‘‘to            Public Retirement. See also IAC Recommendation.
                                           II, Fran Seegull (Feb. 2, 2020) (‘‘Alliance’’), As You     threaten or pressure proxy advisory firms to                  293 See, e.g., letter from Glass Lewis II (asserting
                                           Sow II, BMO, Bricklayers; CalPERS, CFA Institute           incorporate issuer feedback or accept revisions to
                                           I; CII IV; Shawn T. Wooden, Connecticut State                                                                         that this would enable proxy voting advice
                                                                                                      their voting advice’’); NYC Comptroller; PRI II.           businesses to collect important information before
                                           Treasurer (Jan. 31, 2020) (‘‘CT Treasurer’’); Egan-           287 See, e.g., letters from Baillie Gifford (‘‘In
                                           Jones; Elliott I; Diandra Soobiah, Head of                                                                            the process begins, potentially reducing some of the
                                                                                                      relation to the influence of registrants, allowing         burden on the proxy voting advice businesses).
                                           Responsible Investment, NEST—National                      registrants to also comment on analysis and dispute           294 See, e.g., letters from CII IV (suggesting a
                                           Employment Savings Trust (Jan. 27, 2020)                   methodology and opinion, in conjunction with the
                                           (‘‘Employment Savings’’); Hermes; ISS; LA                                                                             timeline requiring registrants to file 50 or more days
                                                                                                      proposed anti-fraud amendments, could render
                                           Retirement; MFA & AIMA; New York Comptroller                                                                          prior to the annual meeting; ICI; Interfaith Center
                                                                                                      proxy advisors vulnerable to litigation if these
                                           II; TIAA.                                                  matters are not incorporated into the advice. This         II; ISS; Christopher Gerold, President, North
                                               282 See, e.g., letters from 62 Professors; Baillie
                                                                                                      is clearly inappropriate as these matters are              American Securities Administrators Association
                                           Gifford (‘‘It seems likely that the proposed               necessarily subjective. This could result in the           (NASAA) (Feb. 3, 2020) (‘‘NASAA’’); TIAA.
                                           amendments would be perceived as onerous and                                                                             295 See, e.g., letters from AllianceBernstein; Kevin
                                                                                                      watering down of advice to avoid potential actions,
                                           deter new entrants to the proxy advisory industry’’);      rendering the advice too bland to be of use.’’);           A. Beaugez (June 3, 2020) (‘‘K. Beaugez’’); BMO;
                                           AFL–CIO II (‘‘The additional burdens created by the        Bricklayers (‘‘Another potential negative impact of        James Allen, Head, and Matt Orsagh, Director,
                                           proposed regulations and increase in market                the Proposed Amendments would be to advantage              Capital Markets Policy, CFA Institute (May 13,
                                           concentration if smaller proxy voting providers            the viewpoints of corporate management.’’).                2020) (‘‘CFA Institute II’’); CII IV; CIRCA; ICI; MFS
                                           cannot stay in the business will significantly                288 See, e.g., letters from CFA Institute I; CII IV     Investment; SES (stating that its business model is
                                           increase costs for investors. By limiting competition      (noting the ‘‘potential implications of the First          to provide its voting advice report to clients and
                                           and creating barriers to entry, the Commission’s           Amendment on the independence of the research              companies simultaneously 15 days prior to the
                                           proposed rulemaking is likely to result in an even         reports of proxy advisors if subject to required           meeting, and then provide an addendum should
                                           greater reliance by investors on Institutional             company review and feedback’’); CIRCA (arguing             any corrections, changes, etc. be required). See also
                                           Shareholder Services and Glass Lewis’’); BMO;              that establishing a mandatory registrant review            IAC Recommendation. But see letter from Niels
                                           Bricklayers; CalPERS, CII IV (arguing that                 process of proxy voting advice would constitute an         Holch, Executive Director, Shareholder
                                           mandatory ‘‘pre-review’’ requirements will be              unconstitutional restraint on the speech of proxy          Communications Coalition (May 1, 2020) (‘‘SCC II’’)
                                           prohibitively costly for proxy voting advice               advisory firms’’); Elliot; Glass Lewis II; ISS;            (‘‘The Coalition strongly opposes the concurrent
                                           businesses and therefore ‘‘likely to preclude new          Interfaith Center II; New York Comptroller II; Mari        review recommendation.’’).
                                           entrants, eliminate one or more incumbents, and            C. Schwartzer, Director of Shareholder Activism               296 See, e.g., letters from IAA (recommending that
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                                           potentially lead any survivor to follow a business         and Engagement, NorthStar Asset Management, Inc.           the proposed review and feedback process be
                                           model that includes providing consulting services          (Feb. 3, 2020) (‘‘NorthStar’’); Shareholder Rights II;     replaced with a single review of the facts); ICI
                                           to issuers, compounding concerns on influencing of         Nell Minow, Vice Chair, ValueEdge Advisors (Mar.           (recommending that proxy voting advice businesses
                                           proxy advisor reports’’); Prof. Sergakis; TIAA.            10, 2020) (‘‘ValueEdge III’’); Washington State            be permitted to provide a draft of their reports to
                                               283 See, e.g., letters from CII IV (noting that some   Investment. We discuss our response to certain             registrants and other soliciting persons for comment
                                           of its members switched from ISS to Glass Lewis            Constitutional objections to the proposed                  while simultaneously publishing it for public
                                           because they believed ISS’s practice of providing          amendments in Section II.C.3.d. infra.                     review).



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                                           precise understanding of which persons                      b. Comments on Proposed Response to                       and delays in the timely receipt of
                                           would be subject to the rule.297                            Proxy Voting Advice by Registrants and                    advice that they asserted would result
                                              As an alternative to the proposed                        Other Soliciting Persons                                  from the proposal.306 Many commenters
                                           framework for review and feedback,                             A number of commenters supported                       asserted the proposal is unnecessary
                                           which they viewed as too rigid and                          the proposal as a means to improve the                    given the ability of registrants to
                                           prescriptive, some commenters urged                         overall mix of information available to                   conduct investor outreach and file
                                           the Commission to consider a more                           investors.303 Commenters argued that                      supplemental proxy materials to address
                                           flexible, principles-based, and less                        registrants do not have a timely and                      any concerns with the voting advice.307
                                           intrusive solution.298 One commenter                        effective method for conveying their                      Some commenters also objected on the
                                           noted that many of the practical                            views and assessments about proxy                         grounds that the proposed amendment
                                           concerns it expressed in its letter                         voting advice to clients of proxy voting                  was unconstitutional under the First
                                           regarding the proposed review and                           advice businesses before many clients                     Amendment.308
                                           feedback mechanism ‘‘could be                               vote in reliance on such advice.304                          Supporters and opponents of the
                                           addressed by moving to a principles-                           Other commenters, however, opposed                     proposal provided a variety of suggested
                                           based rule and using Commission or                          the proposal.305 A number of these                        modifications to proposed Rule 14a–
                                           Staff guidance to ensure that the                           commenters raised concerns about costs                    2(b)(9)(iii).309 For example, some
                                           mechanisms are being administered in a                                                                                supporters recommended allowing
                                           fair and efficient manner.’’ 299 Several                    their views via proxy statements and other                registrants more time than the proposed
                                           commenters also pointed out that there                      communications from management that are easily            two business days in which to provide
                                           already were existing mechanisms in                         accessible should they be needed. Giving                  their statement of response.310 Others
                                           place sufficient to address the concerns                    companies the opportunity for additional                  were in favor of requiring proxy voting
                                                                                                       participation in the recommendations of proxy
                                           raised in the Proposing Release,                            advisors would detract from, rather than contribute       advice businesses to include the full
                                           including existing proxy voting advice                      to, the objectivity of those recommendations.’’);         written statement of registrants in the
                                           business programs and policies for                          Segal Marco II; Seven Corners; Shareholder Rights         proxy advice, rather than just a
                                           registrants to provide feedback,300                         II. See also IAC Recommendation.                          hyperlink.311 Other commenters
                                                                                                          303 See, e.g., letters from Baillie Gifford; BIO;
                                           antifraud liability under Rule 14a–9,301                    Michele Nellenbach, Director of Strategic
                                                                                                                                                                 requested that the Commission clarify
                                           and ‘‘counter-speech’’ measures for                         Initiatives, Bipartisan Policy Center (Feb. 3, 2020)      certain points, such as whether a proxy
                                           registrants (such as filing additional                      (‘‘BPC’’) (stating that the hyperlink is a cost-          voting advice business would be subject
                                           proxy soliciting materials).302                             effective way to provide current information to           to Rule 14a–9 liability for omissions of
                                                                                                       investors), BRT; CEC (‘‘The Commission’s proposed
                                                                                                       changes ensure investors will have a full picture of
                                                                                                                                                                 a registrant’s response,312 and whether
                                              297 See, e.g., letters from AFL–CIO II; CII IV; Glass
                                                                                                       the information from which they can then make an          it would be a violation of an investment
                                           Lewis II; ISS.                                              informed, proposal-specific voting decision.’’);          adviser’s fiduciary duty if it chose not
                                              298 See, e.g., letters from Baillie Gifford; Canadian
                                                                                                       CCMC; CEC; CGC; ExxonMobil (‘‘Timely access to            to review a registrant’s hyperlinked
                                           Gov. Coal; CII IV; Glass Lewis II; ISS; Prof. Sergakis      both of these viewpoints [in the proxy voting advice
                                           (describing the treatment of proxy voting advice            and the registrant’s response to the advice] each
                                                                                                                                                                 response.313 Because of concerns that
                                           businesses under the proposal as too ‘‘formalistic’’        proxy season is critical for investors to make            clients may not take the time to review
                                           and stringent’’ by comparison to the regulation of          informed decisions at minimal cost.’’); FedEx; GM;        registrants’ hyperlinked statements,
                                           such businesses in different parts of the world and         NAM; Nareit; Nasdaq (noting its belief that the
                                           recommending a more flexible, principles-based
                                                                                                                                                                 commenters also recommended that the
                                                                                                       hyperlink would improve the accuracy of proxy
                                           system).                                                    voting advice and the overall mix of information
                                                                                                                                                                 Commission require proxy voting advice
                                              299 Glass Lewis II (‘‘For example, the exemptive
                                                                                                       available to investors, especially given the lack of      businesses to disable pre-populated
                                           condition could be as concise as a requirement that         a requirement in the proposed rules that proxy            voting mechanisms or the automatic
                                           proxy advisors ‘maintain policies and procedures            voting advice businesses revise their
                                           that provide registrants (and certain other soliciting      recommendations based on registrant feedback);               306 See, e.g., letter from CII IV (arguing that the
                                           persons) a meaningful opportunity to comment on             NIRI (‘‘Shareholders will be better informed as a         proposed requirement would delay the timely
                                           proxy advice and final notice of any proxy advice,’         result of the inclusion of [the registrant’s] response.   receipt of proxy voting advice because proxy voting
                                           with Staff or Commission guidance filling in the            Doing so will result in greater transparency in the       advice businesses will need to coordinate timing of
                                           timing and other elements.’’).                              proxy voting advice process, allowing investors to
                                              300 See, e.g., letters from Better Markets (‘‘Both
                                                                                                                                                                 the filing of supplementary proxy materials with
                                                                                                       see both sides of the issue . . .’’); SCG (asserting      registrants and that it would increase the
                                           Glass Lewis and ISS already have systems in place           that ‘‘factual errors have frequently been found after    businesses’ direct costs (e.g., costs to include a
                                           to allow companies to correct factual errors in their       the voting recommendation has been disseminated’’         hyperlink in reports), which would likely be passed
                                           reports and recommendations ‘and respond to some            and that ‘‘the impact of additional proxy materials       on to clients and their beneficiaries).
                                           aspect of their proxy voting advice’ before they are        can be limited’’); TechNet.                                  307 See, e.g., letters from Glass Lewis II; Public
                                           sent to their clients.’’); BMO; CII IV; Glass Lewis II;        304 See, e.g., letters from BRT; CEC (‘‘The
                                                                                                                                                                 Retirement Systems.
                                           Ohio Public Retirement; Segal Marco II.                     problems facing issuers and the wider market occur           308 See, e.g., letters from AFL–CIO II; CII IV;
                                              301 See, e.g., letters from AllianceBernstein; As        due to the extreme difficulty in engaging with proxy
                                                                                                                                                                 CIRCA; Elliott I; Glass Lewis II (characterizing the
                                           You Sow II; Better Markets; Elliott I; ISS; Glass           advisory firms during the proxy season and the
                                                                                                                                                                 proposed requirement for a proxy voting advice
                                           Lewis II; CalPERS; CII IV; New York Comptroller II;         immediate and near irrecoverable impact the
                                                                                                                                                                 business to publish a registrant’s response to proxy
                                           Segal Marco II; Seven Corners; Shareholder Rights           issuance of the proxy report has on voting results’’);
                                                                                                                                                                 voting advice in the form of a hyperlink as
                                           II. See also IAC Recommendation.                            Charter; ExxonMobil (‘‘Timely access to both of
                                                                                                                                                                 compelled speech and citing to legal precedent for
                                              302 See, e.g., letters from AllianceBernstein; As        these viewpoints each proxy season is critical for
                                                                                                                                                                 the proposition that compelling a party to publish
                                           You Sow II (‘‘Companies have the ability to make            investors to make informed decisions at minimal
                                                                                                                                                                 or otherwise provide access to speech with which
                                           arguments in a variety of ways including in their           cost. Our experience is that supplemental proxy
                                                                                                                                                                 the party may disagree violates the First
                                           proxies, by calling investor meetings, or sending out       materials filed with the SEC after the release of the
                                                                                                                                                                 Amendment); ISS (‘‘Supreme Court precedent is
                                           information to shareholders, among others. There is         proxy advisors’ reports, which are intended to
                                                                                                                                                                 clear that the government may not ‘co-opt’ a
                                           no reason to afford issuers yet another avenue to           supplement such reports, are ineffective.’’).
                                                                                                                                                                 person’s speech ‘to deliver [a] message’ from
                                           provide their views, especially when it is likely to           305 See, e.g., letters from AFL–CIO II; CII IV;
                                                                                                                                                                 someone else.’’); New York Comptroller II. We
                                           dramatically interfere with what is already a time-         Elliott I; Glass Lewis II; ISS; Lars Dijkstra, Chief      discuss our response to certain Constitutional
                                           constrained and difficult process for proxy advisory        Investment Officer, and Eszter Vitorino, Senior           objections to the proposed amendments in Section
                                           firms and shareholders’’); Better Markets; CalPERS;         Responsible Investment Advisor, Kempen Capital
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                                                                                                                                                                 II.C.3.d. infra.
                                           CFA Institute I (noting that ‘‘registrants already          Management (Jan. 6, 2020) (‘‘Kempen’’) (asserting            309 See, e.g., letters from BIO; ExxonMobil;
                                           have many opportunities to communicate with                 that such requirement would be duplicative of the
                                                                                                                                                                 Nasdaq; CII IV; CFA Institute II; Hermes; ISS.
                                           investors,’’ including the registrant’s own proxy           information already filed in company proxy                   310 See, e.g., letter from BIO.
                                           materials and ‘‘the full array of social media              statements and meeting notices, adding burden
                                                                                                                                                                    311 See, e.g., letters from BIO; NAM.
                                           avenues to reiterate and confirm their positions            without additional value); New York Comptroller II;
                                                                                                                                                                    312 See letters from BRT; ExxonMobil.
                                           . . .’’); CII IV; Elliott I; Glass Lewis II; SS; New York   Ohio Public Retirement; PERA; PRI II; Public
                                           Comptroller II; PIAC II (‘‘Issuers already provide          Retirement Systems; ValueEdge III.                           313 See letter from Nasdaq.




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                                           submission of votes in instances where                    from various parties on a potentially                 exact substitution, would more closely
                                           companies respond to a proxy voting                       wide range of topics in what is generally             approximate the discussion that could
                                           advice business’s adverse voting                          viewed as a short time frame. In light of             occur at a meeting with physical
                                           recommendation, along the lines of the                    this, we believe a more principles-based              attendance and participation by
                                           alternative described in the Proposal.314                 approach is appropriate.                              shareholders and other parties. We
                                              Some commenters who objected to                           As reflected in the large number of                therefore believe that ensuring that
                                           the proposal nevertheless recommended                     public comments received, there is a                  registrants have timely notice of proxy
                                           changes should the Commission adopt a                     wide range of opinions and competing                  voting advice and that proxy voting
                                           response mechanism. Several such                          views about the most effective way to                 advice businesses provide clients with a
                                           commenters encouraged the                                 ensure that market participants,                      mechanism by which they can
                                           Commission to codify the view that a                      including users of proxy voting advice,               reasonably be expected to become aware
                                           proxy voting advice business will not be                  have access to adequate information                   of any written response by registrants to
                                           held liable for the content of a                          when making their voting decisions.                   that advice—in a timely manner—will
                                           registrant’s response, whether provided                   Although some commenters argued that                  increase confidence across participants
                                           as a hyperlink or included in the proxy                   there was insufficient evidence of                    in the proxy system that clients of proxy
                                           statement in its entirety.315 Additional                  inaccuracies or other problems with                   voting advice businesses, whether those
                                           suggestions included setting reasonable                   proxy voting advice to justify regulation,            clients are investors or are acting on
                                           guidelines and limitations on the                         and asserted that clients of proxy voting             behalf of investors, have timely access
                                           content of a registrant’s response,316                    advice businesses are satisfied with the              to transparent, accurate, and complete
                                           requiring that registrants provide their                  quality of the advice they receive, the               information material to their voting
                                           hyperlink to the proxy voting advice                      proposed amendments were not                          decisions.
                                           business before the end of the review                     motivated solely by the Commission’s                     The Commission is aware of the risk
                                           period (not just request that it be                       interest in the factual accuracy of proxy             that introducing new rules into a
                                           included) to ensure that the hyperlink is                 voting advice. As we explained in the                 complex system like proxy voting,
                                           provided in a timely manner,317                           Proposing Release, even where proxy                   which has evolved over many years in
                                           requiring that the hyperlink be active                    voting advice is not adverse to the                   response to changes in the marketplace
                                           when provided,318 and permitting proxy                    registrant’s recommendation or where                  as well as the interests and needs of
                                           voting advice businesses to require                       there are no errors in the advice,                    market participants, could inadvertently
                                           registrants to indemnify them for any                     facilitating investor access to enhanced              disrupt the system and impose
                                           loss or claim arising out of the                          discussion of proxy voting matters                    unnecessary costs if not carefully
                                           hyperlinked content, its transmission, or                 contributes to more informed proxy                    calibrated. For example, we understand
                                           use.319                                                   voting decisions.320 Indeed, the                      the timing pressures and logistical
                                                                                                     principle that more complete and robust               challenges faced by shareholders,
                                           3. Final Amendments                                       information and discussion leads to                   investment advisers, registrants, and, as
                                           a. Overview                                               more informed investor decision-                      a result, proxy voting advice businesses
                                                                                                     making, and therefore results in choices              and their clients, particularly during the
                                              Based on commenter feedback, we are                    more closely aligned with investors’                  peak of proxy season.322 We also
                                           adopting amendments to Rule 14a–2(b)                      interests, has shaped our federal                     acknowledge the concerns expressed by
                                           that we believe achieve the important                     securities laws since their inception and             a number of commenters that the
                                           objectives of the proposal but are                        is a principal factor in the Commission’s             adoption of an overly prescriptive
                                           modified in a number of respects to do                    adoption of these amendments.                         framework governing aspects of the
                                           so in a less prescriptive, more                           Regardless of the incidence of errors in              proxy voting advice system could,
                                           principles-based manner. We recognize                     proxy voting advice, we believe it is                 depending on various facts and
                                           the practical challenges faced by market                  appropriate to adopt reasonable                       circumstances, impede the ability of
                                           participants—investors, registrants,                      measures designed to promote the                      proxy voting advice businesses to
                                           investment advisers, proxy voting                         reliability and completeness of                       provide their clients with timely voting
                                           advice businesses, and others—to                          information available to investors and                advice.323 Ultimately, we are guided by
                                           participate in, and fulfill their                         those acting on their behalf at the time              the principle that informed decision-
                                           respective obligations in respect of, the                 they make voting determinations. In                   making by shareholders is the
                                           proxy process. To varying extents,                        particular, we reiterate the far-reaching             foundation on which the legitimacy of
                                           market participants must convey,                          implications that proxy voting advice                 the proxy voting system rests 324 and
                                           assimilate, and give thoughtful                           can have in the market 321 and                        believe that a well-functioning proxy
                                           consideration to relevant information                     accordingly continue to believe that                  system benefits from the ability of
                                                                                                     measured changes designed to facilitate               clients of proxy voting advice
                                              314 See, e.g., letters from BIO (‘‘Accordingly, [we]
                                                                                                     more complete and robust dialogue and                 businesses to obtain more complete
                                           support measures that would increase the
                                           likelihood that the registrant’s statement is taken       information sharing among proxy voting                information on which to base their
                                           into account, such as disabling the auto-submission       advice businesses, their clients, and                 voting decisions.325
                                           of votes when a registrant has submitted a response,      registrants would improve the proxy
                                           or disabling auto-submission unless the client            voting system, and ultimately lead to                   322 See Proposing Release at 52, n. 134.
                                           accesses the registrant’s response or otherwise
                                           confirms the pre-populated voting choices.’’); BRT;       more informed decision-making, to the                   323 See, e.g., letters from Baillie Gifford; Canadian
                                                                                                                                                           Gov. Coal; CII IV; Glass Lewis II; ISS; Prof. Sergakis.
                                           CGC; ExxonMobil (asserting that the failure to            benefit of all participants, including                  324 See supra notes 2–5 and accompanying text.
                                           address automatic submissions would render the            shareholders that do not use proxy                      325 This is consistent with the Commission’s
                                           proposed rules ineffective, with ‘‘limited practical      voting advice and yet may be affected by              views regarding steps an investment adviser could
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                                           impact.’’); NAM; Nareit; SCC II.
                                              315 See, e.g., letters from Baillie Gifford; CII IV;
                                                                                                     the recommendations of proxy voting                   take when it retains a proxy voting advice business
                                                                                                     advice businesses. We also believe that               and it becomes aware of potential factual errors,
                                           Glass Lewis II; ISS.
                                                                                                                                                           potential incompleteness, or potential
                                              316 See, e.g., letter from Glass Lewis II.             such measured changes, while not an                   methodological weaknesses in the proxy voting
                                              317 Id.
                                                                                                                                                           advice business’s analysis that may materially affect
                                              318 Id.                                                 320 See   Proposing Release at 66530.                one or more of the investment adviser’s voting
                                              319 Id.                                                 321 See   supra notes 51–53 and accompanying text.                                                Continued




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                                              As noted above, some commenters                       in advance of the relevant meeting to                       have carefully considered the views of
                                           asserted that certain existing                           allow investors to consider the response                    a number of commenters, including the
                                           mechanisms in the proxy system suffice                   prior to casting their vote.329 In                          two largest proxy voting advice
                                           to address the concerns raised in the                    addition, while the potential for liability                 businesses. Those commenters
                                           Proposing Release and obviate the need                   under Rule 14a–9 helps to ensure that                       indicated that a more principles-based
                                           for the proposed rules.326 Those                         proxy voting advice is not materially                       approach would be appropriate and one
                                           mechanisms include proxy voting                          false or misleading, it does not address                    of whom specifically indicated that
                                           advice businesses’ existing programs                     the need for investors to have timely                       such an approach would achieve the
                                           and policies for registrants to provide                  access to transparent, accurate, and                        Commission’s goals while avoiding
                                           feedback, ‘‘counter-speech’’ measures                    complete information—including any                          many of the complexities and practical
                                           already available to registrants (e.g.,                  written response by the registrant to the                   concerns arising from the approach
                                           filing supplemental proxy materials),                    advice—that is material to their voting                     taken in the proposal.332 We agree and
                                           and antifraud liability under Rule 14a–                  determinations.330                                          are therefore adopting amendments that
                                           9.327 Contrary to the views of those                        As we explained in the Proposing                         articulate a set of principles, distilled
                                           commenters, however, we do not                           Release, under existing mechanisms, it                      from the proposed rules, upon which a
                                           believe that those mechanisms, as                        can be difficult to ensure that those                       proxy voting advice business may
                                           currently implemented, suffice to                        making voting decisions have timely                         design its own policies and procedures.
                                           achieve our goal of ensuring that clients                access to materially complete                               We believe this approach will provide
                                           of proxy voting advice businesses have                   information prior to voting.331 Without                     proxy voting advice businesses the
                                           timely access to a more complete mix of                  notice of the proxy voting advice                           flexibility to satisfy their compliance
                                           relevant information and exchange of                     business’s recommendations, registrants                     obligations in a customized and cost-
                                           views. Although it is encouraging that                   are often unable to provide a response                      effective manner and avoid exacerbating
                                           some proxy voting advice businesses                      prior to votes being cast. Also, given the                  the challenges posed by timing and
                                           have programs in place pursuant to                       high incidence of voting that takes place                   logistical constraints,333 while achieving
                                           which some registrants have the                          very shortly after a proxy voting advice                    the objective of ensuring that proxy
                                           opportunity to review and provide                        business’s advice is distributed to its                     voting advice businesses’ clients have
                                           feedback on or responses to proxy                        clients, without a mechanism by which                       timely access to more transparent,
                                           voting advice, those programs have not                   clients can reasonably be expected to                       accurate, and complete information
                                           been universally adopted by proxy                        become aware of any response in a                           upon which to base voting decisions.
                                           voting advice businesses and do not                      timely manner (as they and other                            We believe such an approach addresses
                                           uniformly provide registrants (and their                 investors would if the discussion were                      a number of concerns raised by
                                           investors) with the same opportunities                   taking place at a meeting where                             commenters, is better equipped to fit the
                                           for (and benefits of) review, feedback,                  shareholders are physically attending                       needs of participants in the proxy voting
                                           and response.328                                         and participating), votes may be cast on                    process, and will be adaptable as
                                              As to ‘‘counter-speech’’ measures,                    less complete information. Because                          circumstances change.
                                           under current market practices                           proxy voting advice businesses have
                                           registrants are not systematically                       control over the timing of the                              b. Policies and Procedures To Facilitate
                                           informed of proxy voting advice in a                     dissemination of their proxy voting                         Informed Decision-Making by Clients of
                                           timely manner such that they can                         advice, we believe they are the best-                       Proxy Voting Advice Businesses [Rule
                                           provide investors a response to such                     positioned parties in the proxy system                      14a–2(b)(9)(ii)]
                                           advice, let alone a response sufficiently                to both (1) make their proxy voting                           Consistent with the discussion above,
                                                                                                    advice available to registrants and (2)                     we are adopting new Rule 14a–
                                           determinations. See Commission Guidance on               provide clients with a mechanism by                         2(b)(9)(ii) to require, as a separate
                                           Proxy Voting Responsibilities at 21–22 (‘‘In             which they can reasonably be expected
                                           reviewing its use of a proxy advisory firm, an                                                                       condition to the availability of the
                                           investment adviser should also consider the
                                                                                                    to become aware of a registrant’s written                   exemptions in Rules 14a–2(b)(1) and
                                           effectiveness of the proxy advisory firm’s policies      response to their proxy voting advice in                    (b)(3), that a proxy voting advice
                                           and procedures for obtaining current and accurate        a timely manner.                                            business 334 adopt and publicly disclose
                                           information relevant to matters included in its             Although we do not believe the
                                           research and on which it makes voting
                                           recommendations . . . As part of this assessment,
                                                                                                    existing voluntary forms of outreach to                       332 See   supra notes 298–299 and accompanying
                                           investment advisers should consider . . . [t]he          registrants and other market participants                   text.
                                           proxy advisory firm’s engagement with issuers,           discussed above are alone sufficient, we                      333 See   Proposing Release at 52, n. 135.
                                           including the firm’s process for ensuring that it has                                                                  334 As   adopted, Rule 14a–2(b)(9) defines ‘‘proxy
                                           complete and accurate information about the issuer          329 See Proposing Release at 66533 (‘‘Although           voting advice business’’ as ‘‘a person furnishing
                                           and each particular matter, and the firm’s process,      registrants are able, under the existing proxy rules,       proxy voting advice covered by § 240.14a–
                                           if any, for investment advisers to access the issuer’s   to file supplemental proxy materials to respond to          1(l)(1)(iii)(A).’’ Some commenters opposed the use
                                           views about the firm’s voting recommendations in         negative proxy voting recommendations and to alert          of this term. See letters from ISS (stating generally
                                           a timely and efficient manner. . . .’’).                 investors to any disagreements they have identified         with respect to proposed Rule 14a–9 that the
                                              326 See supra notes 300–302 and accompanying
                                                                                                    with a proxy voting advice business’s voting advice,        Commission should refer to entities subject to the
                                           text.                                                    the efficacy of these responses may be limited,             rules as ‘‘proxy advisers’’ or ‘‘proxy advisory
                                              327 See, e.g., letters from AllianceBernstein; As
                                                                                                    particularly given the high incidence of voting that        firms,’’ rather than creating a new term (‘‘proxy
                                           You Sow II; Better Markets; Elliott I; ISS; Glass        takes place very shortly after a proxy voting advice        voting advice business’’)); CII IV (asserting that
                                           Lewis II; CalPERS; CII IV; New York Comptroller II;      business’s voting advice is released to clients and         there is no evidence that the current terminology is
                                           Segal Marco II; Seven Corners; Shareholder Rights        before such supplemental proxy materials can be             inadequate). While we acknowledge commenters’
                                           II. See also IAC Recommendation.                         filed.’’).                                                  concern about introducing a new term to the proxy
                                              328 See supra notes 256–258 and accompanying             330 Id. at 66530 (noting that ‘‘[t]he registrant . . .   rules, we believe that it is appropriate to clarify the
                                           text; Proposing Release at 66529–30 (‘‘[S]ome proxy      may have disagreements that extend beyond the               type of proxy voting advice that the new rules are
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                                           voting advice businesses do not provide registrants      accuracy of the data used, such as differing views          intended to address and accordingly scope in
                                           with an opportunity to review their reports              about the proxy advisor’s methodological approach           businesses that provide such advice, rather than
                                           containing voting advice in advance of distribution      or other differences of opinion,’’ the                      basing application of the rules on the types of
                                           to their clients. Even those proxy voting advice         communication of which ‘‘could improve the                  businesses that currently provide such services. We
                                           businesses that provide such review opportunities        overall mix of information available when the               believe this avoids inadvertently scoping in other
                                           do not provide all registrants with an advance copy      clients make their voting decisions’’).                     services that such businesses may provide, and also
                                           of their reports containing their voting advice.’’).        331 Id. at 66528–30.                                     provides flexibility for the rule to address future



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                                           written policies and procedures                           businesses interact with registrants, and                  have adopted and publicly 340 disclosed
                                           reasonably designed to ensure that:                       instead leaves it within the discretion of                 policies and procedures reasonably
                                              (A) Registrants that are the subject of                the proxy voting advice business to                        designed to ensure that proxy voting
                                           proxy voting advice have such advice                      choose how best to implement the                           advice 341 is made available to
                                           made available to them at or prior to the                 principles embodied in the rule and                        registrants ‘‘at or prior to the time when
                                           time when such advice is disseminated                     incorporate them into the business’s                       such advice is disseminated to the
                                           to the proxy voting advice business’s                     policies and procedures. The rule does                     proxy voting advice business’s
                                           clients; 335 and                                          not require that proxy voting advice                       clients.’’ 342 The rule does not, however,
                                              (B) The proxy voting advice business                                                                              require proxy voting advice businesses
                                                                                                     businesses provide registrants or other
                                           provides its clients with a mechanism                                                                                to ensure that proxy voting advice be
                                           by which they can reasonably be                           soliciting persons 338 with the
                                                                                                                                                                made available to registrants after being
                                           expected to become aware of any                           opportunity to review proxy voting
                                                                                                                                                                initially provided to clients, if it is later
                                           written statements regarding its proxy                    advice in advance of its dissemination
                                                                                                                                                                revised or updated in light of
                                           voting advice by registrants that are the                 to the businesses’ clients, although
                                                                                                                                                                subsequent events, as we recognize that
                                           subject of such advice, in a timely                       providing registrants with the
                                           manner before the shareholder meeting                     opportunity to review their proxy voting                      340 The requirement that such policies and

                                           (or, if no meeting, before the votes,                     advice in advance would satisfy the                        procedures be ‘‘publicly’’ disclosed would be
                                           consents, or authorizations may be used                   principle and is encouraged to the                         satisfied if, for example, they were publicly
                                                                                                                                                                available on a proxy voting advice business’s
                                           to effect the proposed action).336                        extent feasible.339 The rule requires that                 website. This is consistent with the approach that
                                              While we appreciate the input of                       proxy voting advice businesses must                        at least some proxy voting advice businesses are
                                           commenters that recommended we                                                                                       currently taking with respect to the opportunities
                                           adopt the more prescriptive                                  338 We believe that it could have been unduly           they provide registrants to review their proxy voting
                                                                                                                                                                advice. See, e.g., Glass Lewis, Report Feedback
                                           requirements of the proposed rule with                    burdensome on proxy voting advice businesses to
                                                                                                                                                                Statement (last visited June 11, 2020), available at
                                           modifications,337 we believe that the                     extend the requirements of Rule 14a–2(b)(9)(ii)(A)
                                                                                                                                                                https://www.glasslewis.com/report-feedback-
                                                                                                     to other soliciting persons (in addition to the
                                           objectives of the rule are better achieved                relevant registrants). We are mindful of the costs
                                                                                                                                                                statement/; ISS, ISS Draft Review Process for U.S.
                                           through a principles-based requirement                                                                               Issuers (last visited June 11, 2020), available at
                                                                                                     and potential logistical complications that could
                                                                                                                                                                https://www.issgovernance.com/iss-draft-review-
                                           that is firmly rooted in our historic and                 arise if a proxy voting advice business were
                                                                                                                                                                process-u-s-issuers/. Given the flexibility that proxy
                                           proven disclosure framework and will                      required to ensure that multiple soliciting persons
                                                                                                                                                                voting advice businesses have with respect to the
                                                                                                     were informed of its proxy voting advice in a timely
                                           provide proxy voting advice businesses                                                                               method by which they satisfy the principle set forth
                                                                                                     manner. Notwithstanding such costs and potential
                                                                                                                                                                in Rule 14a–2(b)(9)(ii)(A), we believe that the public
                                           with the ability to tailor their policies                 complications, proxy voting advice businesses may          disclosure of such policies and procedures is
                                           and procedures to ensure compliance                       structure their policies and procedures to inform          critical to ensuring that registrants understand how
                                           with the requirements on a basis that is                  other soliciting persons of their proxy voting advice      they can become informed of the relevant proxy
                                                                                                     if they wish to do so. Further, as we noted in the         voting advice. We also believe that the transparency
                                           efficient and best serves the evolving                    Proposing Release, neither shareholder proponents          created by such public disclosure may yield
                                           needs of their clients and the practical                  nor persons conducting exempt solicitations are            ancillary benefits, including increased assurance of
                                           realities of their individual business                    required to file substantive disclosure documents          compliance by proxy voting advice businesses with
                                           models.                                                   with the Commission or to make public statements.          Rule 14a–2(b)(9)(ii).
                                                                                                     Proposing Release at 66532. Because such                      341 See supra note 7 for the definition of ‘‘proxy
                                           i. Notice to Registrants and Safe Harbor                  disclosure documents and public statements                 voting advice’’ as used in this release.
                                                                                                     generally contain substantive information that                342 Rule 14a–2(b)(9)(ii)(A). The goal of the
                                              Paragraph (A) of Rule 14a–2(b)(9)(ii)                  likely would form the basis of proxy voting advice
                                                                                                                                                                principle is to provide registrants with enough time
                                           reflects the Commission’s judgment that                   businesses’ analyses, there may be an information
                                                                                                                                                                to respond to the proxy voting advice, should they
                                           effective engagement between proxy                        asymmetry as to proxy voting advice provided with
                                                                                                                                                                choose to, sufficiently in advance of investors
                                                                                                     respect to registrants’ solicitations as compared to
                                           voting advice businesses and registrants,                 shareholder proponents’ or exempt solicitations.
                                                                                                                                                                casting their final votes. Practically speaking, the
                                           in which registrants are timely informed                                                                             most efficient way for proxy voting advice
                                                                                                     Consistent therewith, we stated in the Proposing
                                                                                                                                                                businesses to achieve this goal is to disseminate the
                                           of proxy voting advice that bears on the                  Release that proxy voting advice businesses would
                                                                                                                                                                reports containing their proxy voting advice to
                                           solicitation of their shareholders, will                  be required to extend the proposed review and
                                                                                                                                                                registrants (or otherwise provide registrants with
                                                                                                     feedback and final notice opportunities to parties         access to such reports) either at the same time or
                                           further the goal of ensuring that proxy                   other than the registrant only in those instances in       before they disseminate such reports to their
                                           voting advice businesses’ clients have                    which the registrant’s solicitation is contested by        clients. We recognize that some commenters that
                                           more complete, accurate, and                              soliciting persons who intend to deliver their own         supported the proposed rules indicated that even
                                           transparent information to consider                       proxy statements and proxy cards to shareholders.          when registrants do have the opportunity to review
                                                                                                     Id. However, as discussed below (see infra Section         proxy voting advice in advance, they do not have
                                           when making their voting decisions.                       II.C.3.c.ii.), we are adopting Rule 14a–2(b)(9)(vi)        sufficient time for a thorough review and response.
                                           This will, by extension, benefit the                      that, in part, excludes from the requirements of           See supra note 258 and accompanying text.
                                           shareholders on whose behalf those                        Rule 14a–2(b)(9)(ii) the portions of the proxy voting      Although the proposed advanced review and
                                           clients may be voting.                                    advice that relate to solicitations regarding              feedback process likely would have afforded
                                                                                                     contested matters, regardless of who is making such        registrants more lead time to review and respond
                                              As adopted, 17 CFR 240.a–                              solicitation. See Rule 14a–2(b)(9)(vi).                    to proxy voting advice, we are conscious of the
                                           2(b)(9)(ii)(A) (‘‘Rule 14a–2(b)(9)(ii)(A)’’)                 339 As noted above, we understand that certain
                                                                                                                                                                corresponding costs that other commenters
                                           does not dictate the manner or specific                   proxy voting advice businesses currently provide at        identified. See infra notes 351–355 and
                                           timing in which proxy voting advice                       least some issuers with the opportunity to review          accompanying text. We further note that even if
                                                                                                     and respond to their proxy voting advice in advance        some clients of proxy voting advice businesses
                                                                                                     of its dissemination to their clients. See Proposing       make their voting decision after receiving such
                                           business models that may involve the type of advice       Release at 66529 (‘‘In the United States, ISS offers       businesses’ recommendations but before the
                                           the rules are intended to address.                        the constituent companies of the Standard and
                                              335 Rule 14a–2(b)(9)(ii)(A).
                                                                                                                                                                registrant has had the opportunity to respond
                                                                                                     Poor’s 500 Index the opportunity to review a draft         thereto, those clients retain the ability to change
                                              336 Rule 14a–2(b)(9)(ii)(B). See infra Section
                                                                                                     of ISS’ voting advice before it is delivered to clients.   their vote prior to the meeting date. Under the final
                                           II.C.3.c. for a discussion of Rules 14a–2(b)(9)(v) and    Glass Lewis has a program that allows registrants          rules, therefore, registrants should have the
                                           (vi), which exclude certain types of proxy voting         who participate to receive a data-only version of its      opportunity to respond to proxy voting advice
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                                           advice from the application of Rule 14a–2(b)(9)(ii).      voting advice before publication to clients.’’).           sufficiently in advance of the meeting date.
                                              337 See, e.g., letters from BRT; Exxon Mobil; GM;      Although such advance review opportunity is not            Accordingly, clients of proxy voting advice
                                           MFA & AIMA; MSBA; Nasdaq; Scott Hirst, Assoc.             required by Rule 14a–2(b)(ii), we encourage proxy          businesses are more likely to become aware of a
                                           Prof., Boston University Law School (Feb. 3, 2020)        voting advice businesses that are currently                registrant’s response pursuant to Rule 14a–
                                           (‘‘Prof. Hirst’’); Representatives Bryan Steil, et al.,   providing registrants with this opportunity to             2(b)(9)(ii)(B) and should have the opportunity to
                                           U.S. House of Representatives (Jan. 6, 2020) (‘‘Rep.      continue doing so as it furthers the objectives of this    consider whether to adjust their votes based
                                           Steil’’); SCC I.                                          rule.                                                      thereon. See infra note 387 and accompanying text.



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                                           such a requirement could be unduly                         registrant at least concurrently with the                   so, proxy voting advice businesses may
                                           burdensome given the timing                                delivery of such advice to its clients.347                  structure their policies to accommodate
                                           constraints of the proxy process. We                          We believe the 40 calendar-day aspect                    registrants that may file less than 40
                                           believe the final rules continue to                        of the safe harbor 348 affords the proxy                    calendar days before the shareholder
                                           advance the Commission’s interest in                       voting advice business a reasonable                         meeting and remain within the safe
                                           improving the mix of information                           amount of time to provide the advisory                      harbor.
                                           available to shareholders in a manner                      materials to registrants, without                              The concurrent dissemination of
                                           that is compatible with the complex and                    adversely affecting the business’s ability                  proxy voting advice to clients and
                                           time-sensitive proxy voting advice                         to provide timely voting advice to its                      registrants specified in the safe harbor
                                           infrastructure that currently exists and,                  clients. Proxy voting advice businesses                     addresses concerns expressed by
                                           in particular, the proxy voting advice                     perform much of the work related to                         commenters that the proposed review
                                           businesses that many shareholders or                       their voting advice only after the filing                   mechanism, which would have allowed
                                           those acting on their behalf use in                        of the definitive proxy statements                          registrants to review and provide
                                           connection with proxy voting, including                    describing the matters presented for a                      feedback on voting advice before
                                           meeting their voting obligations to                        proxy vote and are subject to time                          distribution to the clients of proxy
                                           investors.                                                 pressure to deliver their research and                      voting advice businesses, could have
                                                                                                      analysis to their clients sufficiently in                   undermined the ability of proxy voting
                                             In addition, paragraph (iii) of Rule                                                                                 advice businesses to provide impartial
                                                                                                      advance of the shareholder meeting.349
                                           14a–2(b)(9) includes a non-exclusive                                                                                   advice to their clients,351 increased the
                                                                                                      Accordingly, we do not believe that it
                                           safe harbor provision that, if followed,                                                                               risk of insider trading of material non-
                                                                                                      would be practicable to impose
                                           will give assurance to a proxy voting                                                                                  public information,352 and impinged on
                                                                                                      additional administrative and logistical
                                           advice business that it has met the                        burdens on proxy voting advice                              proxy voting advice businesses’ rights of
                                           principles-based requirement of new                        businesses in cases in which registrants’                   free speech.353 As discussed above,
                                           Rule 14a–2(b)(9)(ii)(A). In accordance                     definitive proxy statements are filed                       several commenters objected on the
                                           with this safe harbor, a proxy voting                      closer to the date of the shareholder                       grounds that permitting registrants to
                                           advice business will be deemed to                          meeting.350 However, if they wish to do                     review and comment on draft proxy
                                           satisfy Rule 14a–2(b)(9)(ii)(A) if it has                                                                              voting advice in advance of a proxy
                                           written policies and procedures that are                      347 Under the terms of the safe harbor, registrants      voting advice business’s clients would
                                           reasonably designed to provide                             are not required to reimburse proxy voting advice           interfere in shareholders’
                                           registrants with a copy of its proxy                       businesses for the cost of providing a copy of the          communications with their advisors on
                                                                                                      proxy voting advice. See Rule 14a–2(b)(9)(iii).
                                           voting advice, at no charge, no later than                 While some commenters favored a requirement that
                                                                                                                                                                  matters subject to a vote.354 In
                                           the time it is disseminated to the                         registrants reimburse proxy voting advice                   particular, some commenters argued
                                           business’s clients.343 Such policies and                   businesses for reasonable expenses associated with          that the review process, as proposed,
                                           procedures may include conditions                          the proposed review and feedback period (see                gave preferential treatment to registrants
                                                                                                      letters from CII IV; New York Comptroller II), others
                                           requiring that such registrants have:                      asserted that proxy voting advice businesses should
                                                                                                                                                                  over a proxy voting advice business’s
                                             (A) Filed their definitive proxy                         not be able to seek reimbursement from registrants
                                                                                                      for the costs to provide their reports (see letters         data-report/ (noting that in order for a registrant to
                                           statement at least 40 calendar days                                                                                    review an issuer data report in advance of the proxy
                                                                                                      from Exxon Mobil; GM; NAM; SCG). For purposes
                                           before the shareholder meeting; 344 and                    of the safe harbor, we believe that the benefit to          voting advice being disseminated to clients,
                                                                                                      investors of more timely, complete, and reliable            registrants must ‘‘disclose their meeting documents
                                             (B) Expressly acknowledged that they                                                                                 at least 30 days in advance of their meeting date’’);
                                                                                                      information upon which to make informed voting
                                           will only use the proxy voting advice for                  decisions should not be lessened by making a                ISS, ISS Draft Review Process for U.S. Issuers (last
                                           their internal purposes and/or in                          registrant’s ability to review proxy voting advice          visited June 11, 2020), available at https://
                                           connection with the solicitation and it                    dependent on the registrant’s willingness to pay for        www.issgovernance.com/iss-draft-review-process-u-
                                                                                                      it. See infra note 412 for our discussion of how the        s-issuers/ (‘‘To ensure timely delivery of our
                                           will not be published or otherwise                                                                                     analyses to our clients, we cannot provide a draft
                                                                                                      final rules address certain comments we received
                                           shared except with the registrant’s                        on the proposed rules expressing concern regarding          to any company that files its definitive proxy less
                                           employees or advisers.345                                  the takings clause of the Fifth Amendment.                  than 30 days before its meeting.’’).
                                                                                                         348 Rule 14a–2(b)(9)(iii)(A).                               351 See supra note 269. We believe that the
                                             Under this safe harbor, the proxy                           349 See e.g., letters from CII IV; Glass Lewis II; ISS   concurrent dissemination of proxy voting advice to
                                           voting advice business may structure its                   (describing the timing and processes involved in            clients and registrants pursuant to the safe harbor
                                           written policy however it wishes so long                   the preparation and delivery of their proxy voting          will achieve the objectives of this rulemaking and
                                           as the policy has been reasonably                          advice to clients). See also Proposing Release at           address commenters’ concerns regarding a
                                                                                                      66531, n. 119.                                              registrant’s practical ability to review, consider, and
                                           designed to provide 346 any registrant                        350 Based on the information we received from            respond to proxy voting advice. See supra note 342.
                                           that meets the conditions of (A) and (B)                   commenters, it is our understanding that 40
                                                                                                                                                                     352 See supra note 272. Proxy voting advice may,

                                           above with a copy of the business’s                        calendar days prior to the shareholder meeting is           depending on the facts and circumstances,
                                           proxy voting advice with respect to that                   well within the customary range when definitive             constitute material, non-public information. We
                                                                                                      proxy statements are filed. See e.g., letters from CII      expect proxy voting advice businesses, their clients,
                                                                                                      IV; Glass Lewis II. By comparison, we note that the         and registrants receiving non-public information in
                                             343 Rule   14a–2(b)(9)(iii).                             Commission’s proposal would have required proxy             this process to take reasonable measures to
                                             344 Rule   14a–2(b)(9)(iii)(A). Where the registrant                                                                 safeguard any material, non-public information in
                                                                                                      voting advice businesses to provide registrants with
                                           is soliciting written consents or authorizations from      an opportunity for advance review and feedback of           their possession by, for example, adopting and
                                           shareholders for an action in lieu of a meeting, a         the proxy voting advice if the registrant filed its         implementing effective policies and procedures to
                                           proxy voting advice business’s written policies and        definitive proxy statement at least 25 calendar days        ensure that its use and dissemination is consistent
                                           procedures may require that the registrant must file       before the shareholder meeting. See proposed Rule           with applicable law. See also infra note 400;
                                           its definitive soliciting materials at least 40 calendar   14a–2(b)(2)(9)(ii); Proposing Release at 66531. We          Institutional S’holder Servs. Inc., Release No. IA–
                                           days before the action is effective in order to receive    also note that such 40 calendar day-period exceeds          3611, 106 SEC. Docket 1681, 2013 WL 11113059,
                                           a copy of its proxy voting advice.                         the minimum number of days that some proxy                  at *5 (May 23, 2013) (‘‘In this case, ISS violated
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                                              345 Rule 14a–2(b)(9)(iii)(B).
                                                                                                      voting advice businesses currently require that             Section 204A [of the Advisers Act] because it failed
                                              346 In terms of the method by which a proxy             registrants file their definitive proxy statements          to establish and enforce policies and procedures
                                           voting advice business provides a copy of its advice       prior to the shareholder meeting in order to review         reasonably designed to prevent the misuse of ISS’
                                           to a registrant, it could do so by, for example,           at least a portion of their proxy voting advice in          shareholder advisory clients’ material, nonpublic
                                           sending the registrant an email either attaching an        advance of its dissemination. See, e.g., Glass Lewis,       proxy voting information.’’).
                                                                                                                                                                     353 See supra note 288.
                                           electronic copy of the relevant report or including        Issuer Data Report (last visited June 11, 2020),
                                           an active hyperlink to the report.                         available at https://www.glasslewis.com/issuer-                354 See supra notes 276–277.




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                                           own clients and would tend to promote                     commenters objected to the mandated                      variety of forms at the discretion of the
                                           management’s interests because it                         cessation of the registrant’s                            proxy voting advice business, including
                                           allowed registrants to influence the                      confidentiality agreement, as the risk of                with respect to the duration of the
                                           content of advice at a critical stage of its              harm that would be suffered by the                       acknowledgment. For example, a policy
                                           production without granting similar                       proxy voting advice business due to                      under the safe harbor could specify that
                                           access to shareholders.355                                misuse of its confidential information                   the acknowledgement can or must be in
                                              Several commenters who were                            could continue well into the future.361                  the form of a written representation or
                                           opposed to the concept of advance                         Moreover, a number of commenters                         an oral acknowledgement, or the policy
                                           review suggested concurrent review as a                   expressed concern that requiring                         could prescribe that a registrant must
                                           preferable alternative.356 In the view of                 confidentiality agreements between                       check a box or provide another
                                           such commenters, a concurrent review                      proxy voting advice businesses and                       electronic means of confirming that the
                                           would provide registrants with access to                  registrants would necessitate the parties’               registrant agrees to standardized terms
                                           proxy voting advice, but it would be on                   negotiation over contractual terms, an                   of service before the materials could be
                                           an equal footing with the clients of                      additional complication that could mire                  accessed. To qualify for the safe harbor,
                                           proxy voting advice businesses and                        the proposed review and feedback                         the terms of the acknowledgement could
                                           therefore would avoid many of the                         process, and therefore the timely                        not be more restrictive than those set
                                           potential adverse consequences that                       provision of voting advice to                            forth in paragraph (B); however, if a
                                           commenters associated with mandating                      shareholders, in unmanageable                            proxy voting advice business wishes to
                                           an opportunity for registrants’ advance                   delays.362 Some commenters also noted                    impose more tailored or restrictive
                                           review.357 We agree with this approach                    that such negotiation would be                           conditions, it could do so outside of the
                                           and believe that, for example, the                        costly.363                                               safe harbor, provided the policies and
                                           receipt of a copy of proxy voting advice                     We believe that shifting to a                         procedures do not unreasonably inhibit
                                           by a registrant who is the subject of such                principles-based requirement, which                      timely notice to the registrant consistent
                                           advice no later than the date upon                        allows the report to be provided to                      with the principles-based requirements
                                           which it is distributed to the proxy                      registrants at the same time it is                       of 14a–2(b)(9)(ii)(A).
                                           voting advice business’s clients would                    provided to clients, should eliminate or                    We also note that, unlike the
                                           bring about many of the same benefits                     mitigate many of the concerns                            proposal, the safe harbor does not
                                           for which the proposed registrant                         expressed. In light of these changes, we                 mandate the provision of draft proxy
                                           review was intended, particularly in                      believe that negotiating a formal                        voting advice to registrants before
                                           conjunction with (1) a registrant’s                       confidentiality agreement may not be                     dissemination to clients of the proxy
                                           ability to file additional soliciting                     necessary in all circumstances. We                       voting advice business, which, as
                                           materials to communicate their views                      therefore believe it is appropriate to                   commenters noted, poses a higher risk
                                           regarding the advice to shareholders and                  make clear that a proxy voting advice                    of unintentional or unauthorized release
                                           (2) the new requirement, described                        business may receive assurances from a                   of the information and its potential
                                           below,358 that proxy voting advice                        registrant regarding the use of the proxy                misuse.365 Instead, compliance with the
                                           businesses adopt written policies and                     voting advice through less prescriptive                  safe harbor requires only that the proxy
                                           procedures reasonably designed to                         means. Accordingly, paragraph (B) of                     voting advice business provide its
                                           ensure that they provide clients with a                   the safe harbor in Rule 14a–2(b)(9)(iii)                 voting advice to registrants no later than
                                           mechanism by which they can become                        permits proxy voting advice businesses                   the time it is released to the business’s
                                           aware of a registrant’s statements of its                 to include in their policies and                         clients.
                                           views about such advice in a timely                       procedures conditions requiring                             A proxy voting advice business that
                                           manner.                                                   registrants to limit their use of the                    has a policy in place that satisfies the
                                              Under the proposed rules, a proxy                      advice in order to receive a copy of the                 principles-based requirements of Rule
                                           voting advice business would have been                    proxy voting advice. Such written                        14a–2(b)(9)(ii)(A), such as a policy
                                           able to require registrants to enter into                 policies and procedures may, but are                     elucidated in, or that is consistent with,
                                           confidentiality agreements for materials                  not required to, specify that registrants                the safe-harbor in Rule 14a–2(b)(9)(iii),
                                           provided during the proposed review                       must first acknowledge that their use of                 will be under no obligation to provide
                                           and feedback period as a condition of                     the proxy voting advice is restricted to                 its proxy voting advice to registrants
                                           receiving the proxy voting advice on                      the registrant’s own internal purposes                   that fail to file a definitive proxy
                                           terms ‘‘no more restrictive’’ than similar                and/or in connection with the                            statement early enough to meet the 40-
                                           types of confidentiality agreements the                   solicitation and will not be published or                day stipulation, or fail to acknowledge
                                           business has with its clients, which                      otherwise shared except with the                         the limitations on its use of the voting
                                           would cease to apply once the business                    registrants’ employees or advisers.364                   advice. Moreover, in order to qualify for
                                           released its proxy reports to clients.359                 Such acknowledgement could take a
                                           Some commenters suggested this                                                                                        365 See, e.g., letters from Clem Geraghty, Ardevora

                                           formulation would be unworkable in                        advice business would be cumbersome ‘‘without            Asset Management LLP (Nov. 27, 2020)
                                           practice because the confidentiality                      any tangible benefit’’).                                 (‘‘Ardevora’’); CII IV; Elliott I; ISS (expressing
                                                                                                        361 See, e.g., letter from Glass Lewis II             concern that the proposal would require a proxy
                                           agreements used with clients were not                     (recommending that the Commission remove the             voting advice business to disclose material non-
                                           comparable and therefore would not be                     statement in the proposal that any confidentiality       public information to any registrant or eligible
                                           a suitable template.360 In addition,                      agreement ‘‘shall cease to apply once the proxy          soliciting person who signs a confidentiality
                                                                                                     voting advice business provides its advice to one or     agreement, even if that party is a known insider
                                             355 See
                                                                                                     more recipients’’).                                      trader, and stating that such an outcome would
                                                       supra note 268.                                  362 See, e.g., letter from Olshan LLP (stating that
                                             356 See                                                                                                          interfere with the proxy voting advice business’s
                                                       supra note 295.                               the proposal significantly underestimates the time       obligations under the Investment Advisers Act to
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                                             357 Id.
                                                                                                     and expense of negotiating confidentiality               establish, maintain, and enforce policies and
                                             358 See infra Section II.C.3.b.ii.                      agreements and providing detailed reasons as to          procedures reasonably designed to ensure
                                             359 See Note 2 to paragraph (b)(9)(ii) of proposed      why the proposal would be so time consuming and          compliance with insider trading laws); SES (noting
                                           Rule 14a–2(b)(9); Proposing Release at 66532.             costly).                                                 that the proposal could result in certain company
                                             360 See, e.g., letter from SES (asserting that             363 See infra note 613.
                                                                                                                                                              statements and information being made available to
                                           needing to sign individual confidentiality                   364 A registrant’s advisers would include, for        proxy voting advice businesses and their clients,
                                           agreements between every issuer and proxy voting          example, its attorneys and proxy solicitors.             but not to other shareholders).



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                                           the safe harbor, the proxy voting advice                the proxy voting advice business                        feedback on their proxy voting advice
                                           business’s policy is not required to                    industry.369 Specifically, because Rule                 before it is disseminated to clients.
                                           contemplate that the business repeat the                14a–2(b)(9)(ii) does not require proxy                     It is not a condition of this safe
                                           process of providing a copy of its proxy                voting advice businesses to adopt                       harbor, nor the principles-based
                                           voting advice to registrants if its advice              policies that would provide registrants                 requirement, that the proxy voting
                                           is later revised or updated in light of                 with the opportunity to review and                      advice business negotiate or otherwise
                                           subsequent events. The safe harbor does                 provide feedback on their proxy voting                  engage in a dialogue with the registrant,
                                           not impose any obligation on the proxy                  advice before such advice is                            or revise its voting advice in response to
                                           voting advice business to provide                       disseminated to clients, the rule does                  any feedback. The proxy voting advice
                                           registrants with additional opportunities               not create the risk that such advice                    business is free to interact with the
                                           to review its proxy voting advice with                  would be delayed or that the                            registrant to whatever extent and in
                                           respect to the same shareholder                         independence thereof would be tainted                   whatever manner it deems appropriate,
                                           meeting. In response to concerns raised                 as a result of a registrant’s pre-                      provided it has a written policy that
                                           by commenters, in order to limit the                    dissemination involvement.370                           satisfies its obligations. Although the
                                           logistical and other burdens imposed on                 Similarly, because proxy voting advice                  Commission encourages cooperation
                                           proxy voting advice businesses, as well                 businesses are not required to adopt                    and an open dialogue between the
                                           as to lessen potential uncertainty over                 policies that would provide notice to, or               parties to the extent that it facilitates
                                           questions of compliance,366 proxy                       otherwise require interaction with,                     productive efforts to improve the quality
                                           voting advice businesses may, but will                  registrants until they disseminate advice               of proxy voting advice for the benefit of
                                           not be required to, provide the registrant              to their clients, any concerns that                     shareholders, the rule that we are
                                           with additional materials that update or                commenters had regarding increased                      adopting does not prescribe the manner
                                           supplement proxy voting advice                          marginal costs—and, correspondingly,                    in which the parties conduct themselves
                                           previously provided.                                    diminished competition—associated                       in this regard, and leaves the content of
                                              So long as the proxy voting advice                   with preparing proxy voting advice as a                 proxy voting advice, as well as the
                                           business meets the conditions of the                    result of the proposed advance review                   specific methods and processes used to
                                           safe harbor in Rule 14a–2(b)(9)(iii), it                and feedback process should be                          produce it, within the proxy voting
                                           will be deemed to satisfy Rule 14a–                     alleviated. Commenters also identified                  advice business’s discretion.
                                           2(b)(9)(ii)(A). Assuming it also satisfies              potential unintended consequences that                     As noted above, the safe harbor is
                                           the principles-based requirement in new                 could result from a heightened litigation               intended to provide a proxy voting
                                           17 CFR 240.14a–2(b)(9)(ii)(B) (‘‘Rule                   risk that proxy voting advice businesses                advice business with a non-exclusive
                                           14a–2(b)(9)(ii)(B)’’); discussed below                  could face as a result of the proposed                  means to meet the requirements of Rule
                                           and otherwise meets the requirements of                 rules,371 which may have been viewed                    14a–2(b)(9)(ii)(A). Proxy voting advice
                                           Rule 14a–2(b)(9), the proxy voting                      as more significant in circumstances                    businesses may nonetheless choose to
                                           advice business would be eligible to rely               where differing views persisted                         structure a policy that, though not
                                           on the exemptions in Rules 14a–2(b)(1)                  following engagement with the                           within the parameters of the safe harbor,
                                           or (3) (subject to the satisfaction of the              registrant. As with the other unintended                is reasonably designed to ensure that
                                           other conditions of those exemptions).                  consequences discussed above, this                      proxy voting advice is made available to
                                              By adopting this approach, as                        concern is mitigated by the fact that                   registrants at or prior to the time when
                                           discussed above, we believe we have                     under the principles-based approach we                  the advice is disseminated to clients.
                                           addressed the concerns raised by                        are adopting, proxy voting advice                       We acknowledge that there are different
                                           commenters regarding the potential                      businesses will not be required to give                 ways that a proxy voting advice
                                           unintended consequences of requiring a                  registrants the opportunity to provide                  business could structure such a policy
                                           proxy voting advice business to engage                                                                          consistent with the rule, and the safe
                                           with a registrant in connection with its                Sow II; BMO; Boston Trust; CII IV; NYC                  harbor is not intended to become the de
                                           proxy voting advice, including those                    Comptroller; New York Comptroller II; PIAC II;          facto means by which the requirement
                                                                                                   TRP. The final rules address these concerns, as
                                           related to timing 367 and the risk of                   neither Rule 14a–2(b)(9)(ii)(A) nor Rule 14a–
                                                                                                                                                           of Rule 14a–2(b)(9)(ii)(A) may be met.
                                           affecting the independence of the                       2(b)(9)(iii) requires that registrants be given the     ii. Mechanism To Become Aware of
                                           advice 368 or diminishing competition in                opportunity to review or provide feedback on proxy
                                                                                                   voting advice before proxy voting advice businesses     Registrant’s Response and Safe Harbor
                                                                                                   provide such advice to their clients.                      The Commission’s proposal to require
                                              366 For example, if proxy voting advice businesses
                                                                                                      369 The competition-based unintended
                                           were required under the safe harbor to redistribute     consequences that commenters identified included
                                                                                                                                                           that proxy voting advice businesses, at
                                           proxy voting advice to registrants as a result of any   diminished competition among proxy voting advice        the request of a registrant, include in
                                           updates or addenda to the advice, in many cases it      businesses, a limitation in the market choice for       their voting advice a hyperlink (or other
                                           might pose a difficult logistical challenge for the     consumers of proxy voting advice, and a decline in
                                           businesses to meet their production deadlines,                                                                  analogous electronic medium) to the
                                                                                                   the utility of proxy voting advice. See supra notes
                                           satisfy rapid turn-around times and fulfill their       282, 283, 285 and accompanying text.                    registrant’s statement about the voting
                                           delivery obligations to clients, thereby exacerbating      370 Some commenters challenged the proposition       advice was intended as an efficient and
                                           the businesses’ difficulty in meeting an already        that proxy voting advice businesses currently           timely means of providing the
                                           aggressive timeline so close to the date of the         provide disinterested, independent advice. See, e.g.,
                                           shareholder meeting. In addition, the determination                                                             businesses’ clients with additional
                                                                                                   letters from BIO; BRT; CEC; CCMC; J. Ward; NAM;
                                           of which kinds of materials would be covered by         Nareit; Nasdaq; SCG. As to commenters’ concerns
                                                                                                                                                           information that would assist them in
                                           such a rule could lead to confusion and make            that the proposed advance review mechanism could        assessing and contextualizing the voting
                                           administration of the rule unnecessarily complex        compromise the ability of proxy voting advice           advice.372 In particular, the inclusion of
                                           and time-consuming.                                     businesses to provide disinterested, independent
                                              367 See supra notes 276–279 and accompanying
                                                                                                                                                           the hyperlink with the proxy voting
                                                                                                   advice, we note that according to its current
                                           text.                                                   procedures governing registrants’ advance review of     advice would have permitted clients,
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                                              368 See supra note 287 and accompanying text. A      its draft proxy analysis, rating, or other research     including investment advisers voting
                                           number of commenters expressed concerns that the        report, ISS states that it retains sole discretion      shares on behalf of other shareholders,
                                           proposed advance review and feedback process            whether to accept any change recommended by the         to consider the registrants’ views at the
                                           would conflict with FINRA Rule 2241, which              registrant. See infra note 530 and accompanying
                                           prohibits review of an analyst’s research report by     text.                                                   same time as the proxy voting advice
                                           a subject company for purposes other than factual          371 See supra notes 284, 286 and accompanying

                                           verification. See letters from AFL–CIO II; As You       text.                                                    372 Proposing   Release at 66533.



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                                           and before making their voting                           and procedures reasonably designed to                    advice business may have noted or may
                                           determinations. As the Commission has                    ensure that it provides clients with a                   not have noted in its advice. In
                                           noted, although registrants are able                     mechanism by which they can                              circumstances where the registrant
                                           under the existing proxy rules to file                   reasonably be expected to become aware                   largely or entirely agrees with the proxy
                                           supplemental proxy materials to                          of a registrant’s written statements about               voting advice business’s methodology or
                                           respond to proxy voting                                  the proxy voting advice in a timely                      conclusions, that fact would likely be
                                           recommendations that they may know                       manner 376 before the shareholder                        relevant to and enhance a client’s
                                           about and to alert investors to any                      meeting (or, if no meeting, before the                   decision-making.
                                           disagreements with such proxy voting                     vote, consent, or authorization may be                      A number of commenters argued that
                                           advice, the efficacy of these responses                  used to effect the proposed action).                     registrants’ ability to file supplemental
                                           may be limited, particularly given the                      By shifting to a principles-based                     proxy materials is sufficient to facilitate
                                           high incidence of voting that takes place                requirement, the rule allows the proxy                   informed shareholder voting
                                           very shortly after a proxy voting advice                 voting advice business to determine its                  decisions.378 Commenters have
                                           business’s voting advice is released to                  specific manner of compliance, while                     indicated, however, that the clients of
                                           clients and before such supplemental                     preserving the Commission’s objective                    proxy voting advice businesses often
                                           proxy materials can be filed.373                         to facilitate the ability of the business’s              cast their votes before registrants can
                                              As with the Commission’s proposed                     clients to benefit from more complete                    file such materials.379 Rule 14a–
                                           review and response mechanism,                           information when considering how to                      2(b)(9)(ii)(B) requires that proxy voting
                                           however, commenters have raised                          vote their proxies. As such, it reflects                 advice businesses provide clients with a
                                           practical challenges and limitations that                the Commission’s view that                               mechanism by which they can
                                           the parties would face in implementing                   shareholders should have ready access                    reasonably be expected to become aware
                                           processes and systems necessary to                       to a more complete mix of information                    that a registrant has filed such materials
                                           comply with the proposed rule’s                          to make informed voting decisions. Rule                  about the proxy voting advice in time to
                                           prescriptive requirements.374                            14a–2(b)(9)(ii)(B) is thus intended to                   consider the materials before they cast
                                           Accordingly, we believe that our                         help ensure that proxy voting advice                     their final vote. Due to the existing time
                                           objectives are better addressed by a                     businesses provide clients with a                        constraints that proxy voting advice
                                           principles-based requirement,                            mechanism by which they can                              business clients have identified in their
                                           particularly in light of the complexities                reasonably be expected to become aware                   comments to the proposed rule,380 the
                                           and time pressures inherent in the                       of and access more complete                              rule will ensure that such clients have
                                           proxy system. By broadly outlining the                   information, including the input and                     an efficient means by which they can
                                           overarching principles and allowing the                  views of registrants on proxy voting                     reasonably be expected to become aware
                                           proxy voting advice businesses                           advice, in the compressed time period                    of additional information that may affect
                                           themselves to design a system of                         between when they receive the advice                     their analysis of the proxy voting
                                           compliance best suited to their                          and vote their proxies.                                  advice, and thereby their voting
                                           operations, our aim is to promote                           We believe access to the registrant’s                 decisions, in the manner that each
                                           adherence to these principles in a                       views on proxy advice may benefit a                      proxy voting advice business
                                           flexible and minimally intrusive                         proxy voting advice business’s clients                   determines is most cost-efficient and
                                           manner.                                                  regardless of whether the voting                         best serves its clients.
                                              Consequently, paragraph (B) of Rule                   recommendation is adverse to the                            As with Rule 14a–2(b)(9)(ii)(A), we
                                           14a–2(b)(9)(ii) sets forth an additional                 registrant’s recommendation. The                         recognize that proxy voting advice
                                           principle that a proxy voting advice                     registrant may have disagreements that                   businesses may benefit from greater
                                           business must observe in order to avail                  extend beyond the voting                                 legal certainty about how to satisfy this
                                           itself of the exemptions found in Rules                  recommendation itself, such as noting                    general principle. We are therefore
                                           14a–2(b)(1) and (3). Specifically, a proxy               factual errors in the advice, differing                  providing a non-exclusive safe harbor in
                                           voting advice business must adopt and                    views about the proxy voting advice                      new 17 CFR 240.14a–2(b)(9)(iv) (‘‘Rule
                                           publicly 375 disclose written policies                   business’s methodological approach or                    14a–2(b)(9)(iv)’’) pursuant to which
                                                                                                    other perspectives that it believes are                  proxy voting advice businesses will be
                                              373 Id. at n.136. As we noted in the Proposing        relevant to the voting advice.377 Or the                 deemed to satisfy the principle-based
                                           Release, although shareholders have the ability to       registrant may wish to emphasize a
                                           change their vote at any time prior to a meeting—                                                                 requirement of paragraph (ii)(B). To
                                           including as a result of supplemental proxy
                                                                                                    particular point that the proxy voting                   satisfy this safe harbor, a proxy voting
                                           materials filed by registrants in response to proxy                                                               advice business must have written
                                           voting advice—to our knowledge, this seldom              supra note 340, we believe that the public               policies and procedures reasonably
                                           occurs. Id. at 66530 n.107. It is possible, however,     disclosure of such policies and procedures will
                                           that under the final amendments, as a result of          assist potential clients of proxy voting advice          designed to inform clients who have
                                           proxy voting advice businesses’ compliance with          businesses in evaluating the service offerings that      received proxy voting advice about a
                                           Rule 14a–2(b)(9)(ii)(B), clients of proxy voting         the various providers make available. Similarly,         particular registrant in the event that
                                           advice businesses will be made aware of a                such public disclosure may assist the investors on
                                           registrant’s response to proxy voting advice and,        whose behalf such clients act in evaluating whether
                                                                                                                                                             such registrant notifies the proxy voting
                                           therefore, more likely to change votes that were cast    any proxy voting decisions made on their behalf are      advice business that the registrant either
                                           after receiving such advice.                             informed by both the relevant proxy voting advice        intends to file or has filed additional
                                              374 See, e.g., letters from CII IV; Glass Lewis II.   and any registrant response thereto.                     soliciting materials with the
                                              375 See supra note 340 for an example of how             376 In this context, a proxy voting advice business
                                                                                                                                                             Commission setting forth its views
                                           proxy voting advice businesses may satisfy the           will have become aware of a registrant’s response
                                           requirement that such policies and procedures be         to the proxy voting advice in a ‘‘timely manner’’ if
                                                                                                                                                               378 See, e.g., letters from Public Retirement
                                           ‘‘publicly’’ disclosed and a discussion of the           such client has sufficient time to consider such
                                           reasons why we believe such requirement is               response in connection with a vote.                      System; AFL–CIO 2; CII IV; Glass Lewis II; ISS; New
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                                           important in the context of paragraph (A) of Rule           377 See, e.g., IAC Recommendation (‘‘The very         York Comptroller I. See also note 373.
                                                                                                                                                               379 See, e.g., letters from NAREIT, NAM, Exxon
                                           14a–2(b)(9)(ii). With respect to paragraph (B), it is    differences in such judgments [between corporate
                                           likely that the clients of proxy voting advice           managers and proxy advisors] are part of the value       Mobil. See also Proposing Release at 53, n. 136.
                                           businesses would be provided with such policies          that independent advisors add to the proxy system          380 See, e.g., letters from ACSI; BMO; CII VI;

                                           and procedures even absent a requirement that they       . . . . By advancing their views . . . proxy advisors    Florida Board; Glass Lewis II; Hermes; ICI; New
                                           be publicly disclosed. That said, in addition to the     create meaningful public discussion of such              York Comptroller II; Ohio Public Retirement;
                                           ancillary transparency-based benefits discussed          topics. . . .’’).                                        Olshan LLP; PRI II; Stewart; TIAA; TRP.



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                                           regarding such advice.381 The safe                         approved the information.384 As we                       motivated by our recognition of a
                                           harbor sets forth two methods by which                     explained in the Proposing Release, we                   potentially significant adverse result for
                                           the proxy voting advice business may                       believe our view is consistent with this                 a proxy voting advice business if it were
                                           provide such notice to its clients. It may                 framework as a proxy voting advice                       to lose the ability to rely on the
                                           either:                                                    business likely would not be involved                    exemptions set forth in Rules 14a–
                                              (A) Provide notice on its electronic                    in the preparation of the hyperlinked                    2(b)(1) or (b)(3) and be required to
                                           client platform that the registrant has                    statement and likely would be including                  comply with the federal proxy rules’
                                           filed, or has informed the proxy voting                    the hyperlink to comply with the                         information and filing requirements.386
                                           advice business that it intends to file,                   requirements of the Rule 14a–2(b)(9)(iv)                 Although we recognize those potentially
                                           additional soliciting materials (and                       safe harbor, and not to endorse or                       adverse results, we no longer view that
                                           include an active hyperlink to those                       approve the content of the statement.                    provision as necessary in light of the
                                           materials on EDGAR when                                    Our view also extends to a proxy voting                  principles-based approach of the final
                                           available); 382 or                                         advice business that chooses to satisfy                  rules. Rule 14a–2(b)(9)(ii), as adopted,
                                              (B) Provide notice through email or                     the principle-based requirement of Rule                  requires proxy voting advice businesses
                                           other electronic means that the                            14a–(b)(9)(ii)(B) outside of the Rule 14a–               to adopt written policies and procedures
                                           registrant has filed, or has informed the                  2(b)(9)(iv) safe harbor by adopting                      that are reasonably designed to ensure
                                           proxy voting advice business that it                       written policies and procedures that                     satisfaction of paragraphs (A) and (B)
                                           intends to file, additional soliciting                     contemplate the delivery of a hyperlink                  thereof. We believe the framework we
                                           materials (and include an active                           to the registrant’s statement to its                     are adopting is sufficiently flexible to
                                           hyperlink to those materials on EDGAR                      clients.                                                 accomplish the Commission’s objectives
                                           when available).383                                           We note that proxy voting advice                      in ensuring shareholders have available
                                              The safe harbor in Rule 14a–                            businesses will retain a significant                     to them more transparent, accurate, and
                                           2(b)(9)(iv) establishes a convenient                       amount of discretion to formulate their                  complete information on which to base
                                           mechanism by which the clients of a                        own policies and procedures and dictate                  their voting determinations and thereby
                                           proxy voting advice business can stay                      the mechanics of notification in ways                    promote informed decision-making,
                                           informed of, and timely consider,                          they believe are most suitable to meet                   without unnecessarily interfering with
                                           additional information with respect to                     their clients’ needs and compatible with                 or burdening the complex infrastructure
                                           the proxy voting advice that the                           their operations, including specifying                   that is important to the proper
                                           registrant believes is material to the                     the preferred channel by which                           functioning of the proxy system. We
                                           shareholders’ voting determination. The                    registrants must notify the proxy voting                 also believe that the principle of
                                           safe harbor provides a direct and simple                   advice business of supplemental proxy                    ensuring that proxy voting advice
                                           means of alerting clients to the                           filings, provided they comply with the                   businesses provide clients with a
                                           availability of the views of the registrant                broad outlines of the safe harbor.                       mechanism by which they can
                                           as they consider the voting advice.                           As discussed above, although proxy                    reasonably be expected to become aware
                                              The inclusion of the hyperlink                          voting advice businesses may prefer the                  of registrants’ written statements
                                           required under Rule 14a–2(b)(9)(iv)                        legal certainty afforded by the safe                     regarding the proxy voting advice in a
                                           would not, by itself, make the proxy                       harbor in Rule 14a–2(b)(9)(iv), these                    timely manner will facilitate in
                                           voting advice business liable for the                      provisions are not the exclusive means                   particular the use and review of such
                                           content of the hyperlinked registrant’s                    by which such businesses may satisfy                     advice by investment advisers.387
                                           statement. The Commission has                              the principle-based requirement set
                                           previously stated a person’s                               forth in Rule 14a–2(b)(9)(ii)(B). Proxy                  effort to comply and (B) to the extent that it is
                                           responsibility for hyperlinked                             voting advice businesses may instead                     feasible to do so, the proxy voting advice business
                                           information depends on whether the                         develop their own policies and                           uses reasonable efforts to substantially comply with
                                           person has involved itself in the                          procedures outside of the safe harbor                    the condition as soon as practicable after it becomes
                                           preparation of the information or                                                                                   aware of its noncompliance.’’).
                                                                                                      that are reasonably designed to ensure                      386 Id. at n.146 (‘‘[W]ithout such an exception, a
                                           explicitly or implicitly endorsed or                       that they provide clients with a                         proxy voting advice business that failed to give a
                                                                                                      mechanism by which they can                              registrant the full number of days for review of the
                                              381 If a registrant notifies a proxy voting advice
                                                                                                      reasonably be expected to become aware                   proxy voting advice due to technical complications
                                           business that the registrant intends to file additional                                                             beyond its control, even if only a few hours shy of
                                           soliciting materials setting forth its views regarding     of a registrant’s written response to the                the requirement, would be unable to rely on the
                                           the proxy voting advice business’s advice, then            proxy voting advice in a timely manner.                  exemptions in Rule 14a–2(b)(1) and (b)(3). Without
                                           proxy voting advice business should consider               We acknowledge that there are different                  an applicable exemption on which to rely, the
                                           whether, for purposes of complying with this safe          ways that a proxy voting advice                          proxy voting advice business likely would be
                                           harbor requirement, it needs to send two separate                                                                   subject to the proxy filing requirements found in
                                           notices to the business’s clients: (1) One notice          business could structure such a policy                   Regulation 14A and its proxy voting advice
                                           regarding the registrant’s intent to file and (2)          consistent with the rule, and the safe                   required to be publicly filed.’’).
                                           another notice regarding the registrant’s actual           harbor is not intended to become the de                     387 The Commission previously issued guidance
                                           filing. Depending on the particular facts and              facto means by which the requirement                     discussing how the fiduciary duty and rule 206(4)–
                                           circumstances, the first notice may be needed to                                                                    6 under the Advisers Act relate to an investment
                                           inform clients of the fact that the registrant may be      of Rule 14a–2(b)(9)(ii)(B) may be met.
                                                                                                                                                               adviser’s exercise of voting authority on behalf of
                                           providing views that could be material to their               The proposed rules included a                         clients and also provided examples to help facilitate
                                           voting decisions and to allow the clients to               provision that would have excused                        investment advisers’ compliance with their proxy
                                           determine whether they wish to await these views           immaterial or unintentional failures to                  voting responsibilities. See Commission Guidance
                                           before submitting their votes, and with the second                                                                  on Proxy Voting Responsibilities. We expect that
                                           notice providing the clients with the hyperlink to
                                                                                                      comply with the conditions of Rule
                                                                                                                                                               Rule 14a–2(b)(9)(ii)(A) will result in registrants
                                           the registrant’s soliciting material once it is filed on   14a–2(b)(9).385 This provision was                       being made aware of recommendations by proxy
                                           EDGAR. We note that Rule 14a–2(b)(9)(ii)(B), which                                                                  voting advice businesses in a timeframe that will
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                                           is a principles-based requirement, gives proxy               384 See Use of Electronic Media, Release No. 34–
                                                                                                                                                               permit those registrants to make any views
                                           voting advice businesses the option of formulating         42728 (Apr. 28, 2000) [65 FR 25843 (May 4, 2000)].       regarding those recommendations available in a
                                           alternatives to this approach as long as those               385 Proposing Release at 66535 (‘‘[T]he proposed       more timely manner than was previously the case.
                                           alternatives achieve the principle set forth in the        amendments provide that such failure will not            We therefore are concurrently supplementing that
                                           rule.                                                      result in the loss of the exemptions in Rules 14a–       guidance to investment advisers in a separate
                                              382 Rule 14a–2(b)(9)(iv)(A).
                                                                                                      2(b)(1) or 14a–2(b)(3) so long as (A) the proxy voting   Commission release. See Supplemental Proxy
                                              383 Rule 14a–2(b)(9)(iv)(B).                            advice business made a good faith and reasonable         Voting Guidance.



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                                              We wish to emphasize that the                        all contexts. As such, pursuant to new                  custom policies that are proprietary to a
                                           principles-based approach we are                        Rules 14a–2(b)(9)(v) and (vi),                          proxy voting advice business’s client.394
                                           adopting in Rule 14a–2(b)(9)(ii) is                     respectively, proxy voting advice                          Our adoption of new Rule 14a–
                                           intended to be adaptable to a variety of                businesses need not comply with Rule                    2(b)(9)(v) is not only motivated by the
                                           circumstances and business models.                      14a–2(b)(9)(ii) in order to rely on either              potential costs that commenters
                                           Various policies and procedures,                        the Rule 14a–2(b)(1) or (b)(3) exemption                identified, it also reflects our belief that
                                           beyond those in the safe harbors set                    (1) to the extent that their proxy voting               many of the goals of this rulemaking
                                           forth in Rules 14a–2(b)(9)(iii) and (iv),               advice is based on a custom policy 388                  will still be achieved with respect to
                                           may be used to satisfy these principles.                or (2) if they provide proxy voting                     proxy voting advice that is based on a
                                           Whether a proxy voting advice business                  advice as to non-exempt solicitations                   custom policy, notwithstanding the fact
                                           has complied with the principles-based                  regarding certain mergers and                           that such advice will not be subject to
                                           requirements will be determined by the                  acquisitions or contested matters.389                   Rule 14a–2(b)(9)(ii). For example, as
                                           particular facts and circumstances of the                                                                       noted above and consistent with prior
                                           business’s adopted written policies and                 i. Custom Policies                                      Commission statements,395 such proxy
                                           procedures and whether such facts and                      As noted above,390 some commenters                   voting advice will constitute a
                                           circumstances support the conclusion                    recommended—in the context of our                       ‘‘solicitation’’ subject to Rule 14a–9, and
                                           that the particular policies and                        proposed amendments to Rule 14a–                        persons who provide such advice in
                                           procedures are reasonably designed to                   1(l)—that we amend the definitions of                   reliance on the exemptions in either
                                           ensure that (1) registrants that are the                ‘‘solicit’’ and ‘‘solicitation’’ to exclude             Rule 14a–2(b)(1) or (b)(3) must comply
                                           subject of the proxy voting advice have                 proxy voting advice based on custom                     with the conflicts of interest disclosure
                                           such advice made available to them at                   policies.391 Specifically, one commenter                requirements set forth in new Rule 14a–
                                           or prior to the time when such advice                   that is a proxy voting advice business                  2(b)(9)(i). We further note that proxy
                                           is disseminated to the proxy voting                     noted that it ‘‘does not own, and is                    voting advice businesses generally use
                                           advice business’s clients and (2) the                   prohibited from disclosing, clients’                    substantially the same data to produce
                                           proxy voting advice business provides                   custom policies and the                                 most of their voting advice (including
                                           its clients with a mechanism by which                   recommendations based thereon.’’ 392                    reports containing proxy voting advice
                                           they can reasonably be expected to                      That commenter also expressed doubt as                  based on benchmark, specialty, or
                                           become aware that registrants have filed                to the efficacy, from an investor                       custom policies).396 In addition, it is our
                                           additional proxy materials that are                     protection standpoint, of ‘‘allowing                    understanding of the proxy voting
                                           responsive to the proxy voting advice in                issuers to vet the methodologies and                    advice market as it currently operates
                                           a timely manner before the shareholder                  assumptions institutional investors                     that proxy voting advice businesses’
                                           meeting. Some relevant factors to be                    choose to implement for their own                       clients that receive proxy voting advice
                                           used in the analysis include:                           portfolios.’’ 393 Although we reaffirm                  pursuant to their custom policies
                                              • The degree to which a registrant has               our prior interpretation of the scope of                generally also receive the businesses’
                                           time to respond and whether the policy                  the terms ‘‘solicit’’ and ‘‘solicitation’’              voting advice based on the businesses’
                                           ensures prompt conveyance of                            and decline to amend their definitions                  benchmark policies. Such benchmark
                                           information to the registrant.                          as those commenters suggested, we find                  policy proxy voting advice contains the
                                              • The extent to which the mechanism                  these points to be compelling with                      bulk of the data, research, and analysis
                                           provided to clients is an efficient means               respect to the application of certain                   underlying custom policy proxy voting
                                           by which they can reasonably be                         requirements of Rule 14a–2(b)(9). We                    advice. Thus, because the proxy voting
                                           expected to become aware of the                         also understand these commenters’                       advice based on the benchmark
                                           registrant’s written response, once it is               concerns regarding the potential costs                  policies—including the data, research,
                                           filed, such that the client has sufficient              that would be imposed upon investors,                   and analysis therein—would be subject
                                           time to consider such response in                       as well as their doubts regarding the                   to Rule 14a–2(b)(9)(ii), clients that
                                           connection with a vote.                                 corresponding investor protection-based                 receive proxy voting advice pursuant to
                                              • The reasonableness, based on facts                 benefits, if the requirements of Rule                   their custom policies generally will
                                           and circumstances, of any fees charged                  14a–2(b)(9)(ii) were to be applied to
                                           by a proxy voting advice business to a                  proxy voting advice based on a custom
                                                                                                                                                              394 Rule 14a–2(b)(9)(v). The term ‘‘custom

                                           registrant as a condition to receiving a                                                                        policies’’ for purposes of Rule 14a–2(b)(9)(v) would
                                                                                                   policy.                                                 not include a proxy voting advice business’s
                                           copy of its proxy voting advice and the                    In light of these concerns, we are                   benchmark or specialty policies, even if those
                                           extent to which such fees may dissuade                  adopting new Rule 14a–2(b)(9)(v),                       benchmark or specialty policies were to be adopted
                                           a registrant from seeking to review and                 which excludes from the scope of Rule                   by a proxy voting advice business’s client as its own
                                           provide a response to such proxy voting                                                                         policy. See supra note 12. If, however, a proxy
                                                                                                   14a–2(b)(9)(ii) proxy voting advice to                  voting advice business’s client adopts a benchmark
                                           advice.                                                 the extent that such advice is based on                 or specialty policy as its own policy, then the proxy
                                              We reiterate that these factors are not                                                                      voting advice business would have to satisfy the
                                           exclusive and no single factor or                         388 See  Rule 14a–2(b)(9)(v).
                                                                                                                                                           requirements of Rule 14a–2(b)(9)(ii) only with
                                           combination of factors will control the                   389 See
                                                                                                                                                           respect to the proxy voting advice that is based on
                                                                                                              Rule 14a–2(b)(9)(vi).                        the benchmark or specialty policy. For the
                                           determination of whether a proxy voting                    390 See supra note 112 and accompanying text.
                                                                                                                                                           avoidance of doubt, Rule 14a–2(b)(9)(ii)(A) does not
                                           advice business has complied with the                      391 See letters from ISS; New York Comptroller II;
                                                                                                                                                           require that the proxy voting advice business make
                                           principles-based requirements.                          State Street. See also supra note 165 for a link to     available to the registrant multiple copies of the
                                                                                                   a description of the services that one major proxy      same voting advice, and for purposes of Rule 14a–
                                           c. Exclusions From Rule 14a–2(b)(9)(ii)                 voting advice business offers in connection with its    2(b)(9)(ii)(B), the proxy voting advice business’s
                                           [Rules 14a–2(b)(9)(v) and (vi)]                         clients’ custom policies.                               policies and procedures should be reasonably
                                                                                                      392 Letter from ISS. See also letter from Glass      designed to provide such client with a mechanism
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                                              Notwithstanding the benefits that we                 Lewis II (‘‘Mandating that custom voting                by which the client could reasonably be expected
                                           expect will accrue to clients of proxy                  recommendations go through the issuer review and        to become aware of any written statement regarding
                                                                                                   feedback mechanisms would expose these                  the benchmark or specialty policy.
                                           voting advice businesses, as well as the
                                                                                                   investors’ confidential, proprietary information and       395 See supra text accompanying note 166.
                                           proxy voting system as a whole, we                      force Glass Lewis to breach its commitments to             396 See letter from ISS (‘‘Because substantially the
                                           recognize that the requirements of Rule                 these clients.’’).                                      same data are used to produce all ISS voting reports
                                           14a–2(b)(9)(ii) may not be appropriate in                  393 Letter from ISS.                                 . . . .’’).



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                                           benefit from an awareness of any                           concerns will be significantly alleviated,              businesses would be permitted (but not
                                           responses that the registrants may file                    if not eliminated entirely, by the fact                 required) to adopt written policies and
                                           thereto.                                                   that Rule 14a–2(b)(9)(ii), as adopted,                  procedures pursuant to which the
                                                                                                      does not include the proposed advance                   businesses would not make available to
                                           ii. Merger and Acquisition Transactions
                                                                                                      review and feedback mechanism and,                      registrants any portion of the proxy
                                           and Contested Solicitations
                                                                                                      with its principles-based requirements,                 voting advice relating to M&A
                                              Solicitations involving merger and                      provides proxy voting advice businesses                 transactions and contested matters at or
                                           acquisition (‘‘M&A’’) transactions or                      with added flexibility. For example,                    prior to the time such advice is
                                           contested matters, such as contested                       absent the proposed advanced review                     disseminated to clients and to exclude
                                           director elections where a dissident                       and feedback mechanism, Rule 14a–                       the registrant’s response to such advice
                                           soliciting party proposes its own slate of                 2(b)(9)(ii)(A) does not increase the risk               from the requirement of Rule 14a–
                                           director-nominees, are generally fast-                     that proxy voting advice businesses will                2(b)(9)(ii)(B). To be eligible to rely on
                                           moving and can be subject to frequent                      disseminate potentially market-moving                   Rule 14a–2(b)(9)(vi), a proxy voting
                                           changes and short time windows.397                         or material, non-public information                     advice business must be providing
                                           This often results in proxy voting advice                  selectively to registrants (or any other                advice with respect to a solicitation
                                           businesses having to deliver their advice                  soliciting persons) before they otherwise               subject to Rule 14a–3(a). This
                                           to clients on a tighter deadline, and with                 would disseminate such information to                   requirement is intended to limit the
                                           less lead time before the applicable                       their clients.                                          scope of Rule 14a–2(b)(9)(vi) to proxy
                                           meeting, than they would under normal                         To further address concerns raised by                voting advice with respect to
                                           circumstances.398 As noted above, some                     commenters, we are also adopting new                    solicitations that are subject to the
                                           commenters expressed concerns                              17 CFR 240.14a–2(b)(9)(vi) (‘‘Rule 14a–                 Federal proxy rules’ information and
                                           regarding the practical challenges and                     2(b)(9)(vi)’’), which excludes from the                 filing requirements, including the
                                           potential disruptions that the proposed                    requirements of Rule 14a–2(b)(9)(ii) any                requirement to file and furnish a
                                           review and feedback mechanism, with                        portion of the proxy voting advice that                 definitive proxy statement. By contrast,
                                           its specified time frames for each step of                 makes a recommendation, as well as any                  proxy voting advice businesses
                                           the process, would have caused in the                      analysis and research underlying such                   providing advice with respect to any
                                           context of M&A transactions or                             recommendation that is furnished along                  exempt solicitations (including
                                           contested solicitations.399 Commenters                     therewith, as to a solicitation subject to              solicitations as to M&A transactions or
                                           also expressed concerns about the                          Rule 14a–3(a) 401:                                      contested matters) would be ineligible
                                           heightened risk that the proposed                                                                                  to rely on the exception in Rule 14a–
                                                                                                         (A) To approve any transaction
                                           review and feedback mechanism, which                                                                               2(b)(9)(vi).
                                                                                                      specified in Rule 145(a) of the Securities
                                           would involve reviews of proxy voting                                                                                 For the avoidance of doubt, this
                                                                                                      Act; 402 or
                                           advice before it is disseminated to                                                                                exception from the requirements of Rule
                                                                                                         (B) By any person or group of persons
                                           clients, could pose regarding the                                                                                  14a–2(b)(9)(ii) applies only to the
                                                                                                      for the purpose of opposing a
                                           disclosure of market-moving or material,                                                                           portions of the proxy voting advice
                                                                                                      solicitation subject to Regulation 14A by
                                           non-public information in the context of                                                                           relating to the applicable M&A
                                                                                                      any other person or group of persons.403
                                           M&A transactions or contested                                                                                      transaction 404 or contested matters and
                                                                                                         As a result of new Rule 14a–
                                           solicitations.400 We expect that these                                                                             not to proxy voting advice regarding
                                                                                                      2(b)(9)(vi), proxy voting advice
                                              397 See, e.g., letter from Glass Lewis II (‘‘[O]ur
                                                                                                                                                              other matters presented at the relevant
                                           experience is that contested situations are often          disclosure would necessarily increase the risk that     meeting. If, therefore, there is a
                                           much more fluid with both sides making                     the information will be misused or leaked, whether      shareholder meeting at which the only
                                                                                                      accidentally or deliberately.’’); ISS (noting that it
                                           supplemental filings on a continuing basis as the
                                                                                                      currently ‘‘safeguard[s] [material, non-public
                                                                                                                                                              items presented for approval are the
                                           meeting date approaches.’’).                                                                                       applicable M&A transaction or
                                              398 See, e.g., id. (‘‘Glass Lewis’ data shows that      information] by not pre-releasing potentially
                                           report preparation and delivery timing varies              market-moving draft reports and vote                    contested matters, a proxy voting advice
                                           significantly for mergers and acquisitions and other       recommendations’’ and allowing ‘‘selected issuers a     business could have written policies
                                                                                                      limited review right of draft reports only for annual
                                           special situations. On average, proxy research
                                                                                                      meetings, not special meetings’’ and asserting that
                                                                                                                                                              and procedures that permit the entirety
                                           reports were delivered to clients 14 days before the                                                               of the proxy voting advice provided
                                           meeting date [in] M&A transactions and 13 days in          the proposal ‘‘rais[es] significant concerns about
                                           contested situations.’’).                                  confidentiality’’ and ‘‘selective disclosure of         with respect to that meeting to be
                                              399 See supra note 279 and accompanying text.           material non-public information’’); Glass Lewis II
                                                                                                      (‘‘[W]e note that commentators have raised                 404 We recognize that a registrant or other
                                           See also letters from ISS (stating that the proposal
                                                                                                      significant questions about how the advance             soliciting person may present at the shareholder
                                           would hinder ‘‘the ability of proxy advice to be
                                                                                                      knowledge gained in the review processes could be       meeting other matters that, while not directly
                                           appropriately responsive to important and often
                                           fast-moving situations such as proxy fights and            misused in contested situations that should be          approving an M&A transaction or a contested
                                           contested mergers and acquisitions’’); Glass Lewis         addressed and resolved before adopting any rule         matter, are nevertheless closely related to such
                                           II (‘‘[I]t is important for a proxy advisor, when          mandating review in this context.’’). As they likely    transaction or contested matter. For example, a
                                           appropriate to best meet its clients’ needs, to be able    are already aware (based on the concerns expressed      registrant’s definitive proxy statement may seek
                                           to defer providing its advice until near-final             in the foregoing comment letters), we remind proxy      approval of a proposed M&A transaction, approval
                                           information is available and to be able to quickly         voting advice businesses that they have a               of the issuance of the registrant’s securities to
                                           amend already-provided advice, as needed.’’).              responsibility to safeguard any material, non-public    finance the M&A transaction, and an advisory vote
                                              400 See letters from CII I (‘‘It is not clear whether   information in their possession. Although that          on the ‘‘golden parachute’’ payments to be made in
                                                                                                      responsibility is heightened in the context of          connection with the M&A transaction. In such a
                                           the PA Proposal creates the potential for insider
                                                                                                      shareholder meetings regarding M&A transactions         situation, the latter two matters may be sufficiently
                                           trading on certain market-moving recommendations
                                           and related analysis, particularly in connection           or contested matters, when such information is          integral to the M&A transaction such that redaction
                                           with mergers and acquisitions (M&A), and how the           particularly sensitive and potentially market-          of the proxy voting advice on the M&A transaction
                                           SEC staff thought about such a risk in proposing the       moving, we expect proxy voting advice businesses        alone would render the proxy voting advice on the
                                           five-day review and ‘final notice’ periods.’’); Elliott    to discharge that responsibility in all situations.     remaining matters to be confusing for a registrant
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                                                                                                         401 17 CFR 240.14a–3(a).
                                           I (‘‘The risks of insider trading and leaks involving                                                              reading such advice. In such a case, the Rule 14a–
                                                                                                         402 Rule 14a–2(b)(9)(vi)(A). Rule 145(a) lists and
                                           proxy voting advice are also higher when a                                                                         2(b)(9)(vi) exception would be available for all three
                                           shareholder vote involves a material event. The            describes certain M&A transactions that are broadly     matters. The determination of whether a matter is
                                           Proposal would put the draft proxy voting advice—          categorized as reclassifications, mergers of            sufficiently integral to an M&A transaction or
                                           potentially market-moving information—in the               consolidation, and transfers of assets. See 17 CFR      contested matter to fall within the Rule 14a–
                                           hands of issuers before it is provided to the              230.145(a).                                             2(b)(9)(vi) exception will depend on the particular
                                           investors who will act on it. This selective                  403 Rule 14a–2(b)(9)(vi)(B).                         facts and circumstances.



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                                           excluded from the requirements set                           As with proxy voting advice that is                    Commenters also argued that requiring
                                           forth in Rule 14a–2(b)(9)(ii). If, however,               based on a custom policy, proxy voting                    proxy voting advice businesses to share
                                           additional matters are presented for                      advice that is excluded from the scope                    with registrants proxy voting advice that
                                           shareholder approval at such meeting,                     of Rule 14a–2(b)(9)(ii) pursuant to new                   is based on custom policies would
                                           then only the portion of the proxy                        paragraph (vi) will constitute a                          unconstitutionally compel them to
                                           voting advice provided with respect to                    ‘‘solicitation’’ subject to Rule 14a–9.                   disclose confidential client
                                           the applicable M&A transaction or                         Similarly, persons who provide such                       information.410 Our decision to exclude
                                           contested matters could be excluded                       advice in reliance on the exemptions in                   such advice from Rule 14a–2(b)(9)(ii)
                                           from the requirements set forth in Rule                   either Rule 14a–2(b)(1) or (b)(3) must                    should eliminate that concern.411
                                           14a–2(b)(9)(ii).                                          comply with the conflicts of interest                     Moreover, under the safe harbor in Rule
                                              We understand that proxy voting                        disclosure requirements set forth in new                  14a–2(b)(9)(iii), a proxy voting advice
                                           advice businesses often provide their                     Rule 14a–2(b)(9)(i).                                      business has no obligation to provide a
                                           proxy voting advice on all matters for                                                                              copy of its advice to a registrant unless
                                           which security holders are solicited at a                 d. Response to Constitutional Objections
                                                                                                                                                               such registrant acknowledges certain
                                           particular meeting (e.g., contested and                      Some commenters raised First                           limits on its use of the advice.412 Nor
                                           uncontested matters, M&A- and non-                        Amendment objections to the proposed                      must a proxy voting advice business
                                           M&A-related matters, etc.) together in a                  amendments.408 Their concerns focused                     that avails itself of such safe harbor
                                           single report.405 If a proxy voting advice                primarily on the proposed registrant                      share its proxy voting advice if the
                                           business takes this approach but wishes                   review and feedback provisions and the                    registrant files its definitive proxy
                                           to avail itself of the exception set forth                requirement that proxy voting advice                      statement less than 40 calendar days
                                           in Rule 14a–2(b)(9)(vi), it can do so, for                businesses include in their advice a                      before the shareholder meeting.
                                           example, by redacting the portion of the                  hyperlink to the registrant’s response.                      In addition, we have replaced the
                                           report that contains proxy voting advice                  The final amendments incorporate                          proposed requirement that proxy voting
                                           as to the applicable M&A transaction or                   substantial modifications that address                    advice businesses include in their proxy
                                           contested matters in the version of such                  these concerns.                                           voting advice a hyperlink to the
                                           report that is provided to a registrant                      As discussed above, the proposed                       registrant’s response with a principles-
                                           pursuant to Rule 14a–2(b)(9)(ii)(A). We                   amendments requiring that proxy voting                    based obligation to adopt policies and
                                           further understand that at least one                      advice businesses give registrants an                     procedures reasonably designed to
                                           proxy voting advice business currently                    opportunity to review and provide                         ensure that proxy voting advice
                                           provides its clients with a separate,                     feedback on their advice before the                       businesses provide clients with a
                                           standalone report that provides                           advice is disseminated to clients have                    mechanism by which they can
                                           recommendations only with respect to                      not been included in the final                            reasonably be expected to become aware
                                           the M&A transactions or contested                         amendments. Under the final                               of the registrant’s written response in a
                                           matters presented at the meeting.406 If a                 amendments, proxy voting advice                           timely manner. Rule 14a–2(b)(9)(ii)(B)
                                           proxy voting advice business adopts this                  businesses can satisfy Rule 14a–                          gives proxy voting advice businesses
                                           approach with respect to M&A                              2(b)(9)(ii)(A) by ensuring that their                     flexibility in determining how to
                                           transactions and contested matters,                       advice is made available to registrants at                achieve compliance with this
                                           then, under Rule 14a–2(b)(9)(vi), the                     or prior to the time when such advice                     requirement in the manner best suited
                                           requirements of Rule 14a–2(b)(9)(ii)                      is disseminated to the proxy voting                       to their business. They also have the
                                           would not be applicable to such                           advice business’s clients.409                             option of relying on the safe harbor set
                                           standalone report. Finally, to the extent                                                                           forth in Rule 14a–2(b)(9)(iv), which
                                           that a proxy voting advice business                       by the changes we made from the proposal. For
                                                                                                     example, to the extent that proxy voting advice           involves adopting policies and
                                           finds it too burdensome to either redact                  businesses generally deliver their advice with            procedures to provide clients a
                                           or bifurcate its reports, it is not required              respect to M&A transactions or contested matters to       hyperlink to the registrant’s written
                                           to avail itself of the exception set forth                clients with less lead time before the applicable         response once the registrant gives notice
                                           in Rule 14a–2(b)(9)(vi). Instead, the                     meeting, the principles-based requirements of Rule
                                                                                                     14a–2(b)(9)(ii)(A) allows proxy voting advice             that a response has been filed. However,
                                           proxy voting advice business can choose                   businesses to design and implement policies and           Rule 14a–2(b)(9)(ii)(B) does not mandate
                                           to subject all of its proxy voting                        procedures that work best for their clients’ needs        that specific approach as a condition of
                                           advice—including its advice as to the                     and timing concerns. In addition, to the extent that      the exemption.413
                                           applicable M&A transaction and                            proxy voting advice businesses amend their advice
                                                                                                     with respect to M&A transactions or contested
                                           contested matters—to the requirements                     matters in light of subsequent events, Rule 14a–          upon their release to client. See Glass Lewis:
                                           of Rule 14a–2(b)(9)(ii), subject to the                   2(b)(9)(ii)(A) does not require that proxy voting         Purchase a Proxy Paper, available at https://
                                           proxy voting advice business’s                            advice businesses make available to registrants such      www.glasslewis.com/request-a-proxy-paper-or-
                                                                                                     amended advice.                                           alert/ (last visited on May 26, 2020).
                                           obligation to safeguard material, non-                       408 See, e.g., letters from CFA Institute I; CII IV;      410 See supra note 408.
                                           public information in its possession.407                  CIRCA; Elliott I; Glass Lewis II; ISS; Interfaith            411 See Rule 14a–2(b)(9)(v).

                                                                                                     Center II; New York Comptroller II; NorthStar;               412 We also believe that these modifications from
                                             405 Proposing Release at n.112 (‘‘It is also common
                                                                                                     Shareholder Rights II; Washington State Investment;       the proposal—among others, the fact that proxy
                                           for a proxy voting advice business to present in a        ValueEdge III (stating that it has contacted the          voting advice businesses are not required to give
                                           single, integrated written report its voting              Department of Justice to review this proposal and         registrants an opportunity to review proxy advice
                                           recommendations on all matters to be voted at the         recommends the Commission do the same). Most of           before its dissemination to clients and need not
                                           registrant’s meeting . . . .’’).                          these commenters generally opposed the proposed           share the advice at all unless registrants
                                             406 See ISS, Special Situations Research, available     amendments on Constitutional grounds. Further, to         acknowledge restrictions on its use—address the
                                           at https://www.issgovernance.com/solutions/               the extent such commenters suggested potential            concerns raised by some commenters under the
                                           governance-advisory-services/special-situations-          alternative regulatory solutions, no commenters           takings clause of the Fifth Amendment. See letters
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                                           research/ (last visited on May 28, 2020).                 offered a more tailored solution that we believe          from CalPERS; ISS.
                                             407 If a proxy voting advice business decides not       would still achieve the objectives of this                   413 For example, we understand that some proxy

                                           to avail itself of the exception set forth in Rule 14a–   rulemaking.                                               voting advice businesses already provide access to
                                           2(b)(9)(vi) and subjects its advice as to the                409 Rule 14a–2(b)(ii)(A). See also supra note 342      the registrant’s proxy filings, including any
                                           applicable M&A transaction or contested matter to         and accompanying text. We note that at least one          supplemental proxy materials, automatically
                                           Rule 14a–2(b)(9)(ii), we believe that many of the         proxy voting advice business already makes its            through their electronic platform. This kind of
                                           concerns commenters expressed will be mitigated           proxy reports available for purchase by registrants                                                   Continued




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                                              We believe that the amendments, as                   proxy voting decision-making.419 The                  ‘‘solicitation’’ under the Exchange Act.
                                           modified from the proposal, are                         developments described above have                     We have tailored the application of
                                           consistent with the First Amendment. In                 convinced us of the need to update the                those rules to accommodate the unique
                                           today’s market, the proxy process                       application of the proxy rules to proxy               business model of proxy voting advice
                                           represents the primary means by which                   voting advice businesses to facilitate the            businesses while also accounting for the
                                           registrants and their shareholders                      kind of robust discussion that would be               consequential role those businesses
                                           communicate to determine how the                        possible at a meeting before a vote                   have come to play in the proxy
                                           registrant governs itself. They exchange                occurs. But at this time we do not                    process.422 The amendments to the
                                           their respective views about the                        believe it is necessary to subject proxy              proxy rules that we adopt in this
                                           registrants’ business operations and                    voting advice businesses to the full                  document—like the rules that apply to
                                           other registrant matters, and generally                 panoply of information and filing                     registrants and other interested parties
                                           engage in discussions integral to the                   requirements that apply to registrants                under the comprehensive regulatory
                                           exercise of the shareholder franchise.414               when seeking proxy authority. While                   scheme governing the proxy solicitation
                                           The Commission has a strong interest in                 registrants must publicly file soliciting             process—are intended to facilitate
                                           ensuring that investors are able to obtain              materials and disseminate them to all                 investor access, in a timely manner, to
                                           and evaluate information pertinent to                   shareholders, the Commission believes                 more accurate, complete, and
                                           proxy voting decisions before the vote is               its objectives with respect to proxy                  transparent information and robust
                                           held.415 The amendments are intended                    voting advice businesses can be                       debate, as would occur at a meeting
                                           to facilitate the kind of robust                        achieved by more tailored and far less                where shareholders are physically
                                           discussion on which informed                            burdensome and intrusive means.                       attending and participating. Indeed, the
                                           shareholder voting decisions depend in                     We are therefore adopting                          exemption conditions for proxy voting
                                           light of changing market conditions.                    amendments that allow proxy voting                    advice apply regardless of the content of
                                           Specifically, as discussed above, proxy                 advice businesses to continue to be                   the advice on any matter, and far from
                                                                                                   exempt from the filing and information                disapproving of the speech of proxy
                                           voting advice businesses today are
                                                                                                   requirements of the proxy rules,                      voting advice businesses, the
                                           uniquely situated to influence the
                                                                                                   conditioned on their inclusion in the                 Commission has recognized the
                                           voting decisions of institutional
                                                                                                   proxy voting advice of the conflicts of               important function proxy voting advice
                                           investors, which hold an increasingly
                                                                                                   interest disclosure specified in Rule                 businesses serve in today’s markets to
                                           significant portion of shares in U.S.
                                                                                                   14a–2(b)(9)(i) and their adoption and                 some investors.423
                                           public companies.416 The provision of
                                           proxy voting advice by these businesses                 public disclosure of policies and                     D. Amendments to Rule 14a–9
                                           therefore implicates a fundamental                      procedures specified in Rule 14a–
                                                                                                   2(b)(9)(ii).420 These principles-based                1. Proposed Amendments
                                           concern of our proxy rules.417 Yet,
                                           because a significant percentage of                     requirements are tailored to minimize                    Rule 14a–9 prohibits any proxy
                                           proxy votes are typically cast shortly                  the burden on proxy voting advice                     solicitation from containing false or
                                           after a proxy voting advice business                    businesses, while still directly                      misleading statements with respect to
                                           delivers its advice, and because                        advancing the Commission’s regulatory                 any material fact at the time and in light
                                           currently proxy voting advice is not                    objectives.                                           of the circumstances under which the
                                           required to be publicly filed, many                        Although some commenters argued                    statements are made.424 In addition,
                                           voting decisions are made before                        that the proposed amendments                          such solicitation must not omit to state
                                           registrants have a meaningful                           discriminated based on viewpoint,421                  any material fact necessary in order to
                                           opportunity to engage with that                         our decision to impose exemption                      make the statements therein not false or
                                           advice—for example, to address any                      conditions on proxy voting advice                     misleading.425 Even solicitations that
                                           material factual errors or omissions, or                businesses is unrelated to their                      are exempt from the federal proxy rules’
                                           to offer views with respect to the proxy                viewpoint or message. The conditions                  information and filing requirements are
                                           voting advice business’s methodologies                  apply regardless of the position a proxy              subject to this prohibition, as ‘‘a
                                           or conclusions—and to make investors                    voting advice business takes on any                   necessary means of assuring that
                                           aware of their views in time for                        particular matter, and regardless of                  communications which may influence
                                           investors to benefit from such an                       whether voting advice is supportive or                shareholder voting decisions are not
                                           exchange.418                                            adverse to registrants or to others. Proxy
                                                                                                   voting advice is subject to our proxy                    422 See SEC v. Wall Street Publishing Inst., Inc.,

                                              As previously discussed, the                         rules because it constitutes a                        851 F.2d 365, 372 (D.C. Cir. 1988) (‘‘Where the
                                           Commission has occasionally adjusted                                                                          federal government extensively regulates a field of
                                                                                                                                                         economic activity, communication of the regulated
                                           the proxy rules based on market                           419 See supra notes 33–35 and accompanying text.
                                                                                                                                                         parties often bears directly on the particular
                                           developments to promote informed                        Contrary to the suggestion of some commenters, the    economic objectives sought by the government, . . .
                                                                                                   Commission’s measured pursuit of a similar            and regulation of such communications has been
                                                                                                   objective in the amendments adopted in this           upheld [as consistent with the First
                                           approach would generally be consistent with the         document does not contradict our past recognition     Amendment].’’); cf. Full Value Advisors, LLC v.
                                           principle.                                              that applying governmental filing requirements to     SEC, 633 F.3d 1101, 1109 (D.C. Cir. 2011)
                                              414 Pac. Gas & Elec. Co. v. Pub. Utils. Comm’n of
                                                                                                   every communication among shareholders and            (‘‘Securities regulation involves a different balance
                                           Ca., 475 U.S. 1, 14 n.10 (1986).                        other parties on matters subject to a proxy vote      of concerns and calls for different applications of
                                              415 Communications Among Shareholders
                                                                                                   would raise First Amendment concerns. See supra       First Amendment principles.’’) (internal quotation
                                           Adopting Release at 48277; Concept Release at           note 270 and accompanying text.                       marks omitted).
                                           42983; see also Business Roundtable, 905 F.2d at          420 See supra Sections II.B.3; II.C.3.                 423 See supra Section II.A.3.
                                           410 (‘‘The goal of federal proxy regulation was to        421 See, e.g., letters from Better Markets             424 17 CFR 240.14a–9. See also Exchange Act
                                           improve [communications with potential absentee         (expressing concern that apprehensions regarding      Release No. 34–1350, 1937 WL 29099 (Aug. 13.
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                                           voters] and thereby to enable proxy voters to control   the accuracy of proxy voting advice businesses’       1937) (‘‘The purpose of [the Commission’s proxy]
                                           the corporation as effectively as they might have by    advice have been driven by potentially self-          rules is to prevent the dissemination to the security
                                           attending a shareholder meeting.’’).                    interested corporate management that view proxy       holders and to the general public of untruths, half-
                                              416 See supra note 18.
                                                                                                   voting advice businesses as adversarial); CalPERS;    truths, and otherwise misleading information which
                                              417 See supra notes 6 through 17 and                                                                       would stand in the way of a fair appraisal of a plan
                                                                                                   Florida Board; Glass Lewis II; ISS; NYC
                                           accompanying text.                                      Comptroller; New York Comptroller II; Public          upon its merits by the security holders.’’).
                                              418 See supra note 373 and accompanying text.        Citizen; Segal Marco II; TRP.                            425 17 CFR 240.14a–9.




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                                           materially false or misleading.’’ 426 This                 • Predictions as to specific future                 clients are led to mistakenly believe that
                                           includes proxy voting advice that is                    market values;                                         the unique criteria used by the proxy
                                           exempt under Rules 14a–2(b)(1) and                         • Material which directly or                        voting advice businesses were approved
                                           (b)(3). The Commission has previously                   indirectly impugns character, integrity                or set by the Commission.
                                           stated that the furnishing of proxy                     or personal reputation, or directly or                    Accordingly, the Commission
                                           voting advice, while exempt from the                    indirectly makes charges concerning                    proposed to add as an example in Rule
                                           information and filing requirements,                    improper, illegal or immoral conduct or                14a–9 of what may be misleading within
                                           remains subject to the prohibition on                   associations, without factual                          the meaning of the rule, depending
                                           false and misleading statements in Rule                 foundation;                                            upon the particular facts and
                                           14a–9.427 We continue to believe that                      • Failure to so identify a proxy                    circumstances, the failure to disclose
                                           subjecting proxy voting advice                          statement, form of proxy and other                     the use of standards or requirements in
                                           businesses to the same antifraud                        soliciting material as to clearly                      proxy voting advice that materially
                                           standard as registrants and other                       distinguish it from the soliciting                     differ from relevant standards or
                                           persons engaged in soliciting activities,               material of any other person or persons                requirements that the Commission sets
                                           including those engaged in exempt                       soliciting for the same meeting or                     or approves.434
                                           solicitations, is appropriate in the                    subject matter; and
                                           public interest and for the protection of                  • Claims made prior to a meeting                    2. Comments Received
                                           investors. Indeed, the Commission                       regarding the results of a solicitation.
                                                                                                      The Commission proposed to amend                       Commenters were divided in their
                                           recently issued guidance specifically                                                                          views about the proposed
                                                                                                   this list of examples in Rule 14a–9 to
                                           addressing the application of Rule 14a–                                                                        amendment.435 Those in favor of the
                                                                                                   include certain additional types of
                                           9 to proxy voting advice,428 stating that                                                                      proposal thought it would have a
                                                                                                   information that a proxy voting advice
                                           ‘‘any person engaged in a solicitation                                                                         beneficial impact, reasoning that it
                                                                                                   business may, depending on the
                                           through proxy voting advice must not                                                                           would tend to improve the quality of
                                                                                                   particular facts and circumstances, need
                                           make materially false or misleading                                                                            voting advice by making proxy voting
                                                                                                   to disclose to avoid potentially violating
                                           statements or omit material facts, such                                                                        advice businesses more accountable for
                                                                                                   the rule. As proposed, and consistent
                                           as information underlying the basis of                                                                         any misleading statements in their
                                                                                                   with the Commission’s recent guidance,
                                           advice or which would affect its                        this included the proxy advice                         advice 436 and incentivizing them to
                                           analysis and judgments, that would be                   business’s methodology, sources of                     provide more robust information about
                                           required to make the advice not                         information and/or conflicts of interest               their methods and sources so that their
                                           misleading.’’ 429 To illustrate this point,             to the extent that, under the particular               clients would be in a better position to
                                           the Commission gave a list of examples                  facts and circumstances, the omission of               assess the businesses’ recommendations
                                           of types of information that a provider                 such information would be materially                   and make informed voting decisions.437
                                           of proxy voting advice should consider                  misleading.
                                           disclosing in order to avoid a potential                   In addition, the Commission proposed                   434 See note (e) to proposed Rule 14a–9. Examples
                                           violation of Rule 14a–9.430 This                        to amend Rule 14a–9 to address                         of standards or requirements that the Commission
                                           included the methodology used to                        concerns that have arisen when proxy                   approves are the listing standards of the national
                                           formulate proxy voting advice, sources                                                                         securities exchanges, such as the New York Stock
                                                                                                   voting advice businesses make negative                 Exchange (NYSE). The Commission supervises, and
                                           of information on which the advice is                   voting recommendations based on their                  is authorized to approve rules promulgated by, the
                                           based, and material conflicts of interest               evaluation that a registrant’s conduct or              NYSE and other national securities exchanges
                                           that arise in connection with providing                 disclosure is inadequate,                              pursuant to Section 19 of the Exchange Act.
                                                                                                                                                             435 See letters from commenters supporting the
                                           proxy voting advice, without which the                  notwithstanding that the conduct or                    proposal, e.g., ACCF (asserting that the proposals
                                           advice could be misleading, depending                   disclosure meets applicable                            will increase accountability); Axcelis; John D.
                                           on the specific statements at issue.431                 Commission requirements.433 The                        Campbell, Vice President, Government Relations,
                                              Currently, the text of Rule 14a–9                    Commission explained that, without                     Ball Corporation (Jan. 31, 2020) (‘‘Ball Corp.’’); BIO;
                                           provides four examples of things that                                                                          BRT; CCMC; CGC; Charter; Ecolab; ExxonMobil;
                                                                                                   additional context or clarification, some              FedEx; GM; IBC; NAM; Nareit; Nasdaq; SCG; James
                                           may be misleading within the meaning                    clients may mistakenly infer that the                  L. Setterlund, Executive Director, Shareholder
                                           of the rule, depending upon particular                  negative voting recommendation is                      Advocacy Forum (Feb. 3, 2020) (‘‘Shareholder
                                           facts and circumstances.432 These are:                  based on a registrant’s failure to comply              Advocacy’’); TechNet. But see letters from
                                                                                                                                                          commenters opposing the proposal, e.g., Baillie
                                                                                                   with the applicable Commission                         Gifford; CalPERS; CII IV; CIRCA; Elliott I; Glass
                                             426 See   1979 Adopting Release at 48942.             requirements when, in fact, the negative               Lewis II; ISS; MFA & AIMA; PIAC II (although it
                                             427 See   Concept Release at 43010.
                                              428 See Question and Response 2 of Commission
                                                                                                   recommendation is based on the proxy                   agreed that proxy voting advice businesses should
                                                                                                   voting advice business’s determination                 disclose material information relating to their
                                           Interpretation and Guidance Regarding the                                                                      methodology, sources of information, and conflicts
                                           Applicability of the Proxy Rules to Proxy Voting        that the registrant did not satisfy the                of interest, the commenter indicated that it was
                                           Advice, Release No. 34–86721 (Aug. 21, 2019) [84        specific criteria used by the proxy                    satisfied with the disclosures currently provided
                                           FR 47416 (Sept. 10, 2019)] (‘‘Commission                voting advice business. If the use of the              and did not believe specific regulation on this point
                                           Interpretation and Guidance’’).                                                                                was necessary).
                                              429 Id. at 12.
                                                                                                   criteria and the material differences
                                                                                                                                                             436 See, e.g., letters from ExxonMobil (supporting
                                              430 Id. The Commission also noted that some          between the criteria and the applicable                the proposal’s clarification that Rule 14a–9 applies
                                           proxy voting advice businesses currently may be         Commission requirements are not                        to material information concerning a proxy voting
                                           providing some of the disclosures described in the      clearly conveyed to proxy voting advice                advice business’s methodology, sources of
                                           list of examples. Id. at n. 33.                         businesses’ clients, there is a risk that              information, and conflicts of interest); GM.
                                              431 Id.                                                                                                        437 See, e.g., letters from BRT (‘‘[I]t is important
                                              432 Rule 14a–9 provides a note preceding the list
                                                                                                   some clients may make their voting
                                                                                                                                                          that proxy advisors not omit the disclosure of
                                           of examples that reads: ‘‘The following are some        decisions based on a misapprehension                   information underlying the basis of their advice or
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                                           examples of what, depending upon particular facts       that a registrant is not in compliance                 which would affect its analysis and judgment’’);
                                           and circumstances, may be misleading within the         with the Commission’s standards or                     ExxonMobil; Nasdaq (‘‘We agree with the
                                           meaning of this section.’’ This note and the            requirements. Similar concerns exist if,               Commission that the amendments are in the public
                                           examples provided were adopted in their current                                                                interest, promote investor protection, and help
                                           form by the Commission in 1956. See Release No.         due to the lack of clear disclosure,                   ensure that investors are provided the information
                                           34–5276 (Jan. 17, 1956) [21 FR 577 (Jan. 26, 1956)],                                                           they need to make fully informed voting
                                           1956 WL 7757.                                             433 See   Proposing Release at 66538 n.160.          decisions.’’); SCG.



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                                           Several such commenters voiced                                On the other hand, some commenters                    clients hire proxy voting advice
                                           concerns that proxy voting advice                          contended that, in general, the proposed                 businesses precisely because they are
                                           businesses were not sufficiently                           amendment to Rule 14a–9 would                            aware and approve of these businesses
                                           transparent about their methodologies,                     heighten legal uncertainty and litigation                using certain standards that exceed
                                           models, and formulas used to generate                      risk for proxy voting advice businesses                  applicable regulations.446 In addition,
                                           their recommendations.438 Some                             because it would broaden the concept of                  other commenters asserted that the
                                           commenters also believed that proxy                        materiality and create a new source of                   proxy voting advice businesses’
                                           voting advice businesses do not                            liability for proxy voting advice                        disclosures about the use of differing
                                           adequately adjust their methodologies to                   businesses, the scope of which is not                    standards were already sufficiently
                                           take into account the unique                               sufficiently clear.442 Two commenters
                                                                                                                                                               clear.447
                                           circumstances of different companies                       also suggested that the proposed
                                           and therefore more transparent                             amendment may be prohibited by the                          Finally, some commenters
                                           disclosure of methodologies would help                     First Amendment.443                                      recommended modifications to the
                                           investors discern the extent to which                         Commenters that opposed the                           proposal that would have added a
                                           voting advice may be based on a ‘‘one-                     proposed amendment’s reference to a                      number of specific examples to the list
                                           size-fits-all’’ approach.439                               proxy voting advice business’s use of                    in Rule 14a–9 of information that may
                                              Other commenters specifically                           standards that materially differ from                    be material and needs to be disclosed in
                                           approved of the proposed amendment’s                       relevant Commission standards or                         certain circumstances.448 Others
                                           reference to a proxy voting advice                         requirements argued that it was                          requested further clarification on
                                           business’s use of standards that                           unnecessary and based on the flawed                      questions related to the scope and
                                           materially differ from relevant                            premise that clients are either unaware                  application of the proposed
                                           Commission standards or                                    of, or lack the sophistication necessary                 amendment 449 or suggested that Rule
                                           requirements.440 These commenters                          to appreciate, the distinction between a                 14a–9 be modified to exclude the
                                           were concerned that not all investors                      company’s failure to satisfy the
                                                                                                                                                               content of recommendations or
                                           were fully aware when proxy voting                         particular analytical standards
                                                                                                                                                               differences of opinion between
                                           advice businesses applied their own                        employed by a proxy voting advice
                                           analytical standards that differed from                    business and a company’s failure to                      management and proxy voting advice
                                           the Commission’s or other applicable                       comply with relevant regulatory                          businesses.450
                                           regulatory standards.441                                   standards.444 Commenters made the
                                                                                                                                                                  446 See, e.g., letter from PIAC II (‘‘Proxy advisors
                                                                                                      point that most clients are well aware of
                                                                                                                                                               are paid to make recommendations based on
                                             438 See,  e.g., letters from BRT (‘‘Proxy advisors       such differences and often maintain                      governance best practices rather than legal or
                                           offer little transparency into their internal              custom policies that are more rigorous                   regulatory minimums and PIAC members expect
                                           standards, procedures, and methodologies. Neither
                                           ISS nor Glass Lewis fully discloses the
                                                                                                      than relevant regulatory standards and                   the standards of proxy advisors to exceed those
                                                                                                      require the proxy voting advice business                 minimums.’’).
                                           methodologies used to develop their voting
                                                                                                                                                                  447 See, e.g., letters from CalPERS (‘‘[The
                                           recommendations’’); CEC; FedEx; GM; NAM;                   to apply such policies when preparing
                                           Nasdaq; TechNet.                                                                                                    Proposing Release] provides examples highlighting
                                                                                                      their proxy voting advice.445 Moreover,                  a problem that does not exist in reality because
                                              439 See, e.g., letters from CCMC (noting that proxy

                                           voting advice businesses have been criticized for ‘‘a
                                                                                                      commenters stated that in many cases                     proxy voting advice businesses already distinguish
                                           one-size-fits-all approach of voting                                                                                their advice from SEC guidance . . . Competent lay
                                           recommendations that ignores the unique                    election because it decided that the director is not     people doing a minimal amount of research will
                                           characteristics and operations of individual               independent under its standards, despite the fact        find that proxy advisors routinely inform clients
                                           companies and industries’’); FedEx; Nasdaq; NAM;           that the company’s board of directors—carrying out       about where the standards come from because
                                           Nareit; TechNet (further noting that ‘‘one-size-fits-      its fiduciary duties— determined that the director       clients want to know.’’); CII IV (noting that the
                                           all’’ methodologies across different subject areas         in question was independent under the                    Commission did not produce examples of research
                                           often fail to account for unique differences between       Commission’s requirements, the company’s stock           reports to support its assertions in the Proposing
                                           companies).                                                exchange listing rules and its corporate governance      Release).
                                                                                                                                                                  448 See, e.g., letters from BRT; CCMC (‘‘[W]e
                                              440 See, e.g., letters from BRT; CCMC; GM               guidelines.’’); Charter; SCG (asserting that proxy
                                           (‘‘[N]egative voting recommendations from a proxy          voting advice businesses ‘‘apply standards or            would expand the ‘relevant standards or
                                           advisor may not align with the Commission’s                policies that differ from SEC and/or stock exchange      requirements’ to also include those set by any
                                           requirements, which can mislead or cause                   listing requirements frequently enough that it           relevant stock exchange. As another example, we
                                           confusion among proxy voters. We therefore believe         strains credulity to believe that the reasonable         would also list a proxy advisor’s failure to disclose
                                           that proxy voters should have the benefit of this          investor always understands whether a voting             whether a registrant disputes any findings in the
                                           additional context to ensure that they are fully           recommendation reflects (non)compliance with             proxy advisor’s report or whether a proxy advisor
                                           informed and understand the standards employed             existing rules/regulations/standards or simply           diverges from its own publicly disclosed
                                           by a proxy advisor when reviewing their voting             proxy advisor judgment’’).                               guidelines.’’); Exxon Mobil (suggesting that the
                                           recommendations.’’); Nareit; Nasdaq (‘‘In Nasdaq’s            442 See, e.g., letters from Carl C. Icahn (Feb. 7,    rules should also address proxy voting advice that
                                           own experience, ISS has determined that a director         2020) (‘‘C. Icahn’’); CalPERS; CIRCA; Elliott I; Glass   is ‘‘not designed to maximize shareholder value,
                                           was not independent under its criteria even though         Lewis II (asserting that the Commission does not         like SRI specialty reports’’ and require ‘‘risk factor’’
                                           the director was independent under Nasdaq and              adequately explain how, for example, a failure to        style disclosures about the value of an investment
                                           SEC rules.’’); SCG.                                        disclose information regarding ‘‘use of standards        when a proxy voting advice businesses applies a
                                              441 See, e.g., letters from BIO (stating ‘‘that it is   that materially differ from relevant standards or        standard other than shareholder value); Nareit
                                           important for proxy voting advice businesses to            requirements that the Commission sets or                 (requesting the Commission to expand the list to
                                           clarify when a negative voting recommendation is           approves’’ could mislead shareholders); MFA &            require disclosure ‘‘when voting is predicated on an
                                           based on the proxy voting advice business’s own            AIMA.                                                    advisory firm’s standard that materially differs from
                                           determination that a registrant’s conduct or                  443 See letters from CII IV; ISS. Our clarification   relevant statutory requirements of the state in
                                           disclosure is inadequate, notwithstanding that the         below that differences of opinion are not actionable     which the issuer is chartered’’); Nasdaq; TechNet.
                                           conduct or disclosure meets applicable SEC                 under the final amendment to Rule 14a–9 resolves            449 See, e.g., letters from Baillie Gifford (inquiring,

                                           requirements’’); BRT (‘‘Business Roundtable                these constitutional concerns.                           among other things, whether failure to disclose
                                           member companies are concerned that, when                     444 See, e.g., letters from CalPERS (‘‘We think it    conflicts of interest would be a breach of Rule 14a–
                                           making recommendations, proxy advisors rely upon           would be rare for the professionals that actually use    9); K. Beaugez; BRT (‘‘Additionally, the
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                                           information not included in the company’s public           proxy voting advice to make such a mistaken              Commission should specifically make clear whether
                                           SEC filings or on factors other than the actual            inference.’’); CII IV; Glass Lewis II.                   these anti-fraud provisions [of Rule 14a–9] apply
                                           regulatory requirements to which companies are                445 See, e.g., letters from CalPERS (‘‘Existing       when proxy advisors’ voting reports include
                                           subject. For instance, proxy advisors have their own       clients . . . already know when proxy voting advice      information, statements or opinions that have not
                                           guidelines for determining the independence of             businesses produce their own guidance as opposed         been included in material filed with the
                                           directors. This has resulted in situations where a         to report on the minimal requirements of the             Commission’’); Exxon Mobil; CIRCA.
                                           proxy advisor recommends against a director’s              SEC.’’); CII IV; Glass Lewis II.                            450 See letter from PRI II.




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                                           3. Final Amendments                                     filing requirements of the federal proxy                   voting advice that materially differ from
                                              We are adopting amendments to Rule                   rules, proxy voting advice businesses                      relevant standards or requirements that
                                           14a–9 that will add to the examples of                  and other market participants should                       the Commission sets or approves was
                                           what may be misleading within the                       have been on notice that Rule 14a–9                        designed to help ensure that proxy
                                           meaning of the rule, largely as proposed,               applies to proxy voting advice. The                        voting advice businesses’ clients are
                                                                                                   amendment also does not make ‘‘mere                        provided the information they need to
                                           but with one modification in response
                                                                                                   differences of opinion’’ actionable under                  make a ‘‘fair appraisal’’ 458 of the
                                           to comments received. Consistent with
                                                                                                   Rule 14a–9.455 Rather, it further clarifies                recommendation and to clarify the
                                           the Commission’s guidance on proxy
                                                                                                   what has long been true about the                          potential implications of Rule 14a–9.
                                           voting advice,451 the Note to Rule 14a–
                                                                                                   application of Rule 14a–9 to proxy
                                           9 will include new paragraph (e) to                                                                                   Nevertheless, we understand the
                                                                                                   voting advice and, more generally,
                                           provide that the failure to disclose                                                                               concerns expressed by some
                                                                                                   proxy solicitations as a whole: No
                                           material information regarding proxy                                                                               commenters who asserted that the
                                                                                                   solicitation may contain any statement
                                           voting advice, ‘‘such as the proxy voting                                                                          perceived lack of clarity regarding the
                                                                                                   which, at the time and in light of the
                                           advice business’s methodology, sources                                                                             scope of the proposed clause ‘‘or use of
                                                                                                   circumstances under which it is made,
                                           of information, or conflicts of interest’’                                                                         standards that materially differ from
                                                                                                   is false or misleading with respect to
                                           could, depending upon particular facts                  any material fact, or which omits to                       relevant standards or requirements that
                                           and circumstances, be misleading                        state any material fact necessary in                       the Commission sets or approves,’’
                                           within the meaning of the rule.                         order to make the statements therein not
                                           However, for the reasons given in the                                                                              which was not discussed in the earlier
                                                                                                   false or misleading.456 The addition of                    guidance, may increase legal
                                           discussion that follows, new paragraph                  paragraph (e) to the Note to Rule 14a–
                                           (e) will not include the proposed clause                                                                           uncertainty and litigation risks to both
                                                                                                   9, the substance of which has not been                     proxy voting advice businesses and
                                           ‘‘or use of standards that materially                   updated for over six decades, to account
                                           differ from relevant standards or                                                                                  registrants, and that the lack of legal
                                                                                                   for contemporary market practices                          certainty could affect the quality of
                                           requirements that the Commission sets                   (including the prevalent use of proxy
                                           or approves.’’                                                                                                     analyses provided by proxy voting
                                                                                                   voting advice by institutional investors
                                              The ability of a client of a proxy                                                                              advice businesses.459 We continue to
                                                                                                   and others),457 further clarifies that
                                           voting advice business to make voting                   proxy voting advice is subject to Rule                     believe that there could well be
                                           decisions is affected by the adequacy of                14a–9. The addition of paragraph (e)                       occasions where, for example, the
                                           the information it uses to formulate                    also underscores that the examples are                     omission or distortion of essential
                                           such decisions. Consistent with the                     among the types of information that may                    context from a proxy voting advice
                                           Commission Interpretation on Proxy                      provide material context without which,                    business’s explanation of its
                                           Voting Advice, the final amendments                     depending on the facts and                                 methodologies may be misleading under
                                           are designed to further clarify the                     circumstances, the proxy voting advice                     a materiality principle and the
                                           potential implications of Rule 14a–9 for                may run afoul of the rule. The examples                    particular facts and circumstances, such
                                           proxy voting advice specifically, and to                are illustrative only, and are not                         that a shareholder’s ability to make an
                                           help ensure that proxy voting advice                    intended to be exhaustive or absolute, or                  informed voting decision is subverted.
                                           businesses’ clients are provided with                   supersede the materiality principle or                     However, we also believe that the
                                           the material information they need to                   the facts and circumstances analysis                       existing principles of Rule 14a–9 are
                                           make fully informed decisions.                          required in each particular case.                          sufficiently robust to encompass such a
                                              Although we acknowledge                                 As noted above, however, we have                        situation, which ultimately will come
                                           commenters’ concerns around the                         determined not to adopt the proposed                       down to a question of facts and
                                           potential for heightened litigation risk                example related to the use of standards                    circumstances. For that reason, we do
                                           associated with the proposed changes to                 that materially differ from relevant                       not think it is necessary to memorialize
                                           Rule 14a–9,452 we reiterate that Rule                   standards or requirements that the
                                           14a–9 is grounded in materiality, and                                                                              this potentially nuanced situation with
                                                                                                   Commission sets or approves. To the                        an illustrative example that, because it
                                           amending the rule to include updated                    extent that a proxy voting advice
                                           examples of potentially misleading                                                                                 is by definition a generalization, could
                                                                                                   business does not make clear to its                        create more confusion than clarity.
                                           disclosure, depending on the facts and                  clients that it is making a negative
                                           circumstances, in no way changes its                    voting recommendation based on its                            Therefore, we are adopting the
                                           application or scope. The amendment to                  own criteria, notwithstanding that the                     amendment to Rule 14a–9 without this
                                           Rule 14a–9 does not broaden the                         registrant has complied with the                           example. However, this does not negate
                                           concept of materiality 453 or create a                  applicable standards established or                        the fact that Rule 14a–9’s prohibition
                                           new cause of action, as some have                       approved by the Commission, there is a                     against materially misleading
                                           suggested. As discussed above, the                      risk that the proxy voting advice                          solicitations applies to proxy voting
                                           Commission has long taken the view                      business’s clients may misunderstand                       advice where the disclosures are so
                                           that proxy voting advice generally                      the basis for the proxy voting advice                      materially deficient that the investor
                                           constitutes a ‘‘solicitation.’’ 454 Because             business’s recommendation. The                             could not be reasonably expected to
                                           Rule 14a–9 applies to all solicitations,                proposed amendment regarding use of                        understand that the proxy voting advice
                                           even those made in reliance on an                       standards or requirements in proxy                         business is applying a different standard
                                           exemption from the information and
                                                                                                                                                              to its analysis, and therefore may vote
                                                                                                      455 See, e.g., letter from PRI II (‘‘[The Commission]
                                             451 See supra notes 428 through 431 and
                                                                                                                                                              based on such misapprehension. For
                                                                                                   . . . should . . . narrow the scope of the Proposed
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                                           accompanying text.                                      Rule to avoid chilling litigation over proxy advice,       similar reasons, we are also not electing
                                             452 See, e.g., letters from C. Icahn; CalPERS;        for example, by ensuring that Rule 14a–9 does not          to expand the list of examples beyond
                                           CIRCA; Elliott I; Glass Lewis II; MFA & AIMA;           cover the content on recommendations or mere
                                           Minerva I.                                              differences of opinion between management and
                                                                                                                                                                458 See supra note 424.
                                             453 See letter from CalPERS.                          proxy firms.’’).
                                             454 See supra notes 149 through 154 and                  456 See Rule 14a–9.                                       459 See, e.g., letters from C. Icahn; CalPERS; Glass
                                           accompanying text.                                         457 See supra note 432.                                 Lewis II; MFA & AIMA.



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                                           what was proposed, as suggested by                      Rule 14a–2(b)(9) is intended to                        to do so because either the necessary
                                           some commenters.460                                     sufficiently precede the typical                       data are unavailable or certain effects
                                                                                                   commencement of the proxy season for                   are not quantifiable. In the Proposing
                                           E. Compliance Dates
                                                                                                   2022, so as to minimize disruption to                  Release, we requested comment on our
                                              The Commission proposed a one-year                   the normal functioning of the proxy                    analysis of these effects. A few
                                           transition period after the publication of              system. However, we welcome early                      commenters provided quantitative
                                           the final rule in the Federal Register to               compliance with the amendment. We                      estimates, and we have addressed and
                                           give affected parties sufficient time to                note that the transition period only                   incorporated, where appropriate, those
                                           comply with the proposed new                            applies with respect to the amendments                 estimates into our analysis below. We
                                           requirements, including the                             to Rule 14a–2(b)(9) and does not extend                also provide qualitative economic
                                           development of any necessary processes                  to the amendments to Rule 14a–1(l) and                 assessments for effects for which we are
                                           and systems.461                                         Rule 14a–9. Because these other                        unable to provide quantitative
                                              Some commenters, however, thought                    amendments codify existing                             estimates.
                                           that a longer transition period would be                Commission interpretations and
                                           necessary given their expectation that                                                                         A. Introduction
                                                                                                   guidance, and do not impose new
                                           affected parties, particularly proxy                    obligations that necessitate significant                  We are adopting amendments to
                                           voting advice businesses, would need to                 time for preparation, we do not believe                Exchange Act Rule 14a–2(b) to
                                           devote significant time and resources in                the same rationale for a transition                    condition the availability of existing
                                           order to bring their systems and                        period exists.                                         exemptions from the information and
                                           processes into compliance.462 As an                                                                            filing requirements of the proxy rules on
                                                                                                   III. Other Matters                                     proxy voting advice businesses
                                           alternative, two commenters suggested
                                           extending the transition period to                         If any of the provisions of these rules,            satisfying certain additional disclosure
                                           eighteen months.463 Other commenters                    or the application thereof to any person               and procedural requirements. These
                                           recommended that small entities be                      or circumstance, is held to be invalid,                conditions will require proxy voting
                                           given an extended timeframe for                         such invalidity shall not affect other                 advice businesses to provide enhanced
                                           compliance.464 One commenter also                       provisions or application of such                      conflicts of interest disclosure. They
                                           suggested that the Commission consider                  provisions to other persons or                         will also separately require proxy voting
                                           a phased implementation schedule that                   circumstances that can be given effect                 advice businesses to: (i) Adopt and
                                           would not interfere with the peak of                    without the invalid provision or                       publicly disclose written policies and
                                           proxy season that typically occurs                      application. For example, the                          procedures reasonably designed to
                                           during the spring each year.465                         amendments to Rule 14a–2(b)(9)(i)                      ensure that the proxy voting advice
                                              We continue to believe that a                        operate independently from the                         business’s proxy voting advice is made
                                           transition period for compliance with                   amendments to Rule 14a–2(b)(9)(ii), and                available to registrants at or prior to the
                                           new Rule 14a–2(b)(9) is appropriate.                    both provisions operate independently                  time when such advice is disseminated
                                           Based on commenter feedback, as well                    from the amendments to Rules 14a–1(1)                  to the proxy voting advice business’s
                                           as the Commission’s interest in limiting                and 14a–9.                                             clients; and (ii) adopt and publicly
                                           unnecessary disruptions during the                         Pursuant to the Congressional Review                disclose written policies and procedures
                                           peak proxy season, proxy voting advice                  Act, the Office of Information and                     reasonably designed to ensure that the
                                           businesses subject to the final rules will              Regulatory Affairs has designated these                proxy voting advice business provides
                                           not be required to comply with the                      rules a ‘‘major rule,’’ as defined by 5                clients with a mechanism by which they
                                           amendments to Rule 14a–2(b)(9) until                    U.S.C. 804(2).                                         can reasonably be expected to become
                                           December 1, 2021. We believe that the                                                                          aware of a registrant’s written
                                                                                                   IV. Economic Analysis
                                           length of the transition period will                                                                           statements about the proxy voting
                                                                                                     The discussion below addresses the                   advice in a timely manner before the
                                           accommodate the need of affected
                                                                                                   economic effects of the amendments,                    shareholder meeting. We also are
                                           parties to have sufficient time to prepare
                                                                                                   including their anticipated costs and                  codifying the Commission’s
                                           for compliance with Rule 14a–2(b)(9)
                                                                                                   benefits, as well as the likely effects of             interpretation that, as a general matter,
                                           while also recognizing that our adoption
                                                                                                   the amendments on efficiency,                          proxy voting advice constitutes a
                                           of a principles-based framework should
                                                                                                   competition, and capital formation.466                 solicitation within the meaning of
                                           allow proxy voting advice businesses
                                                                                                   We also analyze the potential costs and                Exchange Act Rule 14a–1(l). Finally, we
                                           and other parties the flexibility to
                                                                                                   benefits of reasonable alternatives to the             are amending Exchange Act Rule 14a–
                                           leverage their existing practices and
                                                                                                   amendments. Where practicable, we                      9 to add as an example of a potentially
                                           mechanisms to more efficiently
                                                                                                   have attempted to quantify the                         material misstatement or omission
                                           integrate their operations with the new
                                                                                                   economic effects of the amendments;                    within the meaning of the rule,
                                           requirements. The compliance date for
                                                                                                   however, in certain cases, we are unable               depending upon particular facts and
                                             460 See, e.g., letters from BRT; CCMC; CII IV;
                                                                                                                                                          circumstances, the failure to disclose
                                           Exxon Mobil; NAM; Nareit; Nasdaq; TechNet.
                                                                                                     466 Section 3(f) of the Exchange Act [17 U.S.C.
                                                                                                                                                          material information related to the
                                             461 See Proposing Release at 66539.                   78c(f)] directs the Commission, when engaging in       proxy voting advice business’s
                                                                                                   rulemaking where it is required to consider or
                                             462 See letters from CalPERS; CII IV; Felician
                                                                                                   determine whether an action is necessary or            methodology, sources of information, or
                                           Sisters II; Glass Lewis II; Good Shepherd; IASJ;        appropriate in the public interest, to consider, in    conflicts of interest.
                                           Interfaith Center II; New York Comptroller II; St.      addition to the protection of investors, whether the      We have considered the economic
                                           Dominic of Caldwell.                                    action will promote efficiency, competition, and
                                             463 See letters from CII IV; Glass Lewis II                                                                  effects of the final amendments,
                                                                                                   capital formation. Further, Section 23(a)(2) of the
                                           (additionally recommending that the effectiveness       Exchange Act [17 U.S.C. 78w(a)(2)] requires the
                                                                                                                                                          including their effects on competition,
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                                           of final rules be delayed pending resolution of         Commission, when making rules under the                efficiency, and capital formation. The
                                           ongoing litigation that could impact the statutory      Exchange Act, to consider the impact that the rules    purpose of the final amendments is to
                                           and constitutional bases for the rulemaking).           would have on competition, and prohibits the
                                             464 See letters from Felician Sisters II; Good
                                                                                                                                                          help ensure that investors who use
                                                                                                   Commission from adopting any rule that would
                                           Shepherd; IASJ; Interfaith Center II; St. Dominic of    impose a burden on competition not necessary or
                                                                                                                                                          proxy voting advice have access to more
                                           Caldwell.                                               appropriate in furtherance of the purposes of the      complete, accurate, and transparent
                                             465 See letter from Glass Lewis II.                   Exchange Act.                                          information and are able to benefit from


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                                           a robust discussion of views—similar to                  client as a result of the more tailored                  equity compensation plans to
                                           what is possible at a meeting where                      and comprehensive disclosure, the                        shareholder proposals submitted under
                                           shareholders and other parties are                       client will be better able to assess the                 Exchange Act Rule 14a–8. In addition to
                                           physically attending and participating—                  objectivity of proxy voting advice                       matters presented at a company’s
                                           when making their voting decisions. We                   against the influence of potentially                     annual shareholder meeting, investors
                                           generally expect the final amendments                    competing interests and thus to monitor                  and investment advisers also make
                                           to reduce information asymmetries                        proxy voting advice business services.                   voting determinations when a matter is
                                           between proxy voting advice businesses                   Moreover, by separately ensuring that                    presented to shareholders for approval
                                           and their clients by eliciting more                      registrants receive notice of proxy                      at a special meeting, such as a merger
                                           tailored and comprehensive disclosure                    voting advice and a proxy voting advice                  or acquisition or a sale of all or
                                           of conflicts of interest and by facilitating             business provides clients with a                         substantially all of the assets of the
                                           client access to more complete                           mechanism by which they can become                       company. As described above,
                                           information on matters that are the                      more readily aware of registrant                         investment advisers and institutional
                                           subject of proxy voting advice. We also                  responses to that advice, the final                      investors play a large role in proxy
                                           believe that the final amendments may                    amendments may reduce the costs                          voting for various reasons, including
                                           mitigate certain agency costs associated                 clients might otherwise incur to acquire                 because institutional investors and
                                           with the clients’ use of proxy advice                    information relevant to assessing proxy                  clients of investment advisers
                                           voting businesses and thereby facilitate                 voting advice and increase the                           individually or collectively own a large
                                           more efficient use of the services                       efficiency of this segment of the proxy                  aggregate fraction of many U.S. public
                                           provided by such businesses while                        system. At the same time, the final                      companies.470 We understand that
                                           preserving their economies of scale.467                  amendments will likely impose certain                    voting can be resource intensive for
                                              As a threshold matter, the                            additional direct costs on proxy voting                  investors that hold or investment
                                           relationship between a proxy voting                      advice businesses which may offset this                  advisers that manage diversified
                                           advice business client and a proxy                       reduction in agency costs. However, as                   portfolios. It involves organizing proxy
                                           voting advice business is an example of                  we detail in later sections, we expect the               materials, performing due diligence on
                                           an agency relationship. As in any                        flexibility afforded by the final                        portfolio companies and matters to be
                                           principal-agent relationship, the agent                  amendments and current practices of at                   voted on, determining whether and how
                                           (the proxy voting advice business) may                   least the three major proxy voting                       votes should be cast, and submitting
                                           not always act in the best interests of the              advice businesses in the United States                   proxy cards to be counted. Proxy voting
                                           principal (the client).468 The conditions                will serve to limit those direct costs.                  advice businesses offer to perform a
                                           imposed on proxy voting advice                              As explained in more detail below,                    variety of tasks related to voting,
                                           businesses by the final amendments                       many of the economic effects of the                      including the following:
                                           may reduce the costs that arise from this                amendments cannot be reliably                               • Analyze and make voting
                                           divergence of interests. For example, by                 quantified. Consequently, while we                       recommendations on the matters
                                           requiring proxy voting advice                            have attempted to quantify the                           presented for shareholder vote and
                                           businesses to provide clients with more                  economic effects expected from the                       included in the registrants’ proxy
                                           tailored and comprehensive conflict of                   amendments wherever practicable,                         statements;
                                           interest disclosure than is currently                    much of the discussion remains                              • Execute proxy votes (or voting
                                           required, the amendments may make it                     qualitative in nature. Where we are                      instruction forms) in accordance with
                                           possible for proxy voting advice                         unable to quantify the potential                         their benchmark policy, a specialty
                                           businesses to more credibly reassure                     economic effects of the final                            policy, or a custom policy; 471
                                           their clients that relevant conflicts have               amendments, we provide a qualitative                        • Assist with the administrative tasks
                                           been disclosed, and potentially                          assessment of these effects as well as the               associated with voting and keep track of
                                           addressed (by reducing the ability of                    potential impacts of the amendments on                   the large number of voting
                                           proxy voting advice businesses to                        efficiency, competition, and capital                     determinations; and
                                           obfuscate information about conflicts or                 formation.                                                  • Provide research and identify
                                           selectively disclose conflicts), than is                                                                          potential risk factors related to corporate
                                                                                                    1. Overview of Proxy Voting Advice
                                           otherwise achieved by the current                                                                                 governance.
                                                                                                    Businesses’ Role in the Proxy Process
                                           system of conflict disclosure. In                                                                                    We also understand that, in the
                                           addition, to the extent that relevant                       Every year, retail investors,                         absence of the services offered by proxy
                                           conflicts are better understood by a                     institutional investors, and investment                  voting advice businesses, investment
                                                                                                    advisers face decisions on whether and                   advisers and other clients of these
                                             467 Researchers define a contract under which one      how to vote on a significant number of                   businesses may expend considerable
                                           or more persons (the principals) engage another          matters that are subject to a proxy                      resources to independently conduct the
                                           person (the agent) to perform some service on their      vote.469 These matters range from the
                                           behalf as an agency relationship. ‘‘Agency costs’’ in                                                             work necessary to analyze, recommend,
                                           the principal-agent relationship consist of: The cost    election of directors and the approval of                and make voting determinations. As a
                                           to the principal of monitoring the agent to limit                                                                 consequence, we understand that some
                                           aberrant activities; ‘‘bonding’’ costs to the agent to      469 17 CFR 240.14a–8; see, e.g., letters from
                                           reassure the client that the agent will not take         Barbara Novick, Vice Chairman, BlackRock, Inc.
                                                                                                                                                                470 See supra note 10 and accompanying text. See
                                           certain actions that would harm the principal or         (Feb. 3, 2020) (‘‘BlackRock’’) (‘‘BlackRock acts as a
                                           that the principal will be compensated if the agent      fiduciary for its clients. In this capacity, we engage   also Broadridge & PwC, 2019 Proxy Season Review,
                                           takes such actions; and the ‘‘residual loss,’’ or the    with thousands of companies globally and we vote         ProxyPulse (2019), at 1, available at https://
                                           loss of welfare to the principal from the divergence     in proxies at over 16,000 company meetings               www.broadridge.com/_assets/pdf/broadridge-
                                           of activities by the agent from the interests of the     annually.’’); NYC Comptroller (‘‘For the year ending     proxypulse-2019-review.pdf (estimating that
                                           principal. See Michael C. Jensen & William H.            June 30, 2019, my office voted on 126,775                institutions own 70% of public company shares)
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                                           Meckling, Theory of the Firm: Managerial Behavior,       individual ballot items at 13,122 shareowner             (‘‘Broadridge PwC 2019 Report’’); Charles McGrath,
                                           Agency Costs and Ownership Structure, 3 J. Fin.          meetings in 86 markets around the world. . . .’’);       80% of Equity Market Cap Held by Institutions,
                                           Econ. 305 (1976).                                        see also letter in response to the SEC Staff             Pensions & Investments (Apr. 25, 2017), available
                                             468 For example, agents may benefit by enhancing       Roundtable on the Proxy Process from Ohio Public         at https://www.pionline.com/article/20170425/
                                           revenues, decreasing costs, both, or by taking           Retirement (Dec. 18, 2018) (‘‘OPERS receives in          INTERACTIVE/170429926/80-of-equity-market-cap-
                                           actions other than those that are in the principals’     excess of 10,000 proxies in any given proxy              held-by-institutions.
                                           best interest. Id.                                       season.’’).                                                 471 See letter from ISS.




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                                           investment advisers and institutional                   findings of a 2016 GAO study that                         businesses significantly influence
                                           investors find it efficient to hire proxy               surveyed 13 institutional investors were                  voting,480 registrants and other market
                                           voting advice businesses to perform                     similar.476                                               participants may seek to engage with
                                           various voting and voting-related                          As discussed in Section I above,                       proxy voting advice businesses rather
                                           services, rather than performing them                   proxy voting advice businesses have the                   than engaging directly with investors or
                                           in-house.472 Proxy voting advice                        potential to influence many investors’                    registrants. Thus, the presence of proxy
                                           businesses generally are able to capture                voting decisions and, as a result, the                    voting advice businesses may negatively
                                           significant economies of scale that are                 overall vote. Clients of proxy voting                     affect the ability of certain investors to
                                           not available to many investment                        advice businesses number in the                           engage with and influence registrants
                                           advisers and institutional investors on                 thousands, and they exercise voting                       and other investors. On the other hand,
                                           an individual basis.473                                 authority or influence over a sizable                     from a transactions cost perspective,
                                              In 2007, the U.S. Government                         number of shares that are voted                           being able to engage with a few large
                                           Accountability Office (‘‘GAO’’) found                   annually. Commenters described the                        and important intermediaries, compared
                                           that among 31 institutions, including                   informational benefits that clients                       to engaging bi-laterally with multiple
                                           mutual funds, pension funds, and asset                  derive from proxy voting advice 477 and                   shareholders, may be more efficient for
                                           managers, large institutions relied less                how proxy voting advice businesses                        registrants and investors.
                                           than small institutions on the research                 enable them to make informed voting                          Although the economic incentives to
                                           and recommendations offered by proxy                    determinations on behalf of investors                     concentrate voting power and influence
                                           voting advice businesses. Large                         and beneficiaries.478                                     in proxy voting advice businesses are
                                           institutions indicated that their reliance                 To the extent that proxy voting advice                 strong, research on the role of proxy
                                           on proxy voting advice businesses was                   businesses influence voting decisions,                    voting advice businesses in influencing
                                           limited because they: (i) Conduct their                 they also may indirectly impose certain                   voting, however, has produced a wide
                                           own research and analyses to make                       costs on shareholders. Recent                             range of results. For example, a number
                                           voting determinations and use the                       theoretical research on the role of proxy                 of studies suggest that proxy voting
                                           research and recommendations offered                    voting advice suggests that the presence                  advice has substantial influence on
                                           by proxy voting advice businesses only                  of proxy voting advice businesses may                     proxy votes,481 while others suggest a
                                           to supplement such analyses; (ii)                       induce investors to over-rely on                          more limited influence.482 We note that
                                           develop their own voting policies,                      information produced by these                             existing academic studies examine the
                                           which the proxy voting advice                           businesses to make voting decisions.                      relationship between proxy votes and
                                           businesses are responsible for executing;               This over-reliance arises because                         proxy voting advice businesses’
                                           and (iii) contract with more than one                   shareholders do not internalize the                       recommendations based on benchmark
                                           proxy voting advice business to gain a                  benefits for other shareholders of their                  policies. The relationship between
                                           broader range of information on proxy                   own independent research of matters                       proxy votes cast and voting
                                           issues.474 In contrast, small institutions              put to a vote. Instead shareholders find                  recommendations provided to clients
                                           said they had limited resources to                      it privately efficient to outsource the                   using clients’ custom policies has not, to
                                           conduct their own research and tended                   analysis of voting decisions to proxy                     date, been the subject of academic
                                           to rely more heavily on the research and                voting advice businesses.479                              study.483
                                           recommendations offered by proxy                        Additionally, if proxy voting advice                        480 See  infra notes 481 and 482.
                                           voting advice businesses.475 The
                                                                                                                                                               481 See,  e.g., Cindy R. Alexander et al., Interim
                                                                                                     476 See  2016 GAO Report, supra note 141, at 2.
                                             472 See
                                                                                                                                                             News and the Role of Proxy Voting Advice, 23 Rev.
                                                      Concept Release at 42983.                       477 See letter from Kenneth A. Bertsch, Executive
                                                                                                                                                             Fin. Stud. 4419, 4422 (2010); Alon Brav et al.,
                                             473 See  Chester S. Spatt, Proxy Advisory Firms,      Director, and Jeffrey P. Mahoney, General Counsel,        Picking Friends Before Picking (Proxy) Fights: How
                                           Governance, Market Failure, and Regulation 7            Council of Inst. Investors (Feb. 20, 2020) (‘‘CII         Mutual Fund Voting Shapes Proxy Contests
                                           (2019), available at https://                           VIII’’).                                                  (Columbia Bus. Sch., Research Paper No. 18–16,
                                           www.milkeninstitute.org/sites/default/files/reports-       478 See, e.g., letters from MFA & AIMA; New York
                                                                                                                                                             2019) at 4, available at https://papers.ssrn.com/
                                           pdf/Proxy%20Advisory%20Firms%20FINAL.pdf                Comptroller II.                                           sol3/papers.cfm?abstract_id=3101473 (‘‘Brav et al.
                                           (‘‘Spatt (2019)’’). Commenters also suggest that           479 See generally Andrey Malenko & Nadya               (2019)’’); James R. Copland, David F. Larcker, &
                                           proxy voting advice businesses are an economically      Malenko, Proxy Advisory Firms: The Economics of           Brian Tayan, The Big Thumb on the Scale: An
                                           efficient means of collecting information and           Selling Information to Voters, 74 J. Fin. 2441 (2019).    Overview of the Proxy Advisory Industry (Stanford
                                           analyzing voting issues. See, e.g., letter from CEC.    In their theoretical model, the authors assume            Bus. Sch. Closer Look Series, May 30, 2018) at 3,
                                              474 See U.S. Gov’t Accountability Office, GAO–
                                                                                                   shareholders have perfectly aligned incentives, with      available at https://www.gsb.stanford.edu/sites/gsb/
                                           07–765, Report to Congressional Requesters,             all shareholders agreeing on share value                  files/publication-pdf/cgri-closer-look-72-big-thumb-
                                           Corporate Shareholder Meetings: Issues Relating to      maximization as the singular goal of the firm so the      proxy-advisory.pdf; James R. Copland, David F.
                                           the Firms that Advise Institutional Investors on        applicability of their results is limited by the extent   Larcker, & Brian Tayan, Proxy Advisory Firms:
                                           Proxy Voting, 17–18 (2007), available at https://       to which investors have goals other than, or in           Empirical Evidence and the Case for Reform,
                                           www.gao.gov/new.items/d07765.pdf (‘‘2007 GAO            addition to, share value maximization. The authors        Manhattan Institute (May 2018) at 6, available at
                                           Report’’); see also Letters in response to the SEC      further assume that proxy advice is provided by a         https://media4.manhattan-institute.org/sites/
                                           Staff Roundtable on the Proxy Process from              single monopolistic proxy advisory firm, and that         default/files/R-JC-0518-v2.pdf (‘‘Copland et al.
                                           BlackRock (Nov. 16, 2018) (‘‘BlackRock’s                shareholders follow proxy advisory firm advice            (2018)’’); Albert Verdam, An Exploration of the Role
                                           Investment Stewardship team has more than 40            without exception. Additionally, the authors              of Proxy Advisors in Proxy Voting (Working Paper,
                                           professionals responsible for developing                assume that when deciding whether to invest in            2006) at 23, available at https://papers.ssrn.com/
                                           independent views on how we should vote proxies         their own independent research, shareholders              sol3/papers.cfm?abstract_id=978835 (‘‘Verdam
                                           on behalf of our clients.’’); NYC Comptroller (Jan.     believe that their votes will be pivotal to the vote      (2006)’’); See letter from Chong Shu, University of
                                           2, 2019) (‘‘We have five full-time staff dedicated to   outcome. The ownership structure of the company           Southern California, Marshall School of Business
                                           proxy voting during peak season, and our least-         is key to the reported findings: The paper shows          (Jun. 22, 2020).
                                           tenured investment analyst has 12 years’ experience                                                                  482 See Stephen Choi, Jill Fisch, & Marcel Kahan,
                                                                                                   that proxy advisory services are valuable when
                                           applying the NYC Funds’ domestic proxy voting           ownership is sufficiently dispersed. In contrast,         The Power of Proxy Advisors: Myth or Reality?, 59
                                           guidelines.’’); Transcript of the Roundtable on the     proxy advisory services are likely to have negative       Emory L.J. 869, 905–06 (2010). See also Brav et al.
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                                           Proxy Process at 194 (comments of Mr. Scot              effects for companies with more concentrated              (2019), supra note 481, at 35. The authors find that
                                           Draeger) (‘‘If you’ve ever actually reviewed the        ownership because they discourage independent             larger mutual fund families cast votes ‘‘in ways
                                           benchmarks, whether it’s ISS or anybody else,           information acquisition by shareholders. However,         completely independent from what are
                                           they’re very extensive and much more detailed than      their results also imply that when ownership is very      recommended by the advisors.’’
                                           small firm[s] like ours could ever develop with our     concentrated shareholders again find proxy                   483 Commenters stated that a large majority of
                                           own independent research.’’).                           advisory services to be valuable because each             proxy votes are cast by proxy advice business
                                              475 2007 GAO Report, supra note 474, at 17–18.       shareholder’s vote is more likely to be pivotal.          clients who provide custom policies to proxy voting



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                                              Research on the role of proxy voting                 however, may have goals other than, or                    the market for proxy advice that cannot
                                           advice businesses in proxy voting has                   in addition to, maximizing the current                    be solved via contractual arrangements
                                           also produced inconclusive results with                 value of a registrant’s shares.                           in the private sector, other market based
                                           respect to the quality of voting advice.                Furthermore, the attribution of stock                     mechanisms, or existing Commission
                                           For example, proxy voting advice                        price reactions to the adoption of                        rules (e.g., Rule 206(4)–6 under the
                                           businesses have been the subject of                     policies by a registrant may be                           Investment Advisers Act).492 For
                                           criticism for potentially being                         challenging due to multiple                               example, one commenter disputed the
                                           influenced by conflicts of interest,484                 announcements and other information                       claims cited in the Proposing Release
                                           producing reports that contain                          about the registrant that may be released                 that proxy voting advice contains
                                           inaccuracies, and utilizing one-size-fits-              concurrently. Together, these                             inaccuracies or errors significant enough
                                           all methodologies when evaluating a                     limitations make it difficult for                         to require regulatory intervention,
                                           diverse array of registrants or when                    researchers to conclusively infer                         stating that proxy voting advice
                                           providing services to a diverse array of                recommendation quality from stock                         businesses ‘‘have every incentive to
                                           clients.485                                             market reactions to implementation of                     conduct credible research and provide
                                              To assess the quality of voting advice,              proxy voting advice business                              accurate recommendations.’’ 493
                                           studies have sought to examine stock                    recommendations.487                                       Another commenter provided analysis
                                           market reactions to registrants’                                                                                  showing that two proxy voting advice
                                           announcements that they will adopt                      2. Commenter Concerns Regarding the
                                                                                                   Rule’s Economic Justification                             businesses are more likely to
                                           policies consistent with proxy voting                                                                             recommend their clients vote with
                                           advice businesses’ recommendations.486                     In response to the Proposing Release,                  management than a typical investor is to
                                           These studies hypothesize that the value                commenters expressed a range of views                     vote with management, casting doubt on
                                           of such policies should be impounded                    regarding the rule’s economic                             claims that proxy voting advice
                                           in stock prices, and if investors expect                justification. Some commenters asserted                   businesses tend to encourage
                                           adoption of a particular policy to                      that there are failures in the market for                 shareholders to oppose management
                                           increase the value of a registrant, an                  proxy advice that justify the final                       proposals.494 Another commenter
                                           announcement that the registrant plans                  rule.488 In addition to a variety of                      provided independent analysis of the
                                           to adopt the policy should be associated                anecdotal evidence, some commenters                       dynamics of proxy vote
                                           with a positive stock price reaction.                   provided surveys of registrants,489                       recommendations, showing that they
                                           This reasoning assumes clients aim to                   corporate governance professionals,490                    change over time in response to events
                                           increase a registrant’s share price and                 and retail investors 491 that indicated
                                           that proxy voting advice businesses                     concerns about factual inaccuracies and                      492 See, e.g., letters from Segal Marco II; TRP; PRI
                                           tailor voting recommendations to                        conflicts of interest in the proxy voting                 II; ProxyVote II; Laura Chappel, Chief Executive,
                                           achieve this aim. Proxy voting advice                   process.                                                  Brunel Pension Partnership Limited (Feb. 3, 2020)
                                           businesses and certain of their clients,                   Other commenters stated, generally,                    (‘‘Brunel’’); Michael J. Clark, Founder and Director,
                                                                                                   that there is no principal-agent problem                  Ario Advisory (Feb. 3, 2020) (‘‘Ario’’); CII IV; Prof.
                                                                                                                                                             Coates; Kevin Thomas, Chief Executive Officer,
                                           advice businesses and, in return, receive               or other market failure and that the                      Shareholder Association for Research and
                                           customized voting recommendations based on these        proposed rule’s economic analysis
                                           policies. See letter from ISS. To our knowledge,                                                                  Education (Jan. 30, 2020) (‘‘SHARE II’’); Louise
                                           however, no academic study examines the relation        failed to describe or provide                             Davidson, Chief Executive Officer, Australian
                                           between proxy votes and the voting                      demonstrable evidence of a problem in                     Council of Superannuation Investors (Jan. 31, 2020)
                                           recommendations provided under the client’s                                                                       (‘‘ACSI’’); BMO; Proxy Insight (Jan. 31, 2020)
                                           custom policies. It is our understanding that clients                                                             (‘‘Proxy Insight’’); Elliott I; Better Markets; New
                                                                                                      487 Proxy voting advice business clients may have
                                           who receive voting recommendations based on                                                                       York Comptroller II; AFL–CIO II; Joel Schneider,
                                                                                                   goals other than, or in addition to, maximizing the       Chair, Corporate Governance Committee,
                                           custom policies also receive the proxy voting advice
                                                                                                   value of a registrant’s shares, or these clients may      Dimensional Fund Advisors (Feb. 3, 2020)
                                           business’s benchmark reports.
                                             484 For example, some proxy voting advice
                                                                                                   have investment objectives that would not be              (‘‘Dimensional’’); Ron Baker, Executive Director,
                                                                                                   achieved solely on the basis of a positive market         Colorado Public Employees’ Retirement Association
                                           businesses provide consulting services to registrants   reaction. See Spatt (2019), supra note 473, at 4;
                                           on corporate governance or executive compensation                                                                 (Feb. 3, 2020) (‘‘Colorado PERA’’); Ashbel C.
                                                                                                   Patrick Bolton et al., Investor Ideology (Nat’l Bureau    Williams, Executive Director & CIO, State Board of
                                           matters, such as assistance in developing proposals     of Econ. Research, Working Paper No. 25717, 2019),
                                           to be submitted for shareholder vote. See Concept                                                                 Administration of Florida (Feb. 3, 2020) (‘‘Florida
                                                                                                   available at https://www.nber.org/papers/                 Board’’); David Villa, Executive Director & Chief
                                           Release at 42989. As a result, some proxy voting        w25717.pdf; Gregor Matvos & Michael Ostrovsky,
                                           advice businesses provide advice regarding a                                                                      Investment Officer, et al., State of Wisconsin
                                                                                                   Heterogeneity and Peer Effects in Mutual Fund             Investment Board (Feb. 3, 2020) (‘‘SWIB’’); CFA
                                           registrant to their institutional investor clients on
                                                                                                   Proxy Voting, 98 J. Fin. Econ. 90 (2010); Copland         Institute I; CIRCA; AllianceBernstein; LA
                                           matters for which they may also provide consulting
                                                                                                   et al. (2018), supra note 481, at 6; Verdam (2006),       Retirement; Glass Lewis II (noting that no market
                                           services to the registrant. One commenter submitted
                                                                                                   supra note 481, at 12.                                    failure is identified in the release and that other
                                           research that attempts to identify and quantify the        488 See, e.g., letters from CEC; BPC; Mylan; Exxon
                                           impact of conflicts of interest on recommendations                                                                jurisdictions’ regulators, including ESMA, have
                                           and the effect of competition between proxy voting      Mobil; Nareit; ACCF; BRT; Timothy M. Doyle (Feb.          concluded that there is no market failure in the
                                           advice businesses on the likelihood of biased           3, 2020) (‘‘T. Doyle’’); CGC; State Street; Nasdaq;       proxy voting advice business industry); ISS;
                                           recommendations. The research finds that                SCG; Charter; NAM; J. Ward; BIO; Christopher A.           Michael Passoff, CEO, Proxy Impact (Feb. 3, 2020)
                                           competition reduces recommendations in favor of         Iacovella, Chief Executive Officer, American              (‘‘Proxy Impact’’); Kenneth A. Bertsch, Executive
                                           management, and that biased recommendations             Securities Association (Feb. 3, 2020) (‘‘ASA’’);          Director, and Jeffrey P. Mahoney, General Counsel,
                                           have negative effects on registrants. The ability to    Shareholder Advocacy; Michael Hietpas (Feb. 3,            Council of Inst. Investors (Feb. 4, 2020) (‘‘CII V’’);
                                           identify the provision of consulting services and to    2020) (‘‘M. Hietpas’’); John Endean, President,           C. Icahn; ValueEdge I; CII VIII. See also IAC
                                           measure biases in recommendations, however,             American Business Conference (Feb. 19, 2020)              Recommendation (stating that, rather than citing
                                           represents a significant data challenge for the         (‘‘ABC’’).                                                reliable evidence of material problems with proxy
                                                                                                      489 See letter from Nasdaq.                            voting advice businesses, the SEC asserts that
                                           estimation of the purported effects. See letter from
                                           Prof. Li.                                                  490 See letter from SCG.                               problems ‘‘may’’ or ‘‘could’’ exist, based on claims
                                             485 See letter from CCMC.                                491 See letter from J.W. Verret, Associate Professor   from private interests (who are biased in favor of
                                             486 See generally David F. Larcker, Allan L.          of Law, George Mason University Antonin Scalia            issuers) that problems exist).
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                                                                                                                                                                493 See letter from New York Comptroller II. See
                                           McCall, & Gaizka Ormazabal, Outsourcing                 School of Law (Jan. 22, 2020) (‘‘Prof. Verret’’)
                                           Shareholder Voting to Proxy Advisory Firms, 58 J.L.     (updating prior Spectrem survey results). One             also letter in response to the SEC Staff Roundtable
                                           & Econ. 173 (2015) (finding that when registrants       commenter disputed the methodology used in the            on the Proxy Process from CII (stating that ‘‘[p]roxy
                                           adjust their compensation program to be more            survey of retail investors, claiming it used leading      advisers’ business model depends on factual
                                           consistent with recommendations of proxy voting         questions and ultimately showed that retail               accuracy and their incentives are thus aligned with
                                           advice businesses, the stock market reaction is         investors are generally uninformed about the proxy        issuers and institutional investors alike.’’).
                                           statistically negative).                                voting advice market. See letter from Prof. Coates.          494 See letter from Proxy Insight.




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                                           and new information, suggesting they                      clients have access to more complete                 services) generally constitutes a
                                           are not ‘‘monolithic.’’ 495                               information regarding matters to be                  solicitation subject to Federal proxy
                                              One commenter suggested that there                     voted on, and the material conflicts of              rules because it is ‘‘a communication to
                                           is a different source of market failure                   interest proxy voting advice businesses              security holders under circumstances
                                           inherent to the proxy voting process and                  may have, support the final                          reasonably calculated to result in the
                                           proxy voting advice businesses                            amendments. As discussed in Section I                procurement, withholding or revocation
                                           stemming from the collective action                       above, the purpose of the amendments                 of a proxy.’’ 501
                                           problem inherent in shareholder                           is to help ensure that investors who use
                                           voting.496 According to the commenter,                    proxy voting advice have access to more                 Several commenters noted that certain
                                           investors do not value expending                          transparent, accurate, and complete                  firms involved in the proxy process do
                                           resources to determine their position on                  information and benefit from a robust                not supply research, analysis, and
                                           a given proxy vote because, on the                        discussion of views—similar to what is               recommendations to support the voting
                                           margin, their vote does not matter and                    possible at a meeting where                          decisions of their clients.502 To the
                                           they do not fully internalize all of the                  shareholders are physically attending                extent such firms are not providing any
                                           benefits associated with any resources                    and participating—when making their                  voting recommendations and are instead
                                           they do expend.497 The commenter                          voting decisions, while minimizing                   exercising delegated voting authority on
                                           further asserts that proxy voting advice                  costs or delays that could adversely                 behalf of their clients, we agree that
                                           businesses, in turn, can therefore only                   affect the timely provision of proxy                 such services generally will not
                                           charge modest fees for their services,                    voting advice. The amendments are                    constitute ‘‘proxy voting advice’’ under
                                           which leads them to be resource                           expected to reduce the costs incurred by             Rule 14a–1(l)(1)(iii)(A) and have
                                           constrained in performing their own                       clients of proxy voting advice                       adjusted our baseline accordingly.503
                                           research. Thus, according to the                          businesses in monitoring for conflicts of               As of July 22, 2020, to our knowledge,
                                           commenter, this arrangement leads to                      interest or acquiring information
                                           voting recommendations that are not                                                                            the proxy voting advice industry in the
                                                                                                     relevant to assessing proxy voting                   United States consists of three major
                                           adequately informed or precise, and                       advice. In this way, the amendments
                                           thus imposes negative externalities on                                                                         firms: ISS, Glass Lewis, and Egan-Jones.
                                                                                                     should improve the overall efficiency
                                           shareholders. The commenter argues                        associated with this segment of the                     • ISS, founded in 1985, is a privately-
                                           that, because market forces are unable to                 proxy system. Proxy voting advice                    held company that provides research
                                           improve the quality of voting                             businesses often act as the intermediary             and analysis of proxy issues, custom
                                           recommendations and reduce these                          for their clients’ participation in the              policy implementation, vote
                                           externalities, there is a need for                        proxy system, and the requirements of                recommendations, vote execution,
                                           regulatory action.498 Another                             the rule will facilitate clients’ timely             governance data, and related products
                                           commenter offered a different                             access to, and awareness of, more                    and services.504 ISS also provides
                                           perspective, arguing instead that proxy                   complete information prior to voting.                advisory/consulting services, analytical
                                           voting advice businesses represented a                    This has the potential to benefit not just           tools, and other products and services to
                                           private market solution to shareholders’                  those clients and the immediate                      corporate registrants through ISS
                                           collective action problem, rendering                      shareholders they serve but also                     Corporate Solutions, Inc. (a wholly
                                           regulatory intervention unnecessary.499                   investors in our public markets more                 owned subsidiary).505 As of April 2020,
                                           Other commenters posited that the                         generally.                                           ISS had nearly 2,000 employees in 30
                                           underlying concentration among proxy
                                                                                                     B. Economic Baseline                                 locations, and covered approximately
                                           voting advice businesses and conflicts
                                                                                                                                                          44,000 shareholder meetings in 115
                                           of interest are the result of past                          The baseline against which the costs,
                                           regulatory action that created demand                                                                          countries, annually.506 ISS states that it
                                                                                                     benefits, and the impact on efficiency,
                                           for the services of proxy voting advice                                                                        executes about 10.2 million ballots
                                                                                                     competition, and capital formation of
                                           businesses.500                                            the final amendments are measured                    annually on behalf of those clients
                                              We believe that the important role                     consists of the current regulatory                   representing 4.2 trillion shares.507 ISS is
                                           proxy voting advice businesses                            requirements applicable to registrants,              registered with the Commission as an
                                           currently play in facilitating clients’                   proxy voting advice businesses,                      investment adviser and identifies its
                                           participation in the proxy process, as                    investment advisers, and other clients of
                                           well as the importance of ensuring that                   these businesses, as well as current
                                                                                                     industry practices used by these entities              501 See Commission Interpretation on Proxy
                                             495 See  letter from PRI II.                            in connection with the preparation,                  Voting Advice at 47417.
                                              496 See letter from B. Sharfman I. See also letter                                                            502 Specifically, commenters indicated that two
                                                                                                     distribution, and use of proxy voting
                                           from Bryce C. Tingle, N. Murray Edwards Chair in                                                               additional firms included in the set of affected
                                           Business Law, Faculty of Law, University of Calgary       advice.
                                                                                                                                                          proxy voting advice businesses in the Proposing
                                           (Jan. 31, 2020) (‘‘Prof. Tingle’’) (similarly asserting
                                           that both fund managers and proxy voting advice
                                                                                                     1. Affected Parties and Current Market               Release, ProxyVote Plus and Marco Consulting
                                                                                                     Practices                                            Group did not advise investment advisers and
                                           business are not incentivized to expend significant
                                           resources in producing and evaluating voting                                                                   institutional investors on their voting
                                           advice, but without attributing this lack of
                                                                                                     a. Proxy Voting Advice Businesses                    determinations and would therefore not be affected
                                           incentives to a collective action problem on the part                                                          by the proposed amendments. See supra note 100
                                                                                                       Proxy voting advice businesses will
                                           of shareholders.).                                                                                             and accompanying text. See also letters from Segal
                                              497 Academic research has shown, theoretically,
                                                                                                     be affected by the final amendments. As              Marco II; ProxyVote II; CII IV.
                                           that the inability of shareholders to fully internalize   the Commission has previously stated,                  503 See supra notes 170–173 and accompanying

                                           the benefits of developing an informed position on        voting advice provided by a firm such                text.
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                                           matters put to a shareholder vote can cause               as a proxy voting advice business that                 504 See 2016 GAO Report, supra note 141, at 6.
                                           shareholders to over-rely on proxy voting advice          markets its expertise in researching and               505 Id.
                                           under certain conditions. See supra note 479.
                                              498 See letter from B. Sharfman I.                     analyzing proxy issues for purposes of                 506 See About ISS, available at https://

                                              499 See letter from Glass Lewis II.                    helping its clients make proxy voting                www.issgovernance.com/about/about-iss/ (last
                                              500 See, e.g., letter from P. Mahoney and J.W.         determinations (i.e., not merely                     visited May 22, 2020). See also supra note 10.
                                           Verret.                                                   performing administrative or ministerial               507 See About ISS, available at https://

                                                                                                                                                          www.issgovernance.com/about/about-iss/ (last
                                                                                                                                                          visited May 22, 2020).

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                                           work as pension consultant as the basis                 not have access to general financial                    market to supply proxy voting advice in
                                           for registering as an adviser.508                       information for ISS, Glass Lewis, and                   the United States.
                                              • Glass Lewis, established in 2003, is               Egan-Jones such as annual revenues,                        In a principal-agent relationship, such
                                           a privately-held company that provides                  earnings before interest, taxes,                        as the relationship between a proxy
                                           research and analysis of proxy issues,                  depreciation, and amortization, and net                 voting advice business and a client, to
                                           custom policy implementation, vote                      income. We also do not have access to                   the extent that the principals’ and
                                           recommendations, vote execution, and                    client-specific financial information or                agents’ interests are not perfectly
                                           reporting and regulatory disclosure                     more general or aggregate information                   aligned, agents can expend resources to
                                           services to institutional investors.509 As              regarding the economics of the proxy                    assure principals that they will act in
                                           of April 2020, Glass Lewis had more                     voting advice business.                                 the principals’ best interest. When
                                           than 380 employees worldwide that                                                                               agents operate in a competitive market
                                                                                                      Several commenters stated that the
                                           provide services to more than 1,300                                                                             soliciting business from principals, they
                                                                                                   economic analysis in the Proposing
                                           clients that collectively manage more                                                                           have an incentive to expend resources
                                                                                                   Release failed to consider effects of the
                                           than $35 trillion in assets.510 Glass                                                                           to assure principals that they will act in
                                           Lewis states that it covers more than                   proposal on smaller firms that provide
                                                                                                                                                           the principals’ best interest, or risk
                                           20,000 shareholder meetings across                      proxy voting services, such as Investor
                                                                                                                                                           putting themselves at a competitive
                                           approximately 100 global markets                        Advocates for Social Justice (‘‘IASJ’’).518
                                                                                                                                                           disadvantage.521 Where the agent’s
                                           annually.511 Glass Lewis is not                         Further, commenters stated that the
                                                                                                                                                           interest and the principal’s interest
                                           registered with the Commission in any                   final amendments could affect the
                                                                                                                                                           diverge, there can be a strong
                                           capacity.                                               propensity of non-U.S. firms to compete
                                                                                                                                                           counterweight to this incentive and
                                              • Egan-Jones was established in 2002                 with U.S. proxy voting advice
                                                                                                                                                           where a relationship is multifaceted the
                                           as a division of Egan-Jones Ratings                     businesses.519 Based on the information
                                                                                                                                                           agent may emphasize areas of alignment
                                           Company.512 Egan-Jones is a privately-                  available to the Commission,520                         and de-emphasize areas of conflict. In
                                           held company that provides proxy                        including comments on the Proposing                     the proxy voting advice market, certain
                                           services, such as notification of                       Release, we are not aware of smaller                    practices by proxy voting advice
                                           meetings, research and                                  firms that currently supply research,                   businesses serve as mechanisms to
                                           recommendations on selected matters to                  analysis, and recommendations in the                    assure their clients that proxy voting
                                           be voted on, voting guidelines,                         United States to support the voting                     advice businesses will take actions that
                                           execution of votes, and regulatory                      decisions of their clients that would fall              are in clients’ best interest. All three
                                           disclosure.513 As of September 2016,                    within the definition of ‘‘solicitation.’’              major proxy voting advice businesses
                                           Egan-Jones’ proxy research or voting                    We acknowledge that any smaller firms                   have policies, procedures, and
                                           clients mostly consisted of mid- to large-              or non-U.S. proxy voting advice                         disclosures in place that are intended to
                                           sized mutual funds,514 and the firm                     businesses could be affected by the final               reduce clients’ costs of monitoring the
                                           covered approximately 40,000                            amendments to the extent they provide                   businesses’ behavior.522
                                           companies.515 Egan-Jones Ratings                        proxy voting advice on registrants who                     Proxy voting advice businesses’
                                           Company (Egan-Jones’ parent company)                    have filed proxy materials with the                     reliance on information available to all
                                           is registered with the Commission as a                  Commission, or if the final amendments                  shareholders is one example of how
                                           Nationally Recognized Statistical                       affect their willingness to enter the                   current market practices may mitigate
                                           Ratings Organization.516                                                                                        agency costs. One commenter noted that
                                              Of the three proxy voting advice                     market in the United States.’’); see also letters in    facing the prospect of having their work
                                           businesses identified, ISS and Glass                    response to the SEC Staff Roundtable on the Proxy
                                                                                                   Process from Center on Executive Compensation           checked by clients can discipline proxy
                                           Lewis are the largest and most often                    (Mar. 7, 2019) (noting that there are ‘‘two firms       voting advice businesses that might
                                           used for proxy voting advice.517 We do                  controlling roughly 97% of the market share for         otherwise act based on conflicts of
                                                                                                   such services’’); Society for Corporate Governance      interest when developing proxy
                                              508 See Form ADV filing for ISS, available at        (Nov. 9, 2018) (‘‘While there are five primary proxy
                                                                                                   advisory firms in the U.S., today the market is         advice.523 The same commenter
                                           https://adviserinfo.sec.gov/IAPD/content/
                                           ViewForm/crd_iapd_stream_                               essentially a duopoly consisting of Institutional       included use of publicly available
                                           pdf.aspx?ORG_PK=111940 (last accessed April 23,         Shareholder Services . . . and Glass Lewis &            information as a step it has taken to
                                           2020). See also 2016 GAO Report, supra note 141,        Co. . . . .’’).                                         ‘‘ensure quality and minimize error in
                                                                                                      518 See letter from IASJ. We understand that this
                                           at 9.                                                                                                           its published research.’’ 524 The three
                                              509 Id. at 7.                                        firm typically does not make voting
                                              510 See Glass Lewis Company Overview, available      recommendations to its institutional investor           major proxy voting advice businesses
                                           at https://www.glasslewis.com/company-overview/         clients but rather assists those ‘‘who seek a partner   state that they base their
                                           (last visited Apr. 26, 2020).                           to carry out their proxy voting.’’ Id. To the extent    recommendations exclusively on
                                                                                                   a firm does not make voting recommendations to its
                                              511 Id.
                                                                                                   clients and is instead exercising delegated authority
                                                                                                                                                           information that is publicly available.
                                              512 See 2016 GAO Report, supra note 141, at 7.
                                                                                                   on their behalf, it would not be engaged in a           Relying on publicly available
                                              513 Id.
                                                                                                   ‘‘solicitation’’ within the meaning of Rule 14a–        information to develop proxy advice
                                              514 Id.
                                                                                                   1(l)(1)(iii)(A). See supra notes 170–173 and            enables clients to validate the inputs
                                              515 Id. While ISS and Glass Lewis have published     accompanying text. Therefore, based on our
                                           updated coverage statistics on their websites, the      understanding of its current activities, this
                                                                                                                                                           that proxy voting advice businesses
                                           most recent data available for Egan-Jones was           commenter (and others engaged in similar conduct)       provide, rather than expending effort to
                                           compiled in the 2016 GAO Report.                        would not appear to be subject to compliance with       obtain proprietary, and potentially
                                              516 See Order Granting Registration of Egan-Jones    Rule 14a–2(b)(9). See also letters from Felician        commercially sensitive, information
                                           Rating Company as a Nationally Recognized               Sisters II; Good Shepherd; Interfaith Center II;
                                           Statistical Rating Organization, Exchange Act           ProxyVote II; Segal Marco II; St. Dominic of
                                                                                                                                                             521 Agents have an incentive to expend resources
                                           Release No. 34–57031 (Dec. 21, 2007), available at      Caldwell.
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                                           https://www.sec.gov/ocr/ocr-current-                       519 See letters from Minerva I; PIRC.                to assure principals that they will act in the
                                           nrsros.html#egan-jones.                                    520 Our awareness of providers of proxy voting       principals’ best interest as long as the cost of
                                              517 See 2016 GAO Report, supra note 141, at 8,       services may be limited because firms that provide      providing the assurance is less than the value of the
                                           41 (‘‘In some instances, we focused our review on       proxy voting services, including proxy voting           assurance to principals.
                                                                                                                                                             522 See, e.g., letter from Glass Lewis II.
                                           Institutional Shareholder Services (ISS) and Glass      advice businesses, do not always engage in
                                                                                                                                                             523 See letter from ISS.
                                           Lewis and Co. (Glass Lewis) because they have the       activities that would require them to register with
                                           largest number of clients in the proxy advisory firm    the Commission. See supra Section I.                      524 See id.




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                                           directly from registrants or other                       ‘‘proactive visibility’’ regarding a range              clients that the voting advice they
                                           sources.                                                 of significant relationships within the                 receive will be based on accurate,
                                             As part of our consideration of the                    client-facing side of the ProxyExchange                 transparent, and complete information.
                                           baseline for the final rules, we focus on                platform.527 ICS also discloses in all of               In some cases, proxy voting advice
                                           two industry practices that are                          its contracts that ISS’ status as a                     businesses seek input from registrants to
                                           particularly relevant for the new                        registered investment adviser (as well as               further these objectives. All three of
                                           conditions in Rule 14a–2(b): Conflicts of                its internal policies and procedures)                   these proxy voting advice businesses
                                           interest disclosure and procedures for                   may require ISS to disclose to ISS                      offer certain registrants some form of
                                           engagement with registrants.                             institutional clients ICS’ relationship                 pre-release review of at least some of
                                           i. Conflict of Interest Disclosures                      with the registrant.                                    their proxy voting advice reports, or the
                                                                                                       We understand the other two major                    data used in their reports. Also, all three
                                              While the nature of potential conflicts               proxy voting advice businesses also                     such proxy voting advice businesses
                                           related to revenues might be different                   provide disclosure of potential conflicts               offer some registrants access to proxy
                                           among the three proxy voting advice                      of interest. Glass Lewis notes that it                  voting reports and offer mechanisms by
                                           businesses, all three proxy voting advice                provides disclosure of potential                        which registrants can provide feedback
                                           businesses have conflicts of interest                    conflicts on the cover of the relevant                  on those reports, in some cases for a fee.
                                           policies and make disclosures to clients                 research report.528 This is intended to                    For example, ISS states that it may, in
                                           disclosing the nature of potential                       enable clients and any other parties                    some circumstances, give registrants,
                                           conflicts and the steps that they have                   with access to a Glass Lewis report (e.g.,              whether or not they are ICS clients, the
                                           taken to address them.525 These existing                 the media) to review potential conflicts                right to review draft research analyses,
                                           policies and disclosures are part of the                 at the same time they review the                        ratings, or other advisory research
                                           economic baseline for the amendments.                    research, analysis, and voting                          reports so that ISS may correct factual
                                              For example, we understand that ISS                                                                           inaccuracies before delivering final
                                                                                                    recommendations contained therein.
                                           has implemented policies and                                                                                     voting advice. ISS acknowledges that
                                                                                                    Egan-Jones also discloses its
                                           procedures designed to prevent and                                                                               review of draft analyses may provide an
                                           manage conflicts that could arise from                   management of three categories of
                                                                                                    potential conflicts—revenue, cost, and                  opportunity for registrants to unduly
                                           the work of ISS’ research and analytics                                                                          influence those analyses and reports. To
                                           teams (‘‘Global Research’’) and the work                 structural—to the public.529
                                                                                                       Thus, it appears that all three major                avoid the appearance of impropriety,
                                           of ISS Corporate Solutions (‘‘ICS’’) for                                                                         ISS states that it generally offers
                                           public companies.526 More specifically,                  proxy voting advice businesses have
                                                                                                    some level of conflict of interest                      registrants an opportunity to review a
                                           Global Research prepares proxy voting                                                                            draft proxy analysis, rating, or other
                                           governance research, analyzes proxy                      disclosure policies in place and provide
                                                                                                    such disclosure to affected parties.                    research report only for the purposes of
                                           issues, and provides ratings on, and                                                                             verifying the factual accuracy of
                                           other assessments of, public companies                   These disclosures, which are intended
                                                                                                    to support the objectivity of voting                    information. ISS further states that it
                                           for the benefit of institutional investors.                                                                      retains sole discretion whether to accept
                                           ICS provides advisory services,                          advice and the integrity of the voting
                                                                                                    process, may overlap to a certain degree                any change recommended by the
                                           analytical tools, and publications to                                                                            registrant. ISS’s policies also govern
                                           registrants to enable registrants to                     with the requirements in the final
                                                                                                    amendments. These disclosure policies,                  changes to analyses based on registrant
                                           improve shareholder value and reduce                                                                             feedback. According to ISS’s Code of
                                           risk. According to ISS, one of the                       however, vary in terms of structure and
                                                                                                    coverage as well as the manner the in                   Ethics, if the analyst changes the
                                           primary steps the firm has taken to                                                                              proposed voting recommendation or
                                           prevent and manage this potential                        which the information is conveyed.
                                                                                                                                                            other proposed conclusion, the
                                           conflict of interest is implementing a                   ii. Engagement With Registrants                         proposed change must be reviewed by a
                                           firewall with the goal of separating ICS                                                                         senior analyst and ISS will retain in its
                                           from ISS. ISS notes that it makes                           The following section discusses
                                                                                                    existing proxy voting advice business                   files the documents supplied by the
                                           available to its institutional clients                                                                           registrant detailing the factual
                                           information about the relationships                      engagement with the subjects of proxy
                                                                                                    voting advice—one avenue by which                       inaccuracies.530
                                           between ICS and its clients in a way that                                                                           Glass Lewis introduced a ‘‘Report
                                           is intended not to alert Global Research                 such businesses may signal to their
                                                                                                    clients that the information underlying                 Feedback Statement’’ service in 2019
                                           analysts to the possible existence of                                                                            that has allowed companies to submit
                                           such relationships. ISS also notes that it               proxy voting advice is accurate,
                                                                                                    transparent, and complete.                              feedback on Glass Lewis reports and
                                           adds a legend to each global or domestic                                                                         have that feedback be transmitted
                                           proxy analysis advising the reader of the                   We understand that all three major
                                                                                                    proxy voting advice businesses have                     directly to Glass Lewis clients in the
                                           existence of ICS and offering ISS’ clients                                                                       proxy research papers they receive.531
                                           the ability to learn more about ICS and                  certain policies, procedures, and
                                                                                                    disclosures in place intended to assure                 In addition to these services, beginning
                                           its clients. In addition, ISS indicates                                                                          in 2015, Glass Lewis started providing
                                           that it has implemented a policy on the                                                                          the subjects of its research with its
                                                                                                      527 See ISS Policy Regarding Disclosure of
                                           disclosure of significant relationships,                 Significant Relationships, available at https://
                                           under which ISS provides clients with                    www.issgovernance.com/file/duediligence/                  530 See ISS Code of Ethics 7 (2020), available at
                                                                                                    Disclosure-of-Significant-Relationships.pdf (last       https://www.issgovernance.com/file/duediligence/
                                             525 See, e.g., letters from ISS; Glass Lewis II. See   visited Apr. 27, 2020).                                 code-of-ethics-mar-2020.pdf.
                                           also Egan-Jones Proxy Services Conflict of Interest        528 See Glass Lewis’ Policies and Procedures for        531 See Press Release, Glass Lewis, Glass Lewis
                                           Statement (Sept. 2019), available at https://            Managing and Disclosing Conflicts of Interest           Announces that Company Opinions are Now
                                           www.ejproxy.com/media/documents/Egan-Jones_              (2019), available at https://www.glasslewis.com/wp-     Included With Research and Voting
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                                           Proxy_Conflict-of-Interest_Sep-2019.pdf.                 content/uploads/2019/11/GL-Policies-and-                Recommendations (Apr. 2, 2020), available at
                                             526 See ISS, Best Practice Principles for Providers    Procedures-for-Managing-and-Disclosing-Conflicts-       https://glasslewis.com/report-feedback-statement-
                                           of Shareholder Voting Research & Analysis: ISS           of-Interest-050819-FINAL.pdf.                           included-with-research. See also Press Release,
                                           Compliance Statement (2017), available at https://         529 See Egan-Jones Proxy Services Conflict of         Glass Lewis, Glass Lewis Launches Report
                                           www.issgovernance.com/file/duediligence/best-            Interest Statement, available at https://ejproxy.com/   Feedback Statement Service (Mar. 14, 2020),
                                           practices-principles-iss-compliance-statement-april-     media/documents/Egan-Jones_Proxy_Conflict-of-           available at https://glasslewis.com/glass-lewis-
                                           2017-update.pdf.                                         Interest_Sep-2019.pdf (last visited Apr. 27, 2020).     launches-report-feedback-statement-service.



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                                           Issuer Data Report, which details the                   registrants may file in response to proxy                       TABLE 1—NUMBER OF CLIENTS BY
                                           key facts underlying the relevant report                voting advice.                                                     CLIENT TYPE—Continued
                                           for their review before the report is                      Non-U.S. proxy voting advice
                                                                                                                                                                                 [as of March 28, 2020]
                                           finalized. According to Glass Lewis,                    businesses that are signatories to the
                                           materials provided are deliberately                     Best Practice Principles for Shareholder                                                                   Number of
                                           limited. Glass Lewis has indicated that                 Voting Research have provided                                            Type of client a
                                                                                                                                                                                                               clients b
                                           by providing the facts underlying the                   information about their engagement
                                           report, it can benefit from registrant                  with registrants.536 Based on these                          Insurance companies ...........                        40
                                           review without inviting debates about                   public disclosures, we understand that                       Sovereign wealth funds and
                                           Glass Lewis’ methodology or what result                 levels of registrant engagement vary                           foreign official institutions ..                     10
                                           that methodology should lead to in the                  across non-U.S. proxy voting advice                          Corporations or other busi-
                                                                                                   businesses. For example, the U.K.-based                        nesses not listed above ....                         70
                                           context of a particular recommendation.
                                                                                                                                                                Other .....................................           225
                                           This service has been available without                 firm PIRC states that it provides pre-
                                           a fee for several years and more than                   publication drafts of proxy voting                                 Total ...............................         2,095
                                           1,400 companies currently participate in                advice to registrants for some
                                                                                                                                                                   a The   table excludes client types for which
                                           it on an annual basis.532                               jurisdictions as a courtesy, while
                                              Egan-Jones provides several avenues                                                                               ISS indicated either zero clients or less than
                                                                                                   France-based firm Proxinvest does                            five clients.
                                           for registrants to review and correct any               not.537 While acknowledging the                                 b Form ADV filers indicate the approximate
                                           material errors found in its reports.                   practices of these non-U.S. proxy voting                     number of clients attributable to each type of
                                           Registrants may obtain a ‘‘draft,’’ or pre-             advice businesses, this section focuses                      client. If the filer has fewer than five clients in
                                           publication copy, of a report pertaining                                                                             a particular category (other than investment
                                                                                                   on the three major proxy voting advice                       companies, business development companies,
                                           to them in order to review it. If a                     businesses that operate in the United                        and pooled investment vehicles), it may indi-
                                           registrant believes there is a material                 States.538                                                   cate that it has fewer than five clients rather
                                           error in an Egan-Jones report, the                                                                                   than reporting the number of clients.
                                           registrant may contact Egan-Jones                       b. Clients of Proxy Voting Advice
                                           directly. In addition, major U.S. third-                Businesses as Well as Underlying                                Table 1 illustrates the types of clients
                                           party proxy solicitors participate in                   Investors                                                    that utilize the services of one of the
                                           Egan-Jones’ Research Preview program.                      Clients that use proxy voting advice                      largest proxy voting advice businesses.
                                           Through that program, proxy solicitors                  businesses for voting advice will be                         For example, while investment advisers
                                           can supply draft copies of the research                 affected by the final rule amendments.                       (‘‘Other investment advisers’’ in Table
                                           regarding the registrant to the registrant,             In turn, investors and other groups on                       1) constitute a 46 percent plurality of
                                           and convey appropriate documentation                    whose behalf these clients make voting                       clients for ISS, other types of clients
                                           to Egan-Jones to correct any errors found               determinations will be affected. One of                      include pooled investment vehicles (14
                                           in the research on behalf of the                        the three major proxy voting advice                          percent) and pension and profit sharing
                                           registrant.533                                          businesses—ISS—is registered with the                        plans (eight percent). Other users of the
                                              Although the three major proxy voting                Commission as an investment adviser                          services offered by ISS include
                                           advice businesses offer registrants                     and as such, provides annually updated                       corporations, charitable organizations,
                                           opportunities to review proxy voting                    disclosure with respect to its types of                      and insurance companies.540 Certain of
                                           advice, existing policies and procedures                clients on Form ADV. Table 1 below                           these users of proxy voting advice
                                           limit review in some respects. ISS, for                 reports client types as disclosed by                         business services make voting
                                           example, offers only ‘‘eligible’’                       ISS.539                                                      determinations that affect the interests
                                           registrants an opportunity to review                                                                                 of a wide array of individual investors,
                                           draft proxy analyses and generally uses                    TABLE 1—NUMBER OF CLIENTS BY                              beneficiaries, and other constituents.541
                                           the S&P 500 constituent list to                                    CLIENT TYPE                                       c. Registrants
                                           determine eligibility. Moreover, even for                                [as of March 28, 2020]
                                           eligible companies, ISS provides an                                                                                   Registrants also will be affected by the
                                           opportunity to review solely on a ‘‘best-                                                              Number of   final amendments. Registrants that have
                                                                                                             Type of     client a                             a class of equity securities registered
                                           efforts’’ basis.534 As noted above, Glass                                                               clients b
                                           Lewis indicates that its registrant review                                                                         under Section 12 of the Exchange Act as
                                           process is limited to pre-publication                   Banking or thrift institutions ..                      195 well as non-registrant parties that
                                                                                                   Pooled investment vehicles ..                          300 conduct proxy solicitations with respect
                                           review of only the key facts underlying                 Pension and profit sharing
                                           each relevant report.535                                  plans ..................................             170
                                                                                                                                                              to those registrants are subject to the
                                              Additionally, it is our understanding                Charitable organizations .......                       110
                                           that some proxy voting advice                           State or municipal govern-                                     540 Id.

                                           businesses currently include links to                     ment entities ......................                  10      541 One commenter argued that the economic

                                           filings by registrants that are the subject             Other investment advisers ....                         960   analysis should include more data and data analysis
                                                                                                                                                                related to senior citizens since they make up a large
                                           of proxy advice in their online                                                                                      portion of the mainstream investor community. In
                                           platforms. These links provide a means                     536 See BPP Group Signatory Statements,
                                                                                                                                                                particular, the commenter suggested we include
                                           by which clients may access additional                  available at https://bppgrp.info/signatory-                  more data on the proportion of total investors that
                                                                                                   statements (last visited Apr. 29, 2020).                     are senior citizens and some demographic analysis.
                                           definitive proxy materials that                            537 Id.
                                                                                                                                                                We are sympathetic to the commenter’s suggestion
                                                                                                      538 As noted in above, we are not aware of smaller
                                             532 See
                                                                                                                                                                regarding the importance of senior citizens as
                                                     letter from Glass Lewis II.                   firms that currently supply research, analysis, and          investors, but we do not have data to perform the
                                             533 See Egan-Jones Issuer Engagement, available       recommendations to support the voting decisions of           analysis the commenter requested and none was
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                                           at https://ejproxy.com/issuers (last visited Apr. 28,   their clients that would fall within the definition of       provided by commenters. See letter from Jim
                                           2020).                                                  ‘‘solicitation.’’ Thus we do not speculate as to how         Martin, Chairman, et al., 60 Plus Association (Feb.
                                             534 See ISS Draft Review Process for U.S. Issuers,    smaller firms might engage with registrants.                 3, 2020) (‘‘60 Plus’’). We note that, to the extent the
                                           available at https://issgovernance.com/iss-draft-          539 See ISS Form ADV filing, supra note 508. ISS          final rules improve the mix of information available
                                           review-process-u-s-issuers/ (last visited Apr. 28       describes clients classified as ‘‘Other’’ as                 to shareholders when voting decisions are made,
                                           2020).                                                  ‘‘Academic, vendor, other companies not able to              they will benefit the investor community generally,
                                             535 See supra note 532.                               identify as above.’’                                         including senior citizen investors.



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                                           federal proxy rules.542 In addition, there               there were 12,718 registered                               Whether or not proxy voting advice
                                           are certain other companies that do not                  management investment companies that                    businesses permit registrants to review
                                           have a class of equity securities                        were subject to the proxy rules: (i)                    draft proxy voting advice, all registrants
                                           registered under Section 12 of the                       12,040 open-end funds, out of which                     are able to respond to final proxy voting
                                           Exchange Act that file proxy materials                   1,910 were Exchange Traded Funds                        advice by filing additional definitive
                                           with the Commission. Finally, Rule                       (‘‘ETFs’’) registered as open-end funds                 proxy materials. However, as discussed
                                           20a–1 under the Investment Company                       or open-end funds that had an ETF                       in the Proposing Release, some
                                           Act subjects all registered management                   share class; (ii) 664 closed-end funds;                 registrants have asserted that a large
                                           investment companies to the federal                      and (iii) 14 variable annuity separate                  percentage of proxies are voted within
                                           proxy rules.543                                          accounts registered as management                       24 to 48 hours of proxy voting advice
                                             As of December 31, 2018, we estimate                   investment companies.546 As of                          being issued 551 and that it can be
                                           that 5,758 registrants had a class of                    December 2018, we identified 98                         difficult for registrants to access and
                                           securities registered under Section 12 of                Business Development Companies                          analyze the proxy voting advice,
                                           the Exchange Act.544 As of the same                      (‘‘BDCs’’) that could be subject to the                 formulate a response, and file the
                                           date, there were approximately 20                        final amendments.547 The summation of                   necessary materials with the
                                           companies that did not have a class of                   these estimates yields 18,594 companies                 Commission within that time period.552
                                           securities registered under Section 12 of                that may be affected to a greater or lesser             This is consistent with feedback
                                           the Exchange Act that filed proxy                        extent by the final amendments.548                      received from commenters, who also
                                           materials.545 As of August 31, 2019                         The above estimates are an upper                     indicated that registrants face time
                                                                                                    bound of the number of potentially                      pressure in their efforts to communicate
                                              542 Foreign private registrants are exempt from the
                                                                                                    affected companies because not all of                   their responses to proxy voting advice to
                                           Federal proxy rules under Rule 3a12–3(b) of the          these registrants may file proxy
                                           Exchange Act. See 17 CFR 240.3a12–3. We are not                                                                  shareholders prior to votes.553 The
                                           aware of any asset-backed registrants that have a        materials related to a meeting for which                Proposing Release included an analysis
                                           class of equity securities registered under Section      a proxy voting advice business issues                   that estimated the number of additional
                                           12 of the Exchange Act. Most asset-backed                proxy voting advice in a given year. Out                definitive proxy material filings in 2016,
                                           registrants are registered under Section 15(d) of the    of the 18,594 potentially affected
                                           Exchange Act and thus are not subject to the federal                                                             2017, and 2018,554 and Commission
                                           proxy rules. Nine asset-backed registrants had a         registrants mentioned above, 5,690 filed                staff subsequently refined the process
                                           class of debt securities registered under Section 12     proxy materials with the Commission                     for identifying relevant filings and
                                           of the Exchange Act as of December 2018. As a            during calendar year 2018.549 Out of the                published a list of the filings it
                                           result, these asset-backed registrants are not subject   5,690 registrants, 4,758 (84 percent)
                                           to the federal proxy rules.                                                                                      identified in a memorandum to the
                                              543 Rule 20a–1 under the Investment Company           were Section 12 or Section 15(d)                        public comment file.555 This list shows
                                           Act requires registered management investment            registrants and the remaining 932 (16                   approximately 105, 93, and 90 filings in
                                           companies to comply with regulations adopted             percent) were registered management                     2016, 2017, and 2018, respectively.
                                           pursuant to Section 14(a) of the Exchange Act that       investment companies.550
                                           would be applicable to a proxy solicitation if it
                                                                                                                                                            Further, in the Proposing Release, the
                                           were made in respect of a security registered                                                                    staff identified in a subset of additional
                                           pursuant to Section 12 of the Exchange Act. See 17       with no class of equity securities registered under     definitive proxy material filings in 2018,
                                           CFR 270.20a–1. ‘‘Registered management                   Section 12(b) or Section 12(g).
                                                                                                       546 We estimate the number of unique registered      where data were available, the number
                                           investment company’’ means any investment
                                           company other than a face-amount certificate             management investment companies based on Forms          of business days between when a proxy
                                           company or a unit investment trust. See 15 U.S.C.        N–CEN filed between June 2018 and August 2019           voting advice business delivered proxy
                                           80a–4.                                                   with the Commission. Open-end funds are                 voting advice and when the registrant
                                                                                                    registered on Form N–1A. Closed-end funds are
                                              544 We estimate the number of registrants with a
                                                                                                    registered on Form N–2. Variable annuity separate
                                                                                                                                                            filed additional definitive proxy
                                           class of securities registered under Section 12 of the
                                           Exchange Act by reviewing all Forms 10–K filed           accounts registered as management investment
                                                                                                    companies are trusts registered on Form N–3. The        August 2019, there were 965 registered management
                                           during calendar year 2018 with the Commission
                                                                                                    number of potentially affected Section 12 and           investment companies that submitted matters for its
                                           and counting the number of unique registrants that
                                                                                                    Section 15(d) registrants is estimated over a           security holders’ vote during the reporting period:
                                           identify themselves as having a class of securities
                                                                                                    different time period (i.e., January 2018 to            (i) 729 open-end funds, out of which 86 were ETFs
                                           registered under Section 12(b) or Section 12(g) of
                                                                                                    December 2018) than the number of potentially           registered as open-end funds or open-end funds that
                                           the Exchange Act. Foreign private registrants that
                                                                                                    affected registered management investment               had an ETF share class; (ii) 235 closed-end funds;
                                           filed Forms 20–F and 40–F and asset-backed
                                                                                                    companies (i.e., June 2018 to August 2019) because      and (iii) one variable annuity separate account. See
                                           registrants that filed Forms 10–D and 10–D/A
                                                                                                    there is no complete N–CEN data for the most            Form N–CEN Item B.10. The discrepancy in the
                                           during calendar year 2018 with the Commission are
                                                                                                    recent full calendar year (i.e., 2018). Registered      estimated number of registered management
                                           excluded from this estimate. This estimate excludes
                                                                                                    management investment companies started                 investment companies submitting proxy filings (i.e.,
                                           BDCs that filed Form 10–K in 2018.
                                              545 We identify these issuers as those (1) subject    submitting Form N–CEN in September 2018 for the         932) and Form N–CEN data (i.e., 965) likely is
                                                                                                    period ended on June 30, 2018 with the                  attributable to the different time periods over which
                                           to the reporting obligations of Exchange Act Section                                                             the two statistics are estimated.
                                                                                                    Commission.
                                           15(d) but that do not have a class of equity                547 BDCs are entities that have been issued an          551 See Proposing Release at 66545, n.235.
                                           securities registered under Exchange Act Section
                                           12(b) or 12(g) and (2) that filed any proxy materials    814- reporting number. Our estimate includes 88            552 See id. at 66545, n.236. As we noted above,

                                           during calendar year 2018 with the Commission.           BDCs that filed Form 10–K in 2018 as well as BDCs       shareholders have the ability to change their vote
                                           The proxy materials we consider in our analysis are      that may be delinquent or have filed extensions for     at any time prior to a meeting, including as a result
                                           DEF14A; DEF14C; DEFA14A; DEFC14A; DEFM14A;               their filings. Our estimate excludes six wholly-        of a registrant filing supplemental proxy materials
                                           DEFM14C; DEFR14A; DEFR14C; DFAN14A; N–14;                owned subsidiaries of other BDCs.                       in response to proxy voting advice. See supra note
                                           PRE 14A; PRE 14C; PREC14A; PREM14A;
                                                                                                       548 The 18,594 potentially affected registrants is   373.
                                           PREM14C; PRER14A; PRER14C. Form N–14 can be              the sum of: (a) 5,758 registrants with a class of          553 See, e.g., letters from Nareit; NAM; Exxon

                                           a registration statement and/or proxy statement. We      securities registered under Section 12 of the           Mobil. See also Proposing Release at 66533, n.136.
                                           manually review all Forms N–14 filed during              Exchange Act; (b) 20 registrants without a class of        554 See Proposing Release at 66546, Table 2.

                                           calendar year 2018 with the Commission and we            securities registered under Section 12 of the              555 See Memorandum from the U.S. Securities

                                           exclude from our estimates Forms N–14 that are           Exchange Act that filed proxy materials; (c) 12,718     and Exchange Commission, Division of Economic
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                                           exclusively registration statements. To identify         registered management investment companies; and         Risk and Analysis, Regarding Data Analysis of
                                           registrants reporting pursuant to Section 15(d) but      (d) 98 BDCs.                                            Additional Definitive Proxy Materials Filed by
                                                                                                       549 For details on the estimation of companies
                                           not registered under Section 12(b) or Section 12(g),                                                             Registrants in Response to Proxy Voting Advice
                                           we review all Forms 10–K filed in calendar year          that filed proxy materials with the Commission          (Jan. 16, 2020), available at https://www.sec.gov/
                                           2018 with the Commission and count the number            during calendar year 2018, see supra note 544.          comments/s7-22-19/s72219-6660914-203861.pdf
                                           of unique registrants that identify themselves as           550 According to data from Forms N–CEN filed         (‘‘Data Analysis of Additional Definitive Proxy
                                           subject to Section 15(d) reporting obligations but       with the Commission between June 2018 and               Materials’’).



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                                           materials, and the number of business                    as to whether the concerns raised by                    Notwithstanding the exemptions, these
                                           days until the planned shareholder                       registrants in their supplemental filings               solicitations remain subject to Rule 14a–
                                           meeting. Based on this sample, staff                     were valid. Nor was the analysis                        9, the antifraud provisions of the federal
                                           estimated a median value of three                        intended to provide an ‘‘error rate.’’                  proxy rules.566
                                           business days and an average value of                    Although we agree that reasonable                          Proxy voting advice businesses
                                           3.8 business days between when a proxy                   readers might disagree in their                         typically rely upon the exemptions in
                                           voting advice business issues proxy                      classification of registrant concerns, lack             Rule 14a–2(b)(1) and (b)(3) to provide
                                           voting advice and when a registrant                      of agreement on classification of specific              advice without complying with the
                                           responds. Further, the median (average)                  responses does not change our                           filing and information requirements of
                                           number of days between the registrant                    assessment, discussed below, that the                   the proxy rules.567 The existing
                                           response and the shareholder meeting                     final rules would benefit clients of                    conditions to these exemptions are
                                           based on the sample was 9.5 (10.3)                       proxy voting advice businesses, and the                 designed to ensure that investors are
                                           business days.556                                        proxy process as a whole, by improving                  protected where the Commission’s filing
                                              A number of commenters interpreted                    client access to registrant information                 and information requirements do not
                                           our analysis in Table 2 of the Proposing                 and analysis. Indeed, the fact that                     apply. For example, any person who
                                           Release to indicate that the Commission                  reviewers of additional definitive proxy                wishes to rely on the Rule 14a–2(b)(3)
                                           took the view that the ‘‘concerns’’ raised               materials may differ both in how they                   exemption may not receive special
                                           by registrants about errors or                           identify registrant concerns and how                    commissions or remuneration from
                                           inaccuracies reflected actual factual                    they classify those concerns supports                   anyone other than the recipient of the
                                           errors.557 One commenter questioned                      the idea that clients would benefit from                advice and must disclose any significant
                                           whether Commission staff evaluated the                   having a mechanism available by which                   relationship or material interest bearing
                                           merits of registrant claims presented in                 they can reasonably be expected to                      on the voting advice.568 By contrast, the
                                           the Proposing Release 558 and supplied                   become aware of registrant responses so                 exemption in Rule 14a–2(b)(1) does not
                                           its own estimates of actual error rates in               they might form their own view of the                   currently require conflicts of interest
                                           proxy voting advice business research                    merits of those responses.                              disclosure. Both exemptions were
                                           report based on its own research,559 as                  2. Current Regulatory Framework                         adopted by the Commission before
                                           well as on supplementary information                                                                             proxy voting advice businesses played
                                           made available in the comment file.560                      The economic baseline includes the
                                                                                                    current regulatory framework that                       the significant role that they now do in
                                              In contrast, another commenter had a                                                                          the proxy voting process and in the
                                           different critique of Table 2, arguing that              applies to proxy voting advice
                                                                                                    businesses. As explained in the                         voting decisions of investment advisers
                                           estimating error rates based on filings of                                                                       and institutional investors.
                                           additional definitive proxy materials                    Proposing Release, under the
                                                                                                    Commission’s proxy rules, any person                       Several commenters stated that the
                                           might actually underestimate the true                                                                            analysis in the Proposing Release did
                                           error rate because registrants who                       engaging in a proxy solicitation, unless
                                                                                                    exempt, is generally subject to filing and              not reflect requirements to address
                                           submit filings subject themselves to                                                                             conflicts of interest under existing law,
                                           potential liability under SEC Rule 14a–                  information requirements designed to
                                                                                                    ensure that materially complete and                     including the regulatory scheme under
                                           9.561                                                                                                            the Investment Advisers Act, as well as
                                              The method for identifying filings that               accurate information is furnished to
                                                                                                    shareholders solicited by the person.563                proxy voting advice business best
                                           contained registrant concerns and                                                                                practices under the baseline.569 We
                                           classifying those concerns was detailed                  Over the years, the Commission has
                                                                                                    recognized that these filing and                        recognize that, in addition to the rules
                                           in the Proposing Release and in the                                                                              governing proxy solicitation, some
                                           subsequent staff memorandum.562                          information requirements may, in
                                                                                                    certain circumstances, impose burdens                   proxy voting advice businesses may be
                                           Importantly, the analysis set forth in the                                                                       subject to other regulatory regimes.570
                                           Proposing Release took no position on                    that deter communications useful to
                                                                                                    shareholders, and in such
                                           the merits of responses. The analysis
                                                                                                    circumstances, may not be necessary to                  generally exempts proxy voting advice furnished by
                                           was intended to present how registrants                                                                          an advisor to any other person with whom the
                                                                                                    protect investors in the proxy voting
                                           currently respond to proxy voting                                                                                advisor has a business relationship.
                                                                                                    process.564 Accordingly, the
                                           advice and the frequency and timing of                                                                              566 17 CFR 240.14a–9.
                                                                                                    Commission has exempted certain kinds                      567 See Commission Interpretation on Proxy
                                           those responses and made no judgment
                                                                                                    of solicitations from the filing and                    Voting Advice at 47416 (discussing the ‘‘two
                                             556 See
                                                                                                    information requirements of the proxy                   exemptions to the federal proxy rules that are often
                                                      Proposing Release at 66546.                                                                           relied upon by proxy advisory firms’’).
                                             557 Id. at Table 2.
                                                                                                    rules, subject to various conditions,
                                                                                                                                                               568 The conditions to Rule 14a–2(b)(3) are: (i) The
                                             558 See letter from CII I.                             where such requirements are not
                                                                                                                                                            advisor renders financial advice in the ordinary
                                             559 See letter from CII IV.                            necessary for investor protection.565                   course of his business; (ii) the advisor discloses to
                                             560 See letter from CII V. This commenter                                                                      the recipient of the advice any significant
                                           suggested that the error rate implied by the               563 See  Proposing Release at 66524.                  relationship with the registrant or any of its
                                           Commission’s classification in Table 2 of the              564 See,  e.g., Communications Among                  affiliates, or a security holder proponent of the
                                           Proposing Release was 0.5% and that after                Shareholders Adopting Release at 49278                  matter on which advice is given, as well as any
                                           correcting for registrant assertions that appear to be   (‘‘[S]hareholders can be deterred from discussing       material interests of the advisor in such matter; (iii)
                                           in error, the rate is reduced to 0.3%. The same          management and corporate performance by the             the advisor receives no special commission or
                                           commenter performed a case-by-case analysis of           prospect of being found after the fact to have          remuneration for furnishing the proxy voting advice
                                           claims they believed may have been classified as         engaged in a proxy solicitation. The costs of           from any person other than a recipient of the advice
                                           errors in the Proposing Release’s analysis, casting      complying with [the proxy] rules also has meant         and other persons who receive similar advice under
                                           doubt on whether many of them were actually              that . . . shareholders and other interested persons    this subsection; and (iv) the proxy voting advice is
                                           related to factual errors, and concluded that, after     may effectively be cut out of the debate regarding      not furnished on behalf of any person soliciting
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                                           excluding analytical errors, which may just              proposals . . . .’’).                                   proxies or on behalf of a participant in an election
                                           represent differences of opinion, the actual error          565 For example, Rule 14a–2(b)(1) generally          subject to the provisions of § 240.14a–12(c). 17 CFR
                                           rate is only 0.06%.                                      exempts solicitations by persons who do not seek        240.14a–2(b)(3).
                                             561 See letter from ACCF.                                                                                         569 See letters from ISS; Glass Lewis II. See also
                                                                                                    the power to act as proxy for a shareholder and do
                                             562 See Proposing Release at n.239. See also Data      not have a substantial interest in the subject matter   IAC Recommendation.
                                           Analysis of Additional Definitive Proxy Materials,       of the communication beyond their interest as a            570 See Proposing Release at 66527, n.88; 66529,

                                           supra note 555.                                          shareholder. Another exemption, Rule 14a–2(b)(3),       n.99.



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                                           For example, one of the major proxy                     constitutes a ‘‘solicitation’’ under Rule              of these businesses, regardless of
                                           voting advice businesses, ISS, is also a                14a–1(l) or at least that the Commission               whether they understood their proxy
                                           registered investment adviser, and as                   may consider such advice to constitute                 voting advice to constitute a
                                           such, must eliminate or make full and                   a ‘‘solicitation.’’ 576                                ‘‘solicitation’’ prior to the interpretation.
                                           fair disclosure of all conflicts of interest               Even if a proxy voting advice business              Accordingly, we believe that our
                                           to its clients that might cause ISS to                  had believed it was not engaged in a                   economic analysis appropriately
                                           render proxy voting advice that is not                  ‘‘solicitation’’ prior to the interpretation,          captures the anticipated economic
                                           disinterested such that a client can                    and thus newly realized it was engaged                 effects of the final amendments.
                                           provide informed consent to the                         in a ‘‘solicitation’’ upon issuance of the
                                           conflict.571 In addition, ISS has noted                 interpretation, the impact of this change              C. Benefits and Costs
                                           that, as a registered investment adviser,               would have been minimal given the
                                                                                                   existing exemptions from the filing and                  We discuss the economic effects of
                                           it has a fiduciary duty of care to make
                                                                                                   information requirements of the proxy                  the final amendments below. For both
                                           a reasonable investigation to determine
                                                                                                   rules available to proxy voting advice                 the benefits and the costs, we consider
                                           that it is not basing vote
                                                                                                   businesses. The only thing that                        each piece of the final amendments in
                                           recommendations on materially
                                                                                                   potentially would have changed for                     turn. The final amendments include: (1)
                                           inaccurate or incomplete
                                                                                                   proxy voting advice businesses would                   Amendments to the definition of
                                           information.572 Similarly, Egan-Jones is
                                                                                                   have been heightened awareness of the                  solicitation in Rule 14a–1(l); (2)
                                           registered with the Commission as a
                                                                                                   application of Rule 14a–9 liability,                   conditioning availability of the
                                           Nationally Recognized Statistical Rating
                                                                                                   including the examples of specific                     exemptions in Rules 14a–2(b)(1) and
                                           Organization (NRSRO). Registered
                                           NRSROs are required under Rule 17g-5                    circumstances that could result in a                   (b)(3) on (a) proxy voting advice
                                           to disclose conflicts of interest relating              violation of that rule. To the extent that             businesses providing disclosure
                                           to maintenance or issuance of a credit                  some proxy voting advice businesses                    regarding conflicts of interest and (b)
                                           rating. However, these regulatory                       did not previously understand their                    proxy voting advice businesses adopting
                                           regimes serve distinct, though                          voting advice to constitute solicitations              and publicly disclosing written policies
                                           overlapping, regulatory purposes.573                    and thus be subject to Rule 14a–9                      and procedures reasonably designed to
                                              One commenter also stated that the                   liability, it is possible that this                    ensure that the proxy voting advice is
                                           final rule’s economic effects should be                 heightened awareness could cause those                 made available to registrants at or prior
                                           measured relative to a baseline that                    businesses to take more care in                        to the time when such advice is
                                           consists of regulation in effect prior to               preparing their recommendations. It is                 disseminated to the proxy voting advice
                                           the Commission Interpretation on Proxy                  also possible that this heightened                     business’s clients and that the proxy
                                           Voting Advice,574 noting that no cost-                  awareness could expose proxy voting                    voting advice business provides clients
                                           benefit analysis was performed in                       advice businesses to greater risk of                   with a mechanism by which they can
                                           connection with that interpretation.575                 litigation under Rule 14a–9. However,                  reasonably be expected to become aware
                                           Consistent with its past practice, the                  the Commission is not aware of                         of a registrant’s written statement about
                                           Commission continues to believe that                    evidence—including any specific                        the proxy voting advice in a timely
                                           the appropriate baseline for its                        information provided by commenters—                    manner; and (3) an amendment to the
                                           economic analysis consists of all                       that the interpretation has resulted or                examples in Rule 14a–9 of disclosure
                                           existing regulatory requirements that                   would result in substantial changes in                 that, if omitted from a proxy solicitation
                                           apply to the affected parties, including                proxy voting advice businesses’                        and depending upon the particular facts
                                           the Commission Interpretation on Proxy                  practices. In any event, even if we were               and circumstances, may be misleading.
                                           Voting Advice, as well as industry                      to consider Rule 14a–9 as though it were
                                                                                                   to apply to proxy voting advice                        1. Overview of Benefits and Costs and
                                           practice in response to those                                                                                  Comments Received
                                           requirements. Moreover, the                             businesses for the first time, we believe
                                           Commission Interpretation on Proxy                      the benefits to investors of this antifraud            a. Benefits
                                           Voting Advice did not create any new                    rule insofar as it would deter proxy
                                           legal obligations under the securities                  voting advice businesses from making                      As discussed in further detail below,
                                           laws but rather articulated the                         materially false or misleading                         we expect the rule to generate benefits
                                           Commission’s longstanding views on                      statements or omissions supports its                   compared to the baseline for clients of
                                           what constitutes ‘‘solicitation.’’ Indeed,              application to proxy voting advice                     proxy voting advice businesses and
                                           as noted above, there is evidence that                  notwithstanding the costs associated                   investors, and, albeit to a lesser extent,
                                           the proxy voting advice business                        with any increased risk of litigation. For             for proxy voting advice businesses and
                                           industry has understood for over 30                     all of these reasons, we do not expect                 registrants. We expect that the largest
                                           years that its proxy voting advice                      that using a baseline prior to the                     benefits will come from conditioning
                                                                                                   Commission Interpretation on Proxy                     availability of the exemptions in Rules
                                             571 See letter from ISS; see also Standard of
                                                                                                   Voting Advice would have significantly                 14a–2(b)(1) and (b)(3) on proxy voting
                                           Conduct for Investment Advisers.                        altered our assessment of the economic                 advice businesses providing certain
                                             572 See letter from ISS.                              effects of the proposed amendments.                    disclosures and maintaining certain
                                             573 See supra notes 41 through 53 and                    Finally, we note that—beyond the                    policies and procedures. In contrast,
                                           accompanying text.                                      codification of our interpretation of                  amendments to the definition of
                                             574 See supra note 74.
                                                                                                   solicitation—the conflicts disclosure                  solicitation in Rule 14a–1(l) and to Rule
                                             575 See letter from ISS. Another commenter
                                                                                                   requirements and principles-based                      14a–9 represent less significant changes
                                           argued that under that baseline, proxy voting advice
                                           businesses were governed by the fiduciary standard      engagement requirements in the final                   from the existing baseline and will
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                                           of the Advisers Act, which already required proxy       amendments will be new for all proxy                   likely result in more modest benefits for
                                           voting advice businesses to disclose conflicts of       voting advice businesses. The economic                 proxy voting advice businesses and
                                           interest. See letter from Glass Lewis II. As noted      effects of these amendments are thus
                                           above, the Commission acknowledges that some,                                                                  their clients.
                                           but not all, proxy voting advice businesses may be      analyzed as new requirements for each
                                           subject to other regulatory regimes, including the
                                                                                                                                                             Two commenters expressed support
                                           Advisers Act.                                             576 See   supra Section II.A.3.                      for the general benefits that the


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                                           proposed rules would generate.577 Both                    businesses already incorporate practices               Release.584 One commenter urged a
                                           commenters argued that the shareholder                    similar to the final amendments belies                 more thorough cost-benefit analysis or
                                           proxy voting process is beset with                        the notion that these expected benefits                other investigation to gather data from
                                           collective-action problems, whereby                       are speculative or illusory. For example,              which reasonable cost estimates can be
                                           both institutional and retail investors                   if proxy voting advice businesses saw                  extrapolated.585
                                           are not motivated to incur large                          no benefit to providing conflicts of                      We acknowledge, as we did in the
                                           expenses to collect information to                        interest disclosure to their clients, they             Proposing Release, that the final
                                           become better informed about a                            would not provide such disclosure                      amendments will likely generate direct
                                           company, particularly when the                            currently, absent a regulatory                         and indirect costs for proxy voting
                                           company is just one of a portfolio.                       requirement. We also note that the final               advice businesses and potentially their
                                           According to the commenters, this                         amendments reflect significant changes                 clients. To the extent that a large driver
                                           results in resource-constrained proxy                     from the proposal in light of commenter                of the costs discussed by commenters
                                           voting advice businesses that produce                     input and concerns, and we believe                     would have been the proposed
                                           voting recommendations that are not                       these changes focus on improvements to                 amendment regarding registrant review
                                           adequately informed or precise. Such                      the proxy process most likely to yield                 and response to proxy voting advice, the
                                           voting recommendations could lead to                      benefits and result in final amendments                flexibility afforded by the principles-
                                           suboptimal voting decisions by clients                                                                           based approach reflected in the final
                                                                                                     that are less costly, when measured
                                           of the proxy voting advice businesses.                                                                           rules, particularly as it accommodates
                                                                                                     against the baseline, as compared to the
                                           As we mention above, the purpose of                                                                              practices similar to current practices,
                                                                                                     costs of the proposal.
                                           the final amendments is to improve the                                                                           should result in lower costs for proxy
                                           information available to shareholders                     b. Costs                                               voting advice businesses and their
                                           when making voting decisions, which                                                                              clients as compared to the more
                                           could ultimately result in more efficient                   We expect that proxy voting advice                   prescriptive approach we proposed.
                                           investment outcomes.                                      businesses as well as registrants will                    In the following sections, we discuss
                                              In contrast, several commenters                        incur direct costs as a result of the final            the specific costs and benefits for each
                                           generally disputed the benefits to proxy                  amendments. In the following sections,                 aspect of the final amendments.
                                           voting advice businesses’ clients and                     we analyze the costs of the final
                                           investors resulting from the proposed                     amendments due to changes in proxy                     2. Codification of the Commission’s
                                           amendments.578 One commenter argued                       voting advice business disclosure and                  Interpretation of ‘‘Solicitation’’ Under
                                           that the general benefits of the rule are                 engagement practices relative to the                   Rule 14a–1(l) and Section 14(a)
                                           speculative at best,579 while two other                   baseline. Further, to the extent that any                 We are codifying the Commission’s
                                           commenters characterized them as                          of the final amendments impose direct                  interpretation that, as a general matter,
                                           ‘‘illusory.’’ 580 One of these commenters                 costs on proxy voting advice businesses                proxy voting advice constitutes a
                                           asserted that none of the amendments                      that are passed along to clients, the final            solicitation within the meaning of the
                                           would create any benefits for proxy                       amendments could impose indirect                       Exchange Act Rule 14a–1(l). Overall, we
                                           voting advice businesses and their                        costs on clients of proxy voting advice                do not expect this amendment to have
                                           clients and that the only beneficiaries                   businesses, including investment                       a significant economic impact because it
                                           would be self-interested corporate                        advisers and institutional investors, and              codifies an already-existing Commission
                                           insiders.581 Another commenter argued                     the underlying investors they serve, if                interpretation. This interpretation itself
                                           that the proposed rules would not                         applicable.                                            did not modify existing law or reflect a
                                           improve the quality of proxy advice,                                                                             change in the Commission’s position
                                                                                                       Some commenters expressed concern
                                           asserting that the benefits are small and                                                                        and is distinct from the amendments
                                                                                                     that the economic analysis in the
                                           uncertain.582                                                                                                    conditioning availability of the
                                              We do not agree with these                             Proposing Release was not thorough
                                                                                                                                                            exemptions in Rules 14a–2(b)(1) and
                                           assessments. While the extent of the                      enough or that it understated the costs
                                                                                                                                                            (b)(3) on proxy voting advice businesses
                                           benefits will depend on the existing                      and other negative effects that the
                                                                                                                                                            providing certain disclosures and
                                           practices of proxy voting advice                          proposed rules would have on proxy
                                                                                                                                                            maintaining certain policies and
                                           businesses and how they choose to                         voting advice businesses and
                                                                                                                                                            procedures, which we acknowledge
                                           implement the required disclosures and                    investors.583 Some of these commenters                 would alter the costs and benefits
                                           procedures (as well as the existing                       also commented on the costs of specific                associated with being subject to the
                                           practices of their clients and how they,                  proposed amendments, which we                          federal proxy rule regime and which we
                                           in turn, adjust), we believe that the                     discuss below. One commenter stated                    discuss in detail below.586 Nonetheless,
                                           improved transparency that the final                      that, with respect to the quantitative                 the final amendment to Rule 14a–1
                                           rules will generate will be beneficial for                cost estimates in the Commission’s                     codifying this interpretation in the
                                           proxy voting advice businesses’ clients                   Paperwork Reduction Act (‘‘PRA’’)                      Commission’s proxy rules may provide
                                           and will likely improve the overall                       analysis, it believed the actual                       more clear notice that Section 14(a) and
                                           proxy voting process. Indeed, the fact                    compliance costs would be 240 times                    the proxy rules apply to proxy voting
                                           that in certain circumstances, and to                     those estimated in the Proposing                       advice. Parties receiving proxy voting
                                           varying extents, proxy voting advice                                                                             advice may benefit from such notice to
                                                                                                        583 See letters from Bricklayers; CalPERS; CFA
                                                                                                                                                            the extent that it informs them that the
                                             577 See  letters from James R. Copland, Senior          Institute I; Kathryn McCloskey, Director, Social
                                           Fellow and Director, Legal Policy, Manhattan              Responsibility, United Church Funds (Feb. 3, 2020)
                                                                                                                                                               584 See letter from Nichol Garzon-Mitchell, Senior
                                           Institute for Policy Research (Feb. 3, 2020)              (‘‘Church Funds’’); CII IV; Glass Lewis II; Karen L.
                                                                                                     Barr, President and CEO, Investment Adviser            Vice President, General Counsel, Glass Lewis (Jan.
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                                           (‘‘Manhattan Institute’’); B. Sharfman I.                                                                        7, 2020) (‘‘Glass Lewis I’’).
                                              578 See letters from Bricklayers; ISS; New York        Association, (Feb. 3, 2020) (‘‘IAA’’); ICI; ISS; New
                                                                                                                                                               585 See letter from Ohio Public Retirement.
                                                                                                     York Comptroller II; Ohio Public Retirement;
                                           Comptroller II; ProxyVote II.
                                              579 See letter from ProxyVote II.
                                                                                                     Lucian Arye Bebchuk, James Barr Ames Professor            586 Several commenters suggested that the

                                                                                                     of Law, Economics, and Finance, Harvard Law            Commission should use a baseline that does not
                                              580 See letters from CFA Institute I; ISS.
                                                                                                     School (Feb. 3, 2020) (‘‘Prof. Bebchuk’’); ProxyVote   include the August 19 interpretation. See, e.g.,
                                              581 See letter from ISS.
                                                                                                     II; IASJ; Segal Marco II. See also IAC                 letters from Glass Lewis II; ISS. We respond to these
                                              582 See letter from Bricklayers.                       Recommendation.                                        comments in supra Section IV.B.2.



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                                           communication they receive from proxy                     and reliability of the proxy voting                   procedures regarding how the proxy
                                           voting advice businesses is subject to                    advice they receive. In addition, proxy               voting advice business identifies and
                                           the protections (e.g., antifraud                          voting advice businesses availing                     addresses conflicts of interest.591
                                           protections) that come from the fact that                 themselves of an exemption will be                       One commenter that is a proxy voting
                                           such communication is a solicitation.                     required to disclose any policies and                 advice business and a registered
                                           As discussed above, even if a proxy                       procedures used to identify, as well as               investment adviser suggested that the
                                           voting advice business had believed it                    the steps taken to address, any material              benefits associated with Rule 14a–
                                           was not engaged in a ‘‘solicitation’’ prior               conflicts of interest, whether actual or
                                                                                                                                                           2(b)(9)(i) will be marginal because of
                                           to the interpretation, we believe the                     potential, arising from such
                                                                                                                                                           proxy voting advice businesses’ existing
                                           impact of this change would be minimal                    relationships and transactions. The final
                                                                                                                                                           fiduciary duty to their clients and the
                                           given the existing exemptions from the                    amendments also will specify that the
                                                                                                                                                           disclosures they already provide.592
                                           filing and information requirements of                    enhanced conflicts disclosures must be
                                                                                                                                                           Relatedly, several institutional clients of
                                           the proxy rules available to proxy voting                 provided in the proxy voting advice and
                                           advice businesses. The Commission is                      in any electronic medium used to                      proxy voting advice businesses stated
                                           unaware of specific evidence that the                     deliver the advice.                                   that they believe existing practices
                                           interpretation has resulted or would                        We believe the final amendments will                provide sufficient disclosure of conflicts
                                           result in a substantial increase in costs                 benefit the clients of proxy voting                   of interest under the baseline.593 As an
                                           due to the application of Rule 14a–9 to                   advice businesses by enabling them to                 initial matter, not all proxy voting
                                           proxy voting advice.587                                   better assess the objectivity of the proxy            advice businesses have registered as
                                              We also are amending Rule 14a–                         voting advice businesses’ advice against              investment advisers and hence may not
                                           1(l)(2) to clarify that the furnishing of                 potentially competing interests. Under                have the same fiduciary duty as the
                                           proxy voting advice by certain persons                    Rule 14a–2(b)(9)(i), disclosure of                    commenter. Moreover, even where
                                           will not be deemed a solicitation.                        conflicts will be more comprehensive                  certain proxy voting advice businesses
                                           Specifically, voting advice from a                        regardless of which exemption the                     provide detailed disclosure about
                                           person who furnishes such advice only                     proxy voting advice business relies                   conflicts of interest under existing
                                           in response to an unprompted request                      upon for its proxy voting advice.589                  practices or regulatory regimes,
                                           for the advice or a person who does not                   Furthermore, we believe the                           requiring tailored disclosure as a
                                           market its expertise as a provider of                     requirement that conflicts of interest                condition to the proxy rule exemptions
                                           proxy voting advice, separately from                      disclosures be included in the voting                 will help to ensure that the disclosure
                                           other forms of investment advice, will                    advice will benefit clients of proxy                  is more consistently provided to
                                           not be deemed a solicitation. Again, we                   voting advice businesses by making                    consumers of proxy voting advice across
                                           do not expect this adopted amendment                      more standard the time and manner in                  the industry. As noted in Section IV.B.1
                                           to have a significant economic impact                     which such principles-based                           above, existing conflict of interest
                                           because it codifies the Commission’s                      information is disclosed and ensuring                 disclosure by proxy voting advice
                                           longstanding view that such a                             that the required disclosures receive due             businesses differs across firms,
                                           communication should not be regarded                      prominence and can be considered                      including in structure, coverage, and
                                           as a solicitation subject to the proxy                    together with proxy voting advice at the              manner of conveyance.
                                           rules.                                                    time clients are making voting                           Importantly, the final rule will
                                                                                                     determinations. We believe this will, in              provide users of proxy voting advice
                                           3. Amendments to Rule 14a–2(b)                            turn, make it easier or more efficient for            with timely access to such disclosure in
                                           a. Conflicts of Interest—New Rule 14a–                    such clients to review and analyze the                the proxy voting advice and in any
                                           2(b)(9)(i)                                                conflicts disclosure, thus reducing the               electronic medium used to deliver the
                                                                                                     agency costs associated with utilizing                advice. As a result, we believe the final
                                           i. Benefits
                                                                                                     the services of proxy voting advice                   rule will allow clients of proxy voting
                                              We are amending Rule 14a–2(b) to                       businesses.                                           advice businesses to more efficiently
                                           make the availability of the exemptions                     Disclosure of material conflicts of                 access the conflicts disclosure and
                                           in Rules 14a–2(b)(1) and (b)(3) for proxy                 interest can lead to more informed                    assess a proxy voting advice business’s
                                           voting advice businesses contingent on                    decision-making, and we anticipate that               potential conflicts of interest. However,
                                           providing enhanced disclosure of                          institutional investors and investment                we acknowledge that, to the extent that
                                           conflicts of interest specifically tailored               advisers will use information from                    proxy voting advice businesses
                                           to proxy voting advice businesses and                     disclosures of material conflicts of                  currently provide information that
                                           the nature of their services.588 These                    interest to make more informed voting                 meets or exceeds the adopted disclosure
                                           conflicts of interest disclosures are                     decisions.590 Thus, to the extent they
                                                                                                                                                           requirements, and to the extent that
                                           intended to augment existing                              enable the clients of proxy voting advice
                                                                                                                                                           clients of proxy voting advice
                                           requirements by eliciting information                     businesses to make more informed
                                                                                                                                                           businesses find current disclosure
                                           that may not be captured by the current                   voting decisions on investors’ behalf,
                                                                                                                                                           practices under the baseline to be
                                           requirements of either Rule 14a–2(b)(1)                   these disclosure requirements will also
                                                                                                                                                           sufficient, the benefits described above
                                           and (b)(3) and that is more tailored to                   benefit investors. Further, we believe
                                                                                                                                                           will be more limited.594
                                           proxy voting advice businesses and the                    these disclosures will make it easier and
                                           nature of their conflicts. The final                      more efficient for clients that are                     591 See  supra Section II.B.3.
                                           amendments require disclosure of                          investment advisers to conduct a                        592 See  letter from ISS.
                                           conflicts that is sufficiently detailed                   reasonable review of a proxy voting                      593 See supra notes 195–197.
                                           such that clients of proxy voting advice                  advice business’s policies and                           594 For example, ISS and Glass Lewis are
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                                           businesses can understand the nature                                                                            signatories to a set of voluntary industry-developed
                                                                                                       589 As noted above, Rule 14a–2(b)(3) requires       practices which state that, as a matter of principle,
                                           and scope of the interest, transaction, or
                                                                                                     disclosure of significant relationships with the      signatories should have processes in place to
                                           relationship and assess the objectivity                   registrant or relevant shareholder proponent,         identify and disclose conflicts of interest to their
                                                                                                     whereas Rule 14a–2(b)(1) does not currently require   clients. See BPP Group Best Practice Principles for
                                             587 See   discussion in supra Section IV.B.2.           conflict of interest disclosures.                     Shareholder Voting Research, available at https://
                                             588 See   supra Section II.B.3.                           590 See letter from CEC.                            bppgrp.info (last visited May 21, 2020).



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                                           iii. Costs                                              or exceed the new disclosure                          this would result in reputational harm
                                              The new conflicts of interest                        requirements.597                                      for proxy voting advice businesses.
                                           disclosure requirements will impose a                      A number of commenters asserted                    While we agree that an increase in the
                                           direct cost on proxy voting advice                      that the amendments regarding                         number of material conflicts reported
                                           businesses to the extent proxy voting                   enhanced conflict of interest disclosure              could affect the reputation of proxy
                                           advice businesses are not already                       would impose compliance costs.598 One                 voting advice businesses, we believe it
                                           providing information that meets the                    commenter stated that the proposed                    is appropriate for proxy voting advice
                                           adopted materiality-based disclosure                    additional disclosures of conflicts of                businesses that have conflicts with the
                                           requirements.595 Specifically, proxy                    interest would generate additional                    potential to influence the
                                           voting advice businesses will bear direct               paperwork burdens but no additional                   recommendations they provide clients
                                           costs associated with: (i) Reviewing and                benefits.599 Another commenter that                   to bear the reputational effects and other
                                           preparing disclosures describing their                  addressed the PRA burdens of the new                  costs associated with disclosure of those
                                           conflicts; (ii) developing and                          conflicts of interest disclosure estimated            conflicts.
                                           maintaining methods for tracking their                  that identifying and disclosing conflicts                As discussed in Section II.B.3 above,
                                           conflicts; (iii) seeking legal or other                 in the manner specified in the proposal               the final amendments have been revised
                                           advice; and (iv) updating their voting                  would result in an additional one hour                to streamline the requirements and
                                           platforms. Proxy voting advice                          to identify conflicts at 5,565 registrants            provide proxy voting advice businesses
                                           businesses that are investment advisers                 and 0.5 hours to disclose conflicts at                the flexibility to determine which
                                           are already required to identify conflicts              807 issuers, for a total of 5,969                     situations merit disclosure and the
                                           and to eliminate or make full and fair                  additional hours per year.600 As noted                specific details to provide to their
                                           disclosure of those conflicts.596 Further,              in Section V.C.1.a below, in response to              clients about any conflicts of interest
                                           proxy voting advice businesses that are                 that commenter’s feedback, we have                    identified. This less prescriptive
                                           retained by investment advisers to assist               increased our PRA burden estimates of                 approach should help alleviate concerns
                                           them with proxy voting may already                      the enhanced conflict of interest                     that the new requirement will compel
                                           provide such conflicts disclosure in                    disclosure. For PRA purposes, we                      disclosure of information that may
                                           connection with the investment                          estimate that the cost of the enhanced                compromise existing safeguards, result
                                           advisers’ evaluation of the capacity and                conflict of interest disclosure will be               in unduly lengthy disclosures, or harm
                                           competency of the proxy voting advice                   6,000 burden hours per proxy voting                   proxy advice voting businesses’
                                           business. Additionally, as discussed                    advice business.                                      reputations. In addition, the revised
                                           above, proxy voting advice businesses                      One commenter stated that the                      approach may make it easier for
                                           who currently rely on the Rule 14a–                     proposed amendments would                             businesses to leverage their existing
                                           2(b)(3) exemption already must disclose                 compromise the firewall between its                   disclosures to satisfy the final rule and
                                           any significant relationship or material                proxy voting advice business and                      mitigate concerns that the rule will
                                           interest bearing on the voting advice.                  corporate services business,601                       result in unnecessary paperwork
                                              We are unable to provide quantitative                presumably by revealing the clients of                burdens, while still providing more
                                           estimates of these direct costs on proxy                the corporate services arm to the                     consistent information about conflicts of
                                           voting advice businesses because the                    research arm. We note, however, that                  interest.
                                           facts and circumstances unique to each                  the rule we are adopting gives a proxy
                                           proxy voting advice business, including                                                                       b. Notice of Proxy Voting Advice and
                                                                                                   voting advice business the option to
                                           the disclosures it currently provides to                                                                      Registrant Response—New Rule 14a–
                                                                                                   include the required disclosure either in
                                           its clients as well as the nature of its                                                                      2(b)(9)(ii)
                                                                                                   its proxy voting advice or in an
                                           material interests, transactions, and                   electronic medium used to deliver the                 i. Benefits
                                           relationships, will dictate the additional              proxy voting advice, such as a client                   In contrast to the Proposing Release,
                                           disclosure, if any, it must provide under               voting platform, which allows the                     the final amendments to Rule 14a–
                                           the final rule. As discussed in Section                 business to segregate the information, as             2(b)(9) set forth a principles-based
                                           II.B.1 above, boilerplate language will                 necessary, to limit access exclusively to             approach designed to ensure that proxy
                                           not be sufficient to satisfy new Rule                   the parties for which it is intended.                 voting advice businesses’ clients have
                                           14a–2(b)(9)(i). Under the rule, a proxy                    Another commenter argued that the                  access to more transparent and complete
                                           voting advice business will be required                 enhanced conflict of interest disclosure              information and benefit from a robust
                                           to provide conflicts disclosure with                    could artificially and significantly                  discussion of views when making voting
                                           enough specificity to enable its clients                inflate the number of conflicts                       decisions.603 The final amendments also
                                           to adequately assess the objectivity and                reported.602 Because proxy voting
                                           reliability of the proxy voting advice. As                                                                    provide non-exclusive safe harbors that
                                                                                                   advice businesses have not been                       the proxy voting advice businesses may
                                           a result, the disclosure provided by the                providing the level of enhanced
                                           proxy voting advice business could                                                                            use to satisfy the principles-based
                                                                                                   disclosure required by the final rule,                requirements in Rule 14a–2(b)(9)(ii).
                                           differ depending on the circumstances                   compliance with the final rules would,
                                           (e.g., depending on the scope of services                                                                       We believe the final amendments will
                                                                                                   according to the commenter, make it                   benefit clients of proxy voting advice
                                           it provides its clients and the subject                 appear as if proxy voting advice
                                           registrant) and may need to be updated                                                                        businesses—and thereby ultimately
                                                                                                   businesses have to date been                          benefit the investors they serve—by
                                           periodically as both the business’s and                 underreporting material conflicts of
                                           its clients’ interests change.                                                                                enhancing the overall mix of
                                                                                                   interest. According to the commenter,                 information available to those clients as
                                           Additionally, proxy voting advice
                                           businesses’ direct costs will depend on                                                                       they assess proxy voting advice and
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                                                                                                     597 See supra Section II.B.3.
                                           the extent to which their current                         598 See,
                                                                                                                                                         make determinations about how to cast
                                                                                                              e.g., letters from ISS; IAA; Ohio Public
                                           practices and procedures already meet                   Retirement.                                           votes. Providing timely notice to
                                                                                                     599 See letter from CalPERS.                        registrants of voting advice will allow
                                             595 Id.                                                 600 See letter from Glass Lewis I.                  registrants to more effectively determine
                                            596 See Standard of Conduct for Investment               601 See letter from ISS.

                                           Advisers.                                                 602 See letter from Ohio Public Retirement.           603 See   supra Section II.C.3.



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                                           whether they wish to respond to the                         procedures aimed at enabling feedback                 businesses that choose to avail
                                           recommendation by publishing                                from certain registrants before they issue            themselves of the safe harbor by
                                           additional soliciting materials and to do                   voting advice. This suggests that proxy               implementing its terms without
                                           so in a timely manner prior to                              voting advice businesses themselves                   modification might affect the timing of
                                           shareholders casting their votes.                           recognize the potential benefit of such               up to 12.2 percent of filings.608 We note,
                                           Registrants may wish to do so for a                         feedback, which could serve as a                      however, that proxy voting advice
                                           variety of reasons, including, for                          bonding mechanism for these                           businesses may structure their policies
                                           example, because they have identified                       businesses by demonstrating to clients                to accommodate registrants that may file
                                           what they perceive to be factual errors                     that the proxy voting advice business                 less than 40 calendar days before the
                                           or methodological weaknesses in the                         believes the advice it provides is based              shareholder meeting and remain within
                                           proxy voting advice businesses’ analysis                    on accurate information. Even where                   the safe harbor.
                                           or because they have a different or                         proxy voting advice businesses
                                                                                                                                                             ii. Costs
                                           additional perspective with respect to                      currently provide opportunities for
                                           the recommendation. In either case,                         review and feedback, however, these                      With respect to the requirement that
                                           clients of proxy voting advice                              existing practices may be inadequate to               proxy voting advice businesses adopt
                                           businesses may benefit from the                             appropriately mitigate the agency costs               and publicly disclose policies and
                                           availability of additional information                      associated with use of proxy voting                   procedures reasonably designed to
                                           upon which to base their voting                             advice. Specifically, it does not appear              ensure that (i) registrants receive in a
                                           decision. Registrants may also wish to                      that all proxy voting advice businesses               timely manner the proxy voting advice
                                           respond because they agree with some                        currently provide all registrants with an             report, and (ii) proxy voting advice
                                           or all aspects of the analysis. In that                     opportunity to review proxy voting                    businesses provide clients with a
                                           case, that fact also would likely be                        advice.606 Under Rule 14a–2(b)(9)(ii),                mechanism by which they can
                                           relevant to and enhance a client’s                          proxy voting advice businesses’ policies              reasonably be expected to become aware
                                           decision-making. Further, to the extent                     and procedures must be reasonably                     of a registrant’s additional soliciting
                                           that proxy voting advice businesses                         designed to ensure that proxy voting                  material in response to the advice in a
                                           choose to adopt policies and procedures                     advice is made available to registrants               timely manner, proxy voting advice
                                           that permit them to refine their advice                     that are the subject of such advice in a              businesses will bear direct costs. There
                                           based on any feedback they might                            timely manner prior to or at the same                 will also be indirect costs to other
                                           receive from registrants, users of the                      time when such advice is disseminated                 parties.
                                           advice and the investors they serve (if                     to the proxy voting advice businesses’                (a) Direct Costs
                                           applicable) could benefit from more                         clients and thus will provide additional
                                           reliable and complete voting advice.                        registrants with the ability to respond to               For the principle set forth in Rule
                                              Ensuring that a proxy voting advice                      that advice (if they so choose) in a                  14a–2(b)(9)(ii)(A), proxy voting advice
                                           business provides clients with a                            timely manner, thereby enhancing the                  businesses will bear direct costs
                                           mechanism by which they can                                 total mix of information available to                 associated with modifying current
                                           reasonably be expected to become aware                      proxy voting advice business clients.                 systems and methods, or developing
                                           of any written response by a registrant                        Rule 14a–2(b)(9)(iii) could also yield             and maintaining new systems and
                                           to the proxy voting advice (i.e.,                           benefits to the extent that proxy voting              methods, to ensure the conditions of the
                                           additional soliciting materials) will                       advice businesses’ policies and                       exemption are met and with delivering
                                           benefit users of the advice—including                       procedures encourage registrants to file              the report to registrants. While some
                                           any underlying investors—by ensuring                        their definitive proxy statements earlier             proxy voting advice businesses may
                                           that they have ready and timely access                      than they otherwise would. Earlier filing             already have systems in place to address
                                           to the registrant’s perspective on such                     of definitive proxy statements could                  some or all of these requirements,609 we
                                           advice when considering how to vote.                        benefit investors generally, as they will             do not have data that would allow us to
                                           Clients of proxy voting advice                              have more time to review the materials.               estimate the costs associated with
                                           businesses often must make voting                           As discussed below, earlier filing of                 modifying or developing these systems
                                           decisions in a compressed time period.                      these materials also could help mitigate              and methods to encompass all
                                           Timely access to registrant responses to                    potential costs for proxy voting advice               registrants. To the extent proxy voting
                                           the advice would facilitate clients’                        businesses stemming from Rule 14a–                    advice businesses already have similar
                                           evaluation of the voting advice by                          2(b)(9)(iii). Under the safe harbor                   systems in place, any additional direct
                                           highlighting disagreement on facts and                      provided by the final amendments,                     cost may be limited. In addition, as we
                                           data, differences of opinion, or                            proxy voting advice businesses may
                                                                                                                                                               608 Under the safe harbor, a registrant may opt to
                                           additional perspectives before the client                   condition dissemination of proxy voting
                                                                                                                                                             forgo the benefits of receiving notice of proxy voting
                                           casts its votes.                                            advice to a registrant on the registrant              advice at the same time as clients if it deems
                                              One commenter questioned the                             filing its definitive proxy statement at              accelerating the filing of its proxy materials to meet
                                           benefits to clients of proxy voting advice                  least 40 calendar days before the annual              the 40-day threshold sufficiently costly.
                                                                                                                                                               609 See, e.g., letter in response to the SEC Staff
                                           businesses from the registrants’ ability                    meeting. One commenter submitted data
                                                                                                                                                             Roundtable on the Proxy Process from Glass Lewis
                                           to review the proxy voting advice.604                       analysis showing that, for 2018, more                 (Nov. 14, 2018) (‘‘Glass Lewis has a resource center
                                           According to that commenter, accurate                       than 87.8 percent of registrants filed                on its website designed specifically for the issuer
                                           and complete advice is already being                        proxy materials at least 40 calendar days             community via which public companies, their
                                           provided by proxy voting advice                             before an annual meeting.607 Based on                 directors and advisors can, among other things: (i)
                                                                                                                                                             Submit company filings or supplementary publicly
                                           businesses to their clients. As we                          these estimates, proxy voting advice                  available information; (ii) participate in Glass
                                           discuss in Section II.B.2 above, and as                                                                           Lewis’ Issuer Data Report (‘IDR’) program, prior to
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                                           noted by several commenters,605 some                          606 Seesupra Section IV.A.                          Glass Lewis completing and publishing its analysis
                                                                                                         607 Seeletter from CII VIII. Calculated as (2,900   to its investor clients; and (iii) report a purported
                                           proxy voting advice businesses
                                                                                                       + 460)/3,828 = 0.878. The commenter stated that of    factual error or omission in a research report, the
                                           currently have internal policies and                        3,828 companies, 2,900 filed proxy materials          receipt of which is acknowledged immediately by
                                                                                                       between 40 and 48 calendar days in advance of         Glass Lewis, then reviewed, tracked and dealt with
                                             604 See   letter from ISS.                                annual meetings and 460 filed proxy materials 50      internally prior to responding to the company in a
                                             605 See,   e.g., letters from Glass Lewis II; ISS.        or more days in advance of annual meetings.           timely manner.’’).



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                                           discuss in more detail below, depending                 developing systems to gather                            In response, as suggested by several
                                           on how proxy voting advice businesses                   information about the filing of                         commenters, we are adopting a more
                                           choose to meet the principle, they may                  additional soliciting materials by                      principles-based approach intended to
                                           incur direct costs associated with                      registrants; and (ii) modifying existing                achieve many of the same objectives of
                                           executing, obtaining, or modifying                      systems so that clients may reasonably                  the proposal without unduly
                                           acknowledgments or agreements with                      be expected to become aware that                        encumbering the ability of proxy voting
                                           respect to the use of any information                   registrants have filed such additional                  advice businesses to provide their
                                           shared with the registrant in the process               soliciting materials. To the extent proxy               clients with timely and reliable voting
                                           of delivering the report to the registrant.             voting advice businesses already have                   advice. The final amendments will
                                              A proxy voting advice business may                   similar systems in place, any additional                require proxy voting advice businesses
                                           also incur direct costs in satisfying the               direct cost may be limited.                             to have policies and procedures
                                           requirement of Rule 14a–2(b)(9)(ii)(B)                     Many commenters asserted that                        reasonably designed to ensure that
                                           that it adopt and publicly disclose                     allowing registrants to review the proxy                proxy voting advice is made available to
                                           written policies and procedures                         voting advice that proxy voting advice                  registrants at or prior to or at the same
                                           reasonably designed to ensure that the                  businesses have prepared for clients, as                time it is disseminated to the proxy
                                           proxy voting advice business provides                   would have been required under the                      voting advice businesses’ clients rather
                                           clients with a mechanism by which they                  proposed rules, would generate                          than within a specified period of time.
                                           can reasonably be expected to become                    significant costs for proxy voting advice               Additionally, the final amendments
                                           aware of a registrant’s written                         businesses and their clients.610 Some                   impose only a one-time obligation with
                                           statements about the proxy voting                       commenters stated that the sheer                        respect to notifying registrants of a given
                                           advice in a timely manner before the                    volume of reports that proxy voting                     proxy voting advice. We are also
                                           shareholder meeting. For example, to be                 advice businesses would have to send to                 adopting new Rule 14a–2(b)(9)(v),
                                           eligible for the safe harbor in the new                 registrants would generate large                        which will exclude from the scope of
                                           Rule 14a–2(b)(9)(iv), a proxy voting                    compliance costs. For example, one                      Rule 14a–2(b)(9)(ii) proxy voting advice
                                           advice business could provide: (i)                      commenter noted that the number of                      to the extent that such advice is based
                                           Notice on its electronic client platform                reports it alone would need to send to                  on custom policies, and new Rule 14a–
                                           that the registrant has filed, or has                   registrants for review would increase                   2(b)(9)(vi), which will exclude from the
                                           informed the proxy voting advice                        from 450 in 2019 to approximately                       scope of Rule 14a–2(b)(9)(ii) proxy
                                           business that it intends to file,                       6,500 to 25,000 post-adoption, and that                 voting advice as to non-exempt
                                           additional soliciting materials (and                    it would incur costs of drafting at least               solicitations regarding certain mergers
                                           include an active hyperlink to those                    6,000 confidentiality agreements.611                    and acquisitions or contested matters.
                                           materials on EDGAR when available); or                  Another commenter asserted that the                        We believe the significant additional
                                           (ii) notice through email or other                      compliance costs stemming from this                     flexibility in the final amendments will
                                           electronic means that the registrant has                amendment would be                                      enable proxy voting advice businesses
                                           filed, or has informed the proxy voting                 disproportionately higher for smaller                   to design policies and procedures that
                                           advice business that it intends to file,                proxy voting advice businesses.612 Some                 satisfy the new conditions of the
                                           additional soliciting materials (and                    commenters indicated that, under the                    exemptions but are nonetheless
                                           include an active hyperlink to those                    proposed rules, proxy voting advice                     efficiently tailored to their specific
                                           materials on EDGAR when available).                     businesses would have to negotiate and                  business models and practices. This
                                           Both mechanisms for informing clients                   enter into confidentiality agreements                   more flexible approach also may permit
                                           could involve initial set-up costs as well              with each applicable registrant to avoid                proxy voting advice businesses to
                                           as ongoing costs.                                       the dissemination of sensitive                          leverage their existing systems and
                                              Since they are not required to rely on               information, and the commenters                         methods to satisfy the conditions. We
                                           the safe harbor, proxy voting advice                    provided estimates of those burdens.613                 thus believe, when measured against the
                                           businesses may also put in place other                     We recognize the concerns raised by                  baseline, the final amendments will
                                           mechanisms by which their clients may                   these commenters regarding compliance                   impose lower compliance costs and
                                           reasonably be expected to become aware                  costs associated with the proposed                      result in fewer disruptions for proxy
                                           of a registrant’s written statements about              registrant review and response process.                 voting advice businesses and their
                                           the proxy voting advice in a timely                                                                             clients, than the more prescriptive
                                           manner, which could be more or less                        610 See, e.g., letters from CalPERS; CFA Institute   approach set forth in the proposal.
                                           costly than relying on the safe harbor.                 I; CII IV; IAA; ICI; ISS; New York Comptroller II;         While a more principles-based
                                           Under the final amendments, those                       Olshan LLP; Ohio Public Retirement; Prof.               approach to regulation provides
                                                                                                   Bebchuk; ProxyVote II.
                                           mechanisms also must ensure that                           611 See letter from ISS.
                                                                                                                                                           additional flexibility for affected parties,
                                           clients obtain the notification in a                       612 See letter from CII IV.                          it also may impose certain costs if the
                                           timely manner. Because the final                           613 See letters from CalPERS (indicating that        parties are unsure of what measures are
                                           amendments permit proxy voting advice                   proxy voting advice businesses would need to enter      needed to satisfy the legal requirement.
                                           businesses substantial flexibility in                   into hundreds or possibly thousands of different        For example, such an approach can
                                           satisfying this condition, we expect                    agreements which would be costly); ISS (stating         entail additional judgment on the part of
                                                                                                   that it would incur costs of drafting at least 6,000
                                           proxy voting advice businesses to                       confidentiality agreements); Glass Lewis I              management or result in parties doing
                                           implement mechanisms differently                        (estimating that it will incur a compliance burden      more than what is required in order to
                                           depending on, among other things, their                 of four hours per registrant to negotiate or secure     ensure they satisfy the applicable
                                           own facts and circumstances and the                     confidentiality agreements with 4,912 issuers for a     standard. The non-exclusive safe
                                                                                                   total of 19,648 hours); Olshan LLP (suggesting that
                                           nature of their client bases. Thus, the                 negotiating such agreements would result in the
                                                                                                                                                           harbors built into the final amendments
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                                           overall costs of satisfying this condition              allocation of significant time and cost by proxy        will provide legal certainty to proxy
                                           are difficult to quantify. We believe,                  voting advice businesses). Also, one commenter          voting advice businesses that they can
                                           however, that the costs of implementing                 argued that confidentiality agreements would be         rely on the solicitation exemptions in
                                                                                                   ineffective at preventing leaks of proxy voting
                                           a mechanism by which clients may                        advice due to the large number of registrant
                                                                                                                                                           Rules 14a–2(b)(1) and (b)(3) and
                                           reasonably be expected to become aware                  employees that would have access to the                 therefore could further mitigate the
                                           of registrants’ views could involve (i)                 information. See letter from Olshan LLP.                compliance burdens associated with the


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                                           new conditions. They also may provide                   about proxy voting advice may be                         them. It is also possible, however, that
                                           some guidance to proxy voting advice                    disseminated more broadly.                               proxy voting advice businesses would
                                           businesses about how they can design                       Moreover, as adopted, the principles-                 choose instead to deliver an un-redacted
                                           their own policies and procedures to                    based approach does not dictate the                      report, in which case they will not incur
                                           satisfy the conditions.                                 manner in which proxy voting advice                      the costs of redaction.618
                                              As noted in Section V.C.1.a below, we                businesses provide the report to                            A number of commenters raised
                                           believe that much of the burden of the                  registrants, and instead gives the proxy                 concerns about the costs associated with
                                           final amendments would be for the                       voting advice business discretion to                     the provisions in the proposed rules that
                                           proxy voting advice business to develop                 choose how best to implement the                         would have established a formal process
                                           policies that satisfy the principles and                principle of the rule and incorporate it                 by which the registrant would be given
                                           accordingly modify or develop systems                   into the business’s policies and                         the opportunity to review and provide
                                           and practices to implement such                         procedures, including by leveraging                      feedback on draft voting advice.619 The
                                           policies. The principles-based approach                 existing practices. In this regard, we                   principles-based approach in the final
                                           we implement should help reduce such                    note that some proxy voting advice                       rules obviates the need for a prescribed
                                           compliance costs significantly, which                   businesses currently provide reports to                  process for engagement with the
                                           would likely result in a lower PRA                      registrants without requiring formal                     registrant and instead allows proxy
                                           burden than the commenter estimates                     confidentiality agreements, instead                      voting advice businesses to decide when
                                           based on the proposal. Also, our revised                requiring only an electronic                             and how to provide notice of the proxy
                                           PRA estimates take into consideration                   acknowledgement of terms of use.615                      voting advice businesses’ voting advice
                                           our understanding that some proxy                       Such an approach is likely to involve                    to registrants. Under this approach,
                                           voting advice businesses have systems                   less negotiation between proxy voting                    proxy voting advice businesses are not
                                           and practices in place that may                         advice business and registrants than                     required to, although they may, share
                                           complement or overlap with the new                      formal confidentiality agreements, and                   pre-publication drafts with registrants
                                           requirements, which could substantially                 thus lower compliance costs.616 Further,                 for their feedback. Rather, they must
                                           reduce compliance costs. For PRA                        an acknowledgment of terms of use                        provide the registrant with a copy of
                                           purposes, we estimate that each proxy                   could be designed to apply                               their advice, which could be at the same
                                           voting advice business would incur                      prospectively, including for future                      time as the advice is shared with clients.
                                           2,845 burden hours for the notice to                    proxy seasons, making this a one-time                    Moreover, as with the proposal, nothing
                                           registrants under Rule 14a–2(b)(9)(ii)(A)               cost when a proxy voting advice                          in the final amendments will require
                                           and 2,845 burden hours for the notice to                business initiates coverage of a                         proxy voting advice businesses to alter
                                           clients under Rule 14a–2(b)(9)(ii)(B).614               registrant. Overall, for purposes of our                 their advice in response to registrant
                                                                                                   PRA, we estimate that each proxy voting                  feedback. Thus, we believe the final
                                              In addition to these system-related
                                                                                                   advice business will incur a burden of                   amendments will substantially address,
                                           costs, we expect that proxy voting
                                                                                                   between 50 and 5,690 hours per year                      if not eliminate altogether, the concerns
                                           advice businesses would, as a general
                                                                                                   associated with securing an                              raised by commenters related to
                                           matter, obtain acknowledgments or
                                                                                                   acknowledgment or other assurance that
                                           agreements with respect to the use of
                                                                                                   the proxy advice will not be                                618 In choosing not to redact, proxy voting advice
                                           any information shared with a
                                                                                                   disclosed.617 Another potential cost for                 businesses potentially increase their exposure to the
                                           registrant, as we expect that the
                                                                                                   proxy voting advice businesses could                     risk that their recommendations will be revealed to
                                           business would seek to limit disclosure                 result from new Rule 14a–2(b)(9)(vi).                    market participants. As a result, we anticipate that
                                           of its report. Several of the changes to                When additional matters are presented                    proxy voting advice businesses will be less likely
                                           the final rule amendments should allow                                                                           to offer pre-publication review to registrants of
                                                                                                   for shareholder approval at meetings                     reports that contain recommendations related to
                                           proxy voting advice businesses to take                  with applicable M&A transaction or                       contested matters or M&A transactions.
                                           measures to reduce these compliance                     contested matters, then the portion of                      619 See, e.g., letters from Prof. Bebchuk; ISS;
                                           costs compared with the cost of the                     the proxy voting advice provided with                    Kerrie Waring, Chief Executive Officer,
                                           confidentiality agreements                              respect to the applicable M&A
                                                                                                                                                            International Corporate Governance Network (Nov.
                                           contemplated under the proposal. For                                                                             21, 2019) (‘‘ICGN’’); Segal Marco II; TIAA; Daniel
                                                                                                   transaction or contested matters will be                 P. Hanson, Chief Investment Officer, Ivy Investment
                                           example, under the principles-based                     excluded from the scope of Rule 14a–                     Management Company (Feb. 3, 2020) (‘‘Ivy
                                           approach that we are adopting, in                       2(b)(9)(ii). This means that in those                    Investment’’); Olshan LLP; First Affirmative. See
                                           instances where a proxy voting advice                   situations, proxy voting advice
                                                                                                                                                            also IAC Recommendation. Some commenters
                                           business judges the potential impact of                                                                          expressed a concern that allowing a registrant or
                                                                                                   businesses may choose to redact the                      other soliciting person to review and provide
                                           the disclosure of information contained                 report that they have to deliver to                      feedback on the voting advice before the proxy
                                           in the report to be high it could provide               registrants, which will generate costs for               voting advice business provides it to its clients
                                           the advice to registrants at the time it is                                                                      could reduce the diversity of thought in the
                                           provided to their clients or it may                                                                              marketplace for proxy voting advice. See, e.g.,
                                                                                                     615 For example, Glass Lewis requires a registrant
                                                                                                                                                            letters from Prof. Bebchuk; CalPERS; CFA Institute
                                           choose to provide draft reports to                      to click and agree to certain ‘‘terms of use’’ before    I. See also, e.g., letter in response to the SEC Staff
                                           registrants before making them available                being able to access the notice and                      Roundtable on the Proxy Process from Glass Lewis
                                           to clients while imposing more stringent                recommendations.                                         (‘‘We believe that allowing an issuer to engage with
                                                                                                     616 We recognize that some proxy voting advice
                                           confidentiality requirements or terms of                                                                         us during the solicitation period may lead to
                                                                                                   businesses, irrespective of their current practices or   discussions about the registrant’s proxy, thereby
                                           use on registrants to prevent release of                what the final amendments envision, may                  providing registrants with an opportunity to lobby
                                           commercially sensitive information.                     nevertheless choose to enter into formal                 Glass Lewis for a change in policy or a specific
                                           This should reduce the risk that                        confidentiality agreements with some registrants.        recommendation against management. To ensure
                                                                                                   For such proxy voting advice businesses, the             our research is always objective, Glass Lewis takes
                                           commercially sensitive information                      compliance costs may be closer to those estimated        this added precaution and postpones any
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                                                                                                   by the commenters.                                       engagements until after the solicitation period has
                                             614 See discussion in infra Section V.B.1 for the       617 See discussion in infra Section V.B.1 for the      ended . . . .’’). Some commenters noted conflicts
                                           assumptions we make when estimating hours and           assumptions we make when estimating hours and            between SRO rules that seek to limit issuers’ pre-
                                           costs associated with maintaining, disclosing, or       costs associated with maintaining, disclosing, or        publication review of security analyst research
                                           providing the information required by the               providing the information required by the                reports and the proposed approach to pre-
                                           amendments that constitute paperwork burdens            amendments that constitute paperwork burdens             publication review of proxy voting advice. See, e.g.,
                                           imposed by a collection of information.                 imposed by a collection of information.                  letter from CII IV.



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                                           objectivity and timing pressure                         unable to quantify the magnitude of                     businesses’ clients. Further, because the
                                           associated with the proposed                            these revenue losses.                                   principles-based approach does not
                                           engagement process.                                        Several commenters expressed                         include a registrant review and feedback
                                                                                                   concern that the economic analysis in                   process that requires pre-publication
                                           (b) Indirect Costs                                      the Proposing Release understated or                    review, it should reduce concerns that
                                              The final rule may also impose                       failed to consider the costs of the                     registrants will lobby proxy voting
                                                                                                   proposals on consumers of proxy voting                  advice business for changes to
                                           indirect costs on other parties. Proxy
                                                                                                   advice.623 One commenter asserted that                  recommendations, and thus should not
                                           voting advice businesses may pass
                                                                                                   costs for customers of proxy voting                     discourage proxy voting advice business
                                           through a portion of the costs of
                                                                                                   advice will increase due to both the                    from making recommendations that
                                           modifying or developing systems to
                                                                                                   costs of reduced time to review proxy                   oppose management or impose
                                           meet the requirements to their clients
                                                                                                   research reports and a potential increase               additional timing constraints on proxy
                                           through higher fees for proxy advice.                   in fees, as proxy voting advice
                                           Moreover, the policies and procedures                                                                           voting advice businesses.
                                                                                                   businesses pass their increased costs on                   Registrants also could incur costs
                                           proxy voting advice businesses develop                  to institutional investor clients, who, in
                                           under the final rule could cause                                                                                associated with coordinating with proxy
                                                                                                   turn, would pass these costs on to their                voting advice businesses to receive the
                                           registrants to incur costs. For example,                individual investor participants and
                                           a proxy voting advice business that                                                                             proxy voting advice, reviewing the
                                                                                                   beneficiaries.624 Another commenter                     proxy voting advice, and determining
                                           chooses to rely on the safe harbor in                   argued that such costs may lead some
                                           Rule 14a–2(b)(9)(iii) would adopt                                                                               whether to prepare and file additional
                                                                                                   institutional investors to forgo the                    soliciting materials in response to the
                                           policies and procedures that provide a                  benefits of using a proxy voting advice                 proxy voting advice. We expect a
                                           registrant with a copy of the proxy                     business, which could ultimately be                     registrant would bear these costs only if
                                           voting advice business’s proxy voting                   detrimental to the effectiveness of                     it anticipated the benefits of such steps
                                           advice, at no charge, no later than the                 shareholder voting and oversight.625                    would exceed the costs of such a
                                           time it is disseminated to the business’s               Similarly, one commenter suggested                      program. Similarly, because more
                                           clients if the registrant has filed its                 that the proposed rules, by increasing                  registrants who are the subjects of proxy
                                           definitive proxy statement at least 40                  the costs of the proxy advice that                      voting advice will have access to such
                                           calendar days before the meeting date.                  opposes management, would impede                        proxy voting advice in advance of the
                                           A registrant that wishes to review proxy                investors’ ability to monitor company                   shareholder vote, more registrants may
                                           advice prior to the meeting date may                    management.626 Another commenter, a                     file additional soliciting materials in
                                           incur costs to accelerate the filing of its             proxy voting advice business, stated that               response to proxy voting advice as a
                                           definitive proxy statement to meet the                  the proposed changes could diminish                     result of the rule amendments than
                                           40-day threshold. However, we expect a                  proxy voting advice businesses’                         currently do. Investment advisers, who
                                           registrant would incur these costs only                 willingness to recommend votes against                  can reasonably be expected to become
                                           if it expected the benefits of review to                management and that this ‘‘would                        aware of additional soliciting materials
                                           be sufficiently large.620                               substantially diminish the independent                  could incur additional costs in
                                              Proxy voting advice business may also                information available to investors and                  connection with the review of that
                                           bear indirect costs in the form of lost                 their ability to hold management                        information. Because these costs will
                                           revenues. While all three major proxy                   accountable for their actions.’’ 627                    vary depending upon the particular
                                           voting advice business currently offer                  Additionally, several commenters                        facts and circumstances of the proxy
                                           registrants access to proxy voting                      supplied empirical evidence suggesting                  voting advice, any issues identified
                                           reports, in some circumstances they                     that the quality of proxy voting advice                 therein, the resources of the registrant or
                                           may charge a fee to registrants for such                depends on the time available for proxy                 investment adviser, and in the case of
                                           access,621 or make such access available                voting advice businesses to conduct                     an investment adviser, its policies and
                                           only in connection with the purchase of                 research.628 One commenter concluded                    procedures with respect to proxy voting,
                                           consulting services from an affiliate of                from this research that the proposed                    it is difficult to provide a quantifiable
                                           the proxy voting advice businesses. The                 requirements would reduce the quality                   estimate of these costs.
                                           requirement to share full reports with                  of voting advice.629
                                           registrants under Rule 14a–2(b)(9)(ii)                    The principles-based approach we are                  4. Amendments to Rule 14a–(9)
                                           may result in a proxy voting advice                     adopting should mitigate many of these                  a. Benefits
                                           business providing access to proxy                      concerns because it will impose
                                                                                                   compliance costs on proxy voting                           Finally, we are amending Rule 14a–9
                                           voting reports at no charge to                                                                                  to add as an example of what could be
                                           registrants.622 This would cause such                   advice businesses that are lower than
                                                                                                   the compliance costs associated with                    misleading, the failure to disclose
                                           proxy voting advice business to lose fees                                                                       certain material information about
                                           they otherwise would have earned from                   the approach in the Proposing Release,
                                                                                                   and hence will limit the potential                      proxy voting advice, specifically
                                           selling proxy voting reports to                                                                                 information about the proxy voting
                                           registrants. Without more detailed                      increase in the price of proxy advice
                                                                                                   services for proxy voting advice                        advice business’s methodology, sources
                                           information about proxy voting advice                                                                           of information, and conflicts of interest.
                                           businesses’ fee schedules and                                                                                   We do not expect the amendment to the
                                                                                                      623 See, e.g., letters from CII IV; ICI; ISS; New
                                           information about the revenues they                                                                             list of examples in Rule 14a–9 to
                                                                                                   York Comptroller II; PRI II; ProxyVote II; Segal
                                           currently generate from selling proxy                   Marco II; Ohio Public Retirement; Prof. Bebchuk.        significantly alter existing disclosure
                                           voting reports to registrants, we are                      624 See letter from CII IV.
                                                                                                                                                           practices, as it will largely codify
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                                                                                                      625 See letter from Prof. Bebchuk.
                                                                                                      626 See letter from PRI II.
                                                                                                                                                           existing Commission guidance on the
                                             620 See  supra note 608.
                                             621 See                                                  627 See letter from ISS.
                                                                                                                                                           applicability of Rule 14a–9 to proxy
                                                      Section IV.B.1.a.ii.
                                             622 To rely on the safe harbor in Rule 14a–              628 See letter from Ana Albuquerque, Boston          voting advice.630 To the extent the
                                           2(b)(9)(iii), a proxy voting advice business must       University, et al. (Feb 3. 2020) (‘‘Prof. Albuquerque
                                           provide registrants with a copy of the proxy voting     et al.’’).                                                630 See Commission Interpretation on Proxy

                                           advice at no charge.                                       629 See letter from CII IV.                          Voting Advice at 47419.



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                                           amendment prompts some proxy voting                       or to result in a shift to more pro-                   they might pass through to smaller
                                           advice businesses to provide additional                   registrant proxy voting                                clients. Finally, we believe that because
                                           disclosure about the bases for their                      recommendations.                                       the final rules promote the availability
                                           voting advice, the clients of these                                                                              of more complete and accurate
                                                                                                     5. Effect on Smaller Entities
                                           businesses—and the investors they                                                                                information to proxy voting advice
                                           serve—may benefit from receiving                             Several commenters specifically                     clients, they are responsive to calls for
                                           additional information that could aid in                  stated that the economic analysis failed               proxy process reform by smaller issuers
                                           making voting determinations.                             to consider the effect and cost of the                 to ‘‘inspire confidence in the voting
                                                                                                     proposal on smaller proxy voting advice                process, drive shareholder engagement,
                                           b. Costs                                                  businesses.637 One of these commenters                 and bolster long-term value
                                              The final amendments to Rule 14a–9                     asserted that small entities (defined by               creation.’’ 641 Smaller issuers may also
                                           will impose direct costs on proxy voting                  the commenter as those with up to $5                   benefit from the final amendments
                                           advice businesses to the extent the                       million in assets) would face significant              insofar as they will have greater
                                           amended rule prompts some proxy                           resource and capacity burdens when                     opportunity to receive proxy voting
                                           voting advice businesses to provide                       complying with the proposed                            advice and inform their shareholders of
                                           additional disclosure about the bases for                 amendments, without improvements in                    their views on such advice, relative to
                                           their voting advice. We expect any such                   the quality of voting for clients.638                  the opportunities proxy voting advice
                                           costs to be minimal, especially given                     Another commenter similarly stated the                 business currently offer registrants
                                           that the examples being codified were                     proposals would be particularly                        under voluntary review programs.642
                                           included in prior Commission                              burdensome for small proxy voting
                                           guidance.631                                              advice businesses.639 One commenter                    D. Effects on Efficiency, Competition,
                                              Some commenters asserted that the                      stated that the economic analysis failed               and Capital Formation
                                           main cost of the Rule 14a–9                               to consider the proposal’s effect on                   1. Efficiency
                                           amendments will be an increase in                         small and medium-sized investment
                                           litigation risk for proxy voting advice                   advisers and stated these entities would                  As discussed in Section IV.B above,
                                           businesses.632 Several commenters                         be disproportionately affected.640                     proxy voting advice businesses perform
                                           stated that this increased litigation risk                   As mentioned in Section IV.B.1                      a variety of functions for their clients,
                                           would make it more expensive and                          above, the Commission is not aware of                  including analyzing and making voting
                                           burdensome for proxy voting advice                        smaller firms that currently supply                    recommendations on matters presented
                                           businesses to provide their advisory                      research, analysis, and                                for shareholder vote and included in
                                           services.633 One commenter asserted                       recommendations to support the voting                  registrants’ proxy statements. As an
                                           that the proposed changes amount to a                     decisions of their clients that would fall             alternative to utilizing these services,
                                           new cause of action under Rule 14a–                       within the definition of ‘‘solicitation.’’             clients of proxy voting advice
                                           9.634 Two other commenters argued that                    We therefore cannot estimate how many                  businesses could instead conduct their
                                           the proxy voting advice businesses’                       small proxy voting advice businesses                   own analysis and execute votes using
                                           response to the threat of litigation under                will be affected. However, we are                      internal resources.643
                                           Rule 14a–9 would be to err on the side                    cognizant that any smaller proxy voting                   We believe that, for purposes of
                                           of caution in complex or contentious                      advice businesses that operate now or in               general analysis, it is reasonable to
                                           matters, thus increasing the likelihood                   the future may incur proportionally                    assume that the cost of analyzing
                                           of the proxy voting advice business                       higher compliance costs even under the                 matters presented for shareholder vote
                                           issuing pro-registrant proxy voting                       final amendments, especially if some of                will not vary significantly with the size
                                           recommendations.635 We believe several                    the potential costs of the amendments                  of the position being voted. Given the
                                           factors will serve to limit this risk. As                 are fixed. For example, small proxy                    costs of analyzing and voting proxies,
                                           discussed above, Rule 14a–9 liability is                  voting advice businesses may not have                  the services offered by proxy voting
                                           grounded in the concept of materiality                    conflicts of interest disclosure policies              advice businesses may offer economies
                                           and thus would be based on the                            in place, or may not have mechanisms                   of scale relative to their clients
                                           particular facts and circumstances and                    to inform clients of registrant feedback.              performing those functions themselves.
                                           assessed from the perspective of the                      We believe that the new principles-                    For example, a GAO study found that
                                           reasonable shareholder.636 Moreover,                      based approach we are adopting should                  among 31 institutions, including mutual
                                           neither our proposed amendment to                         help address some of the concerns about                funds, pension funds, and asset
                                           Rule 14a–9 nor the other amendments                       the final rule’s disparate effect on                   managers, large institutions rely less
                                           we are adopting will broaden the                          smaller firms by providing small proxy                 than small institutions on the research
                                           concept of materiality or create a new                    voting advice businesses with the                      and recommendations offered by proxy
                                           cause of action, as some commenters                       flexibility to design policies and                     voting advice businesses.644 Small
                                           suggested. Thus, the amendment does                       procedures that are scaled to the scope
                                           not change the scope or application of                    of their business operations.                            641 See 2019 Small Business Forum.
                                           existing law. Therefore, we do not                           Further, we believe that the                          642 See supra Section IV.B.1.a.ii.
                                                                                                                                                              643 Clients of proxy voting advice businesses may
                                           expect the new amendment to Rule 14a–                     principles-based approach should afford
                                                                                                                                                            also rely on some combination of internal and
                                           9 to generate significant new litigation                  existing proxy voting advice businesses                external analysis.
                                           risk for proxy voting advice businesses                   flexibility to leverage their existing                   644 See 2007 GAO Report, supra note 474, at 2;
                                                                                                     practices and mechanisms to efficiently                see also letter from BRT (stating since many
                                             631 See   supra notes 46 and 67 and accompanying        comply with the new requirements,                      institutional investors face voting on a large number
                                           text.                                                     reducing the compliance burdens that                   of corporate matters every year but lack personnel
                                                                                                                                                            and resources, they outsource tasks to proxy
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                                              632 See letters from IAA; ISS; Glass Lewis II;
                                                                                                                                                            advisors); see also letters in response to the SEC
                                           Minerva I.                                                  637 See letters from Felician Sisters II; Good
                                              633 See letters from IAA; Glass Lewis II; Minerva
                                                                                                                                                            Staff Roundtable on the Proxy Process from
                                                                                                     Shepherd; IASJ; Interfaith Center II; St. Dominic of   BlackRock (Nov. 16, 2018) (‘‘BlackRock’s
                                           I.                                                        Caldwell.                                              Investment Stewardship team has more than 40
                                              634 See letter from C. Icahn.                            638 See letter from IASJ.
                                                                                                                                                            professionals responsible for developing
                                              635 See letters from ISS; Elliott I.                     639 See letter from Interfaith Center II.
                                                                                                                                                            independent views on how we should vote proxies
                                              636 See discussion in supra Section II.D.3.              640 See letter from IAA.                             on behalf of our clients.’’); NYC Comptroller (Jan.



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                                           institutional investors surveyed in the                  perceive the amendments as affecting                    proxy voting advice. The final
                                           study indicated they had limited                         proxy voting advice businesses’                         amendments neither require proxy
                                           resources to conduct their own                           objectivity and independence, this                      voting advice businesses to share draft
                                           research.645                                             could lead to a decrease in demand for                  proxy voting advice with registrants in
                                              By establishing requirements that                     proxy voting advice and potentially                     advance of providing advice to their
                                           promote transparency in proxy voting                     fewer efficiencies in the proxy voting                  clients, nor require proxy voting advice
                                           advice, the final amendments could lead                  process.647 However, as discussed                       businesses to consider feedback from
                                           to an increased demand for proxy voting                  above, we have made a number of                         registrants on the proxy voting advice.
                                           advice businesses’ voting advice. To the                 changes to the proposed amendments                      In this way, the final amendments seek
                                           extent proxy voting advice businesses                    that we believe address these concerns                  to limit the presence and ameliorate the
                                           offer economies of scale relative to their               and will lead to more accurate,                         possible effects of the independence-
                                           clients performing certain functions                     transparent and complete information                    related concerns raised by commenters
                                           themselves, increased demand for, and                    for proxy voting advice business                        while preserving many of the intended
                                           reliance upon, proxy voting advice                       clients.648 In addition, as discussed                   benefits of the proposed engagement
                                           business services could lead to greater                  above, we do not expect the new                         process, such as enhancing the
                                           efficiencies in the proxy voting process.                amendment to Rule 14a–9 to generate                     accuracy, transparency and
                                           At the same time, the final amendments                   significant new litigation risk for proxy               completeness of information available to
                                           will impose certain additional costs on                  voting advice businesses.649                            clients of proxy voting advice
                                           proxy voting advice businesses, and                         Several commenters also stated that                  businesses.
                                           these costs may be passed on to their                    the proposed amendments could                              Other commenters disputed that the
                                           clients. To the extent the costs passed                  adversely affect the efficiency of how                  proposed amendments would bring
                                           on to a client are greater than the related              capital is allocated in two ways                        about more accurate or transparent
                                           benefits (or vice versa) to the client it                stemming from the potential threat of                   proxy voting advice, asserting that
                                           could lead to decreased (or increased)                   litigation by registrants and their ability             proxy voting advice businesses already
                                           demand for proxy voting advice                           to influence proxy voting advice under                  provide adequate disclosure regarding
                                           business services by the client. As each                 the proposed rule.650 First, some of                    conflicts of interest and a means for
                                           client individually decides whether to                   these commenters expressed concern                      engagement with registrants because the
                                           use proxy voting advice business                         that the amendments could reduce the                    price and quality of service for proxy
                                           services, if aggregate demand for proxy                  independence of proxy voting advice                     advice is determined in a competitive
                                           voting advice business services                          businesses and the diversity of thought                 market.653 In that case, the amendments
                                           increases (decreases), there will be more                in the market for proxy advice, which in                may not result in an increase in demand
                                           (or fewer) efficiencies in the proxy                     turn could reduce the information                       for proxy advisory services. As
                                           voting process.                                          investors and investment advisers have,                 discussed above, while we acknowledge
                                              Some commenters asserted that the                     resulting in less efficient investment                  that proxy voting advice businesses
                                           ability of registrants to review the                     decisions.651 Second, some of these                     currently disclose conflicts of interest to
                                           advice and the threat of litigation from                 commenters stated that the amendments                   clients and permit certain registrants to
                                           registrants would result in voting advice                would have a silencing effect on proxy                  review proxy voting advice, the final
                                           from proxy voting advice businesses                      voting advice businesses, resulting in                  rules could nevertheless increase
                                           that is less accurate, useful, and                       value-destroying decisions by managers                  demand for proxy voting advice to the
                                           valuable to their clients.646 If clients                 of registrants who are held less                        extent that: (i) Clients prefer a more
                                                                                                    accountable for their actions.652                       standardized time and means of
                                           2, 2019) (‘‘We have five full-time staff dedicated to       We believe that the principles-based                 receiving conflict disclosures, and (ii)
                                           proxy voting during peak season, and our least-
                                                                                                    approach we are adopting helps address                  proxy voting advice businesses expand
                                           tenured investment analyst has 12 years’ experience                                                              their existing review procedures as a
                                           applying the NYC Funds’ domestic proxy voting            commenter concerns about reductions
                                           guidelines.’’).                                          in the reliability and independence of                  means of satisfying the new conditions.
                                              645 See 2007 GAO Report, supra note 474, at 2;                                                                Overall, given the changes in the final
                                           see also letters in response to the SEC Staff            Head of ESG, CBRE Clarion Securities (Feb. 3, 2020)     amendments relative to the proposed
                                           Roundtable on the Proxy Process from Ohio Public         (‘‘CBRE’’); Michael Rowland (Feb. 3, 2020); Dustyn      amendments, we do not expect the final
                                           Retirement (Dec. 13, 2018) (‘‘OPERS also depends
                                           heavily on the research reports we receive from our
                                                                                                    Lanz, CEO, Responsible Investment Association           amendments to have a significant effect
                                                                                                    (Feb. 3, 2020) (‘‘RIA’’); Graeme Black, Chair, Black    on the demand for proxy advisory
                                           proxy advisory firm. These reports are critical to the   Group Australia (Feb. 3, 2020) (‘‘Black Group’’);
                                           internal analyses we perform before any vote is          Ario; CII IV; ACSI; BMO; John Starcher, President       services, and hence efficiency.
                                           submitted. Without access to the timely and              and CEO, Bon Secours Mercy Health (Feb. 3, 2020)
                                           independent research provided by our proxy                                                                       2. Competition
                                                                                                    ‘‘Bon Secours’’); CFA Institute I; Baillie Gifford;
                                           advisory firm, it would be virtually impossible to
                                           meet our obligations to our members.’’); Transcript
                                                                                                    CIRCA; Joanie B. (Feb. 3, 2020); Canadian                  The amendments’ requirements that
                                                                                                    Governance Coalition; AllianceBernstein; LA             promote transparency and more
                                           of Roundtable on the Proxy Process at 194                Retirement; Glass Lewis II; CII V; C. Icahn; CII VI;
                                           (comments of Mr. Scot Draeger) (‘‘If you’ve ever         LACERS; James Elbaor (Feb. 26, 2020); Terrence M.       effective evaluation of proxy voting
                                           actually reviewed the benchmarks, whether it’s ISS       Burgess, Senior Managing Director, Wellington           advice could stimulate competition
                                           or anybody else, they’re very extensive and much
                                           more detailed than small firm[s] like ours could
                                                                                                    Management Company (Mar. 3, 2020)                       among proxy voting advice businesses
                                                                                                    (‘‘Wellington’’). See also IAC Recommendation.          with respect to the quality of advice. In
                                           ever develop with our own independent                       647 As noted above, we do not have financial data
                                           research.’’).
                                                                                                    about proxy advice voting businesses, including
                                                                                                                                                            particular, clients of proxy voting advice
                                              646 See, e.g., letters from Prof. Bebchuk; ISS;
                                                                                                    financial data by service provided or by client type,   businesses may be better able to assess
                                           ICGN; PRI II; Torsten Jochem, Associate Professor        so making these assessments on a quantitative basis     conflicts of interest (and, more broadly,
                                           of Finance, University of Amsterdam, and Anjana          is difficult.
                                           Rajamani, Erasmus University Rotterdam (Dec. 16,                                                                 alignment of interest) and the reliability
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                                                                                                       648 See discussion in supra Section IV.C.3.b.ii.
                                           2019) (‘‘Profs. Jochem and Rajamani’’); Segal Marco                                                              of proxy voting advice, which could, in
                                                                                                       649 See discussion in supra Section IV.C.4.b.
                                           II; TIAA; Ivy Investment; Olshan LLP; First
                                                                                                       650 See, e.g., letters from Shareholder Rights II;
                                                                                                                                                            turn, cause proxy voting advice
                                           Affirmative; Lisa A. Smith, Vice President,                                                                      businesses to compete more on those
                                           Advocacy and Public Policy, Catholic Health              ISS.
                                           Association of the United States (Feb. 3, 2020)             651 See letters from Prof. Bebchuk; CalPERS; CFA     dimensions.
                                           (‘‘Catholic Health’’); NorthStar; Rowan Finnegan         Institute I.
                                           (Feb. 3, 2020); NASAA; ProxyVote II; Diane Wade,            652 See letters from ISS; PRI II; Better Markets.     653 See,   e.g., letter from ISS.



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                                              As discussed above, several                            described below, we do not believe this                   market for proxy voting advice would
                                           commenters disagreed that the proposed                    will be the case with the final                           need to develop such processes and
                                           amendments would increase the quality                     amendments.                                               thus may initially experience somewhat
                                           or transparency of proxy advice, which                       Many commenters stated that the                        higher costs in connection with
                                           they thought was sufficient under the                     economic analysis in the Proposing                        compliance with the final rules. A
                                           baseline, and stated that the proposed                    Release did not adequately consider the                   differential effect on costs across proxy
                                           amendments could reduce the quality of                    effects of the rule on competition in the                 voting advice businesses could, in turn,
                                           proxy advice if the rule reduces the                      market for proxy advice.659 Some                          affect competition within the proxy
                                           independence and diversity of thought                     commenters asserted that the cost                         voting advice business industry.
                                           amongst proxy voting advice                               burdens of the amendments,                                Similarly, one commenter stated that, if
                                           businesses.654 In that case, the rules                    particularly those associated with                        it were subject to the proposed
                                           may not increase competition in the                       litigation exposure from registrants,                     amendments, it likely would have to
                                           proxy advice market. However, as noted                    would decrease competition in the                         either significantly increase its fees or
                                           above, we believe the final amendments’                   proxy advice market, raising barriers to                  sell their firm to one of the two
                                           principles-based approach should                          entry in the proxy advice market, and                     dominant competitors.664 While that
                                           address many of these concerns because                    potentially forcing the exit of some                      commenter may not be subject to the
                                           proxy voting advice businesses may, but                   proxy voting advice businesses from the                   final amendments,665 to the extent that
                                           will no longer be required to, preview                    market.660 Several other commenters                       the costs associated with the final
                                           their proxy voting advice with                            argued that the proposed amendments                       amendments disproportionately affect
                                           registrants.                                              would reduce competition by creating                      proxy voting advice businesses without
                                              The final amendments could also                        new barriers to entry in what                             existing processes that can be adapted to
                                           have certain adverse effects on                           historically has been an industry with                    satisfy the new conditions, particularly
                                           competition. The final amendments will                    few competitors.661 One commenter, a                      smaller proxy voting advice businesses
                                           cause proxy voting advice businesses to                   proxy voting advice business in the                       that would otherwise consider entering
                                           incur certain additional compliance                       U.K., stated that the Proposed Rule                       the market for proxy advice, the final
                                           costs as discussed in Section II.C.2                      made it highly unlikely it would enter                    amendments could reduce competition
                                           above. How those costs will be shared                     the U.S. proxy voting advice business                     in the market for proxy advisory
                                           between proxy voting advice businesses                    market.662 Another commenter,                             services. We expect the principles-based
                                           and their clients depends on the ability                  however, stated that increased barriers                   approach reflected in the final
                                           of proxy voting advice business to                        to entry would not reduce competition                     amendments may help to ameliorate
                                           exercise market power in the pricing of                   because, notwithstanding the rule, entry                  concerns about any differential effect of
                                           their services. One commenter noted                       would not occur because investors place                   the final amendments by affording
                                           that, although complaints about pricing                   little value on proxy voting advice and                   proxy voting advice businesses the
                                           feature regularly in oligopolistic                        financial incentives for entry are                        flexibility to design policies and
                                           markets, proxy voting advice business                     correspondingly low.663 The final                         procedures that are scaled to the scope
                                           generally are not criticized for their                    amendments reflect a principles-based                     of their operations and client base.
                                           pricing.655 The commenter further                         approach that is intended to limit the                       Overall, we believe the benefits of
                                           explained that this might reflect clients’                increased compliance costs for proxy                      improving the transparency, accuracy,
                                           perception that, due to the scale                         voting advice businesses and thus                         and completeness of information
                                           economies involved in proxy research,                     should reduce the potential for                           available to shareholders when making
                                           it is less costly to purchase proxy voting                significant adverse effects on                            voting decisions and enhancing the
                                           advice than to engage in proxy research                   competition.                                              overall functioning of the proxy voting
                                           themselves.656 The presence of these                         Additionally, given certain industry                   process, in furtherance of Section 14 of
                                           scale economies may provide proxy                         practices, the costs associated with the                  the Exchange Act would support
                                           voting advice businesses with                             final amendments could affect proxy                       adoption of the amendments
                                           substantial market power, including the                   voting advice businesses differently. For                 notwithstanding any adverse effect on
                                           power to pass compliance costs                            example, we understand that the three                     competition arising therefrom.
                                           associated with the final rules on to                     existing proxy voting advice businesses
                                                                                                     that will be affected by the final                        3. Capital Formation
                                           their clients. If, however, as other
                                           commenters argued,657 clients do not                      amendments already have processes in                         By facilitating the ability of clients of
                                           place a large value on proxy voting                       place for sharing certain aspects of their                proxy voting advice businesses to make
                                           advice, then proxy voting advice                          analysis with certain registrants prior to                informed voting determinations, the
                                           businesses may face limits in their                       making a recommendation to clients,                       final amendments could ultimately lead
                                           ability to pass compliance costs through                  which they may be able to leverage to                     to improved investment outcomes for
                                           to clients. In the Proposing Release, we                  comply with the new conditions. In                        investors. This in turn could lead to a
                                           acknowledged that if costs borne by                       contrast, firms considering entering the                  greater allocation of resources to
                                           proxy voting advice businesses are large                                                                            investment. To the extent that the final
                                                                                                        659 See letters from CII IV; Richard B. Zabel,
                                           enough to cause some businesses to exit                                                                             amendments lead to more investment,
                                                                                                     General Counsel & Chief Legal Officer, Elliott
                                           the market or potential entrants to stay                  Management Corporation (Mar. 30, 2020) (‘‘Elliott
                                                                                                                                                               we could expect greater demand for
                                           out of the market, the proposed                           II’’); Felician Sisters II; Glass Lewis II; Good          securities, which could, in turn,
                                           amendments could decrease                                 Shepherd; IASJ; ISS; Interfaith Center II; Minerva I;     promote capital formation.
                                                                                                     New York Comptroller II; Prof. Bebchuk; St.               Additionally, to the extent the final
                                           competition.658 For the reasons                           Dominic of Caldwell; ProxyVote II. See also IAC
                                                                                                                                                               amendments ameliorate frictions in the
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                                                                                                     Recommendation.
                                             654 See   supra notes 646 and 651.                         660 See letters from Prof. Bebchuk; TIAA; 62           market for proxy voting advice that may
                                             655 See   letter from C. Spatt.                         Professors; CII IV. See also IAC Recommendation.          currently deter private companies from
                                             656 Id.                                                    661 See, e.g., letters from ISS; CII IV; Segal Marco
                                             657 See letters from B. Sharfman I and Manhattan        II; Prof. Sergakis; 62 Professors.                          664 See   letter from ProxyVote II.
                                           Institute.                                                   662 See letters from Minerva I.                          665 See   supra notes 170–173 and accompanying
                                             658 See Proposing Release at 66550.                        663 See letter from Manhattan Institute.               text.



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                                           becoming public reporting companies,                     uncertainty for proxy voting advice                   disclosure of proxy voting advice
                                           the amendments could serve to                            businesses, but it would have generated               businesses’ conflicts of interest could
                                           encourage more companies to become                       greater compliance costs for proxy                    allow beneficial owners to assess the
                                           public.666                                               voting advice businesses, some or all of              conflicts for themselves. While there
                                              Several commenters stated that the                    which could have been passed on to                    may be some benefit to beneficial
                                           proposal to allow registrants to review                  their clients. The principles-based                   owners from having access to this
                                           draft proxy advice could lead to the                     approach we are adopting provides a                   information, this benefit may be limited
                                           misuse of material non-public                            significant degree of flexibility to proxy            given that many beneficial owners have
                                           information.667 This possibility is                      voting advice businesses in deciding the              delegated investment management
                                           predicated on an expectation that a                      best way to ensure that more complete                 functions to others in the first place and
                                           proxy voting advice business’s                           and transparent information is available              thus would not be receiving the advice.
                                           recommendation could have an                             to their clients, and we expect that it               In addition, one commenter noted that
                                           influence on the outcome of a voting                     will significantly reduce their                       publicly disclosing conflicts could
                                           matter before shareholders. For                          compliance costs.                                     undermine the information barriers put
                                           example, if a proxy voting advice                                                                              in place between the consulting and
                                           business’s recommendation is likely to                   2. Require Proxy Voting Advice
                                                                                                                                                          proxy advice side of a proxy voting
                                           influence the outcome of a vote that is                  Businesses To Include Full Registrant
                                                                                                                                                          advice business’s operations.669
                                           expected to generate stock price                         Response in the Businesses’ Voting
                                           reactions, then advance knowledge of                     Advice                                                4. Require Additional or Alternative
                                           such a recommendation would be                              Rather than requiring proxy voting                 Mandatory Disclosures in Proxy Voting
                                                                                                    advice businesses to adopt and publicly               Advice
                                           potentially valuable to facilitate insider
                                           trading. Any such misuse of material                     disclose written policies and procedures                 In addition to requiring the adopted
                                           non-public information could reduce                      reasonably designed to ensure that such               conflicts of interest disclosures, we
                                           investor confidence in the integrity of                  businesses provide clients with a                     could amend Rule 14a–2(b)(9) to require
                                           markets and lead to a reduction in                       mechanism by which the clients can                    that proxy voting advice businesses
                                           capital formation. However, the final                    reasonably be expected to become aware                include in their proxy voting advice
                                           amendments do not mandate that                           of registrant responses to proxy voting               additional disclosures, such as
                                           registrants be given prior access to draft               advice, we could require proxy voting                 disclosure regarding the proxy voting
                                           proxy voting advice. In addition, as                     advice businesses to include the                      advice business’s methodology, sources
                                           discussed above, some form of registrant                 registrant’s full response in the proxy               of information, or disclosures regarding
                                           pre-review already exists at each of the                 voting advice itself. Including the                   the use of standards that materially
                                           three major proxy voting advice                          registrant’s full response in the proxy               differ from relevant standards or
                                           businesses, and we are not aware of any                  voting advice would benefit clients of                requirements that the Commission sets
                                           misuse of such information.                              proxy voting advice businesses by                     or approves. Proxy voting advice
                                              Overall, given the many factors that                  allowing them to avoid the additional                 businesses’ clients may benefit from
                                           can influence the rate of capital                        step of accessing the response.                       having consistent disclosure on such
                                           formation, any effect of the final                       Including a full response in the voting               matters as they assess the voting advice
                                           amendments on capital formation is                       advice provided by proxy voting advice                and make decisions regarding their
                                           expected to be small.                                    businesses also could benefit registrants             utilization of the voting advice.
                                                                                                    by having their responses more                        However, such disclosures may not be
                                           E. Reasonable Alternatives                               prominently displayed, depending on                   material or necessary to assess proxy
                                           1. Use a More Prescriptive Approach in                   where in the advice the response is                   voting advice in all instances, and
                                           the Final Amendments                                     included. Two commenters suggested                    would result in increased costs to proxy
                                                                                                    this as an appropriate alternative to the             voting advice businesses. Certain
                                              Instead of a principles-based
                                                                                                    proposed amendments.668                               information may also comprise
                                           approach that allows proxy voting
                                                                                                       However, requiring inclusion of the                proprietary information, disclosure of
                                           advice businesses the flexibility to
                                                                                                    registrant’s full response in the proxy               which, depending on the specificity
                                           design their own measures to ensure
                                                                                                    voting advice provided by proxy voting                required, may result in competitive
                                           that clients have more complete and
                                                                                                    advice businesses could disrupt the                   consequences to proxy voting advice
                                           transparent information on which to
                                                                                                    ability of such businesses to effectively             businesses. In light of these
                                           base their voting decisions, we could
                                                                                                    design and prepare their reports in the               considerations, the adopted rules will
                                           have used a more prescriptive approach,
                                                                                                    manner that they and their clients                    not require such disclosures in all
                                           such as the approach we proposed. For
                                                                                                    prefer. Also, registrants would lose the              instances.
                                           example, we could have required proxy                                                                             One commenter noted a suggestion
                                                                                                    flexibility to present their views in the
                                           voting advice businesses to notify                                                                             from the 2010 Concept Release that
                                                                                                    manner they deem most appropriate or
                                           registrants of their advice or provide                                                                         ‘‘proxy advisory firms could provide
                                                                                                    effective.
                                           their clients with registrants’ responses                                                                      increased disclosure regarding the
                                           to that advice in certain specific ways                  3. Public Disclosure of Conflicts of                  extent of research involved with a
                                           and time frames. Such a prescriptive                     Interest                                              particular recommendation and the
                                           approach could have reduced legal                           The final amendments require that                  extent and/or effectiveness of its
                                                                                                    proxy voting advice businesses include                controls and procedures in ensuring the
                                              666 See letters from Prof. Tingle (asserting that

                                           public capital markets have become less attractive
                                                                                                    in their advice (and in any electronic                accuracy of registrant data.’’ 670 The
                                           to companies that would otherwise consider going         medium used to deliver the advice)                    commenter also highlighted another
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                                           public and that proxy voting advice businesses have      certain conflicts of interest disclosures.            suggestion from the Concept Release
                                           been singled out as possibly complicit in this           We could require that those conflicts of              noting that the Commission’s rules that
                                           trend); TechNet (supporting the Proposed Rule as
                                           part of a commitment to ‘‘. . . make the U.S. the
                                                                                                    interest disclosures be made publicly                 govern NRSROs ‘‘may be useful
                                           most attractive place in the world for anyone to         rather than just to clients. Public
                                           start a company, grow it here, and take it public.’’).                                                           669 See   letter from ISS.
                                              667 See letters from CII IV; Glass Lewis II; ISS.      668 See   letters from NAM; BIO.                       670 See   letter from Glass Lewis II.



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                                           templates for developing a regulatory                   generally limit or disable the automatic                example, the three major proxy voting
                                           program addressing conflicts of interest                submission of votes, claiming it would                  advice businesses have processes in
                                           and other issues with respect to the                    lead to more informed proxy voting,                     place for sharing certain aspects of their
                                           accuracy and transparency of voting                     though these commenters did not                         analysis with certain registrants prior to
                                           recommendations provided by proxy                       necessarily condition such limitations                  making a recommendation to clients,
                                           advisory firms.’’ The commenter stated                  on the filing of a registrant response.671              which they may be able to leverage to
                                           that these two approaches should have                      We recognize that these pre-                         comply with the new conditions.
                                           been considered as alternatives to the                  population and automatic submission                     However, it is possible that entrants to
                                           rule. We have considered the alternative                functions may enable proxy voting                       this market (which could be smaller
                                           of requiring additional disclosure                      advice business clients to vote their                   than the existing three major proxy
                                           regarding the methods and procedures                    proxies prior to registrants being able to              voting advice businesses) would have to
                                           used to develop proxy voting advice,                    provide a response to the proxy voting                  develop new processes to meet the
                                           but believe it is preferable to avoid                   advice. We also recognize that disabling                conditions for exemption under the
                                           being overly prescriptive about the                     or suspending these functions when                      final amendments if they choose to
                                           content of the report for a particular                  registrants have indicated they intend to               engage in the types of activities that fall
                                           registrant/recommendation. Instead, for                 file responses to voting advice could                   within the scope of Rule 14a–1(l)(1)(iii).
                                           the reasons discussed throughout this                   benefit the clients of proxy voting                     Some of the costs of developing these
                                           release, we believe it is more                          advice businesses to the extent that it                 new processes are likely fixed, and do
                                           appropriate to focus on principles that                 increases the likelihood that the clients               not vary with the number of issuers a
                                           will allow the clients of proxy voting                  of the proxy voting advice businesses                   proxy voting advice business covers or
                                           advice businesses to have access to                     would review the registrants’ responses,                the number of clients it serves. Thus,
                                           more complete and transparent                           and take them into consideration, before                the costs associated with the final
                                           information upon which to make a                        voting their proxies. At the same time,                 amendments could affect potential
                                           voting decision, while providing                        depending on how such a measure is                      entrants into the market for proxy
                                           flexibility to proxy voting advice                      implemented and conditioned, such an                    advice that are smaller businesses more
                                           businesses to determine the best means                  alternative could give rise to timing                   than the existing three major proxy
                                           to satisfy those principles. Moreover,                  pressures and other logistical                          voting advice businesses. To the extent
                                           while we recognize that other regulatory                challenges. For example, disabling these                the costs associated with the final
                                           regimes may take different approaches                   functions permanently under certain                     amendments disproportionately affect
                                           to similar issues, we note that the role                circumstances could increase costs for                  smaller proxy voting advice businesses
                                           of NRSROs and proxy voting advice                       clients if they need to devote greater                  that might consider entering the market
                                           businesses differ from one another and                  resources to managing the voting                        in the future, the final amendments
                                           that following a similar regulatory                     process as a result, which may in turn                  could reduce competition among proxy
                                           approach might not be appropriate. We                   also reduce the value of the services of                voting advice businesses.
                                           also recognize that the costs and                       the proxy voting advice businesses.                        As a means of addressing the
                                           benefits of NRSRO regulation differ                        We have declined to adopt such a                     potential adverse effect on competition
                                           from the costs and benefits of potential                prescriptive approach at this time, but                 among proxy voting advice businesses,
                                           additional regulation of proxy voting                   rather have focused on an incremental                   we could exempt smaller proxy voting
                                           advice businesses. The principles-based                 principles-based approach in order to                   advice businesses from the additional
                                           approach reflected in the final                         see how practice develops in light of the               conditions to the exemptions in Rules
                                           amendments is tailored to the unique                    changes being adopted. The                              14a–2(b)(1) and 14a–2(b)(3). Several
                                           role played by proxy voting advice                      amendments we are adopting are                          commenters supported such an
                                           businesses in the proxy process and is                  intended to make clients of proxy voting                alternative.673 Exempting smaller proxy
                                           intended to be adaptable to existing                    advice businesses aware of a registrant’s               voting advice businesses from the
                                           market practices.                                       views about proxy voting advice in a                    additional conditions would reduce the
                                           5. Require Disabling or Suspension of                   timely manner, which could assist these                 cost of the final amendments for such
                                           Pre-Populated and Automatic                             clients in making voting determinations.                businesses, and could thus facilitate the
                                           Submission of Votes                                     Further, the Commission has provided                    entry of new proxy voting advice
                                              The final amendments do not                          investment advisers, who often engage                   businesses. However, we expect the
                                           condition the availability of the Rules                 proxy voting advice businesses to                       costs associated with the final
                                           14a–2(b)(1) and 14a–2(b)(3) exemptions                  provide voting related services, with                   amendments to be much smaller
                                           on a proxy voting advice business                       additional guidance regarding how they                  compared to the initial costs of setting
                                           structuring its electronic voting platform              could consider their policies and                       up the business, including building a
                                           to disable or suspend the automatic                     procedures regarding these types of                     reputation for providing quality
                                           submission of votes in instances where                  automated voting functions.672                          services, which any newcomer will have
                                           a registrant indicates that it intends to               6. Exempt Smaller Proxy Voting Advice                   to incur. Also, such an exemption
                                           file (or has filed) a response to the                   Businesses From the Additional                          would mean that clients of these proxy
                                           voting advice as additional soliciting                  Conditions to the Exemptions                            voting advice businesses would not
                                           materials. Alternatively, we could                                                                              realize the same benefits as clients of
                                                                                                      As discussed in Section III.C.2 above,               incumbent firms in terms of potential
                                           require such a condition. Another
                                                                                                   given certain industry practices, the                   improvements in the accuracy,
                                           alternative would be to require that the
                                                                                                   costs associated with the final                         completeness, and transparency of the
                                           proxy voting advice business refrain
                                                                                                   amendments may be different for certain
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                                           from pre-populating a client’s voting                                                                           information available to them when
                                                                                                   proxy voting advice businesses. For
                                           choices once a registrant indicates it
                                                                                                                                                             673 See letters from SHARE II; CII IV; Manhattan
                                           intends to file a response, indefinitely or               671 See  letters from BRT; NAM; BIO. But see, e.g.,   Institute. One commenter more generally argued
                                           for a period of time, and subject to                    letters from CII IV; Dan Jamieson (Jan. 16, 2020);      that the Commission should ‘‘adopt policies that
                                           conditions. Several commenters                          IAA; ISS; New York Comptroller II.                      would ease entry and participation in the market.’’
                                           supported an alternative that would                        672 See Supplemental Proxy Voting Guidance.          See letters from Elliott I, Prof. Li.



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                                           they make voting decisions.674                           we believe that the cost of sharing full                B. Summary of Comment Letters to PRA
                                           Moreover, as we have discussed in prior                  reports will be more modest under the                   Estimates
                                           sections, we anticipate that the                         final amendments than under the                            The Commission received three
                                           principles-based approach we are                         proposed amendments.                                    comment letters in response to its
                                           adopting is likely to result in more                                                                             request for comment on the PRA
                                           modest costs increases for proxy voting                  VI. Paperwork Reduction Act
                                                                                                                                                            estimates and analysis included in the
                                           advice businesses than the more                          A. Background                                           Proposing Release.680 These
                                           prescriptive approach we proposed,                                                                               commenters expressed concern that the
                                           which should moderate the impact of                         Certain provisions of our rules,                     estimates were not representative of
                                           the final amendments on smaller                          schedules, and forms that will be                       actual impacts and that the analysis
                                           potential entrants.                                      affected by the amendments contain                      failed to properly account for the
                                                                                                    ‘‘collection of information’’                           paperwork burden that would be
                                           7. Require a Narrower Scope of                           requirements within the meaning of the
                                           Registrant Notice                                                                                                incurred, in particular, by proxy voting
                                                                                                    Paperwork Reduction Act of 1995                         advice businesses.681 Two of the
                                              A number of commenters suggested                      (‘‘PRA’’).676 We published a notice                     commenters asserted that the
                                           that registrants should only be allowed                  requesting comment on changes to these                  Commission’s analysis understated the
                                           to review the facts that a proxy voting                  collection of information requirements                  magnitude of the hourly and cost
                                           advice business uses in determining its                  in the Proposing Release and submitted                  burdens that the proposed amendments
                                           voting recommendation, particularly if                   these requirements to the Office of                     would impose.682 One of those
                                           we proceeded with a requirement that                     Management and Budget (‘‘OMB’’) for                     commenters provided detailed estimates
                                           registrants review draft proxy voting                    review in accordance with the PRA.677                   of its expected annual compliance
                                           reports before they are sent to clients.675              The hours and costs associated with                     burden for each of the components of
                                           For example, rather than providing a                     maintaining, disclosing, or providing                   the proposed amendments.683
                                           full copy of its voting advice, a proxy                  the information required by the
                                           voting advice business could provide a                   amendments constitute paperwork                         C. Burden and Cost Estimates for the
                                           summary thereof, setting forth the facts                 burdens imposed by such collection of                   Amendments
                                           it uses without specifying further                       information. An agency may not                             Below we estimate the incremental
                                           details.                                                 conduct or sponsor, and a person is not                 and aggregate effect on paperwork
                                              We note that while the principles-                    required to comply with, a collection of                burden as a result of the amendments.
                                           based approach we are adopting does                      information unless it displays a                        As discussed in Section II above, we
                                           not dictate precisely how a proxy voting                 currently valid OMB control number.                     have made a number of changes from
                                           advice business provides notice of                       The title for the affected collection of                the proposed amendments, most notably
                                           proxy voting advice to registrants, the                  information is: ‘‘Regulation 14A                        to shift to a principles-based approach
                                           final amendments require that proxy                      (Commission Rules 14a–1 through 14a–                    in Rule 14a–2(b)(9)(ii), and we have
                                           voting advice businesses share the full                  21 and Schedule 14A)’’ (OMB Control                     adjusted our estimates accordingly.
                                           proxy voting report with registrants.                    No. 3235–0059).                                            The burden estimates were calculated
                                           Although we acknowledge that                                                                                     by (i) estimating the number of parties
                                                                                                       The Commission adopted existing
                                           commenters’ suggested alternative may                                                                            expected to expend time, effort, and/or
                                                                                                    Regulation 14A 678 pursuant to the
                                           be less costly for proxy voting advice                                                                           financial resources to generate,
                                                                                                    Exchange Act. Regulation 14A and its
                                           businesses to implement, we believe                                                                              maintain, retain, disclose or provide
                                                                                                    related schedules set forth the
                                           that providing registrants with the full                                                                         information required by the
                                                                                                    disclosure and other requirements for
                                           contents of proxy voting reports is                                                                              amendments, and then (ii) multiplying
                                                                                                    proxy statements, as well as the
                                           necessary to achieve the Commission’s                                                                            this number by the estimated amount of
                                                                                                    exemptions therefrom, filed by
                                           objective of facilitating informed proxy                                                                         time, on average, each of these parties
                                                                                                    registrants and other soliciting persons
                                           voting decisions. Providing registrants                                                                          would devote in order to comply with
                                                                                                    to help investors make informed voting
                                           with the full contents of the report gives                                                                       these new requirements over and above
                                                                                                    decisions.679
                                           registrants the opportunity to file                                                                              their existing compliance burden
                                           additional soliciting materials that                        A detailed description of the                        associated with Regulation 14A. These
                                           discuss not only the facts underlying the                amendments, including the need for the                  estimates represent the average burden
                                           proxy voting advice business’s                           information and its use, as well as a                   for all respondents, both large and
                                           recommendations, but also the                            description of the likely respondents,                  small. In deriving our estimates, we
                                           methodology and analysis the proxy                       can be found in Section II above, and a                 recognize that the burdens will likely
                                           voting advice business used to arrive its                discussion of the expected economic                     vary among individual respondents
                                           recommendations. In deciding how to                      effects of the amendments can be found                  based on a number of factors, including
                                           vote on a proxy matter, clients of proxy                 in Section IV above.                                    the nature and conduct of their
                                           voting advice businesses may benefit                                                                             business.
                                           from that additional discussion. As a                      676 44  U.S.C. 3501 et seq.
                                           result, we anticipate the final                            677 44  U.S.C. 3507(d); 5 CFR 1320.11.                1. Impact on Affected Parties
                                                                                                       678 17 CFR 240.14a–1 et seq.
                                           amendments will more effectively                                                                                    As discussed above in Section IV.B.1.,
                                                                                                       679 To the extent that a person or entity incurs a
                                           facilitate clients’ assessment of proxy                  burden imposed by Regulation 14A, it is
                                                                                                                                                            there are a variety of parties that may be
                                           voting advice than this alternative.                     encompassed within the collection of information        affected, directly or indirectly, by the
                                           Moreover, because the final                              estimates for Regulation 14A. This includes             amendments. These include proxy
                                           amendments do not require an                             registrants and other soliciting persons preparing,     voting advice businesses; the clients to
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                                                                                                    filing, processing and circulating their definitive
                                           opportunity for pre-publication review,                  proxy and information statements and additional              680 See   letters from IASJ; Glass Lewis I; ProxyVote
                                                                                                    soliciting materials, as well as the efforts of third
                                             674 See letter from SES.                               parties such as proxy voting advice businesses          I.
                                             675 See letters from ISS at 57; MFA & AIMA at 2;                                                                    681 See id.
                                                                                                    whose voting advice falls within the ambit of the
                                                                                                                                                                 682 See letters from Glass Lewis I; ProxyVote I.
                                           State Street at 3; CFA Institute at 2, 8; CIRCA at 22;   federal rules and regulations that govern proxy
                                           Glass Lewis II at 22–23; IAC at 8–9.                     solicitations.                                               683 See letter from Glass Lewis I.




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                                           whom these businesses provide voting                    impact arising from these amendments                      made available to them at or prior to the
                                           advice; investors and other groups on                   is not expected to materially change the                  time such advice is disseminated to the
                                           whose behalf the clients of proxy voting                average PRA burden hour estimates                         proxy voting advice business’s clients.
                                           advice business make voting                             associated with Regulation 14A. We                        Third, under Rule 14a–2(b)(9)(ii)(B), the
                                           determinations; registrants who are                     therefore have not made any                               proxy voting advice business will be
                                           conducting solicitations and are the                    adjustments to our PRA burden                             required to adopt and publicly disclose
                                           subject of proxy voting advice; and the                 estimates in respect of these                             written policies and procedures
                                           registrants’ shareholders, who                          amendments.                                               reasonably designed to ensure that the
                                           ultimately bear the costs and benefits to                                                                         proxy voting advice business provides
                                                                                                   a. Proxy Voting Advice Businesses
                                           the registrant associated with the                                                                                clients with a mechanism by which they
                                           outcome of voting matters covered by                       In the Proposing Release, the                          can reasonably be expected to become
                                           proxy voting advice.                                    Commission estimated that each proxy                      aware of a registrant’s written
                                              Of these parties, we expect that proxy               voting advice business would incur an                     statements about the proxy voting
                                           voting advice businesses and, to a lesser               aggregate yearly increase in burden of                    advice in a timely manner before the
                                           extent, registrants that are the subject of             500 hours due to the proposed                             shareholder meeting. The amendments
                                           the proxy voting advice, would incur                    amendments.686 In recognition of the                      also provide non-exclusive safe harbors
                                           some additional paperwork burden                        changes from the proposal as well as in                   that the proxy voting advice businesses
                                           resulting from the amendments.684 As                    consideration of the comments received                    may use to satisfy the principle-based
                                           discussed further below, we believe that                regarding the paperwork burdens of the                    requirements in Rule 14a–2(b)(9)(ii). We
                                           any incremental burden would be                         proposed amendments,687 we have                           address each of these three components
                                           attributable primarily to new Rule 14a–                 adjusted our estimates of the burdens on                  in turn.
                                           2(b)(9). With respect to the amendments                 proxy voting advice businesses.                              With respect to the conflicts of
                                           to Rule 14a–1(l) and Rule 14a–9, we do                     Proxy voting advice businesses are                     interest disclosure in new Rule 14a–
                                           not expect the economic impact of these                 expected to incur an increased burden                     2(b)(9)(i), the facts and circumstances
                                           amendments will be significant because                  as a result of new Rule 14a–2(b)(9),                      unique to each proxy voting advice
                                           they do not change existing law and                     which will apply to anyone relying on                     business, including the conflicts of
                                           therefore do not change respondents’                    the exemptions in Rules 14a–2(b)(1) or                    interest disclosures it currently provides
                                           legal obligations.685 Moreover, any                     (b)(3) who furnishes proxy voting advice                  to its clients as well as the nature of its
                                                                                                   covered by Rule 14a–1(l)(1)(iii)(A). The                  material interests, transactions, and
                                              684 The PRA requires that we estimate ‘‘the total    amount of the burden will depend on a                     relationships, will dictate the additional
                                           annual reporting and recordkeeping burden that          number of factors that are firm-specific                  disclosure, if any, it must provide under
                                           will result from the collection of information.’’ [5
                                           CFR 1320.5(a)(1)(iv)(B)(5)] A ‘‘collection of           and highly variable, which makes it                       the final rule. For example, to the extent
                                           information’’ includes any requirement or request       difficult to provide reliable quantitative                that proxy voting advice businesses are
                                           for persons to obtain, maintain, retain, report, or     estimates.688                                             already providing the kind of conflicts
                                           publicly disclose information [5 CFR 1320.3(c)].           There are three components of new                      of interest disclosure required by the
                                           OMB’s current inventory for Regulation 14A,
                                           therefore, is an assessment of the paperwork burden     Rule 14a–2(b)(9) that we expect to result                 rule, it would reduce their new
                                           associated with such requirements and requests          in an increased burden. First, in                         compliance burden. Another factor that
                                           under the regulation, and this PRA is an assessment     accordance with Rule 14a–2(b)(9)(i),                      complicates the calculation of burden is
                                           of changes to such inventory expected to result
                                           from adoption of the amendments. While other
                                                                                                   proxy voting advice businesses will be                    the principles-based nature of the
                                           parties, such as the clients of proxy voting advice     required to include in their proxy voting                 conflicts disclosure requirement, which
                                           businesses, may have costs associated with the          advice (or in an electronic medium used                   eschews prescriptive disclosure
                                           amendments (see supra Section IV.C.), only proxy        to deliver the advice) disclosure of                      standards in favor of providing proxy
                                           voting advice businesses and registrants will incur
                                           any additional paperwork burden in order to             conflicts of interest specifically tailored               voting advice businesses the flexibility
                                           comply with or respond to the informational             to proxy voting advice businesses and                     to determine which situations merit
                                           requirements of the amendments.                         the nature of their services.689 Second,                  disclosure and the specific details to
                                              685 The amendments to Rule 14a–1(l) codify
                                                                                                   under Rule 14a–2(b)(9)(ii)(A), proxy                      provide to their clients about any
                                           existing Commission interpretations and views
                                           about the applicability of the Federal proxy rules      voting advice businesses will be                          conflicts of interest identified. While
                                           to proxy voting advice and are not expected to have     required to adopt and publicly disclose                   this flexibility in the rule’s application
                                           a significant economic impact. See supra Section        written policies and procedures                           is beneficial for both proxy voting
                                           IV.C.2.b. The amendments to Rule 14a–9 may              reasonably designed to ensure that                        advice business and their clients, it
                                           impose direct costs on proxy voting advice
                                           businesses to the extent the amended rule prompts       registrants that are the subject of the                   limits our ability to predict the
                                           some proxy voting advice businesses to provide          proxy voting advice have such advice                      associated paperwork burden. Under the
                                           additional disclosure about the bases for their                                                                   rule, a proxy voting advice business’s
                                           voting advice. However, we expect any such costs           686 See Proposing Release, PRA Table 1                 disclosure could differ for each
                                           to be minimal, especially given that the examples
                                           in new paragraph (e) of the Note to Rule 14a–9 were
                                                                                                   ‘‘Calculation of Increase in Burden Hours Resulting       registrant and be subject to change in
                                                                                                   from the Proposed Amendments,’’ at 66553. The             the future as both the business’s and its
                                           included in prior Commission guidance. See supra        Commission estimated that, for each proxy voting
                                           Section IV.C.4.b. One commenter argued that proxy       advice business, the burden would be 1,000 hours          clients’ circumstances change.
                                           voting advice businesses and their legal counsel                                                                     One proxy voting advice business
                                                                                                   in the first year following adoption and 250 hours
                                           would devote significant time and effort to review
                                           and respond to feedback received from registrants
                                                                                                   in each of the following years, for a three-year          estimated that its burden associated
                                                                                                   average of 500 burden hours. Id. at note d. to Table      with the identification and disclosure of
                                           so as to protect the business from private litigation
                                                                                                   1. Given the Commission’s assumption at the
                                           claims stemming from Rule 14a–9, as amended. See
                                                                                                   proposing stage that there were five proxy voting
                                                                                                                                                             conflicts of information under the
                                           letter from Glass Lewis I. While the commenter                                                                    proposed rules would add 5,969 burden
                                                                                                   advice businesses, the average of 500 hours was
                                           mentioned the proposed amendment to Rule 14a–
                                           9, we read this comment as primarily relating to the
                                                                                                   multiplied by five to arrive at a total of 2,500 hours.   hours each year.690 While we believe
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                                                                                                      687 See supra note 682.
                                           proposed review and feedback proposal, which we
                                                                                                      688 See generally the discussion supra in Sections       690 See letter from Glass Lewis I. Glass Lewis
                                           are not adopting. We do not believe that the
                                           amendment to Rule 14a–9 represents a change to          IV.C.3.a.ii. and b.ii. concerning the difficulty in       calculated that it issued 5,565 total proxy research
                                           existing law, nor does it broaden the concept of        providing quantitative estimates of the costs to          reports on U.S. companies in 2018. Assuming one
                                           materiality or create a new cause of action, as some    proxy voting advice businesses imposed by the             hour spent for each report to identify any potential
                                           commenters have suggested. See discussion supra         amendments.                                               conflicts and another .5 hours to prepare conflicts
                                           Section II.D.3.                                            689 Rule 14a–2(b)(9)(i).                               disclosure regarding 807 of the 5,565 registrants for



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                                           that the principles-based focus of the                   voting advice businesses and their                      their existing practices and procedures,
                                           adopted requirement, in tandem with a                    clients than under the proposal.693                     but would be less in subsequent years.
                                           proxy voting advice business’s existing                     We believe that much of the burden                     In addition to these system-related
                                           conflicts disclosure systems and                                                                                 costs, we expect that the proxy voting
                                                                                                    of the final amendments would be for
                                           practices (particularly as to registrants                                                                        advice businesses would, as a general
                                                                                                    the proxy voting advice business to                     matter, obtain acknowledgments or
                                           that have been the focus of the                          develop policies that satisfy the
                                           business’s proxy coverage in prior                                                                               agreements with respect to the use of
                                                                                                    principles and accordingly modify or                    any information shared with a
                                           years), could significantly mitigate any
                                                                                                    develop systems and practices to                        registrant, as we expect that the
                                           increased paperwork burden
                                                                                                    implement such policies. To derive an                   business would seek to limit disclosure
                                           corresponding to the new rules, we
                                                                                                    estimate for these costs, we start with                 of its report. Given that the rules do not
                                           think it is appropriate to increase our
                                           estimates to align more closely with this                our estimated number of registrants                     require proxy voting advice businesses
                                           commenter’s input. Accordingly, we                       filing proxy materials annually, which                  to give pre-release copies of proxy
                                           estimate the conflicts of interest                       is 5,690.694 We estimate that the burden                voting advice to registrants, in contrast
                                           disclosure in new Rule 14a–2(b)(9)(i) to                 on a proxy voting advice business in                    to the proposal, we believe the need for
                                           result in 6,000 additional burden hours                  setting up, modifying, and                              proxy voting advice businesses to
                                           per proxy voting advice business.                        implementing such policies and systems                  individually negotiate and secure
                                                                                                    would involve approximately one half-                   detailed confidentiality agreements from
                                             The remainder of the additional                                                                                registrants will be substantially
                                                                                                    hour per registrant (2,845 hours) for the
                                           paperwork burden associated with the                                                                             lessened. This is particularly true to the
                                                                                                    notice to registrants under Rule 14a–
                                           amendments will derive from the                                                                                  extent that a proxy voting advice
                                                                                                    2(b)(9)(ii)(A) and one half-hour per
                                           requirements of Rules 14a–2(b)(9)(ii)(A)                                                                         business already maintains a practice of
                                           and (B). Because these rules have been                   registrant (2,845 hours) for the notice to
                                                                                                    clients of any response by the registrants              providing copies of its proxy voting
                                           designed to permit proxy voting advice                                                                           advice to registrants and can therefore
                                           businesses substantial flexibility over                  under Rule 14a–2(b)(9)(ii)(B).695 Our
                                                                                                                                                            utilize its existing practices with respect
                                           the manner in which they comply, we                      revised estimates take into
                                                                                                                                                            to confidentiality provisions. This
                                           expect those businesses will implement                   consideration our understanding that                    would include, for example, the practice
                                           mechanisms differently depending on,                     some proxy voting advice businesses                     of requiring registrants to agree to or
                                           among other things, the facts and                        have systems and practices in place that                acknowledge certain terms of use before
                                           circumstances of their particular                        may complement or overlap with the                      accessing the proxy voting advice. In
                                           business operations and the nature of                    new requirements, which could                           this regard, we note that some proxy
                                           their client bases.691 Furthermore, some                 substantially mitigate any increases to                 voting advice businesses currently
                                           proxy voting advice businesses may                       their overall burden. Also, these                       provide reports to registrants without
                                           already have systems sufficient to                       estimates represent the average annual                  requiring formal confidentiality
                                           address some or all of the mechanics                     burden increase over three years, as we                 agreements, instead requiring only an
                                           required to comply with Rules 14a–                       assume that the burden would be                         electronic acknowledgement of terms of
                                           2(b)(9)(ii)(A) and (B),692 which would be                greatest in the first year after adoption               use.696
                                           expected to limit their overall burden                   as proxy voting advice businesses                         We recognize that there nevertheless
                                           but cannot be precisely estimated.                       incorporate the new requirements into                   may be some hourly and cost burden
                                             It appears that the more prescriptive                                                                          associated with a proxy voting advice
                                           nature of the proposed amendment                            693 For example, one commenter enumerated a          business’s efforts to obtain
                                                                                                    number of elements of the proposal that it believed     acknowledgements 697 or other kinds of
                                           regarding registrants’ and certain other
                                                                                                    would have an impact on a proxy voting advice           agreements with registrants before
                                           soliciting persons’ advance review and                   business’s paperwork burden and provided                sharing proxy voting advice materials
                                           response to proxy voting advice was a                    estimates of the hourly burden expected to be
                                                                                                                                                            and that there could be a range of
                                           large driver of the hourly and cost                      incurred that totaled 59,999 burden hours. Of this
                                                                                                    amount, we have already addressed and                   approaches. One approach may be to
                                           burdens discussed by commenters. We
                                                                                                    incorporated the 5,969 hours estimate regarding         develop a standardized form of
                                           believe the flexibility afforded by the                  identifying and disclosing conflicts. See supra note    acknowledgement regarding the report’s
                                           principles-based approach reflected in                   690. We address the 19,648 hour estimate regarding
                                                                                                                                                            terms of use and implementing systems
                                           the final rules should therefore result in               confidentiality agreements below. We believe the
                                                                                                    remaining 34,382 burden hours pertained to              to track the acknowledgments. Under
                                           significantly lower costs for proxy
                                                                                                    elements of the proposed rules that are not directly    such an approach, we estimate that each
                                                                                                    relevant in light of our revisions in favor of a more   proxy voting advice business would
                                           whom Glass Lewis determined it had disclosable           principle-based framework that no longer requires       incur 100 hours in the first year of
                                           conflict information, Glass Lewis estimated an           mandatory review and feedback periods. See letter
                                           increased burden of 5,969 hours annually to comply       from Glass Lewis I.                                     compliance to draft such standardized
                                           with the new conflicts of disclosure requirements           694 See supra note 549.                              terms of use and update systems to
                                           in proposed Rule 14a–2(b)(9)(i).                            695 In deriving our estimates of one half-hour per   implement and track it, and 25 hours
                                              691 As one example, to be eligible for the safe
                                                                                                    registrant for each of Rule 14a–2(b)(9)(ii)(A) and      each year thereafter to implement the
                                           harbor in Rule 14a–2(b)(9)(iv), a proxy voting           Rule 14a–2(b)(9)(ii)(B), we considered estimates
                                           advice business has the option to provide notice on
                                                                                                                                                            terms of use and systems on a going-
                                                                                                    provided by one commenter who estimated that the
                                           its electronic client platform that the registrant has   ‘‘Implementation of final notice period’’ component     forward basis, for a three-year average of
                                           filed additional soliciting materials, or it could       of the proposal would impose a burden of 0.5 hours      50 hours per year per proxy voting
                                           choose to provide notice through email or other          per registrant, as would the ‘‘Process, review and      advice business associated with
                                           electronic means. Both mechanisms for informing          implement requests for a hyperlinked response’’
                                           clients could involve initial set-up costs as well as
                                                                                                                                                            securing an acknowledgment or other
                                                                                                    component. See letter from Glass Lewis I. While
                                           ongoing costs that are hard to predict. Since they       these two proposed components are not part of the
                                                                                                                                                            assurance that the proxy advice will not
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                                           are not required to rely on the safe harbor, proxy       final rules, they are in some ways analogous to the
                                           voting advice businesses may also put in place           two principles for which proxy voting advice              696 See supra note 615. For example, Glass Lewis
                                           other mechanisms to inform their clients of a            businesses may need to implement systems under          requires a registrant to click and acknowledge/
                                           registrant’s views about the proxy voting advice,        the final rules. Accordingly, we believe one half-      accept/agree to certain ‘‘terms of use’’ before being
                                           which could be more or less costly than satisfying       hour burden per registrant for each of these            able to access the notice and recommendations.
                                           the conditions of the safe harbor.                       components is an appropriate estimate as to the           697 See paragraph (B) of the Rule 14a–2(b)(9)(iii)
                                              692 See supra note 609 in Section IV.C.3.b.2.         burden on each proxy voting advice business.            safe harbor.



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                                           be disclosed. However, we recognize                        registrant 699 under those circumstances,              standardized terms of use. Nevertheless,
                                           that proxy voting advice businesses                        for a total estimate of 5,690 hours per                for purposes of this PRA analysis, and
                                           could choose instead to negotiate                          year associated with securing an                       so as to not underestimate the burden,
                                           individual terms of use with each                          acknowledgment or other assurance that                 we use an estimate of 5,690 hours per
                                           registrant. As a result of modifications                   the proxy advice will not be disclosed.                proxy voting advice business to obtain
                                           we have made from the proposal in                          Accordingly, depending on which                        acknowledgments.
                                           response to commenters, we anticipate                      approach a proxy voting advice business
                                           that the burden in those cases would                       chooses, we expect that the burden                       Overall, we believe that proxy voting
                                           nonetheless be significantly less than                     could range from 50 hours to 5,690                     advice businesses will incur an annual
                                           the four hours per issuer burden                           hours per year per proxy voting advice                 incremental paperwork burden to
                                           estimate provided by a commenter                           business. Given current practices, we                  comply with Rule 14a–2(b)(9) as
                                           regarding the proposal.698 We estimate                     expect that proxy voting advice business               follows.
                                           an average burden of one hour per                          would generally seek to rely on

                                                                                                                                                    Proxy voting advice business estimated
                                                                            New requirement                                                         incremental annual compliance burden

                                           Rule 14a–2(b)(9)(i)—Conflicts Disclosure ............................................   Increase in paperwork burden corresponding to:
                                           Proxy voting advice business must include conflicts of interest disclo-                 To the extent that the proxy voting advice business’s current practices
                                             sure in its proxy voting advice (or electronic medium used to deliver                   and procedures do not already satisfy the requirement:
                                             the advice), as well as a discussion of any policies and procedures                        • Identification and disclosure to clients of qualifying conflicts of in-
                                             used to identify and address conflicts, and any actual steps taken to                        terest. Includes burden associated with internal processes and
                                             address any conflicts.                                                                       procedures for:
                                                                                                                                        Æ Reviewing and preparing disclosures describing conflicts of in-
                                                                                                                                          terest, relevant conflicts policies and procedures, and actual
                                                                                                                                          steps taken to address conflicts identified;
                                                                                                                                        Æ Developing and maintaining methods for tracking conflicts of in-
                                                                                                                                          terest;
                                                                                                                                        Æ Seeking legal or other advice; and
                                                                                                                                        Æ Updating electronic client platforms, as applicable.
                                                                                                                                   We estimate the increase in paperwork burden to be 6,000 hours per
                                                                                                                                     proxy voting advice business.
                                           Rule 14a–2(b)(9)(ii)(A)—Notice to Registrants and Rule 14a–                             Increase in paperwork burden corresponding to:
                                             2(b)(9)(iii) Safe Harbor.
                                           The proxy voting advice business has adopted and publicly disclosed                     To the extent that the proxy voting advice business’s current practices
                                             written policies and procedures reasonably designed to ensure that                      and procedures are not already sufficient:
                                             registrants who are the subject of proxy voting advice have such ad-                      • Developing new or modifying existing systems, policies and
                                             vice made available to them at or prior to the time the advice is dis-                      methods, or developing and maintaining new systems, policies
                                             seminated to clients of the proxy voting advice business.                                   and methods to ensure that it has the capability to timely pro-
                                                • Safe Harbor—The proxy voting advice business has written poli-                         vide each registrant with information about its proxy advice nec-
                                                  cies and procedures that are reasonably designed to provide a                          essary to satisfy the requirement in Rule 14a–2(b)(9)(ii)(A) and/
                                                  registrant with a copy of the proxy voting advice business’s                           or the safe harbor in Rule 14a–2(b)(9)(iii).
                                                  proxy voting advice, at no charge, no later than the time it is dis-                 • If applicable, obtaining acknowledgments or agreements with re-
                                                  seminated to the business’s clients. Such policies and proce-                          spect to use of any information shared with the registrant; and
                                                  dures may include conditions requiring that:                                         • Delivering copies of proxy voting advice to registrants.
                                                (A) The registrant has filed its definitive proxy statement at least               We estimate the increase in paperwork burden to be 8,535 hours per
                                                  40 calendar days before the security holder meeting date (or if                    proxy voting advice business, consisting of 2,845 hours for system
                                                  no meeting is held, at least 40 calendar days before the date the                  updates and 5,690 hours for acknowledgments regarding sharing in-
                                                  votes, consents, or authorizations may be used to effect the pro-                  formation.
                                                  posed action); and
                                                (B) The registrant has acknowledged that it will only use the copy
                                                  of the proxy voting advice for its internal purposes and/or in con-
                                                  nection with the solicitation and it will not be published or other-
                                                  wise shared except with the registrant’s employees or advisers.
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                                             698 See   letter from Glass Lewis I.                        699 Out of the estimated 18,534 registrants that    the Commission during calendar year 2018. See
                                                                                                      may be affected to a greater or lesser extent by the   Section IV.B.1. and supra note 549.
                                                                                                      final amendments, 5,690 filed proxy materials with



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                                                                                                                                                                             Proxy voting advice business estimated
                                                                                   New requirement                                                                           incremental annual compliance burden

                                           Rule 14a–2(b)(9)(ii)(B)—Notice to Clients of Proxy Voting Advice                                                 Increase in paperwork burden corresponding to:
                                             Businesses and Rule 14a–2(b)(9)(iv) Safe Harbor.                                                               To the extent that the proxy voting advice business’s current practices
                                           The proxy voting advice business has adopted and publicly disclosed                                                and procedures are not already sufficient:
                                             written policies and procedures reasonably designed to ensure that                                                  • Developing new or modifying existing systems, policies and
                                             the proxy voting advice business provides clients with a mechanism                                                    methods, or developing and maintaining new systems, policies
                                             by which they can reasonably be expected to become aware of any                                                       and methods capable of:
                                             written statements regarding proxy voting advice by registrants who                                                 Æ Tracking whether the registrant has filed additional soliciting ma-
                                             are the subject of such advice, in a timely manner before the share-                                                  terials;
                                             holder meeting.                                                                                                     Æ Ensuring that proxy voting advice businesses provide clients
                                               • Safe harbor—The proxy voting advice business has written poli-                                                    with a means to learn of a registrant’s written statements about
                                                  cies and procedures that are reasonably designed to inform cli-                                                  proxy voting advice in a timely manner that satisfies the require-
                                                  ents who receive the proxy voting advice when a registrant that                                                  ment in Rule 14a–2(b)(9)(ii)(B) and/or the safe harbor in Rule
                                                  is the subject of such voting advice notifies the proxy voting ad-                                               14a–2(b)(9)(iv).
                                                  vice business that it intends to file or has filed additional solic-                                           • If relying on the safe harbor in Rule 14a–2(b)(9)(iv)(A) or (B),
                                                  iting materials with the Commission setting forth the registrant’s                                               the associated paperwork burden would include the time and ef-
                                                  statement regarding the voting advice, by:                                                                       fort required of the proxy voting advice businesses firm to:
                                               (A) Providing notice to its clients on its electronic client platform                                             Æ Provide notice to its clients through the business’s electronic cli-
                                                  that the registrant intends to file or has filed such additional so-                                             ent platform or email or other electronic medium, as appropriate,
                                                  liciting materials and including an active hyperlink to those mate-                                              that the registrant intends to file or has filed additional soliciting
                                                  rials on EDGAR when available; or                                                                                materials setting forth its views about the proxy voting advice;
                                               (B) The proxy voting advice business providing notice to its clients                                                and
                                                  through email or other electronic means that the registrant in-                                                Æ include a hyperlink to the registrant’s statement on EDGAR
                                                  tends to file or has filed such additional soliciting materials and                                       We estimate the increase in paperwork burden to be 2,845 hours per
                                                  including an active hyperlink to those materials on EDGAR when                                              proxy voting advice business.
                                                  available.

                                                Total ...................................................................................................   17,380 hours per proxy voting advice business.



                                             Altogether, we estimate an annual                                        amendments. Registrants could                                   each year, for a total increase among all
                                           total increase of 52,640 hours 700 in                                      experience increased burdens associated                         registrants of 18,970 hours annually.702
                                           compliance burden to be incurred by                                        with coordinating with proxy voting                                In consideration of commenters’
                                           proxy voting advice businesses that                                        advice businesses to receive the proxy                          views that the Commission’s estimates
                                           would be subject to the amendments to                                      voting advice, reviewing the proxy                              were too low,703 we have adjusted our
                                           Rule 14a–2(b)(9). We assume that the                                       voting advice, and preparing and filing                         prior burden estimates upward.
                                           burden would be greatest in the first                                      supplementary proxy materials in                                Nevertheless, we do not believe the
                                           year after adoption, as proxy voting                                       response to the proxy voting advice, if                         annual burden to be incurred by an
                                           advice businesses incorporate the new                                      they choose to do so.                                           individual registrant would be
                                           requirements into their existing                                                                                                           considerably greater than was reflected
                                           practices and procedures.                                                     As the rules do not require registrants                      in the Proposing Release, particularly in
                                                                                                                      to engage with proxy voting advice                              light of the modifications we are making
                                           b. Registrants                                                             businesses or take any action in                                to the registrant review process that was
                                             In addition to proxy voting advice                                       response to proxy voting advice, we                             originally proposed. For example, the
                                           businesses, we anticipate that                                             expect a registrant would bear                                  rules as adopted do not mandate that
                                           registrants would incur some additional                                    additional paperwork burden only if it                          registrants be afforded fixed periods of
                                           paperwork burden as a result of the                                        anticipated the benefits of engaging with                       review of proxy voting advice, as was
                                                                                                                      the proxy voting advice business would                          the case with the proposal.704
                                              700 This represents the annual total burden
                                                                                                                      exceed the costs of participation. These                        Furthermore, our estimates consider the
                                           increase expected to be incurred by proxy voting
                                           advice businesses (as an average of the yearly
                                                                                                                      costs will vary depending upon the                              extent to which some registrants’
                                           burden predicted over the three-year period                                particular facts and circumstances of the                       current practices and procedures may
                                           following adoption) and is intended to be inclusive                        proxy voting advice and any issues                              already involve reviewing proxy voting
                                           of all burdens reasonably anticipated to be                                identified therein, as well as the                              advice businesses’ voting advice, filing
                                           associated with compliance with the conditions of
                                           Rule 14a–2(b)(9). The Commission is aware of three                         resources of the registrant, which makes                        additional soliciting materials, and
                                           businesses in the U.S. (i.e., Glass Lewis, ISS, and                        it difficult to provide a reliable                              some amount of investor outreach in
                                           Egan-Jones) whose activities fall within the scope                         quantifiable estimate of these costs.                           response to adverse voting
                                           of proxy voting advice constituting a solicitation                                                                                         recommendations. Assuming that a
                                           under amended Rule 14a–1(l)(1)(iii)(A). We                                 Nevertheless, in the Proposing Release,
                                           estimate that each of these will have a burden of                          the Commission stated its belief that the
                                                                                                                                                                                        702 Id.
                                           17,380 hours per year. We recognize that there                             corresponding burden on registrants                                703 See letters from Glass Lewis I (‘‘. . . the ten
                                           could be other proxy voting advice businesses,
                                           including both smaller firms and firms operating
                                                                                                                      would be not significant in most cases,                         hour estimate and resulting burden hour estimate
                                           outside the U.S., which may also be subject to the                         particularly when averaged among all                            is both unsupported and likely significantly
                                           final rules. However, we expect such a number to                           affected registrants.701 As such, the                           understated’’) and ProxyVote I (‘‘We believe the
                                           be small. Accordingly, rather than increasing our                                                                                          Proposed Rulemaking significantly understates the
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                                                                                                                      Commission estimated that registrants                           actual burden imposed on ProxyVote and thus the
                                           estimate of the number of affected proxy voting
                                           advice businesses beyond the three discussed                               would each incur, on average, an                                actual costs we will incur.’’)
                                           above, we are increasing our annual total burden                           increase of ten additional burden hours                            704 See proposed Rule 14a–2(b)(9)(ii)(2). One

                                           estimate by 500 hours to account for those                                                                                                 commenter criticized the Commission for not giving
                                           businesses. As a result, the annual total burden that                                                                                      proper consideration to registrants’ burden hours
                                                                                                                        701 See Proposing Release, PRA Table 1 at 66553
                                           we estimate will result from this amendment will                                                                                           associated with the ‘‘review and feedback’’ periods.
                                           be: (17,380 × 3) + 500 = 52,640 hours.                                     and note e of the table.                                        See Glass Lewis I.



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                                           registrant’s annual meeting of                                       registrant in connection with the                              2. Aggregate Increase in Burden
                                           shareholders is covered by at least two                              amendments for a total annual increase
                                           of the three major U.S. proxy voting                                 of 284,500 hours.705 As discussed                                Table 1 summarizes the calculations
                                           advice businesses, and the registrant has                            above, however, it is difficult to predict                     and assumptions used to derive our
                                           opted to review both sets of proxy                                   the effect of the amendments on a                              estimates of the aggregate increase in
                                           advice and file additional soliciting                                registrant’s paperwork burden with a                           burden for all affected parties
                                           materials in response, we estimate an                                great degree of precision.                                     corresponding to the amendments.
                                           average increase of 50 hours per

                                                  PRA TABLE 1—CALCULATION OF AGGREGATE INCREASE IN BURDEN HOURS RESULTING FROM THE AMENDMENTS
                                                                                                                                                                                          Affected parties

                                                                                                                                                                         Proxy voting advice                  Registrants
                                                                                                                                                                             businesses

                                                                                                                                                                                 (A)                               (B)

                                           Burden Hour Increase .....................................................................................................                     52,640                            284,500

                                           Aggregate Increase in Burden Hours ..............................................................................            [Column Total (A)] + [Column Total (B)] = [337,140]



                                           3. Increase in Annual Responses                                      6 may increase in proportion to the                            4. Incremental Change in Compliance
                                                                                                                number of times that registrants choose                        Burden for Collection of Information
                                              We believe that the amendments                                    to provide a statement in response to a
                                           would increase the number of annual                                  proxy voting advice business’s proxy                             Table 2 below illustrates the
                                           responses 706 to the existing collection                             voting advice as contemplated by Rule                          incremental change to the total annual
                                           of information for Regulation 14A.                                   14a–2(b)(9)(ii)(B) and/or the safe harbor                      compliance burden for the Regulation
                                           Although we do not expect registrants to                             under Rule 14a–2(b)(9)(iv). For purposes                       14A collection of information in hours
                                           file any different number of proxy                                   of this PRA, we estimate that there                            and in costs 708 as a result of the
                                           statements as a result of our                                        would be an additional 783 annual                              amendments. The table sets forth the
                                           amendments, we do anticipate that the                                responses to the collection of                                 percentage estimates we typically use
                                           number of additional soliciting                                      information as a result of the                                 for the burden allocation for each
                                           materials filed under 17 CFR 240.14a–                                amendments.707                                                 response.




                                              705 In the Proposing Release, for purposes of its                 that will be made each year under Regulation 14A,              information by the same amount. For purposes of
                                           PRA analysis, the Commission assumed that, on                        which includes filings such as DEF 14A; DEFA14A;               this PRA analysis, we apply a similar methodology.
                                           average, one-third of the 5,690 registrants that filed               DEFM14A; and DEFC14A. When calculating PRA                     To the extent that registrants believe that the
                                           proxy materials with the Commission during                           burden for any particular collection of information,           efficacy of providing a response to proxy voting
                                           calendar year 2018 (1,897) would be the subject of                   the total number of annual burden hours estimated              advice via additional soliciting materials will be
                                           proxy voting advice each year. See Proposing                         is divided by the total number of annual responses
                                                                                                                                                                               enhanced by the amendments, and make registrants
                                           Release, note b. of PRA Table 1 at 66553. Some                       estimated, which provides the average estimated
                                           commenters who disagreed with this assumption                        annual burden per response. The current inventory              more likely to use this mechanism than they have
                                           stated that this figure was too low. See letter from                 of approved collections of information is                      in the past, we expect that the number of annual
                                           Glass Lewis I. (suggesting that the correct number                   maintained by the Office of Information and                    responses to the Regulation 14 collection of
                                           was ‘‘likely much closer to 100% of those that filed                 Regulatory Affairs (OIRA), a division of OMB. The              information will increase correspondingly.
                                           proxy materials with the Commission’’) and                           total annual burden hours and number of responses              However, it is difficult to reliably predict what this
                                           ProxyVote I (‘‘The appropriate number of registrants                 associated with Regulation 14A, as updated from                overall increase would be. In light of comments we
                                           that should be subject to the Proposed Rulemaking’s                  time to time, can be found at https://                         received that, as a general matter, our PRA
                                           estimates should be 5,690 registrants, not 1,897                     www.reginfo.gov/public/do/PRAMain.                             estimates were too low, we think it is appropriate
                                           registrants’’). We also note certain statements from                    707 Because a registrant’s decision to review and
                                                                                                                                                                               to increase our estimate of additional soliciting
                                           some proxy voting advice businesses indicating that                  file additional soliciting materials in response to            materials filed each year from three times the
                                           they cover tens of thousands of shareholder                          proxy voting advice will be entirely voluntary, it is
                                           meetings annually across global markets. See letters                                                                                current number to ten times the current number.
                                                                                                                difficult to predict how frequently such parties will
                                           from Glass Lewis I and II; ISS; Egan-Jones.                          choose to do so. For purposes of the PRA estimate              Taking the average of the Rule 14a–6 filings made
                                           Accordingly, we have reconsidered our original                       in the Proposing Release, the Commission used as               in years 2016, 2017, 2018 (87), we multiply by ten
                                           estimate of one-third, and agree that our                            its baseline the average number of times firms filed           for an estimate of 870 Rule 14a–6 filings, or an
                                           calculations should be based on the larger number                    additional definitive proxy materials in response to           increase of 783 annual responses to the Regulation
                                           of 5,690 registrants, given the significant volume of                proxy voting advice over the three calendar years              14A collection of information.
                                           registrants and shareholder meetings that are the                    2016 (99), 2017 (77) and 2018 (84), or 87. See                    708 Our estimates assume that 75% of the burden
                                           subject of proxy voting advice each year. This                       Proposing Release at n. 269. For purposes of its PRA           is borne by the company and 25% is borne by
                                           results in a total annual burden increase of 50 ×                    analysis, the Commission estimated that at least               outside counsel at $400 per hour. We recognize that
                                           5,690 = 284,500 hours. We note that such burden                      three times as many registrants would choose to                the costs of retaining outside professionals may
                                           increase would be offset against any corresponding                   prepare responses to proxy voting advice and
                                           reduction in burden resulting from the registrant                                                                                   vary depending on the nature of the professional
                                                                                                                request that their hyperlink be provided to the
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                                           forgoing other methods of responding to the proxy                                                                                   services, but for purposes of this PRA analysis, we
                                                                                                                recipients of the advice pursuant to proposed Rule
                                           voting advice (such as investor outreach) the                        14a–2(b)(9)(iii) than otherwise had historically               estimate that such costs would be an average of
                                           registrant determines are no longer necessary or are                 chosen to file additional soliciting materials. As a           $400 per hour. This estimate is based on
                                           less preferable in light of the new rules.                           result, the Commission estimated that three times              consultations with several registrants, law firms,
                                              706 For purposes of the Regulation 14A collection                 as many supplemental proxy filings would be made               and other persons who regularly assist registrants
                                           of information, the number of annual responses                       each year, which would increase the annual                     in preparing and filing reports with the
                                           corresponds to the estimated number of new filings                   responses to the Regulation 14A collection of                  Commission.



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                                                             PRA TABLE 2—CALCULATION OF INCREASE IN BURDEN HOURS RESULTING FROM THE AMENDMENTS
                                                                                                                              Total increase           Increase in                                    Increase in         Increase in
                                                                                                                                                                                 Increase in
                                                              Number of estimated responses                                     in burden             burden hours                                    professional        professional
                                                                                                                                                                               internal hours
                                                                                                                                  hours               per response                                       hours               costs

                                                                              (A) †                                                (B) ††              (C) = (B)/(A)             (D) = (B) x          (E) = (B) x         (F) = (E) x
                                                                                                                                                                                    0.75                 0.25                $400

                                                                             6,369                                              337,140                     ††† 50                252,855               84,285            $33,714,000
                                             † This number reflects an estimated increase of 783 annual responses to the existing Regulation 14A collection of information. See supra note
                                           707. The current OMB PRA inventory estimates that 5,586 responses are filed annually.
                                             †† Calculated as the sum of annual burden increases estimated for proxy voting advice businesses (52,640 hours) and registrants (284,500
                                           hours). See supra PRA Table 1.
                                             ††† The estimated increases in Columns (C), (D), and (E) are rounded to the nearest whole number.


                                           5. Program Change and Revised Burden                            burden of the Regulation 14A collection
                                           Estimates                                                       of information, in hours and in costs, as
                                             Table 3 summarizes the estimated                              a result of the amendments.
                                           change to the total annual compliance
                                                                              PRA TABLE 3—REQUESTED PAPERWORK BURDEN UNDER THE AMENDMENTS
                                                                                                     Current burden                                Program change                                      Revised burden

                                                                                          Current      Current                                      Increase in   Increase in
                                                                                                                    Current cost     Increase in
                                                                                          annual       burden                                         internal    professional     Annual responses     Burden hours       Cost burden
                                                                                                                      burden          responses
                                                                                        responses       hours                                          hours         costs

                                                                                            (A)          (B)            (C)             (D) ±         (E) ±±         (F) ±±±                            (H) = (B) + (E)    (I) = (C) + (F)

                                           Reg. 14A                                        5,586       551,101     $73,480,012          783          252,855      $33,714,000           6,369              803,956         $107,194,012
                                             ± See  Column (A) in PRA Table 2 noting an estimated increase of 783 annual responses to the existing Regulation 14A collection of information.
                                             ±± See  Column (D) in PRA Table 2.
                                             ±±± From Column (F) in PRA Table 2.




                                           VI. Final Regulatory Flexibility                                objectives of, these amendments are                                   voting advice businesses.710 One such
                                           Analysis                                                        discussed in more detail in Sections I,                               commenter stated that the proposals
                                                                                                           II, and IV above.                                                     would be particularly burdensome for
                                              This Final Regulatory Flexibility                                                                                                  small proxy voting advice businesses.711
                                           Analysis (‘‘FRFA’’) has been prepared in                        B. Significant Issues Raised by Public                                Another commenter, who identified
                                           accordance with the Regulatory                                  Comments                                                              itself as a small entity (with under $5
                                           Flexibility Act (‘‘RFA’’).709 It relates to                                                                                           million in assets) providing proxy
                                           the amendments to: The definition of                              In the Proposing Release, we
                                                                                                                                                                                 voting services to institutional investor
                                           ‘‘solicitation’’ in Rule 14a–1(l); the                          requested comment on any aspect of the
                                                                                                                                                                                 clients, asserted that small entities like
                                           proxy solicitation exemptions in Rule                           IRFA, including how the proposed                                      itself would face significant resource
                                           14a–2(b); and the prohibition on false or                       amendments could achieve their                                        and capacity burdens when complying
                                           misleading statements in solicitations in                       objective while lowering the burden on                                with the proposed amendments, with no
                                           Rule 14a–9 of Regulation 14A under the                          small entities, the number of small                                   gain in the quality of voting or results
                                           Exchange Act. An Initial Regulatory                             entities that would be affected by the                                for their clients.712 In addition, one
                                           Flexibility Analysis (‘‘IRFA’’) was                             proposed amendments, the existence or                                 commenter believed that small and
                                           prepared in accordance with the RFA                             nature of the potential effects of the                                medium-sized investment advisers
                                           and was included in the Proposing                               proposed amendments on small entities                                 would be disproportionately affected by
                                           Release.                                                        discussed in the analysis, and how to                                 increased costs that may result from the
                                           A. Need for, and Objectives of, the Final                       quantify the effects of the proposed                                  proposed amendments because they are
                                           Amendments                                                      amendments. We also requested                                         less likely to be able to have staff solely
                                                                                                           comment on the number of proxy voting                                 dedicated to the proxy voting
                                             Given the importance of a properly                            advice businesses that would be small                                 process,713 while another predicted that
                                           functioning proxy system to investors                                                                                                 delays and increased costs resulting
                                                                                                           entities subject to the proposed
                                           and the capital markets, the purpose of                                                                                               from the proposed amendments would
                                                                                                           amendments.
                                           the amendments is to help ensure that                                                                                                 most heavily impact smaller
                                           investors, or those acting on their                               We did not receive estimates from                                   institutional investors, such as
                                           behalf, who use proxy voting advice                             commenters on the number of small                                     churches, endowments, unions, pension
                                           have access to more transparent and                             entities that would be affected by the                                funds, etc.714 Several commenters stated
                                           complete information with which to                              proposed amendments or the number of                                  that small entities may not have
                                           make their voting decisions, while not                          proxy voting advice businesses that                                   sufficient staffing and resources to
                                           imposing undue costs or delays that                             would be small entities subject to the
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                                           could adversely affect the timely                               proposed amendments. However,                                           710 See, e.g., letters from Felician Sisters II; Good

                                           provision of proxy voting advice, with                          several commenters asserted that the                                  Shepherd; IASJ; Interfaith Center II; St. Dominic of
                                                                                                                                                                                 Caldwell.
                                           the ultimate aim of facilitating informed                       Commission’s economic analysis failed                                   711 See letter from Interfaith Center II.
                                           voting decisions. The need for, and                             to consider the cost and effect of the                                  712 See supra note 518.

                                                                                                           proposed amendments on smaller proxy                                    713 See letter from IAA.
                                             709 5    U.S.C. 601 et seq.                                                                                                           714 See letter from J. McRitchie I.




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                                           comply with the review and feedback                     generally is a small entity if it: (1) Has               14a–2(b)(1) or (b)(3).726 These
                                           process, and therefore should either be                 assets under management having a total                   businesses, including any affected small
                                           exempted from the proposals or, at a                    value of less than $25 million; (2) did                  entities, will likely incur costs to ensure
                                           minimum, be given an extended                           not have total assets of $5 million or                   that their internal practices, procedures,
                                           timeframe for compliance.715 In                         more on the last day of the most recent                  and systems are sufficient to meet the
                                           developing the FRFA, we considered                      fiscal year; and (3) does not control, is                conflicts of interest disclosure and
                                           these comments as well as comments on                   not controlled by, and is not under                      notice requirements under Rule 14a–
                                           the proposed amendments generally.716                   common control with another                              2(b)(9). As noted above, we are not
                                           As discussed throughout this release,                   investment adviser that has assets under                 aware of smaller entities that currently
                                           including in Section VI.D below, we                     management of $25 million or more, or                    provide services that would cause them
                                           note that the shift to a principles-based               any person (other than a natural person)                 to be subject to the proposed
                                           approach for the final amendment                        that had total assets of $5 million or                   amendments; nevertheless, in the
                                           should help alleviate a number of the                   more on the last day of its most recent
                                                                                                                                                            interest of completeness, we have
                                           concerns raised by commenters about                     fiscal year.721
                                                                                                      As discussed in Section IV.B.1, we are                considered the potential effects of the
                                           the potential impact on small entities.
                                                                                                   not aware of smaller entities that                       amendments on smaller proxy voting
                                           C. Small Entities Subject to the Final                  currently supply research, analysis, and                 advice businesses throughout this
                                           Amendments                                              recommendations to support the voting                    FRFA. Registrants of all sizes also could
                                              The amendments could affect some                     decisions of their clients that would fall               incur costs associated with coordinating
                                           small entities; specifically, those small               within the definition of ‘‘solicitation’’                with proxy voting advice businesses to
                                           entities that are: (i) Proxy voting advice              and would therefore be directly affected                 receive the proxy voting advice,
                                           businesses (i.e., persons who provide                   by the amendments.722 As far as                          reviewing the proxy voting advice, and
                                           proxy voting advice that falls within the               registrants that may be directly affected,               determining whether to prepare and file
                                           definition of a ‘‘solicitation’’ under Rule             we estimate that there are 1,011 issuers                 additional soliciting materials in
                                           14a–1(l)(1)(iii), as amended); and (ii)                 that file with the Commission, other                     response to the proxy voting advice.727
                                           registrants conducting solicitations                    than investment companies and                            Compliance with the amendments may
                                           covered by proxy voting advice.                         investment advisers, that may be                         require the use of professional skills,
                                           Although not directly subject to the                    considered small entities.723 In                         including legal skills.
                                           amendments, clients of proxy voting                     addition, we estimate that, as of                          The amendments apply to small
                                           advice businesses and the investors on                  December 31, 2019, there were 92                         entities to the same extent as other
                                           whose behalf such clients vote proxies                  registered investment companies that
                                           may be indirectly affected by the                                                                                entities, irrespective of size. Therefore,
                                                                                                   may be considered small entities.724
                                           amendments to the extent that the costs                                                                          we expect that the nature of any benefits
                                                                                                   Finally, we estimate that, as of
                                           borne by the proxy voting advice                                                                                 and costs associated with the
                                                                                                   December 31, 2019, there were 452
                                           businesses result in increased fees for                                                                          amendments will be similar for large
                                                                                                   investment advisers that may be
                                           such services.                                                                                                   and small entities. Accordingly, we refer
                                                                                                   considered small entities and may be
                                              The RFA defines ‘‘small entity’’ to                                                                           to the discussion of the amendments’
                                                                                                   indirectly affected by the
                                           mean ‘‘small business,’’ ‘‘small                        amendments.725                                           economic effects on all affected parties,
                                           organization,’’ or ‘‘small governmental                                                                          including small entities, in Section IV
                                           jurisdiction.’’ 717 The definition of                   D. Projected Reporting, Recordkeeping,                   above.728 Consistent with that
                                           ‘‘small entity’’ does not include                       and Other Compliance Requirements                        discussion, to the extent that any small
                                           individuals. For purposes of the RFA,                      We anticipate that any costs resulting                entities currently or in the future may
                                           under our rules, an issuer of securities                from the amendments will primarily                       provide proxy voting advice, we
                                           or a person, other than an investment                   relate to Rule 14a–2(b)(9) and, as such,                 anticipate that the economic benefits
                                           company or an investment adviser, is a                  predominantly affect the proxy advice                    and costs likely will vary widely among
                                           ‘‘small business’’ or ‘‘small                           voting businesses that will be required                  such entities based on a number of
                                           organization’’ if it had total assets of $5             to comply with Rule 14a–2(b)(9) in                       factors, including the nature and
                                           million or less on the last day of its most             order to rely on the exemptions in Rule                  conduct of their businesses, as well as
                                           recent fiscal year.718 An investment                                                                             the extent to which they are already
                                           company, including a business                             721 See   Advisers Act Rule 0–7(a) [17 CFR 275.0–      meeting or exceeding the requirements
                                           development company,719 is considered                   7(a)].                                                   established by the amendments, which
                                                                                                      722 In this regard, commenters did not provide
                                           to be a ‘‘small business’’ if it, together                                                                       makes it difficult to project the
                                           with other investment companies in the                  data that would allow us to ascertain the extent to
                                                                                                   which there are smaller entities that would be
                                           same group of related investment                        considered proxy voting advice businesses within            726 The amendments are discussed in detail in
                                           companies, has net assets of $50 million                the scope of the amendments.                             Section II, above. We discuss the economic impact,
                                           or less as of the end of its most recent                   723 This estimate is based on staff analysis of       including the estimated costs and benefits, of the
                                           fiscal year.720 An investment adviser                   issuers, excluding co-registrants, with EDGAR            amendments to all affected entities, including small
                                                                                                   filings of either Form 10–K or amendments, filed         entities, in Section IV above.
                                                                                                   during the calendar year of January 1, 2019 to              727 See supra Section V.C.1.b. We do not expect
                                             715 See letters from Felician Sisters II; Good
                                                                                                   December 31, 2019. The data used for this analysis       that the amendments to Rule 14a–1(l) and Rule
                                           Shepherd; IASJ; Interfaith Center II; St. Dominic of    were derived from XBRL filings, Compustat, and           14a–9 will have a significant economic impact on
                                           Caldwell.                                               Ives Group Audit Analytics.
                                             716 See supra Sections II; IV.
                                                                                                                                                            affected parties, including any small entities,
                                                                                                      724 This estimate is derived from an analysis of      because they codify already-existing Commission
                                             717 5 U.S.C. 601(6).
                                                                                                   data obtained from Morningstar Direct as well as         positions on the applicability of these rules to proxy
                                             718 See Exchange Act Rule 0–10(a) [17 CFR 240.0–
                                                                                                   data filed with the Commission (Forms N–Q and N–         voting advice. See supra note 685.
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                                           10(a)].                                                 CSR) for the period ending December 2019.                   728 In particular, we discuss the estimated
                                             719 Business development companies are a                 725 Based on SEC-registered investment adviser        benefits and costs of the amendments on all affected
                                           category of closed-end investment company that are      responses to Items 5.F. and 12 of Form ADV. As           parties, including larger and smaller entities, in
                                           not registered under the Investment Company Act         discussed above, ISS, one of the three major firms       Section IV.C. above. We also discuss the estimated
                                           [15 U.S.C. 80a–2(a)(48); 80a–53–64].                    that comprise the proxy advisory industry in the         compliance burden associated with the
                                             720 See Investment Company Act Rule 0–10(a) [17       U.S., is also registered investment advisor. See         amendments for purposes of the PRA in Section V
                                           CFR 270.0–10(a)].                                       supra Section IV.B.1.a.                                  above.



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                                           economic impact on small entities with                    voluntary.730 As a function of their                  believe that exempting smaller proxy
                                           precision.729                                             smaller size, registrants that are small              voting advice businesses from all or part
                                              As a general matter, however, we                       entities may incur proportionally greater             of the amendments would accomplish
                                           recognize that any costs of the                           costs associated with amendments than                 our objectives.732
                                           amendments borne by the affected                          larger entities, but the extent of such
                                                                                                                                                              In a change from the proposal, the
                                           entities, such as those related to                        costs is uncertain. Importantly, while
                                                                                                                                                           amendments generally use performance
                                           compliance with the amendments, or                        registrants of all sizes may take
                                                                                                     advantage of the ability to review proxy              standards rather than design standards.
                                           the implementation or restructuring of                                                                          Based on commenter feedback,
                                                                                                     voting advice provided pursuant to the
                                           internal systems needed to adjust to the                                                                        including that related to the potential
                                                                                                     amendments and potentially file
                                           amendments, could have a                                                                                        impact on smaller entities, we believe
                                                                                                     additional soliciting material in
                                           proportionally greater effect on small                                                                          that moving from an approach that
                                                                                                     response, they are not required to do so;
                                           entities, as they may be less able than                                                                         emphasizes design standards to one that
                                                                                                     as a result, we expect that registrants
                                           larger entities to bear such costs.                       would engage in the process only to the               emphasizes performance standards will
                                           Further, as discussed in Section                          extent that they anticipate the benefits              provide all entities, and in particular
                                           IV.B.1.a., the three major proxy voting                   of such review to be greater than the                 smaller entities, with sufficient
                                           advice businesses currently operating in                  costs.                                                flexibility to find the most cost-effective
                                           the U.S. have existing processes in place
                                                                                                     E. Agency Action To Minimize Effect on                means of compliance while still
                                           for identifying and disclosing conflicts
                                                                                                     Small Entities                                        achieving our objectives. We recognize
                                           of interest to their clients, as well as
                                                                                                                                                           that using performance standards rather
                                           providing some registrants access to                         The RFA directs us to consider
                                           versions of the businesses’ proxy voting                                                                        than design standards may increase the
                                                                                                     alternatives that would accomplish our
                                           advice prior to making a voting                                                                                 degree of uncertainty that proxy voting
                                                                                                     stated objectives, while minimizing any
                                           recommendation to clients. If competing                                                                         advice businesses and their clients have
                                                                                                     significant adverse impact on small
                                           proxy voting advice businesses do not                     entities. In connection with the                      regarding whether such businesses are
                                           have such processes in place, they could                  amendments, we considered the                         in full compliance with the rules.
                                           be disproportionately affected by the                     following alternatives:                               However, we also are adopting certain
                                           amendments. Finally, the amendments                          • Establishing different compliance or             safe harbors that we believe will help
                                           may impact competition, in particular                     reporting requirements that take into                 mitigate such uncertainty to the extent
                                           for any small entities that provide proxy                 account the resources available to small              proxy voting advice businesses choose
                                           voting advice services. To the extent                     entities;                                             to rely on them.
                                           that a proxy voting advice business’s                        • Exempting small entities from all or                In adopting these amendments, we
                                           existing practices and procedures do not                  part of the requirements;                             have undertaken to provide rules that
                                           satisfy the conditions of Rule 14a–                          • Using performance rather than                    are clear and simple for all affected
                                           2(b)(9), such entities, including any                     design standards; and
                                                                                                        • Clarifying, consolidating, or                    parties. We do not believe that further
                                           affected small entities, will incur                                                                             clarification, consolidation, or
                                           additional compliance costs and,                          simplifying compliance and reporting
                                                                                                     requirements under the rules for small                simplification for small entities is
                                           consequently, may be more likely to exit
                                                                                                     entities                                              necessary.
                                           the market for such services or less able
                                           to enter the market in the first place.                      We do not believe that establishing                VII. Statutory Authority
                                                                                                     different compliance or reporting
                                              We believe that the principles-based                   requirements for small entities in                      We are adopting the rule amendments
                                           approach we are adopting should                           connection with the amendments would                  contained in this release under the
                                           address many of the concerns                              accomplish the objectives of this
                                           commenters raised about the proposed                                                                            authority set forth in Sections 3(b), 14,
                                                                                                     rulemaking. The amendments are                        16, 23(a), and 36 of the Securities
                                           amendments’ potential disparate effect                    intended to improve the completeness
                                           on smaller firms. By providing proxy                                                                            Exchange Act of 1934, as amended.
                                                                                                     and transparency of information
                                           voting advice businesses, including                       available to shareholders and those                   List of Subjects in 17 CFR Part 240
                                           those that are small entities, with the                   acting on their behalf when making
                                           flexibility to design policies and                                                                                Brokers, Confidential business
                                                                                                     voting decisions and enhance the
                                           procedures that are scaled to the scope                   overall functioning of the proxy voting               information, Fraud, Reporting and
                                           of their business operations, we believe                  process, in furtherance of Section 14 of              recordkeeping requirements, Securities.
                                           these entities will be able to find the                   the Exchange Act. These objectives                      In accordance with the foregoing, we
                                           most cost-effective means to comply                       would not be as effectively served if we
                                           with the requirements.                                                                                          are amending title 17, chapter II, of the
                                                                                                     were to establish different conditions for            Code of Federal Regulations as follows:
                                              With respect to costs that may be                      smaller proxy voting advice businesses
                                           incurred by registrants as a result of the                that wish to rely on the solicitation
                                                                                                                                                           proxy voting advice businesses may comply in
                                           amendments, these costs will vary                         exemptions in Rules 14a–2(b)(1) or                    whatever manner they choose so long as they satisfy
                                           depending upon the particular facts and                   (b)(3).731 For similar reasons, we do not             the principles set forth.
                                           circumstances of the proxy voting                                                                                  732 See supra Section IV.E.6. Exempting smaller
                                           advice as well as the resources of the                       730 For purposes of the PRA analysis in Section
                                                                                                                                                           proxy voting advice businesses from the additional
                                           registrant. Consequently, as with proxy                   V, we estimate an annual increase of 50 burden        conditions of Rules 14a–2(b)(1) and (3) would
                                                                                                     hours per registrant in connection with the
                                           voting advice businesses, it is difficult                 amendments.
                                                                                                                                                           reduce the resulting costs of the amendments for
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                                           to quantify these costs with precision,                      731 Moreover, because the amendments reflect a
                                                                                                                                                           such businesses, but it also would mean that their
                                           particularly since the degree to which a                                                                        clients would not realize the same benefits in terms
                                                                                                     principles-based, rather than a more prescriptive,
                                                                                                                                                           of potential improvements in the reliability and
                                           registrant elects to review and respond                   framework, there is no practicable way to establish
                                                                                                     different compliance requirements for smaller         transparency of the voting advice they receive. This,
                                           to proxy voting advice is entirely                                                                              in turn, could put smaller proxy voting advice
                                                                                                     proxy voting advice businesses without also
                                                                                                     compromising the principles-based nature of the       businesses at a competitive disadvantage if they
                                             729 See   supra Section IV.C.5.                         requirements. Under the rules that we are adopting,   chose to avail themselves of such an exemption.



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                                           PART 240—GENERAL RULES AND                              § 240.14a–2 Solicitations to which                    to provide a registrant with a copy of its
                                           REGULATIONS UNDER THE                                   § 240.14a–3 to § 240.14a–15 apply.                    proxy voting advice, at no charge, no
                                           SECURITIES EXCHANGE ACT OF 1934                         *
                                                                                                   *     *       *     *                                 later than the time such advice is
                                                                                              (b) * * *                                                  disseminated to the proxy voting advice
                                           ■ 1. The authority citation for part 240           (9) Paragraphs (b)(1) and (b)(3) of this                   business’s clients. Such policies and
                                           continues to read, in part, as follows:         section shall not be available to a person                    procedures may include conditions
                                              Authority: 15 U.S.C. 77c, 77d, 77g, 77j,
                                                                                           furnishing proxy voting advice covered                        requiring that:
                                           77s, 77z–2, 77z–3, 77eee, 77ggg, 77nnn,         by § 240.14a–1(l)(1)(iii)(A) (‘‘proxy                            (A) The registrant has filed its
                                           77sss, 77ttt, 78c, 78c–3, 78c–5, 78d, 78e, 78f, voting advice business’’) unless both of                      definitive proxy statement at least 40
                                           78g, 78i, 78j, 78j–1, 78k, 78k–1, 78l, 78m,     the conditions in (b)(9)(i) and (ii) of this                  calendar days before the security holder
                                           78n, 78n–1, 78o, 78o–4, 78o–10, 78p, 78q,       section are satisfied:                                        meeting date (or if no meeting is held,
                                           78q–1, 78s, 78u–5, 78w, 78x, 78dd, 78ll,           (i) The proxy voting advice business                       at least 40 calendar days before the date
                                           78mm, 80a–20, 80a–23, 80a–29, 80a–37, 80b– includes in its proxy voting advice or in
                                           3, 80b–4, 80b–11, and 7201 et seq., and 8302; an electronic medium used to deliver
                                                                                                                                                         the votes, consents, or authorizations
                                           7 U.S.C. 2(c)(2)(E); 12 U.S.C. 5521(e)(3); 18                                                                 may be used to effect the proposed
                                                                                           the proxy voting advice prominent                             action); and
                                           U.S.C. 1350, Pub. L. 111–203, 939A, 124 Stat.
                                           1376 (2010); and Pub. L. 112–106, sec. 503
                                                                                           disclosure of:
                                                                                              (A) Any information regarding an                              (B) The registrant has acknowledged
                                           and 602, 126 Stat. 326 (2012), unless                                                                         that it will only use the copy of the
                                           otherwise noted.                                interest, transaction, or relationship of
                                                                                           the proxy voting advice business (or its                      proxy voting advice for its internal
                                           *       *     *     *      *                                                                                  purposes and/or in connection with the
                                              Sections 240.14a–1, 240.14a–3, 240.14a–      affiliates) that is material to assessing
                                                                                           the objectivity of the proxy voting                           solicitation and such copy will not be
                                           13, 240.14b–1, 240.14b–2, 240.14c–1, and                                                                      published or otherwise shared except
                                           240.14c–7 also issued under secs. 12, 15        advice in light of the circumstances of
                                                                                           the particular interest, transaction, or                      with the registrant’s employees or
                                           U.S.C. 781, and 14, Pub. L. 99–222, 99 Stat.
                                           1737, 15 U.S.C. 78n;                            relationship; and                                             advisers.
                                           *       *     *     *      *                       (B) Any policies and procedures used                          (iv) A proxy voting advice business
                                                                                           to identify, as well as the steps taken to                    will be deemed to satisfy the
                                           ■ 2. Amend § 240.14a–1 by:
                                                                                           address, any such material conflicts of                       requirement in paragraph (b)(9)(ii)(B) of
                                           ■ a. Revising paragraph (l)(1)(iii);
                                           ■ b. In paragraph (l)(2)(iii), removing the     interest arising from such interest,                          this section if it has written policies and
                                           word ‘‘or’’ from the end of the                 transaction, or relationship; and                             procedures that are reasonably designed
                                           paragraph;                                         (ii) The proxy voting advice business                      to inform clients who receive proxy
                                           ■ c. In paragraph (l)(2)(iv)(C), removing       has adopted and publicly disclosed                            voting advice when a registrant that is
                                           at the end of the paragraph ‘‘.’’ and           written policies and procedures                               the subject of such advice notifies the
                                           adding in its place ‘‘; or’’;                   reasonably designed to ensure that:                           proxy voting advice business that it
                                           ■ d. Adding paragraph (l)(2)(v).                   (A) Registrants that are the subject of                    intends to file or has filed additional
                                              The revisions and additions read as          the proxy voting advice have such                             soliciting materials with the
                                           follows:                                        advice made available to them at or                           Commission pursuant to § 240.14a–6
                                                                                           prior to the time when such advice is                         setting forth the registrant’s statement
                                           § 240.14a–1 Definitions.                        disseminated to the proxy voting advice                       regarding the advice, by:
                                           *       *     *     *      *                    business’s clients; and                                          (A) The proxy voting advice business
                                              (l) Solicitation. (1) * * *                     (B) The proxy voting advice business                       providing notice to its clients on its
                                              (iii) The furnishing of a form of proxy provides its clients with a mechanism                              electronic platform that the registrant
                                           or other communication to security              by which they can reasonably be                               intends to file or has filed such
                                           holders under circumstances reasonably expected to become aware of any                                        additional soliciting materials and
                                           calculated to result in the procurement,        written statements regarding its proxy                        including an active hyperlink to those
                                           withholding or revocation of a proxy,           voting advice by registrants who are the                      materials on EDGAR when available; or
                                           including:                                      subject of such advice, in a timely                              (B) The proxy voting advice business
                                              (A) Any proxy voting advice that             manner before the security holder                             providing notice to its clients through
                                           makes a recommendation to a security            meeting (or, if no meeting, before the                        email or other electronic means that the
                                           holder as to its vote, consent, or              votes, consents, or authorizations may                        registrant intends to file or has filed
                                           authorization on a specific matter for          be used to effect the proposed action).                       such additional soliciting materials and
                                           which security holder approval is
                                                                                             Note 1 to paragraph (b)(9)(ii): For purposes                including an active hyperlink to those
                                           solicited, and that is furnished by a           of satisfying the requirement in paragraph                    materials on EDGAR when available.
                                           person that markets its expertise as a          (b)(9)(ii)(A) of this section, the proxy voting
                                           provider of such proxy voting advice,           advice business’s written policies and
                                                                                                                                                            (v) Paragraph (b)(9)(ii) of this section
                                           separately from other forms of                  procedures need not require it to make                        does not apply to proxy voting advice to
                                           investment advice, and sells such proxy available to the registrant additional versions                       the extent such advice is based on
                                           voting advice for a fee.                        of its proxy voting advice with respect to the                custom voting policies that are
                                              (B) [Reserved]                               same meeting, vote, consent or authorization,                 proprietary to a proxy voting advice
                                              (2) * * *                                    as applicable, if the advice is subsequently                  business’s client.
                                              (v) The furnishing of any proxy voting revised.                                                               (vi) Paragraph (b)(9)(ii) of this section
                                           advice by a person who furnishes such              (iii) A proxy voting advice business                       does not apply to any portion of the
                                           advice only in response to an                   will be deemed to satisfy the                                 proxy voting advice that makes a
                                           unprompted request.                             requirement in paragraph (b)(9)(ii)(A) of                     recommendation to a security holder as
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                                           ■ 3. Amend § 240.14a–2 by adding                this section if it has written policies and                   to its vote, consent, or authorization in
                                           paragraph (b)(9) to read as follows:            procedures that are reasonably designed                       a solicitation subject to § 240.14a–3(a):




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                                             (A) To approve any transaction                        supplementary guidance regarding the                    availability of that additional
                                           specified in § 230.145(a); or                           proxy voting responsibilities of                        information being made known to proxy
                                             (B) By any person or group of persons                 investment advisers under 17 CFR                        advisory firms and their clients in a
                                           for the purpose of opposing a                           275.206(4)–6 [Rule 206(4)–6 under the                   timely manner, including because proxy
                                           solicitation subject to this regulation by              Advisers Act [15 U.S.C. 80b]].1                         advisory firms, as a condition to the
                                           any other person or group of persons.                                                                           availability of the exemptions in 17 CFR
                                                                                                   I. Introduction
                                           *     *     *     *     *                                                                                       240.14a–2(b)(1) and (b)(3), must adopt
                                                                                                      The Commission previously issued                     policies and procedures that are
                                           ■ 4. Amend § 240.14a–9 by adding
                                                                                                   guidance discussing how the fiduciary                   reasonably designed to provide
                                           paragraph e. to the Note to read as
                                                                                                   duty and rule 206(4)–6 under the                        investment advisers and other clients
                                           follows:
                                                                                                   Advisers Act relate to an investment                    with a mechanism by which they can
                                           § 240.14a–9 False or misleading                         adviser’s exercise of voting authority on               reasonably be expected to become aware
                                           statements.                                             behalf of clients and also provided                     of that additional information prior to
                                           *      *    *        *      *                           examples to help facilitate investment                  making voting decisions. Accordingly,
                                               Note: * * *                                         advisers’ compliance with their                         we are providing supplementary
                                                                                                   obligations in connection with proxy                    guidance to assist investment advisers
                                              e. Failure to disclose material information
                                                                                                   voting.2 We are supplementing this                      in assessing how to consider the
                                           regarding proxy voting advice covered by
                                           § 240.14a–1(l)(1)(iii)(A), such as the proxy            guidance in light of information gained                 additional information that may become
                                           voting advice business’s methodology,                   in connection with our ongoing review                   more readily available to them as a
                                           sources of information, or conflicts of                 of the proxy voting process and our                     result of these amendments, including
                                           interest.                                               related regulations, including the                      in circumstances where the investment
                                           *      *     *       *      *                           amendments to the proxy solicitation                    adviser utilizes a proxy advisory firm’s
                                                                                                   rules under the Exchange Act that we                    electronic vote management system that
                                             By the Commission.                                    are issuing at this time.3
                                             Dated: July 22, 2020.                                                                                         ‘‘pre-populates’’ the adviser’s proxies
                                                                                                      We expect that the Exchange Act                      with suggested voting recommendations
                                           Vanessa A. Countryman,                                  amendments adopted in Release No. 34–                   and/or for voting execution services.
                                           Secretary.                                              89372 will result in improvements in                    The supplementary guidance also
                                           [FR Doc. 2020–16337 Filed 9–1–20; 8:45 am]              the mix of information that is available                addresses disclosure obligations and
                                           BILLING CODE 8011–01–P                                  to investors and material to a voting                   considerations that may arise when
                                                                                                   decision. In particular, we expect                      investment advisers use such services
                                                                                                   issuers will have access to proxy                       for voting.
                                           SECURITIES AND EXCHANGE                                 advisory firm recommendations in a
                                           COMMISSION                                              timeframe that will permit those issuers                II. Supplemental Guidance Regarding
                                                                                                   to make available to shareholders                       Investment Advisers’ Proxy Voting
                                           17 CFR Part 276                                         additional information that may be                      Responsibilities
                                           [Release No. IA–5547]                                   material to a voting decision in a more                    Question 2.1: In some cases, proxy
                                                                                                   systematic and timely manner than they                  advisory firms assist clients, including
                                           Supplement to Commission Guidance                       could previously.4 We also expect that                  investment advisers, with voting
                                           Regarding Proxy Voting                                  the amendments will result in the                       execution, including through an
                                           Responsibilities of Investment                                                                                  electronic vote management system that
                                           Advisers                                                   1 Unless otherwise noted, when we refer to the
                                                                                                                                                           allows the proxy advisory firm to: (1)
                                                                                                   Advisers Act, or any paragraph of the Advisers Act,
                                           AGENCY: Securities and Exchange                         we are referring to 15 U.S.C. 80b of the United         Populate each client’s votes shown on
                                           Commission.                                             States Code, at which the Advisers Act is codified,     the proxy advisory firm’s electronic
                                                                                                   and when we refer to rules under the Advisers Act,      voting platform with the proxy advisory
                                           ACTION: Guidance.                                       or any paragraph of these rules, we are referring to
                                                                                                   title 17, part 275 of the Code of Federal Regulations
                                                                                                                                                           firm’s recommendations based on that
                                           SUMMARY:   The Securities and Exchange                  [17 CFR part 275], in which these rules are             client’s voting instructions to the firm
                                           Commission (‘‘Commission’’) is                          published.                                              (‘‘pre-population’’); and/or (2)
                                                                                                      2 Commission Guidance Regarding Proxy Voting
                                           publishing supplementary guidance                                                                               automatically submit the client’s votes
                                                                                                   Responsibilities of Investment Advisers, Release
                                           regarding the proxy voting                              No. IA–5325 (Aug. 21, 2019), 84 FR 47420 (Sept.
                                                                                                                                                           to be counted (‘‘automated voting’’). Pre-
                                           responsibilities of investment advisers                 10, 2019) (‘‘Commission Guidance on Proxy Voting        population and automated voting
                                           under its regulations issued under the                  Responsibilities’’).                                    generally occur prior to the submission
                                           Investment Advisers Act of 1940 (the                       3 See Exemptions from the Proxy Rules for Proxy
                                                                                                                                                           deadline for proxies to be voted at the
                                                                                                   Voting Advice, Release No. 34–89372 (July 22,
                                           ‘‘Advisers Act’’) in light of the                       2020) (‘‘Amendments to Proxy Solicitation Rules’’);
                                                                                                                                                           shareholder meeting. In various
                                           Commission’s amendments to the rules                    see also 17 CFR 240.14a–2(b)(9)(iv); see also           circumstances, an investment adviser,
                                           governing proxy solicitations under the                 Commission Guidance on Proxy Voting                     in the course of conducting a reasonable
                                           Securities Exchange Act of 1934 (the                    Responsibilities, supra at n. 2. Proxy advisory firms   investigation into matters on which it
                                                                                                   will not be required to comply with certain of the
                                           ‘‘Exchange Act’’).                                      amendments we are making to the proxy
                                                                                                                                                           votes,5 may become aware that an issuer
                                           DATES: Effective: September 3, 2020.                    solicitation rules until December 1, 2021. This         that is the subject of a voting
                                           FOR FURTHER INFORMATION CONTACT:
                                                                                                   guidance addresses the application of the fiduciary     recommendation intends to file or has
                                                                                                   duty, Form ADV, and rule 206(4)–6 under the             filed additional soliciting materials with
                                           Thankam A. Varghese, Senior Counsel;                    Advisers Act to an investment adviser’s proxy
                                           or Holly Hunter-Ceci, Assistant Chief                   voting responsibilities in connection with current      the Commission setting forth the
                                           Counsel, at (202) 551–6825 or IMOCC@                    practices, as well as any policies or procedures that   issuer’s views regarding the voting
                                                                                                   may be implemented by proxy advisory firms under        recommendation. These materials may
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                                           sec.gov, Chief Counsel’s Office, Division               the final amendments.
                                           of Investment Management, Securities                       4 See infra at n. 6. While 17 CFR 240.14a–2(b)
                                                                                                                                                           or may not reasonably be expected to
                                           and Exchange Commission, 100 F Street                   uses the term ‘‘proxy voting advice business,’’ we
                                                                                                                                                           affect the investment adviser’s voting
                                           NE, Washington, DC 20549–8549.                          use the term ‘‘proxy advisory firm’’ in this release.
                                                                                                   This is consistent with the Commission Guidance           5 See Commission Guidance on Proxy Voting
                                           SUPPLEMENTARY INFORMATION: The                          on Proxy Voting Responsibilities, which this release    Responsibilities, text at notes 15 and 37 and in
                                           Commission is publishing                                supplements.                                            response to Question 4.



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